Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 1 of 347




                  EXHIBIT 1
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 2 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 3 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 4 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 5 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 6 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 7 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 8 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 9 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 10 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 11 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 12 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 13 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 14 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 15 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 16 of 347




                  EXHIBIT A
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page117
                                                                    of of
                                                                       102347




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

                                              )
DARRYL BOYD,                                  )
                                              )
                                Plaintiff,    )   Index No. 22-cv-519
                                              )
                  - against -                 )   AMENDED COMPLAINT AND
                                              )   JURY DEMAND
THE CITY OF BUFFALO; THE COUNTY               )
OF ERIE; MICHAEL G. GUADAGNO;                 )
JOHN MONTONDO; LINDA J. FIAL AS               )
EXECUTOR FOR THE ESTATE OF                    )
ROBERT GRABOWSKI; MARTIN                      )
BULLOCK AS EXECUTOR FOR THE                   )
ESTATE OF JAMES E. HUNTER;                    )
JENNIFER G. FLANNERY AS                       )
ADMINISTRATOR FOR THE ESTATE OF               )
ROBERT F. ARNET; JENNIFER G.                  )
FLANNERY AS ADMINISTRATOR FOR                 )
THE ESTATE OF FRANK C. DEUBELL;               )
JENNIFER G. FLANNERY AS                       )
ADMINISTRATOR FOR THE ESTATE OF               )
LEO J. DONOVAN; JENNIFER G.                   )
FLANNERY AS ADMINISTRATOR FOR                 )
THE ESTATE OF FRANCIS M. MANISTA,             )
JR.; AND DAWN M. DIRIENZO AS                  )
EXECUTOR FOR THE ESTATE OF PAUL               )
R. DELANO,                                    )
                                              )
                                Defendants.   )


LAW OFFICES OF JOEL B. RUDIN, P.C.                WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
Joel B. Rudin
David E. Rudin                                    Ross E. Firsenbaum
152 West 57th St.                                 Ryanne E. Perio
New York, NY 10019                                Gideon A. Hanft (pro hac vice)
jbrudin@rudinlaw.com                              Phoebe Silos (pro hac vice)
david@rudinlaw.com                                Erin Hughes (pro hac vice)
Telephone: (212) 752-7600                         7 World Trade Center
Fax: (212) 980-2968                               250 Greenwich St.
                                                  New York, NY 10007
Attorneys for Plaintiff Darryl Boyd               ross.firsenbaum@wilmerhale.com
                                                  ryanne.perio@wilmerhale.com
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page218
                                                                    of of
                                                                       102347




HOOVER & DURLAND LLP                          gideon.hanft@wilmerhale.com
                                              phoebe.silos@wilmerhale.com
Timothy W. Hoover                             erin.hughes@wilmerhale.com
Spencer L. Durland                            Telephone: (212) 230-8800
561 Franklin St.                              Fax: (212) 230-8888
Buffalo, NY 14202
thoover@hooverdurland.com                     Attorneys for Plaintiff Darryl Boyd
sdurland@hooverdurland.com
Telephone: (716) 800-2600

Attorneys for Plaintiff Darryl Boyd
         Case
       Case   1:22-cv-00519-LJV-JJMDocument
            1:22-cv-00519-LJV-JJM   Document  78 Filed
                                            126-3 Filed03/13/23
                                                        12/11/23 Page
                                                                  Page319
                                                                        of of
                                                                           102347




                                                           Table of Contents

I.        INTRODUCTION ...............................................................................................................1
II.        PARTIES .............................................................................................................................3
III.       JURISDICTION, VENUE, AND CONDITIONS PRECEDENT.......................................5
IV.       JURY DEMAND .................................................................................................................5
V.         FACTUAL ALLEGATIONS ..............................................................................................6
          A.          THE MURDER OF WILLIAM F. CRAWFORD...................................................6
          B.          THE BPD INVESTIGATION POINTS TO LARRY WATSON AND A
                      POTENTIAL ACCOMPLICE AS THE PERPETRATORS...................................7
          C.          THE BPD INVESTIGATES MR. BOYD AND FOUR OTHER BLACK
                      TEENAGERS, BUT FINDS EVIDENCE CORROBORATING THEIR
                      CONSISTENT STATEMENTS THAT THEY WERE NOT INVOLVED
                      IN THE MURDER ................................................................................................17
          D.          THE BPD COERCES 15-YEAR-OLD ANDRE HOUGH TO FALSELY
                      IMPLICATE MR. BOYD AND HIS FOUR FRIENDS FOR THE
                      CRAWFORD MURDER.......................................................................................23
          E.          THE BPD COERCES 17-YEAR-OLD TYRONE WOODRUFF TO
                      FALSELY IMPLICATE MR. BOYD AND THE OTHERS FOR THE
                      CRAWFORD MURDER.......................................................................................24
          F.          THE BPD ARRESTS MR. BOYD BASED ON THE FALSE, COERCED
                      TESTIMONY OF MESSRS. WOODRUFF AND HOUGH ................................30
          G.          ADDITIONAL INVESTIGATION FURTHER UNDERMINES THE
                      DETECTIVES’ FLAWED CASE AGAINST MR. BOYD ..................................33
          H.          MESSRS. WOODRUFF AND HOUGH BOTH RECANT BEFORE
                      TESTIFYING IN THE GRAND JURY BUT DETECTIVES COERCE
                      THEM INSTEAD TO EXPAND THEIR FALSE STORIES ...............................35
          I.          THE DEFENDANTS MISLEAD THE GRAND JURY, CAUSING IT TO
                      WRONGFULLY INDICT MR. BOYD ................................................................41
          J.          PLAINTIFF DARRYL BOYD IS TRIED AND CONVICTED BASED ON
                      COERCED FALSE TESTIMONY, WITHOUT THE BENEFIT OF
                      UNDISCLOSED BRADY MATERIAL ...............................................................43
          K.          THE ECDA OPPOSES MR. BOYD’S EFFORTS TO OVERTURN HIS
                      CONVICTION.......................................................................................................48
          L.          THE COURT VACATES MR. BOYD’S WRONGFUL CONVICTION ............51
VI.       MR. BOYD’S DAMAGES................................................................................................53
CAUSES OF ACTION ..................................................................................................................54
COUNT I
Malicious Prosecution (Federal Claim) ...................................................................................................... 54


                                                                     -i-
       Case
     Case   1:22-cv-00519-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM   Document  78 Filed
                                          126-3 Filed03/13/23
                                                      12/11/23 Page
                                                                Page420
                                                                      of of
                                                                         102347



COUNT II
Malicious Prosecution (State Claim) .......................................................................................................... 54
COUNT III
Evidence Fabrication (Federal Claim) ........................................................................................................ 55
COUNT IV
Wrongful Pretrial Withholding of Exculpatory Evidence ("Russo" Claim Under Federal Law) ............... 56
COUNT V
Brady Claim (Federal Law) ........................................................................................................................ 58
COUNT VI
Monell Claim Under Federal Law Against City of Buffalo for Policies of the Buffalo Police
Department.................................................................................................................................................. 59
COUNT VII
Monell Claim Under Federal Law Against the County of Erie for Policies of the Erie County
District Attorney ......................................................................................................................................... 66
COUNT VIII
State Law Claim for Negligent Failure of City of Buffalo to Properly Hire, Train, Supervise, and
Discipline the Police ................................................................................................................................... 95
COUNT IX
State Law Claim for Negligent Infliction of Emotional Distress................................................................ 95
COUNT X
State Law Claim for Negligent Failure of Erie County to Properly Hire, Train, Supervise, and
Discipline Employees of the District Attorney's Office.............................................................................. 96
PRAYER FOR RELIEF ................................................................................................................96




                                                                           - ii -
       Case
     Case   1:22-cv-00519-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM   Document  78 Filed
                                          126-3 Filed03/13/23
                                                      12/11/23 Page
                                                                Page521
                                                                      of of
                                                                         102347




        Plaintiff Darryl Boyd, by and through his attorneys, The Law Offices of Joel B. Rudin,

P.C., and Wilmer Cutler Pickering Hale and Dorr LLP, respectfully alleges as follows:

I.      INTRODUCTION

        1.     This civil action, pursuant to 42 U.S.C. §§ 1983 and 1988, and New York State

law, seeks monetary damages for the extraordinary injuries and harm suffered by Darryl Boyd,

who was wrongfully prosecuted, convicted, and imprisoned for more than 28 years for a robbery

and murder that he did not commit.

        2.     On August 18, 2021, after Mr. Boyd spent more than 28 years incarcerated and

another 17 years on parole for the January 2, 1976, murder of William Crawford in Buffalo, New

York (the “Crawford Murder”), the New York Supreme Court, County of Erie (the “State

Supreme Court”) vacated Mr. Boyd’s convictions for second-degree murder and first-degree

robbery. Specifically, following an evidentiary hearing on Mr. Boyd’s motion to vacate his

conviction, the State Supreme Court found that the prosecution had not disclosed to Mr. Boyd’s

trial counsel crime scene photographs that both (a) contradicted the prosecution’s theory of the

crime presented at trial, and (b) pointed to another individual, Mr. Crawford’s neighbor, as the

actual perpetrator. This non-disclosure violated Mr. Boyd’s constitutional right to a fair trial.

        3.     These undisclosed crime scene photographs, however, were hardly the only factor

that led to Mr. Boyd’s wrongful conviction and 28-year imprisonment. The egregious

misconduct perpetrated against Mr. Boyd by the defendants to this lawsuit spanned the course of

45 years—Mr. Boyd’s entire adult life. It included the relentless, bad-faith pursuit of his case by

Detectives Guadagno, Montondo, Deubell, Grabowski, Hunter, Arnet, Deubell, Manista, Delano,

and others, and by Chief Donovan. They coerced vulnerable witnesses to provide false

statements against Mr. Boyd and failed to turn over multiple items of evidence favorable to the

defense, known as Brady material, to prosecutors, which resulted in such evidence not being
                                                -1-
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page622
                                                                    of of
                                                                       102347




disclosed to the defense. And the misconduct also included the suppression by prosecutors of

Brady material of which they knew or should have known, which similarly contributed to the

denial of Mr. Boyd’s constitutional right to a fair trial.

          4.    All of this was in a case in which there was zero physical evidence linking Mr.

Boyd to the Crawford Murder. It was in a case where the main evidence against him was the

contradiction-riddled testimony of two minors, both of whom originally told the police that they

knew nothing about the murder but whom police then coerced to change their stories.

          5.    Moreover, it was in a case where there was substantial evidence—which law

enforcement authorities suppressed—pointing to two other individuals as the perpetrator or

perpetrators as opposed to Mr. Boyd and his teenage friends. The primary alternative suspect,

the victim’s neighbor and the last person known to have seen Mr. Crawford before his murder,

Lawrence “Larry” Watson, spoke to police detectives reinvestigating the case in 2019.

          6.    The detectives asked Mr. Watson about Mr. Boyd and his friends and what

happened on the night in question. Nearing death, Mr. Watson told the detectives : “They didn’t

do it.”

          7.    This statement was never disclosed to Mr. Walker prior to this civil litigation.

          8.    Instead of prohibiting or discouraging the type of illegal behavior that occurred in

this case, the policies, customs, and practices of the City of Buffalo Police Department (the

“BPD”) and the Erie County District Attorney’s Office (the “ECDA”) permitted, encouraged,

and in certain instances required it.

          9.    If not for the misdeeds of Defendants, Mr. Boyd would not have been prosecuted,

convicted, and imprisoned in violation of his constitutional rights, and would not have spent 45




                                                 -2-
        Case
      Case   1:22-cv-00519-LJV-JJMDocument
           1:22-cv-00519-LJV-JJM   Document  78 Filed
                                           126-3 Filed03/13/23
                                                       12/11/23 Page
                                                                 Page723
                                                                       of of
                                                                          102347




years asserting his innocence and fighting for his liberty in connection with a crime that he did

not commit.

         10.   This lawsuit seeks to hold accountable the government entities and individuals, or

their estates, who are responsible for destroying Mr. Boyd’s life, and to recover from them

compensation, as well as punitive damages, for Mr. Boyd’s grievous injuries.

II.      PARTIES

         11.   Plaintiff Darryl Boyd is a 63-year-old man who resides in Buffalo, New York.

         12.   Defendant City of Buffalo (the “City”) is a municipal corporation of the State of

New York and a resident of the Western District of New York. The BPD is an agency of the

City for whose torts the City is responsible.

         13.   Defendant County of Erie (the “County”) is a municipal corporation of the State

of New York and a resident of the Western District of New York. The ECDA is an agency of

the County for whose torts the County is responsible.

         14.   Defendant Michael G. Guadagno at all relevant times was a detective employed

by the BPD acting within the scope of his employment and under color of law. He is sued in his

individual and official capacities.

         15.   Defendant John Montondo at all relevant times was a detective employed by the

BPD acting within the scope of his employment and under color of law. He is sued in his

individual and official capacities.

         16.   Defendant Martin Bullock is the Executor for the Estate of James E. Hunter. At

all relevant times, Mr. Hunter was a detective employed by the BPD acting within the scope of

his employment and under color of law. Mr. Bullock is sued in his individual and official

capacities.




                                                -3-
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page824
                                                                    of of
                                                                       102347




        17.     Defendant Linda J. Fial is the Executor for the Estate of Robert Grabowksi. At all

relevant times, Mr. Grabowski was a detective employed by the BPD acting within the scope of

his employment and under color of law. Ms. Fial is sued in her individual and official capacities.

        18.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Robert F.

Arnet. At all relevant times, Mr. Arnet was a detective employed by the BPD acting within the

scope of his employment and under color of law. Ms. Flannery is sued in her individual and

official capacities.

        19.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Frank C.

Deubell. At all relevant times, Mr. Deubell was a detective employed by the BPD acting within

the scope of his employment and under color of law. Ms. Flannery is sued in her individual and

official capacities.

        20.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Leo J.

Donovan. At all relevant times, Mr. Donovan was a detective employed by the BPD acting

within the scope of his employment and under color of law. Ms. Flannery is sued in her

individual and official capacities.

        21.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Francis M.

Manista, Jr. At all relevant times, Mr. Manista was a detective employed by the BPD acting

within the scope of his employment and under color of law. Ms. Flannery is sued in her

individual and official capacities.

        22.     Defendant Dawn M. Dirienzo is the Executor for the Estate of Paul R. Delano. At

all relevant times, Mr. Delano was a detective employed by the BPD acting within the scope of

his employment and under color of law. Ms. Dirienzo is sued in her individual and official

capacities.




                                               -4-
        Case
      Case   1:22-cv-00519-LJV-JJMDocument
           1:22-cv-00519-LJV-JJM   Document  78 Filed
                                           126-3 Filed03/13/23
                                                       12/11/23 Page
                                                                 Page925
                                                                       of of
                                                                          102347




III.     JURISDICTION, VENUE, AND CONDITIONS PRECEDENT

         23.      This Court has jurisdiction under 28 U.S.C. § 1331 over claims arising under

42 U.S.C. §§ 1983 and 1988 and under 28 U.S.C. § 1343 over claims arising under the common

law of the State of New York.

         24.      Venue is proper in the Western District of New York under 28 U.S.C. § 1391(b)

because that is the judicial district in which Mr. Boyd’s claims arose.

         25.      On or about December 15, 2021, Plaintiff served the City and the County timely

notices of the present claims under New York State law, in accordance with N.Y. Gen. Mun.

Law § 50-e.

         26.      The City and the County did not within 90 days of service of such notices

schedule, and therefore waived their right to, an examination of Mr. Boyd under N.Y. Gen. Mun.

Law § 50-h.

         27.      Mr. Boyd has duly complied with all conditions precedent to the commencement

of this action.

IV.      JURY DEMAND

         28.      Pursuant to the Seventh Amendment of the United States Constitution and Article

I, Section 2 of the New York Constitution, Mr. Boyd requests a jury trial on all issues and claims

set forth in this Complaint.




                                                 -5-
      Case1:22-cv-00519-LJV-JJM
     Case   1:22-cv-00519-LJV-JJM Document
                                   Document126-3
                                            78 Filed
                                                 Filed03/13/23
                                                       12/11/23 Page
                                                                 Page1026ofof102
                                                                              347




V.      FACTUAL ALLEGATIONS

        A.     THE MURDER OF WILLIAM F. CRAWFORD

        29.    At approximately 11:30 p.m. on January 2, 1976, 62-year-old William F.

Crawford was brutally murdered outside his home at 2041 Fillmore Avenue in Buffalo, New

York.

        30.    Mr. Crawford had spent several hours drinking that day at a neighborhood tavern

called the Golden Nugget, which was located directly across the street from his house on

Fillmore Avenue. Mr. Crawford regularly drank at the Golden Nugget.

        31.    Mr. Crawford was at the Golden Nugget with his neighbor, Lawrence “Larry”

Watson, Larry’s wife Julia Watson, and Julia’s son William “Bill” Howard.

        32.    The Watsons lived at 2049 Fillmore Avenue, two houses north from Mr.

Crawford’s house.

        33.    Mr. Crawford purchased rounds of drinks for the group and, in the process of

paying for them, displayed a significant amount of cash—approximately $300 in tens and

twenties.

        34.    The barmaid, Debbie Jeffrey, instructed Mr. Crawford to put his money away, as

the Watsons and Mr. Howard, who were sitting with him at the bar, had observed it.

        35.    At approximately 11:30 p.m., Ms. Jeffrey suggested that Mr. Crawford go home,

as he was intoxicated.

        36.    Typically, Ms. Jeffrey or the owner of the Golden Nugget would walk Mr.

Crawford across the street to his house after he became drunk, but on that evening, the tavern

was crowded, and neither was able to escort Mr. Crawford home.

        37.    Mr. Watson offered to walk Mr. Crawford home, and the two left the Golden

Nugget together.


                                               -6-
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1127ofof102
                                                                            347




        38.    At approximately 1:00 a.m. on the morning of January 3, Margaret Crawford, Mr.

Crawford’s wife, became concerned that her husband had not returned home yet. She went

downstairs and looked out the side door into the driveway, where she saw her husband lying in

the driveway in the snow next to the side door, apparently unconscious. She called 911 for help.

        39.    Medics transported Mr. Crawford to Sisters of Charity Hospital, where he was

pronounced dead. He had been beaten to death with a blunt instrument and apparently robbed of

his wallet.

        B.     THE BPD INVESTIGATION POINTS TO LARRY WATSON AND A
               POTENTIAL ACCOMPLICE AS THE PERPETRATORS

        40.    The BPD Homicide Unit began investigating in the early morning hours of

January 3, 1976.

        41.    Pursuant to its usual practice, the Homicide Unit did not assign any one detective

to officially lead the investigation but worked collectively under the supervision of the Chief of

Homicide, Leo J. Donovan.

        42.    Detectives, including those named in this lawsuit, worked collaboratively as a

team, exchanging information with each other and reporting all developments to Donovan.

        43.    Detectives Paul Delano and Gerald Dove were the first detectives to report to the

crime scene.

        44.    They observed a large pool of blood close to the side door of the house, where

Mr. Crawford’s body was found, as well as a few drops of blood on the side of the house by the

side door. The side door was approximately 35 feet up the driveway from the sidewalk.

        45.    Detectives Delano and Dove also noted in their report that a bloodstained hat had

been found alongside the victim’s body and placed inside the hall door by the ambulance

attendant.



                                               -7-
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1228ofof102
                                                                            347




       46.     While at the crime scene, Detectives Delano and Dove interviewed the victim’s

widow, Margaret Crawford.

       47.     Ms. Crawford reported that she became concerned when her husband did not

“ring the bell” for her to come unlock the side door for him.

       48.     She said this was their custom when he was out drinking—evidently, he would

not bring his own keys.

       49.     When she went downstairs to check the door, she found her husband lying in the

driveway and called 911.

       50.     Detectives Delano and Dove next reported to Sisters Hospital, where they

observed Mr. Crawford’s body.

       51.     They noted in their police report that a set of keys were found on the body.

       52.     The keys were never vouchered.

       53.     There is no record of an investigation into the owner of the keys.

       54.     There is no record of what happened to the keys.

       55.     Detectives Delano and Dove returned to the crime scene, where an experienced

police photographer, Alfred Hauser, met them.

       56.     The photographer documented the areas pertinent to the investigation, including

the street, the sidewalk, the house, the driveway, and the backyard.

       57.     The large pool of blood that the photographer observed and photographed was

located well up the driveway, on the ground or on the side of the house next to the side door

where Mr. Crawford’s body was found.

       58.     The photographer did not document any signs of a struggle on the sidewalk in

front of the house or at the bottom of the driveway.




                                               -8-
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1329ofof102
                                                                            347




       59.     His photographs showed that there was no blood in those locations and there were

no drag marks in the snow in those areas.

       60.     A police photograph also documented a single set of footprints, made by a

heavyset man, in the snow in the backyard of Mr. Crawford’s house, leading toward the house of

Larry and Julia Watson two doors down.

       61.     Detectives Delano and Dove conducted several more interviews that night,

including of Bill Howard, Larry Watson’s stepson.

       62.     Mr. Howard reported that Mr. Crawford left the Golden Nugget alone around 1:30

a.m. (which, the detectives knew, was after the paramedics had already arrived to transport Mr.

Crawford to the hospital).

       63.     Detectives Delano and Dove also interviewed Julia Watson.

       64.     Ms. Watson also told detectives that Mr. Crawford left alone, but she put the time

around 9:30 p.m., or four hours earlier than Bill Howard said. She said that she and her husband

left together around 11:15 p.m.

       65.     Detectives Delano and Dove asked Ms. Watson if they could interview Mr.

Watson, but Ms. Watson reported that he was drunk and that she was unable to wake him.

       66.     Detectives Delano and Dove also interviewed the barmaid, Debbie Jeffrey.

       67.     She told a very different story than Ms. Watson and her son Bill Howard: She

said Mr. Crawford did not leave the bar alone, but rather left the Golden Nugget with Mr.

Watson.

       68.     The detectives noted that there were large discrepancies in the story told by Mr.

Howard and Ms. Watson, on the one hand, and Ms. Jeffrey’s statement on the other.




                                               -9-
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1430ofof102
                                                                            347




       69.     Detectives Edwin Gorski and Robert Grabowski continued the investigation when

their shift began at 4:00 p.m. on January 3, 1976.

       70.     They interviewed a patron of the Golden Nugget named Frances Kalb.

       71.     Ms. Kalb informed them that she saw Mr. Crawford drinking with the Watsons

and Mr. Howard the previous evening.

       72.     Ms. Kalb said that Mr. Crawford left with Mr. Watson around 11:30 p.m.

       73.     She further said that she saw Mr. Watson return to the bar approximately 20

minutes later and immediately leave again with his wife.

       74.     Ms. Kalb also informed the detectives that sometime after the Watsons left

together, she observed Ms. Jeffrey receive a call from Ms. Watson.

       75.     Ms. Watson stated that her husband was missing his keys and asked Ms. Jeffrey to

check for them at the bar.

       76.     According to Ms. Kalb, Mr. Howard told Ms. Jeffrey that the keys were in Mr.

Watson’s pocket, which Ms. Jeffrey conveyed to Ms. Watson.

       77.     Detectives Gorski and Grabowski also interviewed Mr. Watson.

       78.     Mr. Watson told the detectives that Mr. Crawford left the Golden Nugget around

12:00 a.m.

       79.     Mr. Watson said that he just happened to be leaving at the same time to use the

bathroom at his house across the street and two doors down.

       80.     Mr. Watson claimed that while Mr. Crawford was in front of the tavern preparing

to cross the street, Mr. Watson noticed the door to his own house open and went over to

investigate.

       81.     Mr. Watson did not mention that he had offered to walk Mr. Crawford home.




                                              - 10 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1531ofof102
                                                                            347




       82.     Detectives Gorski and Grabowski next interviewed Ms. Jeffrey (who had already

been interviewed by Detectives Dove and Delano).

       83.     In this second interview, Ms. Jeffrey told the detectives that Mr. Watson had

offered to walk Mr. Crawford home.

       84.     Ms. Jeffrey also corroborated Ms. Kalb’s statement that, after Mr. Watson

returned and left with his wife, Ms. Watson called the tavern and asked her to search for Mr.

Watson’s keys.

       85.     During this interview, Ms. Jeffrey reported to the detectives that she suspected

Mr. Watson was the killer of Mr. Crawford.

       86.     During their shift on January 3, 1976, Detectives Gorski and Grabowski reported

receiving “an anonymous call from a black male.” The caller stated that “Andre Howe” and

“Gerry Boyd” killed Mr. Crawford.

       87.     The detectives obtained a criminal record print out and a mugshot of a Jerome

Boyd, a 37-year-old man living nearby at 32 Glenny Drive.

       88.     Jerome Boyd is a different person than, and is of no relation to, Darryl Boyd.

       89.     The BPD did not document any attempts to locate or interview Jerome Boyd.

       90.     However, the next day, January 4, 1976, Detectives Delano, Dove, and Pantano

returned to the Golden Nugget with Jerome Boyd’s mugshot.

       91.     The owner of the Golden Nugget, Ralph Davis, recognized Jerome Boyd as a

regular patron of the tavern.

       92.     A bartender, Theotis “Teddy” Love, confirmed that he served a drink to Jerome

Boyd the night Mr. Crawford was murdered.




                                              - 11 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1632ofof102
                                                                            347




       93.     On January 6, 1976, Detectives Delano and John Ludtka took a formal statement

from Ms. Kalb.

       94.     Ms. Kalb repeated her statement that Mr. Crawford had been drinking with the

Watsons and Mr. Howard, and that either Mr. or Ms. Watson told Ms. Jeffrey not to worry

because they would take Mr. Crawford home.

       95.     Ms. Kalb again stated that Mr. Watson and Mr. Crawford left together after 11:00

p.m.

       96.     Detectives Delano and Ludtka showed Ms. Kalb the mugshot of Jerome Boyd and

she identified him as “a real big guy that came in and talked with Julia [Watson] and stayed for

only a few minutes.”

       97.     Ms. Kalb also repeated her statement that she was present at the Golden Nugget,

overheard Ms. Watson call the tavern to ask Ms. Jeffrey to search for her husband’s keys, and

heard Mr. Howard tell Ms. Jeffrey that the keys were in the pocket of Mr. Watson’s jacket.

       98.     Also on January 6, 1976, Detectives Stanley Suszek and Melvin Lobbett took a

formal statement from Ms. Jeffrey.

       99.     Ms. Jeffrey informed the detectives that Mr. Crawford had about $300 in cash on

him the night he was murdered, and that he had tried to lay it all out on the bar. She thought that

this was a stupid thing to do and instructed him to put it away.

       100.    She was certain that the Watsons and Mr. Howard had seen Mr. Crawford

displaying the cash.

       101.    Ms. Jeffrey again stated that, normally, she or someone else working at the

Golden Nugget would walk Mr. Crawford home when he became intoxicated, but on the evening

of January 2, the bar was crowded, and she could not leave.




                                               - 12 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1733ofof102
                                                                            347




       102.    She again stated that Mr. Watson offered to walk Mr. Crawford home.

       103.    She stated that Mr. Watson was gone for about 20 minutes, which Ms. Jeffrey

described as “long enough,” suggesting to detectives that Mr. Watson had enough time to walk

Mr. Crawford across the street, commit the murder (while dropping his keys), go to his house

two doors down to clean up, and return to the tavern.

       104.    Also on January 6, 1976, Detectives Gorski and Grabowski interviewed the

victim’s wife, Ms. Crawford, again.

       105.    Ms. Crawford informed them that her husband typically returned home from the

bar around 11:30 p.m. and came in through the side door.

       106.    Ms. Crawford stated that on the night of the murder, she was watching TV in bed

when she felt a thud that shook the side of the house.

       107.    It was about 11:30 p.m.

       108.    She said that when her husband still had not returned home by 1:00 a.m., she went

downstairs to check the door and found Mr. Crawford lying in the driveway.

       109.    The next day, on January 7, 1976, the BPD conducted formal interviews of and

prepared written statements by Larry and Julia Watson.

       110.    Detectives Ludtka and Francis Manista interviewed Mr. Watson.

       111.    Mr. Watson denied that he had seen Mr. Crawford with a large amount of cash

but admitted that Ms. Jeffrey told Mr. Crawford to put his wallet away.

       112.    Mr. Watson now admitted what he had omitted before—that Ms. Jeffrey had

asked him to take Mr. Crawford home—but stated that he did not do so.




                                               - 13 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1834ofof102
                                                                            347




         113.   Mr. Watson now claimed that he and Mr. Crawford shook hands outside the

Golden Nugget, he wished Mr. Crawford a happy New Year, and he crossed the street to his

house.

         114.   Mr. Watson’s admission contradicted Ms. Jeffrey’s statement that she did not ask

Mr. Watson to take Mr. Crawford home, but rather Mr. Watson offered to take Mr. Crawford

home.

         115.   Mr. Watson told detectives Ludtka and Manista that he and Mr. Crawford were

followed out of the Golden Nugget by a tall, dark man with a moustache and kinky hair.

         116.   Jerome Boyd, whom Ms. Kalb described as a “real big guy” whom she had seen

talking to Ms. Watson, appeared to fit this description.

         117.   Mr. Watson claimed that, once in the driveway of his own house, he noticed his

front door open and went inside to investigate.

         118.   This statement contradicted his prior statement to police that he noticed his front

door open while standing outside the tavern with Mr. Crawford.

         119.   Mr. Watson claimed that he found nothing amiss in his house, went to the

bathroom, and returned to the Golden Nugget, where Ms. Watson said she was ready to leave.

He said they left the tavern and returned home.

         120.   The same day, January 7, 1976, Detectives Delano and Vincent Pantano

interviewed Ms. Watson.

         121.   Ms. Watson admitted that she saw that Mr. Crawford had money laying on the bar

but claimed that she did not see the amount.

         122.   Ms. Watson now admitted that her husband left the tavern with Mr. Crawford.




                                                - 14 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page1935ofof102
                                                                            347




        123.     Ms. Watson stated that her husband returned to the Golden Nugget after 15 to 20

minutes, that she then gave her beer to her son, Mr. Howard, and she and Mr. Watson went

home.

        124.     Ms. Watson claimed that she and her husband were planning to return to the

Golden Nugget, but Mr. Watson misplaced his keys, so she called Ms. Jeffrey at the bar to tell

her that they would not be coming back.

        125.     Detectives Delano and Pantano interviewed Ms. Jeffrey again on January 12,

1976.

        126.     Ms. Jeffrey was adamant that she did not ask Mr. Watson to walk Mr. Crawford

home, but that Mr. Watson affirmatively volunteered, “stating that he had to go anyway, to use

the bathroom.”

        127.     According to the detectives, Ms. Jeffrey was “definite on this point.”

        128.     She also stated that, “because of the close proximity of everybody sitting at the

bar together, [it] would have been impossible for everyone else there not to have seen [Mr.

Crawford’s] money.”

        129.     Detectives noted, however, that the Watsons both denied seeing how much money

Mr. Crawford was carrying.

        130.     Ms. Jeffrey said she found it odd that, when Mr. Watson returned to the Golden

Nugget, he and his wife left in a hurry. They left without saying goodbye to Ms. Jeffrey, which

was uncharacteristic of them, and they left unfinished drinks on the bar even though, in her

experience, they always finished their drinks before they left.




                                                - 15 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2036ofof102
                                                                            347




       131.    Thus, in the days following the Crawford Murder, the named Defendants, together

with their colleagues, learned the following information pointing towards two suspects, Mr.

Watson and Jerome Boyd, as the likely perpetrator or perpetrators of the crime:

           x   On the night he was killed, Mr. Crawford had been at the Golden Nugget drinking
               heavily with the Watsons and Mr. Howard;

           x   Mr. Crawford had displayed approximately $300 in cash in front of the Watsons
               and Mr. Howard, which they saw;

           x   Mr. Watson volunteered to walk the intoxicated Mr. Crawford home to his house
               across the street;

           x   Messrs. Watson and Crawford were followed out of the Golden Nugget by a large
               man, potentially Jerome Boyd, whom a witness had seen talking with Ms.
               Watson;

           x   Jerome Boyd was the subject of an anonymous tip stating that he was one of the
               killers;

           x   Mr. Crawford was beaten and robbed at approximately 11:30 p.m. at the side door
               of his house, where his body was found in a pool of blood;

           x   A set of footprints in the snow led through the backyard of the Crawford property
               towards Mr. Watson’s house;

           x   Mr. Watson returned to the Golden Nugget approximately 20 minutes later and
               left in a hurry with his wife, without finishing their drinks or saying goodnight to
               the barmaid, which was uncharacteristic for them;

           x   Mr. Watson, his wife Julia, and his stepson Bill Howard made a series of false or
               contradictory statements to police apparently trying to distance Mr. Watson from
               the victim, Mr. Crawford;

           x   A set of keys was found on or near Mr. Crawford’s body, although Ms. Crawford
               reported that her husband’s usual practice was to ring the bell for her to let him in
               through the side entrance to their home;

           x   After returning home with her husband, Ms. Watson called the Golden Nugget
               and reported that her husband was missing his keys; and

           x   The barmaid at the Golden Nugget, Ms. Jeffrey, who knew Mr. Watson and
               observed his conduct on the night of the murder, believed he had committed the
               crime.



                                               - 16 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2137ofof102
                                                                            347




       C.        THE BPD INVESTIGATES MR. BOYD AND FOUR OTHER BLACK
                 TEENAGERS, BUT FINDS EVIDENCE CORROBORATING THEIR
                 CONSISTENT STATEMENTS THAT THEY WERE NOT INVOLVED IN
                 THE MURDER

       132.      On January 7, 1976, Detectives Deubell and Guadagno reported that they had

received an anonymous call (the second such call the Defendants claimed to have received), this

time from a woman who stated that the person who killed Mr. Crawford was Darryn Gibson,

who lived on Rodney Street. The female caller reportedly gave no further information.

       133.      Assuming this call was received at all, the absence of any detail about Mr. Gibson

or the caller meant that the officers had absolutely no basis to credit the information, and

certainly lacked probable cause to arrest Mr. Gibson.

       134.      Nevertheless, immediately after receiving the call, at approximately 10:30 a.m.,

Detectives Deubell and Guadagno took Mr. Gibson into their custody at his home where he lived

with his mother and father and forced him, alone, to accompany them to BPD Headquarters.

       135.      There, together with Detectives Manista and Pantano, they questioned him

illegally for approximately eight hours.

       136.      The BPD did not document that Mr. Gibson resisted arrest or was otherwise

uncooperative.

       137.      Mr. Gibson was 16 years old. His parents were not present with him during this

lengthy, custodial interview.

       138.      According to the report of Detectives Deubell and Guadagno, Mr. Gibson told the

detectives that, on the night of January 2, 1976, he was playing cards with his friends Mr. Boyd,

John Walker, Floyd Martin, and Tyrone “Tony” Woodruff in the Glenny Projects at 138 Glenny

Drive, in the sixth-floor apartment of a girl named Shirley Floyd.




                                                - 17 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2238ofof102
                                                                            347




       139.    Mr. Gibson provided the home addresses of his four friends, all between 16 and

17 years of age.

       140.    Mr. Gibson said that on January 2, shortly after the news came on, at about 11:15

p.m., Messrs. Walker and Woodruff caught a cab from the Fillmore Cab Company.

       141.    Mr. Gibson said they took a cab from the Glenny Projects to their homes on Best

Street, approximately two and a half miles and an eight-minute drive south of the Glenny

Projects.

       142.    Mr. Gibson said that Mr. Martin, who lived just downstairs from Shirley Floyd’s

apartment, walked downstairs to go home as well.

       143.    Mr. Gibson said that just after Messrs. Walker and Woodruff left in the cab,

Messrs. Gibson and Boyd walked home along Fillmore Avenue (past Mr. Crawford’s house) to

Leroy Street, where Mr. Gibson and Mr. Boyd split up and went to their respective homes.

       144.    Mr. Gibson estimated that he arrived home at about 11:35 p.m.

       145.    Mr. Gibson consented to a polygraph exam.

       146.    Prior to the examination, he had been in police custody and questioned for hours.

Nevertheless, the examiner claimed, in a report dated five days later (the date Mr. Boyd and the

others were arrested), that the results couldn’t be trusted because of “the lack of a pre-test

conference and inaccuracy of available information.”

       147.    This made no sense, since there was nothing preventing the examiner, during the

many hours Mr. Gibson was in police custody, from conducting a “pre-test conference” and

asking Mr. Gibson the pertinent questions directly.

       148.    The most logical inference from the above circumstances is that Mr. Gibson’s

responses to the examiner’s questions suggested he was being truthful.




                                                - 18 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2339ofof102
                                                                            347




       149.    The next day, January 8, 1976, Detectives Guadagno and Deubell went to the

Fillmore Cab Company to investigate the accuracy of Mr. Gibson’s statement.

       150.    The Fillmore Cab Company confirmed that Cab No. 150, driven by a driver

named “Geno,” was dispatched to the Glenny Projects at 11:28 p.m.

       151.    A second cab, Cab No. 163, driven by Brian Woods, was dispatched to the

Glenny Projects at 11:44 p.m.

       152.    According to the Company’s records, these were the only two cabs dispatched to

the Glenny Projects that evening.

       153.    Any police officer really believing Mr. Gibson or his friends had committed the

crime would have interviewed the two drivers. The drivers could have noticed blood stains, torn

clothing, large amounts of cash, strange behavior, or other indicia of the crime, or overheard the

suspects making incriminating comments.

       154.    However, the detectives did not document any attempt to locate or interview

either cab driver.

       155.    Because witnesses at the Golden Nugget on the night of the Crawford Murder

confirmed that Mr. Crawford and Mr. Watson left together around 11:30 p.m., the evidence that

Mr. Walker and Mr. Woodruff took the first taxicab at 11:28 p.m. meant the five boys could not

have committed the crime together.

       156.    The BPD conducted several additional interviews on January 8 which further

confirmed Mr. Gibson’s account of events.

       157.    Detectives Guadagno and Deubell went to the Glenny Projects, where they

interviewed Sheryl (“Shirley”) Floyd.




                                               - 19 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2440ofof102
                                                                            347




        158.   Ms. Floyd confirmed that Messrs. Boyd, Walker, Martin, Gibson, and Woodruff

were at her apartment on the night of the Crawford Murder, just as Mr. Gibson had told the BPD.

        159.   Ms. Floyd identified other individuals—Nathaniel Zachery, Dennis Wilson and

his brother, Larry Martin, Victoria Bryant, and persons named “Nick” and “Ann”—who were at

the party in her apartment that night as well.

        160.   Ms. Floyd stated that the boys left her apartment around midnight, give or take an

hour.

        161.   Nathaniel Zachery, who was at Ms. Floyd’s apartment when detectives came to

meet her, confirmed that he was with the boys that evening.

        162.   Detectives Guadagno and Deubell also went to 93 Leroy Street looking for Mr.

Boyd.

        163.   Mr. Boyd was not home, but they spoke with his mother, who confirmed that Mr.

Boyd returned home just past midnight on January 3, 1976.

        164.   Between January 8 and 11, 1976, detectives interviewed and took statements from

three of the four boys Mr. Gibson said he was playing cards with at Ms. Floyd’s apartment the

night of the Crawford Murder—Messrs. Boyd, Walker, and Woodruff.

        165.   All three gave substantially the same account of their whereabouts and thus

further confirmed Mr. Gibson’s account.

        166.   Specifically, on January 8, 1976, Detectives Guadagno and Deubell, despite

lacking any evidence implicating Mr. Boyd in the murder, took him into their custody and,

without administering Miranda warnings, interrogated him in a BPD interview room.

        167.   Mr. Boyd told these detectives that, earlier on January 2, a boy named Andre

Hough was at his house at 93 Leroy Street.




                                                 - 20 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2541ofof102
                                                                            347




        168.   Mr. Boyd stated that, during the early evening, he and Mr. Hough walked to the

Glenny Projects, where they watched TV at the apartment of a Ms. Washington, along with

several other members of the Washington family.

        169.   He stated that, later in the evening, he left Ms. Washington’s apartment to join

Messrs. Walker, Gibson, Martin, and Woodruff at Shirley Floyd’s apartment in the building next

door.

        170.   Mr. Boyd said that Floyd Martin’s brother, Eugene, called a cab from the Fillmore

Cab Company. However, when the cab arrived, Eugene was not ready. The cab driver refused

to wait any longer, so Messrs. Walker and Woodruff took that cab and headed home.

        171.   The BPD had already confirmed that this cab was dispatched to the Glenny

Projects at 11:28 p.m.

        172.   Mr. Boyd said Eugene Martin called for a second cab, having missed the first cab.

        173.   The BPD had already confirmed that this cab was dispatched to the Glenny

Projects at 11:44 p.m.

        174.   Mr. Boyd said that after Eugene Martin called the second cab, but before it

arrived, Messrs. Boyd and Gibson began walking home together up Fillmore Avenue. They split

up at Leroy Street.

        175.   Mr. Boyd consented to take a polygraph exam.

        176.   However, neither Detectives Guadagno nor Deubell, who interrogated him, nor

the other detectives involved in the investigation, ever conducted one.

        177.   Rather, knowing that Mr. Boyd’s statement conformed to the other evidence they

had collected, Detectives Guadagno and Deubell falsely wrote in their report, without

elaboration, that he had “changed his story several times.”




                                              - 21 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2642ofof102
                                                                            347




       178.    They pressured him, before letting him go, into signing a false statement that he

had provided two different times when he had arrived home.

       179.    On January 11, 1976, the BPD lacked any evidence that Messrs. Walker and

Woodruff were involved in the murder.

       180.    Nevertheless, they brought these two teenagers in their custody to BPD

Headquarters for questioning.

       181.    Detectives Arnet, Hunter, and John Montondo interviewed Mr. Walker.

       182.    Mr. Walker stated that, on the night of January 2, he was with Messrs. Boyd,

Martin, Gibson, and Woodruff at Ms. Floyd’s apartment in the Glenny Projects.

       183.    He stated that he took a cab with Mr. Woodruff around midnight, went home, and

went to bed.

       184.    Mr. Walker consented to a polygraph exam, but the BPD never conducted one.

       185.    Even though Mr. Walker had provided a statement that was consistent with the

statements of the other suspects and witnesses and volunteered to take a polygraph test,

Detectives Arnet, Hunter and Montondo falsely wrote in their report that he had “lied through his

statement.”

       186.    They further wrote, falsely, that Mr. Walker made “different statements” to them

orally than he had made in his signed statement.

       187.    Contrary to basic police practice, nowhere did they record what his inconsistent

oral statements or lies supposedly were.

       188.    Detectives Arnet, Hunter, and Montondo questioned Mr. Woodruff.

       189.    Mr. Woodruff, during hours of questioning, truthfully denied any knowledge of

who participated in the Crawford murder.




                                              - 22 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2743ofof102
                                                                            347




       190.     Consistent with all the other evidence these and the other detectives had obtained,

Mr. Woodruff said he was with Messrs. Martin, Gibson, Walker, and Boyd at Ms. Floyd’s

apartment on the night of January 2 and that he had taken a cab home with Mr. Walker.

       191.     However, Detectives Arnet, Hunter, and Montondo, in their report, falsely

accused Mr. Woodruff of “lying.”

       192.     As with Mr. Walker, and contrary to basic police practice, they made no record of

the specific statements Mr. Woodruff allegedly had made that they contended were false.

       193.     This was because their intent was not to build a legitimate case against Messrs.

Walker and Woodruff but to fabricate a basis to continue interrogating them and ultimately to

arrest and prosecute them.

       D.       THE BPD COERCES 15-YEAR-OLD ANDRE HOUGH TO FALSELY
                IMPLICATE MR. BOYD AND HIS FOUR FRIENDS FOR THE
                CRAWFORD MURDER

       194.     Following the murder, in early January 1976, 15-year-old Andre Hough, an eighth

grader, was questioned by police on several occasions about whether he had any knowledge of

the incident.

       195.     Detectives made clear to Mr. Hough that they suspected him of being involved in

the murder and, as he later testified, harassed him and “came down on [him] pretty hard.”

       196.     Telling him that they wanted him to name names, they told him the names of the

people they had in mind as participants in the murder.

       197.     Mr. Hough initially told detectives he had no knowledge of any unlawful behavior

in connection with the Crawford Murder.

       198.     After doing so, he “passed” a polygraph examination.

       199.     However, detectives deliberately failed to document his initial statements

exculpating the police suspects and the results of the polygraph examination.


                                               - 23 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2844ofof102
                                                                            347




       200.      Questioned by Detectives Guadagno and Deubell, Mr. Hough gave the same

account of his whereabouts as Mr. Boyd.

       201.      He did not tell the detectives that Mr. Boyd had said or done anything

incriminating.

       202.      He was then threatened with prosecution for murder if he did not provide

information against the other boys.

       203.      Mr. Hough was brought back to BPD Headquarters for further interrogation on

January 12, 1976.

       204.      Detectives Guadagno and Deubell again accused Mr. Hough of knowing about

and participating in the murder.

       205.      Coerced by Detectives Guadagno and Deubell to implicate the other boys to save

himself, Mr. Hough then began to do so.

       206.      According to police reports, he now said that Mr. Boyd had confessed to him that

Mr. Boyd and the four other boys had seen Mr. Crawford in his driveway, run after him, beat

him, and taken his wallet.

       207.      However, under intense pressure to provide any additional information that he

had, Mr. Hough swore that he could think of no additional information.

       E.        THE BPD COERCES 17-YEAR-OLD TYRONE WOODRUFF TO
                 FALSELY IMPLICATE MR. BOYD AND THE OTHERS FOR THE
                 CRAWFORD MURDER

       208.      On January 12, 1976, Detectives Hunter and Arnet once more took Tyrone

Woodruff illegally into their custody, telling him, or leading him to believe, he was under arrest

for the Crawford Murder.




                                                - 24 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page2945ofof102
                                                                            347




       209.    Bringing him to the Buffalo Police Department homicide unit for further

interrogation, these detectives stood over him, armed with guns, and, in an intimidating,

accusatory, and coercive manner, harshly interrogated him.

       210.    Even though Mr. Woodruff was alone and just 17 years of age, police refused him

permission to call his parents or a lawyer.

       211.    Mr. Woodruff at first continued to truthfully deny any knowledge of the Crawford

Murder.

       212.    However, detectives Arnet and Manista told Mr. Woodruff that they had his

friends upstairs.

       213.    They threatened him, falsely, that his friends had accused him of the crime and

that they had other evidence implicating him as well.

       214.    They told him, falsely, that, if he did not provide information against the others,

one or more of them would cooperate against him and he would face life imprisonment.

       215.         On the other hand, they told him, if he minimized his own involvement in the

crime while cooperating against the other boys, the detectives would speak with the ECDA about

arranging for him to receive complete immunity from prosecution.

       216.    Detectives Hunter and Manista prepared reports, both false, that contradicted each

other about how detectives ultimately succeeded in getting Mr. Woodruff to change his story and

incriminate himself and the other boys.

       217.    According to Detective Hunter’s report, Mr. Woodruff was allowed to eat devil’s

food cake his mother had sent with him and to call his mother and aunt, before “[h]e started

asking Det. Arnet questions, and subsequently admitted to Det. Arnet that he was a witness to the

Crawford homicide.”




                                                 - 25 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3046ofof102
                                                                            347




        218.    This made it appear that Mr. Woodruff, totally of his own volition, simply

decided to come clean.

        219.    According to Detective Manista’s report, however, at 5:40 p.m., he received an

anonymous phone call about the investigation from a “negro female who wished to remain

anonymous.”

        220.    This was the third time detectives claimed to have received an anonymous call

and the second time they used such a call as a basis to detain and question a suspect.

        221.    The anonymous caller reportedly knew and provided names and specific home

addresses for each of the five boys.

        222.    However, according to the report, the caller identified “Darryl Gibson” as a

participant, which incorrectly combined Darryl Boyd’s first name and Darryn Gibson’s last

name.

        223.    This call, assuming it occurred at all, was a fake.

        224.    The names and the addresses, except for the error regarding the names of Messrs.’

Boyd and Gibson, consisted of the information that Mr. Gibson had provided in his initial

statement to police.

        225.    The anonymous caller also incorporated other information that the BPD had

already received in its investigation, including that some of the boys had gone home in a cab and,

according to Mr. Hough, had divided up proceeds at 138 Glenny Drive.

        226.    Any competent detective would have tried to convince such a potentially valuable

witness, assuming she was real, to identify herself so she potentially could testify or otherwise

further assist the investigation.




                                                - 26 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3147ofof102
                                                                            347




       227.    Any competent detective would have protected the voice and the identity of such

an informant, assuming she was real, from the alleged murderer she was implicating.

       228.    However, according to Detective Manista’s report, at the time he took the call,

Mr. Woodruff just happened to be in the room with him and Detective Arnet and was permitted

to “listen … to the conversation.”

       229.    After hearing a tipster directly implicate him, according to Detective Manista’s

report, “Tyrone Woodruff became very nervous and could barely raise a cup of coffee he was

drinking.”

       230.    Detective Manista’s report continued: “He was asked by Det. Manista in the

presence of Det. Arnet if he could remember anything now; he was told that a person puts him in

a hallway [sic] dividing money. At 5:45 P.M. he told Dets. Manista & Arnet ‘Gibson was hitting

him, Gibson was hitting him, I think.’”

       231.    According to Detective Manista, he immediately reported to Chief Donovan,

Chief of Homicide Detectives, “what had taken place.”

       232.    Chief Donovan thus knew how detectives had used this fake anonymous call to

coerce Mr. Woodruff to implicate himself and his friends in the homicide.

       233.    Detectives Deubell and Manista, joined by Chief Donovan, then continued to

interrogate Mr. Woodruff.

       234.    At 8:50 p.m., after an additional three hours of interrogation, Mr. Woodruff was

told to sign a statement in question-and-answer form, typed by Detective Manista, which

purported to be under oath.




                                              - 27 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3248ofof102
                                                                            347




        235.    Fed a story by Detectives Arnet, Deubell, and Manista, and Chief Donovan, Mr.

Woodruff purportedly stated that Mr. Gibson said he wanted to get some money and had

somehow heard that there was a man in a bar flashing a lot of money.

        236.    Mr. Woodruff stated that he did not know what bar it was, or how Mr. Gibson

knew about the man flashing money.

        237.    Mr. Woodruff said that while the group was walking down Fillmore Avenue,

supposedly hoping to cross paths with a victim to rob, Mr. Gibson allegedly found a pipe and put

it up his sleeve.

        238.    Mr. Woodruff said that the group apparently spotted Mr. Crawford as he was

entering his driveway.

        239.    According to Mr. Woodruff, Mr. Gibson beat Mr. Crawford at the end of the

driveway, and Messrs. Gibson and Boyd together dragged him up the driveway.

        240.    Mr. Woodruff said that Mr. Boyd allegedly stole his wallet.

        241.    Mr. Woodruff did not mention any involvement by Messrs. Walker or Martin.

        242.    Although the BPD knew that Mr. Crawford was old, heavy set, and had been

wearing a large Stetson hat, Mr. Woodruff could not describe the man in any way except that he

was white—a fact that had been supplied to him at the start of his previous interview.

        243.    Mr. Woodruff said that the group allegedly returned to the Glenny Projects and

called a cab, which Messrs. Walker and Woodruff took home.

        244.    Mr. Woodruff, minimizing his own role in the crime, denied receiving any of the

money or being present when the money was divided up.




                                              - 28 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3349ofof102
                                                                            347




       245.    Although the written statement purported to document the entire interview of Mr.

Woodruff, after three hours it was less than three pages, with nearly half of it consisting of a

Miranda waiver and his viewing of photographs of his friends.

       246.    Chief Donovan was personally present for Mr. Woodruff’s interrogation and his

signing of the statement.

       247.    BPD detectives involved in the investigation knew that Mr. Woodruff’s

account—that he and the other four boys walked together from the Glenny Projects to the

Golden Nugget and committed a robbery—was untrue.

       248.    This was because several witnesses—including Ms. Kalb (the Golden Nugget

patron), Ms. Jeffrey (the barmaid), Ms. Crawford (the widow), Mr. Watson (the likely

perpetrator), and his wife—put the time of the crime either at or after the time Messrs. Walker

and Woodruff entered the taxicab at the Glenny Projects and went home.

       249.    Moreover, the physical evidence at the crime scene did not support the story Mr.

Woodruff had been pressured to come up with or adopt.

       250.    Neither the responding officers nor the police photographer had seen or

documented any pools of blood or other signs of a struggle in front of the house, on the sidewalk

at the entrance to the driveway, or along the driveway leading to the place where Mr. Crawford’s

body had been found.

       251.    There were no marks in the snow suggesting that Mr. Crawford had been dragged

up the driveway from the sidewalk.

       252.    Mr. Crawford’s Stetson hat surely would have fallen off at the bottom of the

driveway had he been assaulted with a pipe and dragged the 35 feet from the sidewalk to the

place where he was found, but it was found by his body.




                                               - 29 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3450ofof102
                                                                            347




       253.     And the single set of footprints in the snow in the backyard leading towards Mr.

Watson’s house pointed to Mr. Watson as the perpetrator, not a group of five young boys.

       254.     Remarkably, even though Mr. Woodruff had confessed his involvement in a

vicious robbery/murder for which he potentially faced 25 years to life in prison, Chief Donovan

and the other detectives did not arrest him but instead released him from custody and allowed

him to go home.

       255.     In the ensuing weeks and months, detectives and prosecutors fed Mr. Woodruff

additional details to incorporate into this account in order to conform it to other evidence they

had collected, or to make his story seemingly more incriminating of the individual criminal

defendants.

       F.       THE BPD ARRESTS MR. BOYD BASED ON THE FALSE, COERCED
                TESTIMONY OF MESSRS. WOODRUFF AND HOUGH

       256.     After Mr. Woodruff signed his coerced, false statement of January 12, 1976,

Chief Donovan, knowing the investigation was corrupted, authorized the arrests of Mr. Boyd and

his co-defendants, Messrs. Walker, Gibson, and Martin.

       257.     Detectives Hunter and Arnet arrested Messrs. Boyd and Gibson.

       258.     They brought the two boys to the location where Detective Guadagno had arrested

Mr. Walker, and then the detectives took the boys at the same time to police headquarters before

taking each of them to a separate room for further interrogation.

       259.     They continually tried to turn one boy against the others as they had done with

Mr. Woodruff.

       260.     During his arrest, Mr. Boyd repeatedly proclaimed his innocence.




                                               - 30 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3551ofof102
                                                                            347




          261.   However, in a report submitted by Detectives Arnet, Montondo, and Hunter, the

detectives falsely claimed that Mr. Boyd had “feigned any type [of] knowledge what so ever [sic]

of the above mentioned investigation.”

          262.   After Mr. Boyd was arrested, his mother, Thomacenia Knight, brought several

witnesses to BPD Headquarters, and they confirmed that Mr. Boyd was at the Glenny Projects on

the evening of January 2 until around midnight.

          263.   Detectives Guadagno, Hunter, and others, meanwhile, tried to coerce a false

confession from the slightly built, 16-year-old Mr. Walker.

          264.   They showed him gruesome photographs of Mr. Crawford’s body, while towering

over him and wearing their guns.

          265.   They told Mr. Walker that they knew he had committed the murder, but that if he

said he was a lookout with Mr. Woodruff, they would go easy on him.

          266.   When Mr. Walker continually denied guilt and went to stand up, Detective Hunter

said that, if he got up, Hunter would “beat your motherfucking ass.”

          267.   They claimed that they had an anonymous female caller on the line who alleged

that she had seen Mr. Walker and his friends at the Glenny Projects dividing up the proceeds of

the robbery.

          268.   This was the same ruse they reportedly had used to coerce Mr. Woodruff’s

confession.

          269.   As with Mr. Woodruff, the detectives lied to Mr. Walker that his friends and other

witnesses were implicating him, but that he could obtain leniency if he cooperated with the

police.

          270.   Mr. Walker continued to maintain his innocence.




                                               - 31 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3652ofof102
                                                                            347




        271.   Detectives Guadagno and Deubell, in their report, falsely accused Mr. Walker of

having “refused to aid us in this investigation.”

        272.   In fact, in aid of the investigation, he truthfully answered the detectives’

questions, but the answers were not those that they wanted to hear.

        273.   Before his booking, Mr. Martin was interviewed by Detective Montondo.

        274.   Like the other boys, Mr. Martin informed the detective that he had been at Shirley

Floyd’s apartment in the Glenny Projects with Messrs. Boyd, Gibson, Walker, and Woodruff the

night of January 2.

        275.   Like the other boys, he stated that Messrs. Walker and Woodruff left in a taxicab,

and Messrs. Gibson and Boyd walked home together.

        276.   Mr. Martin said that he returned to the party with his brother after the others left.

        277.   Detective Montondo wrote in his report that Mr. Martin was lying, despite the

evidence corroborating Martin’s statement and the consistency of his statement with the

statements of the other suspects and witnesses.

        278.   Taking and sharing credit with all the homicide detectives under his command

who were collectively responsible with him for manufacturing the case, Chief Donovan listed

himself and the entire Homicide Unit as the arresting officers for Mr. Boyd and the other three

boys.

        279.   To initiate a criminal proceeding, Chief Donovan and Detective Dove both signed

a sworn criminal court complaint falsely accusing Messrs. Boyd, Walker, Gibson, and Martin of

second-degree murder and criminal possession of a dangerous weapon.

        280.   They attached the false statement they had coerced from Mr. Woodruff on

January 12, 1976, as the factual basis for the complaint.




                                               - 32 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3753ofof102
                                                                            347




        281.   Although the detectives and Chief Donovan knew from multiple witnesses that

the attack had occurred at about 11:30 p.m. or later, after Messrs. Walker and Woodruff had

gone home in a cab, they falsely alleged in the complaint that the attack had occurred at about

10:30 p.m.

        G.     ADDITIONAL INVESTIGATION FURTHER UNDERMINES THE
               DETECTIVES’ FLAWED CASE AGAINST MR. BOYD

        282.   Mr. Boyd and his three co-defendants were arraigned in court on January 13,

1976.

        283.   All were remanded to the Erie County Holding Center, pending a preliminary

hearing to be held on January 16, 1976.

        284.   On January 15, 1976, Detectives Montondo and John Regan, at the request of

Detectives Deubell and Guadagno, interviewed the owner of a bodega called Simpson’s Store,

located approximately three blocks from the Golden Nugget, to corroborate Mr. Hough’s story,

coerced from him by police, that he saw Mr. Boyd spending a lot of money at the store the day

after the murder.

        285.   According to the detectives’ report, the owner of Simpson’s Store and her

daughter knew the boys but did not recall seeing them on either January 2, when they supposedly

were present waiting for the emergence of Mr. Crawford from the Golden Nugget, or January 3,

1976, when they supposedly were there in possession of the robbery proceeds.

        286.   This contradicted Mr. Hough’s story (and Mr. Woodruff’s).

        287.   To minimize the significance of the owners’ statements, Detective Montondo

wrote: “Simpson’s Delicatessen is a very small store and it would be easy for the workers to

overlook anyone, especially if they were busy.”

        288.   However, the owner and her daughter had not said they were busy.



                                              - 33 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3854ofof102
                                                                            347




       289.    Moreover, the small size of the store would have made a group of 16-year-old

boys flashing unusually large amounts of cash more, not less, conspicuous.

       290.    On January 16, 1976, a preliminary hearing was held to determine whether there

was probable cause to continue the prosecution and to hold Mr. Boyd and his co-defendants in

custody.

       291.    Mr. Woodruff, who had been given complete immunity from prosecution, was the

principal witness against the defendants.

       292.    Based upon the false story of Mr. Woodruff that the detectives had coerced out of

him, the court found probable cause for the prosecution and continued the defendants’ detention.

       293.    At the hearing, neither the named Defendants nor their fellow detectives disclosed

information in their individual and joint possession that would have negated the probable cause

found by the court, including, but not limited to:

           x   the coercive tactics they had used to pressure Mr. Woodruff to accuse Mr. Boyd
               and the other boys;

           x   the evidence they had collected corroborating Mr. Woodruff’s initial story denying
               any knowledge of the crime;

           x   the evidence proving that Mr. Woodruff left in a taxicab before the Crawford
               Murder occurred and therefore could not have seen it;

           x   the forensic evidence contradicting Mr. Woodruff’s account of the crime,
               including the crime scene photographs showing the absence of blood or drag
               marks in the driveway; and

           x   the wealth of evidence, including a crime scene photograph, incriminating Larry
               Watson as well as Jerome Boyd.

       294.    Had this evidence been disclosed, the case would have been dismissed at

arraignment, or Mr. Boyd would have been released from custody.




                                               - 34 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page3955ofof102
                                                                            347




       295.    On the same date as the preliminary hearing, a supposed witness, according to

police records, came forward to tell the prosecutor handling the case, Chief Donovan, and

Detective Dove that he and two of his friends—another young black man and a black woman—

had witnessed the assault. The witness’s account of events materially contradicted Mr.

Woodruff’s statements, but his statement was not disclosed to the defense either.

       H.      MESSRS. WOODRUFF AND HOUGH BOTH RECANT BEFORE
               TESTIFYING IN THE GRAND JURY BUT DETECTIVES COERCE
               THEM INSTEAD TO EXPAND THEIR FALSE STORIES

       296.    On February 11, 1976, a grand jury was convened to hear evidence concerning

the Crawford Murder.

       297.    Before giving any testimony, Messrs. Woodruff and Hough were first brought to

the ECDA’s office.

       298.    According to police reports, Mr. Hough, in the presence of his mother, was

questioned by Detectives Delano and Guadagno.

       299.    Mr. Hough recanted his prior statement about the boys.

       300.    According to the reports of the two detectives, he told them that he “wanted to

change his story about the truth of the statement” he had previously given. “He said that he lied

in the statement about what [Darryl] Boyd told him. He said [Mr. Boyd] never told him that he

killed William Crawford.”

       301.    The detectives deliberately omitted from their reports the details of the questions

and answers in which Mr. Hough exonerated the suspects.

       302.    After the detectives’ prolonged questioning failed to shake her son from

recanting, Mr. Hough’s mother said that she would be leaving, but she obtained the promise of

Detectives Delano and Guadagno to drive her son, who was in their custody, home.




                                              - 35 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4056ofof102
                                                                            347




         303.   However, according to their own reports, instead of doing that, they accused Mr.

Hough of lying and threatened him that he had better tell the truth.

         304.   Under intense pressure and with his mother no longer present, this 15-year-old

boy recanted his recantation and then was led by the detectives to further embellish his previous

story.

         305.   While he previously said that he recalled no additional information, he now

claimed for the first time that, before the assault, Messrs. Boyd and Gibson (both 16 years old)

went into the Golden Nugget Bar to look around and then waited with the other boys down the

street for Mr. Crawford to come outside.

         306.   Mr. Hough was then put into the grand jury to testify to this newly embellished

story.

         307.   During his grand jury testimony, Mr. Hough claimed that he overheard Mr.

Gibson state on the night of the murder, “I’m going to get me some money tonight.”

         308.   Mr. Hough had not made this claim in any of his prior statements to police

officers.

         309.   In fact, it was Mr. Woodruff who had previously claimed that on the night of the

Crawford homicide, he heard Mr. Gibson say, “I’m going to get me some money tonight.”

         310.   Mr. Hough only testified to this statement before the grand jury because it had

been suggested to him by law enforcement officials as part of an attempt to coordinate his

testimony with that of Mr. Woodruff.

         311.   Meanwhile, Detectives Guadagno and Delano went to talk to Mr. Woodruff

before he was to testify before the grand jury.

         312.   However, they discovered that Mr. Woodruff, too, had recanted.




                                                  - 36 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4157ofof102
                                                                            347




       313.    Again, they deliberately omitted from their reports the details of what Mr.

Woodruff said to exculpate the suspects, including Mr. Boyd.

       314.    Detective Delano noted in his report that Mr. Woodruff was so nervous that he

was shaking.

       315.    Detective Delano, according to his own report, accused Mr. Woodruff of lying

and demanded that he tell “the whole story.”

       316.    In their separate reports, Detectives Delano and Guadagno each took credit for

coercing Mr. Woodruff into withdrawing his recantation and embellishing his story.

       317.    Detective Delano reported that he confronted Mr. Woodruff with Mr. Hough’s

new statement which then led Mr. Woodruff to change his story to match Mr. Hough’s.

       318.    Detective Guadagno, on the other hand, without mentioning Mr. Hough’s new

statement playing any role, reported that he “talked with Tony and he came up with more

important information.”

       319.    Up until this point in the investigation, the BPD had been unable to explain how

Mr. Boyd and the other defendants supposedly knew that, if they walked down Fillmore Avenue,

they would happen across a victim, flush with cash, to rob.

       320.    The statements that the detectives previously had coerced from Messrs. Woodruff

and Hough made it appear that it was pure serendipity that they stumbled across Mr. Crawford,

who just happened to have a lot of cash on him.

       321.    Now, however, Detectives Delano and Guadagno pressured Mr. Woodruff to

adopt Mr. Hough’s new statement that the boys had engaged in a reconnaissance mission at the

Golden Nugget that resulted in their targeting Mr. Crawford.




                                               - 37 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4258ofof102
                                                                            347




       322.     In Mr. Woodruff’s new version of events, fed to him by Detectives Guadagno

and Delano, before the boys even left the Glenny Projects, someone suggested they go to a bar,

because “maybe somebody in one of the bars has cashed a check.”

       323.    According to Mr. Woodruff’s new story, Mr. Gibson, hiding a pipe up his sleeve,

and Mr. Boyd supposedly went into the Golden Nugget.

       324.    This was an establishment, the detectives knew, which served an older

demographic, and any 16-year-olds would have stood out and been denied admission.

       325.    Indeed, the barmaid, Ms. Jeffrey, and other witnesses had told them they did not

see any of the boys in the bar the night of the murder.

       326.     Nevertheless, knowing from multiple witnesses that Mr. Crawford had been seen

flashing money at the bar, the detectives caused Mr. Woodruff to incorporate this circumstance

into his new story.

       327.    Now, Mr. Woodruff claimed that Messrs. Gibson and Boyd had reported to the

rest of the group that they had seen an “old white dude with a lot of money in the bar.”

       328.    According to Detectives Delano’s and Guadagno’s reports, the boys then walked

approximately three blocks down Fillmore to Simpson’s Store, where they waited for Mr.

Crawford to leave the Golden Nugget.

       329.    The boys allegedly waited for Mr. Crawford to cross the street—which put him on

the sidewalk directly in front of his house, at the entrance to his driveway—then ran the three

blocks to ambush him at the end of the driveway.

       330.    Mr. Woodruff alleged that Mr. Gibson hit the victim in the head with the pipe

several times at the end of his driveway by the sidewalk, and then all five of them dragged him

up the driveway to the side door.




                                               - 38 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4359ofof102
                                                                            347




       331.    The BPD knew that the physical evidence at the crime scene contradicted this

account.

       332.    First, as noted above, there was no evidence of any pools of blood or dragging

along the driveway, and despite such a violent encounter, Mr. Crawford’s hat had not fallen off

but was found next to his body at the side entrance to his house, about 35 feet from the sidewalk.

       333.    Second, it made no sense that the boys had begun to run after Mr. Crawford had

already crossed the street.

       334.    It would have taken them much longer to run three long blocks, from Simpson’s

Store to Mr. Crawford’s house, than it would have taken Mr. Crawford to walk the 35 feet from

the sidewalk in front of his house to the side door.

       335.    Nor did it make any sense that five 16-year-olds would have decided to wait

indefinitely, during a cold January night, by the store, having no idea when the specific man they

allegedly were targeting would come out of the tavern.

       336.    Mr. Woodruff’s new story also contained internal contradictions about his receipt

of robbery proceeds.

       337.    In his prior statements, he denied seeing or hearing about the money being

divided up, but now Mr. Woodruff was induced to say that he was with the group when they

returned to the Glenny Projects to divide up the money.

       338.    Additionally, in Detective Delano’s report, Mr. Woodruff allegedly received $25,

while Detective Guadagno reported that Mr. Woodruff said he received $15; in his January 12

statement, he denied receiving any money at all.

       339.    Detective Guadagno handwrote a statement and had Mr. Woodruff sign it.




                                               - 39 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4460ofof102
                                                                            347




       340.    That statement contained still another contradiction: Contrary to his alleged oral

statement that Messrs. Boyd and Gibson had gone inside the Golden Nugget and then spotted the

old man with the money, in this version, Mr. Woodruff stated that they only opened the door to

the bar and peeked in.

       341.    In still another amazing coincidence, according to Mr. Woodruff’s newly

expanded statement, it was at this precise moment that Mr. Crawford flashed his money.

       342.    Following his session with Detectives Guadagno and Delano, Mr. Woodruff

testified before the grand jury.

       343.    Only after testifying, according to the detectives’ reports, were Messrs. Woodruff

and Hough “released” from police custody.

       344.    In other words, to make sure that these vulnerable boys would recant their

recantations, augment their original stories, and then testify before the grand jury, the officer

defendants held them prisoner.

       345.    Their detention was not only coercive but also illegal, as neither had been charged

with any crime; indeed, Mr. Woodruff had been given complete immunity from prosecution.

       346.    Throughout their investigation, the detectives either deliberately refrained from

taking notes or deliberately destroyed whatever notes they had taken.

       347.    During all interrogations of suspects and witnesses that occurred at Buffalo Police

Headquarters, detectives had recording equipment but deliberately did not use it so that there

would be no record of their coercive tactics and of inconsistent statements by their witnesses.




                                                - 40 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4561ofof102
                                                                            347




       I.         THE DEFENDANTS MISLEAD THE GRAND JURY, CAUSING IT TO
                  WRONGFULLY INDICT MR. BOYD

       348.       The BPD detectives involved in the investigation knew that the coerced testimony

Messrs. Woodruff and Hough gave in the grand jury implicating Mr. Boyd and his friends in the

Crawford Murder was false. The entirety of their investigation contradicted it.

       349.       Detectives Guadagno, Delano, Deubell, and Montondo personally testified before

the grand jury.

       350.       Prior to Mr. Boyd’s indictment, these and other detectives collectively

knowledgeable about and responsible for the investigation failed to turn over to the ECDA

and/or to inform the grand jury about a plethora of evidence which, viewed individually or

cumulatively, completely undermined the prosecution’s case.

       351.       This evidence included but was not limited to:

                  x   Mr. Woodruff’s initial statement that he did not know anything about the
                      Crawford Murder;

                  x   the manner in which Mr. Woodruff had been threatened with arrest and
                      prosecution and repeatedly coerced and promised immunity to induce him to
                      change his various stories;

                  x   the material inconsistencies in Mr. Woodruff’s various statements;

                  x   the crime scene photographs contradicting Mr. Woodruff’s story;

                  x   the witness statements about the timing of Mr. Crawford leaving the Golden
                      Nugget, together with the taxicab evidence, which proved that Mr. Woodruff
                      was not present at the time of the murder;

                  x   the fact of Mr. Woodruff’s recantation and the details of his recanting
                      statements;

                  x   the coercion of Mr. Hough to implicate the defendants notwithstanding his
                      passing of a polygraph examination, including the threat to arrest him for the
                      Crawford murder;

                  x   Mr. Hough’s recantation and other inconsistent statements;



                                                 - 41 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4662ofof102
                                                                            347




               x   the manner in which Messrs. Woodruff’s and Hough’s enhanced stories had
                   been orchestrated and coordinated by the BPD;

               x   the statements by the owner at Simpson’s Store, and by Ms. Jeffrey and other
                   witnesses present in the Golden Nugget, which contradicted the statements of
                   Messrs. Hough and Woodruff;

               x   that police illegally detained Messrs. Woodruff and Hough in their custody
                   until they completed their testimony;

               x   the anonymous phone call accusing Mr. Woodruff, as well as his terrified
                   reaction to the call, before he changed his story;

               x   the unlawful investigative detention of Mr. Boyd without probable cause and
                   the manner in which his statements had been coerced and/or fabricated;

               x   the police documentation that a set of house keys had been found near Mr.
                   Crawford’s body, the statement from the widow, Ms. Crawford, that her
                   husband typically rang the bell for her to let him in the house, and the
                   recorded statements from witnesses at the Golden Nugget that Julia Watson
                   had called the bar after she and her husband left asking the barmaid to search
                   for her husband Larry Watson’s missing keys—evidence showing that the
                   house keys near the body had been Mr. Watson’s;

               x   statements from witnesses at the Golden Nugget who observed Mr. Watson
                   volunteer to walk Mr. Crawford home, and then return 20 minutes later,
                   collect his wife, and leave in a hurry;

               x   the false or conflicting statements of Larry Watson, his wife Julia Watson, and
                   his stepson Bill Howard about their interactions with Mr. Crawford the night
                   of the murder;

               x   statements from the barmaid, Debbie Jeffrey, in which she explicitly stated
                   that she suspected Mr. Watson of committing the crime and the circumstances
                   which led her to that conclusion;

               x   the crime scene photograph showing footsteps leading from Mr. Crawford’s
                   backyard towards Mr. Watson’s house; and

               x   the tip and identification evidence pointing to Jerome Boyd as a second
                   possible suspect.

       352.    On or about February 27, 1976, the grand jury, as a result of having been deceived

about the material facts, and relying on fabricated evidence, indicted Mr. Boyd and his three co-

defendants for first-degree robbery and second-degree murder.


                                              - 42 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4763ofof102
                                                                            347




       353.    On information and belief, shortly after the Crawford Murder, and while Mr.

Boyd and his co-defendants were in custody without bail for the Crawford Murder, a man named

William Crosby was murdered in his home.

       354.    Mr. Crosby lived in the house directly between Mr. Crawford and Mr. Watson at

2045 Fillmore Avenue and may have had knowledge about Mr. Crawford’s murder.

       355.    On information and belief, the BPD never made an arrest for the murder of

William Crosby.

       356.    On information and belief, the murder of William Crosby took place after Mr.

Boyd was arrested and in custody, but before his trial, for the Crawford Murder.

       357.    No information concerning the murder of William Crosby, which took place in

the immediate vicinity of the Crawford Murder at a time when it was impossible for Mr. Boyd or

his friends to have been involved, was ever disclosed to Mr. Boyd’s defense counsel.

       J.      PLAINTIFF DARRYL BOYD IS TRIED AND CONVICTED BASED ON
               COERCED FALSE TESTIMONY, WITHOUT THE BENEFIT OF
               UNDISCLOSED BRADY MATERIAL

       358.    Mr. Boyd was brought to trial on April 21, 1977, before an all-white jury, on

charges of first-degree robbery and second-degree murder.

       359.    ADA Timothy Drury prosecuted the case.

       360.    He was one of the most senior prosecutors in the ECDA to whom the DA

assigned many of the office’s most serious and important cases.

       361.    Prior to Mr. Boyd’s trial, Mr. Boyd’s defense counsel, Mark Hulnick, requested

that the ECDA permit him to examine the case file and produce all Brady material to him.

       362.    Despite these requests, ADA Drury did not disclose dozens of pieces of evidence

favorable to the defense in advance of or even during trial. This evidence included, but is not

limited to, the documents and information described in ¶¶ 131 and 351, supra.


                                              - 43 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4864ofof102
                                                                            347




       363.    Consistent with the ECDA’s policy, procedure, practice, and/or custom of

impermissibly narrowing the scope of its Brady obligations to include only truly “exculpatory”—

rather than all favorable—material, ADA Drury failed to disclose any evidence he did not deem

“exculpatory,” including evidence that impeached the prosecution’s key witnesses; evidence that

pointed to other suspects as perpetrators of the crime; and evidence regarding the second murder,

which took place across the street from the Golden Nugget when Mr. Boyd was incarcerated.

       364.    Also consistent with the policies, procedures, practices, and/or customs of the

ECDA, the only materials ADA Drury turned over to the defense were the exhibits the

prosecution entered into evidence or marked for identification, including some of the crime scene

photographs, as well as the formal, sworn statements in question-and-answer format of testifying

witnesses.

       365.    These witness statements were not disclosed until after each witness had

completed his or her direct examination.

       366.    This late disclosure deprived defense counsel of the opportunity to investigate the

information, to incorporate it into his opening statement or a theory of defense, and to fully

prepare to utilize it during cross-examination of the witness.

       367.    ADA Drury did not disclose to the defense statements of the prosecution’s

witnesses that were unsigned by the witnesses and instead merely summarized in police reports,

despite his absolute duty to do so under the New York State Rosario rule as well as the

requirements of Brady.

       368.    Nor did he disclose any statement by any witness whom the prosecution did not

call to testify, even where it was favorable to the defense.




                                                - 44 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page4965ofof102
                                                                            347




        369.      The prosecution disclosed no handwritten notes taken by any detective at any time

during the investigation and also failed to disclose that handwritten notes had been destroyed.

        370.      The prosecution presented no physical or forensic evidence tying Mr. Boyd (or

any of the other defendants) to the crime.

        371.      Its case was based on the false testimony of Messrs. Woodruff and Hough,

together with testimony by Detective Guadagno, based upon his own false report, that Mr. Boyd

had made inconsistent statements concerning the timing of when he returned home the night of

the murder.

        372.      The failure of the prosecution to disclose the aforementioned Brady material also

severely handicapped Mr. Boyd’s counsel’s attempt to contradict or impeach the critical

testimony of Messrs. Woodruff and Hough, and it deprived Mr. Boyd of his constitutional right

to present a defense that someone else had committed the crime.

        373.      During his summation, Mr. Hulnick, without the benefit of the suppressed police

reports and information, nevertheless argued, from inconsistencies in Mr. Woodruff’s story, that

law enforcement authorities had pressured him to change his story and indoctrinated him.

        374.      Even though this assertion was true, ADA Drury angrily objected, “These are

wild allegations, there is no proof of it.”

        375.      During his closing argument, ADA Drury urged the all-white jury to credit Mr.

Woodruff even though, or perhaps because, he was a “ghetto kid… a kook … an idiot, a nitwit,”

and a “blithering idiot.”

        376.      In fact, Mr. Woodruff was, and is, a highly intelligent man—a far cry from “a

nitwit” or “a blithering idiot”—whose halting testimony resulted from the fact that he had been

coerced to lie.




                                                - 45 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5066ofof102
                                                                            347




        377.    ADA Drury’s argument was a thinly disguised emotional appeal to the racial

prejudices of the all-white jury.

        378.    ADA Drury contended that Mr. Woodruff initially lied when denying any

knowledge of the crime, but then came back voluntarily with his father to confess at least some

of the truth.

        379.    This argument was contradicted by the undisclosed police reports documenting

that Mr. Woodruff was picked up, taken back to BPD Headquarters, and coercively interrogated

for hours, without any family member being present, before he changed his story.

        380.    ADA Drury contended that the police had to work through Mr. Boyd’s friends

because they didn’t have any other evidence of how the Crawford Murder was committed.

        381.    However, this was not true: The BPD had substantial evidence, undisclosed to

the defense, obtained from numerous witnesses at the Golden Nugget and Mr. Watson’s

neighbors, implicating Mr. Watson, and additional independent evidence implicating Jerome

Boyd.

        382.    ADA Drury told the jury that “[t]he police turned over everything they had to

you.”

        383.    This was untrue: The BPD had gathered a great deal of evidence implicating

other suspects and contradicting the prosecution’s case, but this evidence had not been disclosed

to the defense or the jury.

        384.    ADA Drury told the jury: “I would absolutely reject, if I were to make this

argument to you, any suggestion, any beliefs [that] the police or our office or myself had

anything to do with changing Tyrone’s testimony or making it fit any pattern.”




                                              - 46 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5167ofof102
                                                                            347




       385.     This statement, too, was proven untrue by the undisclosed police reports of

January 12, 1976, concerning the anonymous phone call, and of February 11, 1976, revealing

that detectives, supposedly orchestrated by ADA Drury, had gone from Mr. Hough to Mr.

Woodruff to harmonize their new accounts.

       386.     Any allegation of a “conspiracy” to fabricate evidence, he said, was “absolutely

ridiculous,” even though the above undisclosed evidence showed it was true.

       387.     Contrary to fundamental rules governing courtroom advocacy, ADA Drury

personally vouched for the integrity of the investigation and prosecution, and for Mr. Woodruff’s

truthfulness.

       388.     Again, appealing to the all-white jurors’ possible racial prejudice, ADA Drury

argued that Mr. Woodruff was “hapless, stupid, but we are asking you to believe him.”

       389.     While telling the jury that his personal beliefs did not matter, ADA Drury still

told them, “I believe him.”

       390.     ADA Drury misleadingly stated that the BPD had found “no footprints on either

side of that house so that nobody jumped the yard. Woodruff said they went out the same way

they came.”

       391.     This argument was misleading since the BPD had documented in a crime scene

photograph, which had been suppressed from the defense, footprints leading from the backyard

of Mr. Crawford’s house towards Mr. Watson’s house.

       392.     On April 29, 1977, the jury convicted Mr. Boyd of second-degree murder and

first-degree robbery.




                                               - 47 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5268ofof102
                                                                            347




       393.       After Mr. Boyd’s conviction but before his August 1977 sentencing, Thelma

Green, Andre Hough’s foster mother, told detectives that Mr. Hough had admitted to her that he

had lied in his testimony implicating Mr. Boyd after being told what to say.

       394.       Ms. Green told ADA Drury she believed Mr. Hough was not telling the truth,

adding that her son had told her, after one of the co-defendants’ trials, that he had been lying

about the whole thing.

       395.       On August 3, 1977, with Mr. Boyd and his counsel continuing to maintain his

innocence, the court sentenced him to serve 20 years to life in prison, and he was sent upstate to

serve his time.

       K.         THE ECDA OPPOSES MR. BOYD’S EFFORTS TO OVERTURN HIS
                  CONVICTION

       396.       Following his conviction, Mr. Boyd continued to maintain his innocence.

       397.       Mr. Boyd appealed his conviction, arguing, among other things, that ADA

Drury’s summation comments had violated his constitutional right to a fair trial.

       398.       In its brief opposing Mr. Boyd’s appeal, the District Attorney, ratifying ADA

Drury’s misconduct, argued that the summation was “proper in all respects.”

       399.       The Appellate Division affirmed it. See People v. Boyd, 84 A.D.2d 689 (4th Dep’t

1981), lv to app. den., 55 N.Y.2d 879 (1982).

       400.       On March 23, 1984, Mr. Boyd moved, pursuant to Criminal Procedure Law

§ 440.10, to vacate his conviction, based, among other things, on Mr. Hough’s most recent

recantation.

       401.       In opposing the motion, the ECDA continued to suppress Mr. Hough’s original

recantation of February 11, 1976, and emphasized the other “evidence” of guilt the detectives




                                                - 48 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5369ofof102
                                                                            347




had manufactured, including Mr. Boyd’s alleged false statements to police and Mr. Woodruff’s

testimony.

         402.   The court denied the motion on November 28, 1984.

         403.   Mr. Boyd filed a motion for reconsideration on December 5, 1984. That motion

was denied as well.

         404.   On January 23, 1986, Mr. Boyd again moved to vacate his conviction pursuant to

§ 440.10, this time based upon the recantation, in the form of a sworn oral deposition, of Mr.

Woodruff.

         405.   Mr. Woodruff testified that he had been intimidated by armed police from the

BPD to adopt a story based upon information the police gave him.

         406.   He further alleged that he had been told that the police had other witnesses

“upstairs” ready to “take his place”—i.e., testify against the others, and him—if he did not

cooperate, and that he would be charged with murder and go to prison for life.

         407.   In fact, he testified, he had not been involved in the murder at all and knew

nothing about it, as he first told police on January 11, 1976.

         408.   He said that the police had coerced him before he had any contact with ADA

Drury.

         409.   The defense submitted as exhibits photographic evidence contradicting Mr.

Woodruff’s trial testimony that Mr. Crawford had been dragged up the driveway through the

snow.

         410.   In opposing the defense motion, the ECDA continued the coverup of the

voluminous, favorable evidence that had been suppressed at the time of Mr. Boyd’s trial and

contributed to his conviction.




                                               - 49 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5470ofof102
                                                                            347




       411.    The affidavit of ADA Louis A. Haremski falsely stated that Mr. Woodruff had

consistently been interviewed “in the presence of his parents.”

       412.    In fact, the ECDA knew or should have known from undisclosed police reports

that, in his initial interview on January 11, 1976, and the next day when he was coerced into

changing his story, Mr. Woodruff was interrogated by police outside the presence of his family.

       413.    ADA Haremski further misrepresented that Mr. Woodruff had voluntarily

changed his story the next day.

       414.    In making this argument, he continued his office’s suppression of the police

reports documenting how police had coerced Mr. Woodruff.

       415.    The ECDA also continued to suppress the other evidence, including but not

limited to the items described in ¶¶ 131 and 351, supra, and elsewhere in this Complaint,

contradicting Mr. Woodruff’s trial testimony and implicating third-party suspects.

       416.    Indeed, the affidavit falsely asserted that the jury in Mr. Boyd’s trial had all the

prior statements and circumstances “surrounding Tyrone Woodruff’s election to testify against

his cohorts,” when this was patently untrue.

       417.    Relying on the ECDA’s submission, the court (Kasler, J.) denied the motion

without a hearing.

       418.    Mr. Boyd was granted parole in 1996, after serving 20 years in prison for the

Crawford Murder.

       419.    Thereafter, he served eight additional years after parole authorities, believing him

to be a murderer, accused him of minor, technical parole violations.

       420.    But for his wrongful conviction, he would not have been on parole, subject to

onerous, highly technical conditions of release, would not have been considered a murderer who




                                               - 50 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5571ofof102
                                                                            347




parole authorities were looking for an excuse to reincarcerate, and would not have been

reimprisoned.

       421.     Mr. Boyd continued to maintain his innocence and fight to have his wrongful

conviction vacated and his name cleared.

       422.     On or about October 1, 2012, Mr. Boyd, now represented by attorney Steven M.

Cohen, moved once again to vacate his conviction based upon newly discovered evidence.

       423.     The evidence included a second, even more detailed, sworn recantation of Mr.

Woodruff, again in the form of an oral deposition, as well as newly discovered police documents

obtained through a FOIL request, which supported Mr. Woodruff’s claim that his testimony

against Mr. Boyd and the other boys had been coerced.

       424.     In opposing Mr. Boyd’s motion, ADA Nicholas Texido falsely contended that all

police documents had been turned over at trial and that, even if they had not been, they were not

material.

       425.     On or about August 31, 2014, Mr. Boyd requested records from his case from the

ECDA under the Freedom of Information Law.

       426.     The Chief of the ECDA Appeals Bureau, Donna A. Milling, denied the request,

claiming untruthfully: “All disclosable documents were turned over to your trial attorney

pursuant to discovery rules.”

       L.       THE COURT VACATES MR. BOYD’S WRONGFUL CONVICTION

       427.     On October 13, 2020, a prominent Buffalo criminal defense attorney, Paul J.

Cambria, Jr., of Lipsitz Green Scime Cambria LLP, handling the case pro bono, filed a motion

on behalf of Mr. Boyd and his only surviving co-defendant, John Walker, to vacate their

convictions pursuant to CPL § 440.10.




                                              - 51 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5672ofof102
                                                                            347




       428.    Mr. Boyd moved on the grounds that the ECDA, during each of their separate

trials in 1977, had failed to disclose two favorable crime scene photographs.

       429.    One was the photograph showing a single set of footprints in the snow, made by a

heavyset man, in the backyard of Mr. Crawford’s property, leading in the direction of Mr.

Watson’s property two houses over.

       430.    The second, which contradicted Mr. Woodruff’s trial testimony, showed the

absence of dragging marks and footprints in the snow along Mr. Crawford’s driveway.

       431.    After holding an evidentiary hearing, the court (Burns, J.) granted Mr. Boyd’s

motion and, on August 18, 2021, vacated the convictions of Messrs. Boyd and Walker.

       432.    The court credited the testimony of retired Judge James McLeod, who had

represented Floyd Martin at the last of the four defendants’ trials in 1977.

       433.    Judge McLeod testified that, unlike the other defense counsel, he had made a

specific discovery request for all the police photographs and thus had received the two

photographs in question that contradicted the prosecution’s theory of the case.

       434.    He testified that these exhibits had proven decisive in the jury voting to acquit his

client, Mr. Martin.

       435.    Judge McLeod recalled that, based upon the photographs, together with the

testimony that Mr. Watson had left the Golden Nugget with Mr. Crawford, he had contended that

Mr. Woodruff’s testimony was not truthful and that Mr. Watson likely was the killer.

       436.    Judge McLeod’s testimony was corroborated by handwritten notes in the

prosecution’s present case file showing that indeed he had made an argument during his trial

summation about the significance of the footprints in the snow at the rear of Mr. Crawford’s

property.




                                               - 52 -
       Case1:22-cv-00519-LJV-JJM
      Case   1:22-cv-00519-LJV-JJM Document
                                    Document126-3
                                             78 Filed
                                                  Filed03/13/23
                                                        12/11/23 Page
                                                                  Page5773ofof102
                                                                               347




         437.   On September 23, 2021, the present District Attorney, John Flynn, acknowledging

that he lacked any evidence with which to retry Messrs. Boyd and Walker, moved to dismiss the

indictment against them, and the court dismissed the charges.

VI.      MR. BOYD’S DAMAGES

         438.   Mr. Boyd’s injuries and damages include, but are not limited to:

                (a)    his complete loss of liberty, during his pretrial and posttrial incarceration,

                       totaling more than 28 years;

                (b)    severe restrictions upon his liberty, privacy, and personal autonomy during

                       parole supervision totaling another 17 years;

                (c)    physical injuries he suffered during assaults upon him by guards and other

                       inmates;

                (d)    the mental and emotional effects of such assaults and of the gruesome,

                       terrifying, homicidal, and disfiguring assaults on other inmates that he

                       witnessed;

                (e)    past and future physical illnesses and injuries as a result of his wrongful

                       conviction and his experiences in prison;

                (f)    past and future mental and emotional suffering;

                (g)    the loss of the services, society, companionship, and consortium of his

                       mother and other family members;

                (h)    the loss of employment income and diminution of future earning ability in

                       an amount to be determined;

                (i)    legal fees and expenses for which he is responsible, including trial and

                       post-trial representation; and

                (j)    interest to the extent available under controlling law.


                                               - 53 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5874ofof102
                                                                            347




                                      CAUSES OF ACTION

                                       COUNT I
 42 U.S.C. § 1983 Malicious Prosecution in Violation of the Fourth, Fifth, and Fourteenth
                    Amendments Against the Individual Defendants

        439.    Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        440.    The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, individually and/or in concert with each other and others

unnamed, acted knowingly, willfully, intentionally, and with actual malice to initiate and/or to

continue criminal proceedings against Mr. Boyd, without probable cause to believe that Mr.

Boyd was guilty of any crime or could be successfully prosecuted, and caused him to be

deprived of his liberty, in violation of his rights under the Fourth, Fifth, and Fourteenth

Amendments to the United States Constitution.

        441.    The criminal proceedings terminated in Mr. Boyd’s favor.

        442.    By virtue of the foregoing, and pursuant to 42 U.S.C. § 1983, the Individual

Defendants, personally or through their Estates, are liable for the violations of Mr. Boyd’s

constitutional rights and his resulting injuries.

                                      COUNT II
 Malicious Prosecution under New York State Law Against the Individual Defendants and
                                  the City of Buffalo

        443.    Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        444.    The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, individually and/or in concert with each other and others

unnamed, acted with actual malice to initiate and/or to continue criminal proceedings against Mr.

Boyd without probable cause to believe that Mr. Boyd was guilty of any crime or could be


                                                    - 54 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page5975ofof102
                                                                            347




successfully prosecuted, in violation of his rights under the common law of the State of New

York.

        445.   The criminal proceedings terminated in Mr. Boyd’s favor.

        446.   By virtue of the foregoing, the Individual Defendants, surviving or sued through

the Executors and/or Administrators of their Estates, are liable to Mr. Boyd for malicious

prosecution under the common law of the State of New York and for all his resultant damages.

        447.   Under the principle of respondeat superior, the Defendant City is liable for the

malicious prosecution of Mr. Boyd by the Individual Defendants and other municipal employees,

all of whom were acting within the scope of their employment, and for Mr. Boyd’s resultant

damages.

                                        COUNT III
 42 U.S.C. § 1983 Unreasonable Seizure under the Fourth Amendment, and Denial of Due
 Process and a Fair Trial under the Fifth, Sixth, and Fourteenth Amendments, Due to the
        Fabrication of False or Misleading Evidence by the Individual Defendants

        448.   Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        449.   The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, acting individually and/or in concert with each other and with

others, acted deliberately, willfully, recklessly, and/or with deliberate indifference to the truth, to

fabricate or manufacture false or misleading police reports, witness statements, and a Criminal

Court complaint (collectively, the “Fabricated Evidence”).

        450.   The Individual Defendants forwarded, or caused to be forwarded, the Fabricated

Evidence to prosecutors in the ECDA, intending that it be used against Mr. Boyd during a

criminal prosecution.




                                                - 55 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6076ofof102
                                                                            347




        451.   The Individual Defendants knew that the Fabricated Evidence, if considered by a

jury, would be likely to influence a jury’s decision at trial to convict Mr. Boyd.

        452.   As a result of the Individual Defendants’ conduct in forwarding, or causing to be

forwarded, the Fabricated Evidence to the ECDA, prosecutors in that office initiated and

continued a criminal prosecution of Mr. Boyd, and he lost his liberty.

        453.   The Individual Defendants’ conduct violated Mr. Boyd’s right to be free from

unreasonable seizure, as guaranteed by the Fourth Amendment to the United States Constitution,

and his rights to procedural and substantive due process and a fair trial, as guaranteed by the

Fifth, Sixth, and Fourteenth Amendments to the United States Constitution.

        454.   The above misconduct was outrageous and shocking to the conscience.

        455.   By virtue of the foregoing, the Individual Defendants are liable to Mr. Boyd,

pursuant to 42 U.S.C. § 1983, for the violation of his constitutional rights and his resultant

injuries.

                                        COUNT IV
   42 U.S.C. § 1983 Unreasonable Seizure under the Fourth Amendment, Denial of Due
 Process and a Fair Trial under the Fifth, Sixth, and Fourteenth Amendments, and Denial
   of Reasonable Bail under the Eighth Amendment, Due to the Pretrial Withholding of
 Favorable Evidence Likely to Result in Plaintiff’s Release from Custody (“Russo Claim”)
                              by the Individual Defendants

        456.   Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        457.   Following the initiation of Mr. Boyd’s prosecution with the filing of a Criminal

Court complaint, the continuation of the charges was subject to a preliminary hearing, at which a

judge determines whether there was probable cause to prosecute, and a proceeding before a

grand jury, which would decide whether the evidence supported formally charging Mr. Boyd by

indictment and binding him over for trial.



                                               - 56 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6177ofof102
                                                                            347




        458.   Under New York law, as well as the Eighth and Fourteenth Amendments to the

United States Constitution, the court, following the filing of charges, was required, upon

application of the defendant, to consider whether to fix a reasonable bail so that the defendant

could obtain his release.

        459.   Under New York law, the strength of the prosecution’s case was a significant

factor for a court in determining whether to fix a reasonable bail and the amount of such bail.

        460.   Despite knowing this, the Individual Defendants withheld, or caused to be

withheld, from the ECDA, Mr. Boyd and his lawyer, the grand jury, and the court exculpatory

and impeachment evidence and other evidence favorable to the defense that completely

undermined the prosecution’s case.

        461.   Had such evidence been timely disclosed, the charges against Mr. Boyd likely

would not have survived the preliminary hearing or the determination by the grand jury, and/or

the court would have released Mr. Boyd on his own recognizance or on a reasonable bail.

        462.   The failure to make timely disclosure of such obviously significant evidence

undermining the entire case caused Mr. Boyd to be unnecessarily and unreasonably deprived of

his liberty.

        463.   This conduct was shocking to the conscience.

        464.   It violated Mr. Boyd’s constitutional rights to be free of unlawful or unreasonable

seizure under the Fourth and Fourteenth Amendments, to reasonable bail under the Eighth and

Fourteenth Amendments, to a fair trial under the Sixth and Fourteenth Amendments, and to due

process of law under the Fifth and Fourteenth Amendments.




                                               - 57 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6278ofof102
                                                                            347




        465.    By virtue of the foregoing, the Individual Defendants or their Estates are liable,

pursuant to 42 U.S.C. § 1983, for the violation of Mr. Boyd’s constitutional rights and his

resultant injuries.

                                       COUNT V
    42 U.S.C. § 1983 Denial of Due Process and a Fair Trial under the Fifth, Sixth, and
   Fourteenth Amendments by Withholding Evidence Favorable to the Defense (“Brady
                          Claim”) by the Individual Defendants

        466.    Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        467.    At all relevant times, Mr. Boyd had a right—under the Fifth, Sixth, and

Fourteenth Amendments to the United States Constitution, and Brady v. Maryland, 363 U.S. 83

(1963) and its progeny—to timely disclosure to him, by the prosecution, of all evidence in its

possession, custody or control that was favorable to his defense, either because it tended to show

his innocence, tended to impeach the credibility of the prosecution’s witnesses against him, or

both (“Brady material”).

        468.    In furtherance of this right, police officers, including the Individual Defendants,

surviving or sued through the Executors and/or Administrators of their Estates, had a duty to

timely disclose, or to ensure the timely disclosure of, all potential Brady material to the ECDA so

that it could decide what to disclose to the defense.

        469.    The Individual Defendants violated this duty by knowingly, willfully,

intentionally, recklessly, and/or negligently failing to timely disclose to the prosecutors in charge

of Mr. Boyd’s criminal prosecution numerous items of Brady material, including documents and

unrecorded information, including but not limited to the material enumerated in ¶¶ 131 and 351,

supra, and elsewhere in this Complaint, and by destroying their notes.




                                                - 58 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6379ofof102
                                                                            347




        470.      The undisclosed Brady material was material to the outcome of the trial at which

Mr. Boyd was convicted. But for the Individual Defendants’ failure to disclose or cause the

disclosure of the Brady material, there is a reasonable likelihood that Mr. Boyd would have been

acquitted or otherwise received a more favorable outcome to his trial.

        471.      By virtue of the foregoing, the Individual Defendants or their Estates are liable,

pursuant to 42 U.S.C. § 1983, for the violation of Mr. Boyd’s constitutional rights and his

resultant injuries.

                                     COUNT VI
42 U.S.C. § 1983 and Monell Municipal Liability for the Conduct of Employees of the BPD
                             Against the City of Buffalo

        472.      Mr. Boyd repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        473.      At all relevant times, the Police Commissioner, detectives, and other police

officers employed by the BPD were agents and employees of the Defendant City.

        474.      Under the principles of municipal liability for federal civil rights violations, the

City’s Police Commissioner or his authorized delegates, including the Chief of the Homicide

Detectives Unit, during all times relevant to this Complaint, had final responsibility for training,

instructing, supervising, and disciplining police officers and other employees of the BPD with

respect to the investigation and prosecution of criminal matters, including homicides.

        475.      The areas in which the Police Commissioner or his authorized delegates,

including the Chief of the Homicide Detectives Unit, were responsible for training, instructing,

supervising, and disciplining police officers and other employees of the BPD included but were

not limited to:

                  (a)    the constitutional obligation, pursuant to the Fourth, Fifth, and Fourteenth

                         Amendments to the Constitution, not to initiate or continue a prosecution,


                                                  - 59 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6480ofof102
                                                                            347




                        and to cause a criminal defendant’s deprivation of liberty, without

                        probable cause to believe he or she has committed a crime;

                (b)     the constitutional obligation, pursuant to the Fourth, Fifth, Sixth, and

                        Fourteenth Amendments, not to fabricate or manufacture evidence,

                        including the coercion of confessions and witness statements through

                        illegal detentions without probable cause, threats, lies, or trickery and the

                        preparation of false or materially misleading or incomplete reports, for use

                        against criminal suspects and defendants in criminal prosecutions and

                        trials; and

                (c)     the constitutional obligation, pursuant to the Fourth, Fifth, Sixth, and

                        Fourteenth Amendments, to make timely disclosure of evidence favorable

                        to the defense to the prosecution for disclosure in turn to a criminal

                        defendant for use during pretrial and trial proceedings at which the

                        defendant’s liberty is at stake.

        476.    During all times material to this Complaint, the City, through its policymaking

officials in the BPD, owed a duty to the public at large and to Mr. Boyd to implement policies,

procedures, training, discipline, customs, regulations, and practices sufficient to prevent, deter,

and avoid conduct by BPD employees that would result in the violation of the above-mentioned

constitutional obligations.

        477.    During all times material to this Complaint, these policymakers, including the

Chief of the Homicide Detectives Unit, to whom policymaking responsibilities for homicide

investigations had been delegated, knowingly and intentionally breached, or were deliberately

indifferent to, this duty.




                                                 - 60 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6581ofof102
                                                                            347




       478.    Furthermore, these policymakers created substantial incentives for their

employees to commit the above-described constitutional violations by pressuring police officers,

particularly homicide detectives handling high-profile investigations, to close cases and initiate

prosecutions through coercion, trickery, falsification of reports, and suppression of evidence.

       479.    The aforesaid deliberate or de facto policies, procedures, practices, and/or

customs (including the failure to properly instruct, train, supervise, and/or discipline employees)

were implemented or tolerated by policymaking officials for the Defendant City—including but

not limited to the Police Commissioner, the Chief of Detectives, and the Chief of the Homicide

Detectives Unit—who knew, or should have known:

               (a)     to a moral certainty that such policies, procedures, practices, and/or

                       customs concern issues that regularly arise during criminal investigations

                       and prosecutions;

               (b)     that such issues present BPD employees with difficult choices of the sort

                       that instruction, training, supervision, and discipline will make less

                       difficult;

               (c)     that BPD employees facing such issues have strong incentives to make the

                       wrong choices, especially given the pressure placed on BPD employees to

                       make arrests, close cases, and secure indictments and convictions;

               (d)     that the wrong choice by BPD employees concerning such issues will

                       frequently cause the deprivation of the constitutional rights of an accused

                       person and cause him constitutional injury; and

               (e)     that BPD employees had a history of making wrong choices in such

                       matters.




                                               - 61 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6682ofof102
                                                                            347




       480.    At the time of Mr. Boyd’s arrest and prosecution, BPD policymaking officials

were on notice of the risk of misconduct by BPD employees that would violate the constitutional

obligations identified in ¶ 475.

       481.    City policymaking officials were on notice based in part on numerous decisions of

the United States Supreme Court, the United States Court of Appeals for the Second Circuit, the

New York Court of Appeals, and the New York Appellate Division discussing the constitutional

obligations of police officers during criminal investigations and prosecutions.

       482.    City policymaking officials were on notice based on the inherent obviousness of

the need to train, supervise, and discipline police officers with respect to their constitutional

obligations to counteract the pressure on such officers to close cases and to obtain arrests and

convictions.

       483.    Indeed, BPD policymakers knew, prior to and during the period of the Crawford

investigation, that numerous BPD officers had orchestrated an arrest and conviction in a high-

profile robbery-murder case of a Black suspect using the same deceptive, coercive, and dishonest

practices that the entire Homicide Detectives Unit then used in this case.

       484.    In a federal habeas corpus proceeding then pending in Buffalo, the BPD was

credibly accused of obtaining the arrest and conviction of the petitioner by coercing a confession

from a Black suspect through lies and threats. As Chief Judge Curtin of this Court ultimately

wrote in vacating the conviction, the BPD had illegally detained and interrogated numerous

Black men without probable cause, including the petitioner, whom detectives picked up based

upon an alleged anonymous tip. They questioned the petitioner for hours at night when an

attorney, friends and family could not offer their support to him, a tactic intended to heighten his

anxiety. They surrounded him, kept him in isolation, lied to him that he had been implicated by




                                                - 62 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6783ofof102
                                                                            347




others, threatened him with dire consequences if he did not confess, suggested to him that he

minimize his role, and promised him leniency in exchange for doing so—exactly the tactics used

in Plaintiff Boyd’s case.

       485.    Chief Judge Curtin wrote that the police officers’ lying to petitioner was “an

obvious effort to trick him into implicating himself and others. This police practice is to be

soundly condemned. Such deception clearly has no place in our system of justice.” Robinson v.

Smith, 451 F. Supp. 1278 (W.D.N.Y. 1978) (Curtin, C.J.).

       486.    Notwithstanding their awareness of the widespread use of such tactics by the

BPD, prior to the investigation of the Crawford Murder on January 2, 1976, and through Mr.

Boyd’s trial in April 1977, BPD policymaking officials failed to adequately instruct, train,

discipline and supervise police officers with respect to their obligations (1) to disclose, to the

defense or to prosecutors, evidence impeaching the credibility of prosecution witnesses or

tending to exculpate criminal suspects or defendants; (2) to make a record of coercion or

inducement of witnesses and of witnesses’ prior inconsistent statements; (3) to preserve rather

than destroy their handwritten notes; (4) to refrain from fabricating evidence, including by using

coercion or deception to obtain false confessions and witness statements and preparing false,

materially misleading, or incomplete reports; and (5) to refrain from initiating or continuing a

prosecution without probable cause.

       487.    The issues of whether to preserve and to disclose evidence favorable to the

defense to prosecutors or to the defense, how to ensure that evidence is not fabricated through

false confessions and witness statements and false, misleading, or incomplete reports, and how to

ensure that a prosecution is not initiated or continued without probable cause regularly arise in

criminal investigations and prosecutions.




                                                - 63 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6884ofof102
                                                                            347




        488.    Nevertheless, the BPD provided no or plainly inadequate Brady-related training;

provided no or plainly inadequate training concerning making and preserving a record of

information that was favorable to a criminal suspect or defendant; had no policies at all, or at

least no policies that were adequately made known to detectives, requiring disclosure of Brady

material; and did not discipline officers who failed their constitutional duty to disclose such

information to prosecutors.

        489.    Similarly, the BPD provided no or plainly inadequate training on interview and

interrogation protocols to ensure the truthfulness of confessions and witness statements;

affirmatively encouraged officers to illegally detain witnesses and suspects for interrogation and

use or close their eyes to coercive interview and interrogation tactics likely to lead to false

confessions and witness statements; provided no or plainly inadequate training on preparing

reports that are truthful, accurate, and complete; had no policies at all, or at least no policies that

were adequately made known to detectives, discouraging officers from using coercive interview

and interrogation tactics, including the unlawful detention of witnesses and suspects, including

vulnerable teenagers, without probable cause, likely to lead to false confessions and witness

statements; encouraged or at least tolerated detectives’ practice to refrain from making a record

of information favorable to suspects and defendants and to destroy their notes, and did not

discipline officers who fabricated evidence by coercing false confessions and witness statements

and preparing false, materially misleading, or incomplete reports.

        490.    Indeed, rather than provide formal training on lawful interrogation techniques, the

BPD endorsed on-the-job training by detectives who had a history and practice of unlawfully

coercing witnesses, thereby perpetuating such practices and creating an atmosphere in which




                                                 - 64 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page6985ofof102
                                                                            347




detectives assumed either that such techniques were appropriate or that, even if inappropriate or

unlawful, they would get away with them without personal consequence to them.

       491.    The BPD also provided no or plainly inadequate training on how to ensure that

probable cause exists to initiate or continue a prosecution, including ensuring that the

prosecution is not initiated or continued based on the use of manufactured or otherwise

unreliable evidence.

       492.    BPD policymaking officials had, before Mr. Boyd’s arrest, issued no Patrol Guide

provision or other written directive to officers concerning when, if at all, to disclose information

favorable to a criminal suspect or defendant to prosecutors.

       493.    With deliberate indifference to such misconduct, BPD policymaking officials

failed to take adequate steps to train, supervise, or discipline BPD employees to prevent or deter

such constitutional violations from occurring.

       494.    As a result of the foregoing, at the time of the investigation of the Crawford

Murder, it was the policy, custom or practice of BPD detectives to coerce false statements from

suspects and witnesses, including inherently vulnerable teenagers, through unlawful

investigatory detentions without probable cause and other means, to prepare false or misleading

investigative reports, to fail to document information that was favorable to suspects and

defendants or to destroy their notes containing such information, and to withhold evidence and

information favorable to a criminal suspect or defendant from prosecutors.

       495.    Additionally, detectives were encouraged to engage in such illegal activities by

their knowledge that it would be at the very least tolerated and excused by BPD policymakers for

whom closing high-profile cases with arrests was the priority.




                                                 - 65 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7086ofof102
                                                                            347




        496.    This is apparent from the knowing participation in such illegal activities, during

the Crawford investigation by Defendant Donovan, the Chief of the Homicide Detectives Unit,

and the policymaking official for the department with respect to homicide investigations.

        497.    Indeed, he ratified the conduct of the unit he led and made it into municipal policy

by approving the arrest of Mr. Boyd and his friends, designating all of the detectives in the unit

as co-arresting officers, and signing under oath the false criminal court complaint that initiated

the prosecution.

        498.    That the entire Homicide Detectives Unit knowingly participated in fabricating a

case against Mr. Boyd and his young teenaged friends, documenting their fabricated case

through a series of false or misleading investigative reports, omitting information favorable to

the suspects from their reports, destroying their notes, and withholding information favorable to

a criminal suspect or defendant from the prosecutors, proves the existence of an anything-goes

culture of illegality that policymakers’ indifference to such misconduct predictably had wrought

and that such misconduct was, at that time, the policy, custom and practice of the BPD.

        499.    The aforementioned unconstitutional or deliberately indifferent policies,

procedures, training, discipline, customs, regulations, and/or practices of the BPD were a direct,

foreseeable, proximate, and/or substantial cause of the violations of Mr. Boyd’s federal

constitutional rights in this case by employees of the BPD and his resulting injuries.

        500.    By virtue of the foregoing, the Defendant City is liable for the violation of Mr.

Boyd’s constitutional rights pursuant to 42 U.S.C. § 1983 and his resultant injuries.

                                     COUNT VII
    42 U.S.C. § 1983 and Monell Municipal Liability Against the County of Erie for the
                               Misconduct of Prosecutors

        501.    Mr. Boyd repeats and realleges each allegation contained in paragraphs 1 through

438 as if fully set forth herein.


                                                - 66 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7187ofof102
                                                                            347




       502.    The Erie County District Attorney and his authorized delegates, at all relevant

times, had final authority with respect to the training, supervision, discipline, and overall

management of personnel employed by or assigned to the ECDA with respect to all of the

office’s functions, including the investigation and prosecution of criminal cases, and constituted

County policymakers for whose actions or omissions the County is liable.

       503.    The District Attorney, at all relevant times, was and is an elected officer of the

County, and the ECDA was and is substantially funded out of the County’s budget.

       504.    The District Attorney was and is designated a “local officer,” rather than a “state

officer,” under New York Public Officers Law § 2.

       505.    The DA and his assistant district attorneys are agents and employees of the

Defendant County.

       506.    Under New York State law, the County, at all relevant times, was liable for torts

committed by County officers and employees, including the District Attorney and his assistants.

See N.Y. County Law §§ 53, 941.

       507.    The County represents such officers and employees in judicial proceedings and

indemnifies them because they are County officials.

       508.    At the time of Mr. Boyd’s criminal trial, as a criminal defendant, he was entitled,

under the Fifth, Sixth and Fourteenth Amendments to the United States Constitution, to timely

disclosure of all material information that was in the actual or constructive possession, custody,

or control of the ECDA and that was favorable to the defense, including but not limited to

exculpatory information that tended to contradict the prosecution’s case or otherwise show he

was innocent, and impeachment information that tended to undercut the credibility of the

witnesses against him, known as “Brady material.”




                                                - 67 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7288ofof102
                                                                            347




       509.    The prosecution was constitutionally required to disclose Brady material as soon

as reasonably possible regardless of whether the defense had made a specific request for it.

       510.    The prosecution was constitutionally required to find out about and disclose such

information, whether it was in its actual possession or in the possession of any police department

that had been involved in the investigation or prosecution of the matter.

       511.    This was a continuing obligation even after a conviction at trial, such as during

proceedings brought by a convicted defendant challenging the fairness of his conviction.

       512.    While the right to timely disclosure of Brady material was intended to guarantee

the fairness of a criminal trial, the prosecution also had an obligation under the Fourth, Fifth,

Sixth and Fourteenth Amendments to the United States Constitution to disclose evidence

favorable to the defense early in a criminal prosecution, where it was so clearly relevant to

whether the prosecution should continue, or the defendant should be released on bail, that the

suppression of it would shock the conscience.

       513.    Similar to the Brady obligation is the state constitutional requirement, established

by People v. Rosario, 9 N.Y.2d 286 (1961), requiring disclosure at trial of the prior recorded

statements of prosecution witnesses so that defense counsel, singularly dedicated to his client’s

cause, could decide how to use such material to impeach such witnesses.

       514.    Often, Rosario material also contained information that was favorable to the

defense as defined by Brady and its progeny.

       515.    Related to Brady is a prosecutor’s constitutional obligation, at all stages of a

criminal prosecution, not to rely on or fail to correct false or misleading evidence or argument.

       516.    The suppression of evidence favorable to the defense from the court during a

preliminary hearing or bail hearing, or from a grand jury deciding whether to vote an indictment,




                                                - 68 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7389ofof102
                                                                            347




and from a petit or trial jury, likely would leave an impermissibly false or misleading impression

with the fact finder about the strength of the evidence supporting the prosecution’s case and

about the defendant’s guilt.

        517.    The federal constitutional obligation to make timely disclosure of evidence

favorable to the defense for use during pretrial and trial proceedings superseded any provisions

of the state’s Criminal Procedure Law or the Rosario rule to the extent such state rule was less

protective of a criminal defendant’s rights.

        518.    In other words, the federal constitutional requirement of prompt disclosure of

evidence favorable to the defendant, irrespective of whether the defense had made a specific

request, applied even though state discovery provisions required a specific request for discovery

material and permitted the prosecutor to withhold the prior recorded statements of its witnesses

until after they had completed their direct testimony at trial.

        519.    Such state rules did not provide sufficient, timely disclosure to enable the defense

a reasonable opportunity under Brady’s constitutional rule to investigate the information,

integrate it into the defendant’s trial strategy, and prepare an effective cross-examination.

        520.    Furthermore, a prosecutor had a constitutional obligation not to conduct himself

before a jury in a manner that would deprive a criminal defendant of his right to a fair trial under

the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution.

        521.    At the time of Mr. Boyd’s trial in 1977, there were well-established rules of

behavior for prosecutors before a jury, particularly with respect to opening arguments and

summations, which were intended to ensure a fair trial.

        522.    If serious enough, the violation of such rules would deprive a criminal defendant

of his federal constitutional rights.




                                                - 69 -
     Case1:22-cv-00519-LJV-JJM
    Case   1:22-cv-00519-LJV-JJM Document
                                  Document126-3
                                           78 Filed
                                                Filed03/13/23
                                                      12/11/23 Page
                                                                Page7490ofof102
                                                                             347




         523.   The well-established rules regarding prosecutorial conduct prohibited prosecutors

from making false or misleading factual assertions or arguments, making arguments calculated to

distract the jury by appealing to its prejudices and emotions, arguing “facts” or “evidence” that

were not in the record, expressing the prosecutor’s personal belief in the defendant’s guilt or as

to a witness’s credibility, vouching for a witness’s credibility, calling the defendant or his

witnesses liars, ridiculing or belittling the role of defense counsel, or implying falsely that the

defendant had a burden of proof.

         524.   The prosecutors handing the prosecution of Mr. Boyd violated all these rules.

         525.   As set forth above, the prosecutors of Mr. Boyd relied on false or misleading

evidence and argument to cause a judge to find probable cause to continue the prosecution at a

preliminary hearing and to keep Mr. Boyd in jail, to deceive a grand jury into voting to indict

Mr. Boyd and the other defendants, and to convict Mr. Boyd at trial.

         526.   They suppressed from the court, the grand jury, the trial jury, and, of course, from

the defense, evidence that proved that the witnesses against Mr. Boyd were lying or not credible,

that police had coerced them into lying, that a known third party was likely to have committed

the crime, and that similar crimes had been committed in the area after Mr. Boyd had been taken

into custody.

         527.   Had this evidence been timely disclosed, Mr. Boyd would have been released

early in the proceedings and ultimately would have achieved a more favorable outcome to his

trial.

         528.   Further, as shown above, the trial prosecutor, ADA Drury, delivered an

inflammatory summation which violated virtually all the above rules of conduct for prosecutors,




                                                - 70 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7591ofof102
                                                                            347




violated Mr. Boyd’s constitutional right to a fair trial, and contributed as well to the jury’s guilty

verdict.

       529.    Thereafter, prosecutors at the ECDA, reflecting the ECDA’s ongoing indifference

to Brady violations, successfully opposed Mr. Boyd’s motions to overturn his conviction by

misleading the courts about whether specified items had been disclosed at trial and whether such

items were favorable to the defense under Brady at all.

       530.    This behavior prolonged for many years Mr. Boyd’s imprisonment as well as the

deep restrictions upon his liberty as a parolee.

       531.    Individually and collectively, the above misconduct deprived Mr. Boyd of his

constitutional rights to due process and a fair trial and to be free from unreasonable seizure and

was a substantial cause of Mr. Boyd’s constitutional injuries.

       532.    Individually and collectively, these violations of Mr. Boyd’s constitutional rights

were directly, foreseeably, proximately, and/or substantially caused by the unlawful policies,

customs, or practices of the ECDA as well as by the deliberate indifference of policymakers at

that office, acting on behalf of the Defendant County, to the occurrence of such constitutional

violations.

       533.    Under the principles of municipal liability for federal civil rights violations, at all

relevant times, the District Attorney or his authorized delegates had final managerial

responsibility for establishing lawful policies of the office and for training, instructing,

supervising, and disciplining attorneys and other employees of the ECDA regarding their

constitutional obligations.




                                                   - 71 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7692ofof102
                                                                            347




        534.    Nevertheless, at the time of Mr. Boyd’s trial, the ECDA maintained unlawful

policies, customs, or practices, and was indifferent to violations of fair trial rights, all of which

were a substantial cause of the violations of his constitutional rights and to his damages.

        535.    Specifically, first, the ECDA had an unlawful policy, custom, or practice of

impermissibly limiting its obligation to disclose Brady material to the defense to include only

truly “exculpatory”—rather than favorable—material. This baseless narrowing of the Brady

doctrine’s scope, which encompasses not only exculpatory material but also all other information

favorable to the defense, such as impeachment evidence and evidence identifying alternate

perpetrators of the crime, deprived criminal defendants of their constitutional right to a fair trial.

        536.    Second, the ECDA had an unlawful policy not to disclose Brady material to the

defense, the court, or the grand jury at the preliminary hearing, bail hearing, and grand jury

stages of a case, thereby deceiving fact finders about the strength of the prosecution’s case and

causing criminal defendants to be unfairly and unreasonably deprived of their liberty.

        537.    Third, the ECDA had an unlawful policy, custom, or practice of not disclosing

evidence favorable to the defense, even exculpatory evidence, for use at trial unless the defense

specifically requested it, and then often did not disclose it anyway.

        538.    Fourth, the ECDA had an unlawful policy, custom, or practice to disclose only

formal witness statements that were signed by the witness, as opposed to statements

memorialized in police reports or that were handwritten only, and to make even this limited

disclosure only after such witness completed his direct examination at trial, thus making it

difficult, if not impossible, for the defense to investigate the information, incorporate it into

counsel’s opening statement and overall defense strategy, and plan an effective cross-

examination.




                                                 - 72 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7793ofof102
                                                                            347




         539.   Fifth, the ECDA had an unlawful policy, custom, or practice of not disclosing

police reports containing information favorable to the defense obtained from witnesses who were

not called by the prosecution to testify.

         540.   Sixth, the ECDA had a policy, custom, or practice for prosecutors, especially in

high profile cases, to make inflammatory, misleading, and even false summations that violated

the aforementioned well-established rules of behavior and which, like Brady violations, deprived

criminal defendants such as Mr. Boyd of their constitutional right to a fair trial.

         541.   Indeed, prosecutors would give summations that were false or misleading

precisely because they contradicted evidence that the same prosecutors had suppressed under

Brady.

         542.   Finally, seventh, the ECDA had a policy, custom, or practice of continuing to

withhold Brady material when faced with post-trial motions by a defendant challenging the

lawfulness of his conviction, thereby prolonging the defendant’s imprisonment.

         543.   The District Attorney and his designees, as policymakers for the ECDA and the

County, encouraged such violations to occur through their policy of deliberate indifference to

them.

         544.   At all relevant times, the ECDA had no prosecution manual or other written rules

or procedures regarding Brady and Rosario disclosure or trial advocacy, including summation

behavior.

         545.   At all relevant times, the ECDA had no employee handbook, manual, or other

document setting forth any disciplinary process for prosecutorial misconduct, or potential

sanctions for them, nor was any such process made known to employees in some other manner

as a deterrent to such misconduct.




                                                - 73 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7894ofof102
                                                                            347




        546.    At all relevant times, even though the District Attorney knew or should have

known that prosecutors on his staff, including the most experienced prosecutors handling the

ECDA’s most important cases, were committing constitutional violations that deprived criminal

defendants of their constitutional right to a fair trial, he did not supervise, or require supervision

of, prosecutors in connection with such functions.

        547.    He and his designees kept no record of misconduct by individual prosecutors.

        548.    He neither investigated nor disciplined prosecutors who violated rules designed to

protect the fair trial rights of criminal defendants.

        549.    He did not train prosecutors in such functions, even when he became aware or

should have been aware of appellate decisions that showed the ECDA’s policies, customs or

practices were unlawful.

        550.    The knowledge among ECDA prosecutors that there would be no personal

consequence for them if they violated the due process and fair trial rights of criminal defendants

encouraged prosecutors, including the prosecutor handling Mr. Boyd’s case, to believe that such

violations would go unpunished.

        551.    The District Attorney’s policy, custom, and/or practice of approval, ratification of,

or deliberate indifference to, violations by ECDA prosecutors of their constitutional obligations

to afford criminal defendants a fair trial foreseeably encouraged such violations to continue.

        552.    Just four years before Mr. Boyd’s prosecution was initiated, in Giglio v. United

States, 405 U.S. 150 (1972), the United States Supreme Court held that a prosecutor’s office is

responsible for disclosing impeachment evidence known to members of the office even if the

trial prosecutor in the given case is not aware of such evidence.




                                                 - 74 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page7995ofof102
                                                                            347




        553.    The same rule applied to evidence known to police detectives who worked on the

case.

        554.    In the same decision, the Court advised district attorneys to adopt office-wide

information-management systems to keep track of impeachment evidence to make sure that the

assigned prosecutor would learn about it and disclose it.

        555.    Nevertheless, the ECDA adopted no system of checklists, receipts, or other

procedures to ensure that all investigative records of the BPD would be made available to the

assigned prosecutor so that he could fulfill his Brady obligations.

        556.    The absence of any such procedures created the predictable risk that, in a case like

Mr. Boyd’s, police records containing evidence favorable to the defense would not be obtained

or disclosed.

        557.    In United States v. Agurs, 427 U.S. 97 (1976), handed down while Mr. Boyd’s

case was awaiting trial, the United States Supreme Court explicitly held that prosecutors are

required under Brady to disclose information favorable to the defense regardless of whether the

defense had specifically requested such disclosure.

        558.    This decision made clear that the ECDA policy, custom, or practice to withhold

such material absent a specific request was unconstitutional, yet the District Attorney failed to

train prosecutors about this decision or make clear that the policy, custom, or practice of the

office in this regard had to change.

        559.    As a result, Mr. Boyd’s prosecutor, and the prosecutors involved in handling the

trials of Messrs. Gibson, Walker and Martin, did not disclose evidence favorable to the defense

unless it was specifically requested in a discovery motion or, under the ECDA’s overly




                                               - 75 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page8096ofof102
                                                                            347




restrictive view of the state Rosario obligation, had to be disclosed as a witness’s formal, signed,

prior-recorded statement.

       560.    Court decisions before, during, and immediately after Mr. Boyd’s trial revealed

the misunderstanding of ECDA prosecutors regarding their Brady and related Rosario

obligations and the ECDA’s policy, custom, and practice to apply Brady and Rosario in an

overly narrow manner.

       561.    In People v. Anderson, 25 A.D.2d 602 (4th Dept. 1966), the Appellate Division

unanimously reversed a defendant’s felony assault conviction because of the prosecution’s

failure to disclose the testimony of the complainant and a second witness before a separate grand

jury investigating a second defendant’s involvement in the same incident.

       562.    In People v. Kampshoff, 53 A.D.2d 325, 332 (4th Dept. 1976), the Appellate

Division did not reverse, but it noted that—as in Mr. Boyd’s case—the prosecution had failed to

disclose a key witness’s statements recorded in police reports.

       563.    In People v. Mitchell, 99 Misc.2d 332 (Sup. Ct., Erie Co. 1979), a Supreme Court

justice had to order the ECDA to disclose grand jury testimony where there was “no question”

that it was “exculpatory.”

       564.    The court warned that “compliance with Brady cannot be made with clue-

dangling or gamesmanship in place of full disclosure.” Id. (quoting People v. Bottom, 76

Misc.2d 525, 529 (Sup. Ct., N.Y. 1974)).

       565.    In People v. Cadby, 75 A.D.2d 713 (4th Dept. 1980), the Appellate Division held

that the prosecution had impermissibly withheld the prior statement of a key witness, the

complainant, recorded in a police report, evidently—as in Mr. Boyd’s case—because it was not a

signed statement.




                                               - 76 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page8197ofof102
                                                                            347




       566.    The prosecution waited to disclose the statement until the defense elicited its

existence from the prosecution’s last witness, the police officer who had recorded it—too late to

use it to cross-examine the declarant. The Appellate Division remanded the case for a hearing

into how prejudicial the error was to the defendant’s right to a fair trial.

       567.    In Matter of Potenza v. Kane, 79 A.D.2d 467 (4th Dept. 1981), a mistrial had to be

declared because of the trial prosecutor’s apparent negligence in failing to disclose a tape

recording of the defendant.

       568.    In People v. Clark, 89 A.D.2d 820 (4th Dept. 1982), the Appellate Division did

not reverse due to lack of sufficient prejudice, but it noted that the prosecution did not disclose

exculpatory material until near the close of the People’s direct case.

       569.    That the policy of the ECDA at the time of Mr. Boyd’s trial was to achieve

convictions at any cost and to tolerate, if not encourage, misconduct is shown by various

circumstances that include, but are not limited to:

               (a)     the promotion of prosecutors to executive positions, and to handle the

                       most significant of the office’s trials, who had a reputation for and a

                       history of such misconduct;

               (b)     the failure to adopt or utilize any manuals, rules, procedures, or training to

                       prohibit or prevent such misconduct;

               (c)     the failure to take any disciplinary action when prosecutors committed

                       misconduct or were found by courts to have done so, and

               (d)     the DA’s brief on appeal defending ADA Drury’s summation misconduct

                       in Mr. Boyd’s case and similar misconduct by prosecutors in other cases.




                                                 - 77 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page8298ofof102
                                                                            347




       570.    This policy of deliberate indifference created an anything-goes or winning-is-

everything mentality that was a substantial cause of the constitutional violations in Mr. Boyd’s

case and his resultant injuries.

       571.    The District Attorney’s blind eye to outrageous behavior by one of the county’s

most well-known prosecutors, ADA Albert M. Ranni, set the tone for the ECDA and revealed

the DA’s indifference to misconduct similar to that which led to Mr. Boyd’s conviction.

       572.    Mr. Ranni was notorious in the Buffalo criminal justice community for his

overzealous and improper tactics.

       573.    Nevertheless, the DA assigned him some of the most important cases in the

office, appointed him chief of the felony bureau in 1973, and then promoted him to deputy DA in

charge of prosecutions in 1982.

       574.    His promotions and continuation as a high-level executive occurred

notwithstanding his history of misconduct and a series of extraordinarily harsh court decisions

condemning it.

       575.    While Mr. Boyd’s prosecution was pending in 1976, Mr. Ranni used pervasively

improper tactics to obtain the conviction of a completely innocent man, J. L. Ivey, on three

counts of murder and two counts of first-degree robbery.

       576.    Mr. Ranni brought the case based upon patently improper eyewitness

identifications by witnesses to whom the police repeatedly showed Mr. Ivey’s photograph, even

after they initially failed to recognize him and even though they had given descriptions of the

perpetrator that did not fit Mr. Ivey’s appearance.




                                               - 78 -
    Case1:22-cv-00519-LJV-JJM
   Case   1:22-cv-00519-LJV-JJM Document
                                 Document126-3
                                          78 Filed
                                               Filed03/13/23
                                                     12/11/23 Page
                                                               Page8399ofof102
                                                                            347




          577.   In overturning the conviction, the Appellate Division, in a unanimous decision by

five justices, deplored Mr. Ranni’s behavior throughout the trial. See People v. Ivey, 83 A.D.2d

788 (4th Dept. 1981).

          578.   It wrote that “the record is replete with numerous and repeated acts of improper

and prejudicial conduct … which deprived the defendant of a fair trial.”

          579.   Writing that it would discuss just a few of Mr. Ranni’s many acts of misconduct,

the court noted that he repeatedly offered into evidence, in front of the jury, clearly inadmissible

composite sketches that the court had ordered to be excluded, then made a “highly improper”

argument to the jury “insinuat[ing] that the court’s ruling unfairly precluded him” from offering

such evidence.

          580.   The court “condemn[ed] the prosecutor’s inflammatory and prejudicial opening

statement and summation,” which tried to scare the jury that an acquittal “would mean that the

‘murderer goes free,’” as well as his remarks to the jury implying “that he knew some things

about the case he wished that they knew …”

          581.   The court also “condemned” the prosecutor’s “attempts in his summation to inject

sympathy for the victim” and his “disparagement” of the defendant’s alibi witnesses and his

lawyer.

          582.   Following the reversal of Mr. Ivey’s conviction, new evidence emerged that

someone else committed the crime, and he was fully acquitted at his retrial.

          583.   Thereafter, the New York Court of Claims, finding by clear and convincing

evidence that Mr. Ivey was innocent, awarded him substantial damages for the unjust conviction

that Mr. Ranni’s misconduct had brought about.




                                                - 79 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page84 of of
                                                                  100  102347




       584.    There was no negative consequence to Mr. Ranni even though his egregious

misconduct had caused the conviction, and years of imprisonment, of an innocent man, and cost

the taxpayers the expense of a civil settlement.

       585.    In 1977, the year that Mr. Boyd and his three friends were all tried for the

Crawford Murder, Mr. Ranni used similar tactics to gain the conviction of Kenneth Johnson for

robbery and rape.

       586.    On appeal, all five justices of the Appellate Division condemned Mr. Ranni’s

behavior. See People v. Johnson, 62 A.D.2d 555 (4th Dept. 1978).

       587.    In a rare rebuke, the majority opinion of three justices called out Mr. Ranni by

name in expressing their “concern with misconduct of Mr. Ranni throughout the trial” while

warning, in an apparent indirect reference to the County, that “unadulterated unfairness and

deceit have become the rule.”

       588.    The majority did not reverse the conviction because of the overwhelming

evidence of the defendant’s guilt, but in the dissenting opinion by Justice Hancock, he and

Justice Witmer detailed the misconduct by Mr. Ranni that had disturbed the entire court.

       589.    Justice Hancock wrote that “the record is … permeated with acts of improper,

overreaching and prejudicial conduct by the prosecuting attorney … .”

       590.    Justice Hancock recorded his and Justice Witmer’s “particular disapproval” of

Mr. Ranni accusing the defense of having “sugared up,” “staged,” and “rehearsed” the testimony

of defense witnesses. They condemned as “highly improper” his having accused the defendant

of lying when he pleaded not guilty to unrelated charges—a formal process that occurs in

virtually every criminal case—only to later admit guilt, and then argued in summation that the

defendant’s not guilty plea in the case at hand was similarly false:




                                               - 80 -
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page85 of of
                                                                   101  102347




        “Now, the mere assertion of innocence isn’t proof. You know now that this
        assertion, this claim is often made by guilty people to avoid justice. The defendant
        himself raised this claim on prior occasions: other crimes—not rape crimes—other
        crimes; pleaded not guilty.”

        591.    Justice Hancock disapproved of the prosecutor’s tactics “in asking irrelevant

questions of the defendant … which were obviously asked for their prejudicial effect,” such as

whether he remembered admitting to a judge in an unrelated case that he had “called the

arresting officer … a ‘motherfucker,’” and portraying the defendant as a “hard drug traffic[ker]”

through repetitive questioning distorting his involvement in small marijuana sales.

        592.    Finally, Justices Hancock and Witmer condemned Mr. Ranni for deriding defense

counsel by calling him “Dr. Hocus Pocus” and saying that “the D.A. is not going to prosecute for

perjury” because defense counsel’s arguments had not been made under oath.

        593.    Summing up, Justice Hancock wrote:

        From the record there clearly emerges the picture of an overbearing prosecutor
        obsessed with the idea of obtaining a conviction at any costs, ignoring the court’s
        rulings, deliberately asking improper and prejudicial questions, and engaging in
        unpardonable efforts in comments during the trial and in summation to disparage
        defense counsel and destroy his credibility with the jury.

        594.    Subsequently, Federal District Judge John Elfvin, in Johnson v. Smith, CIV 81-

329E, issued a rare grant of federal habeas corpus relief, vacating the defendant’s conviction

because Mr. Ranni’s pervasive misconduct had violated his federal constitutional right to due

process and a fair trial.

        595.    Significantly, the court noted that the District Attorney’s Office had conceded that

Mr. Ranni’s conduct had been “improper.”

        596.    Notwithstanding these decisions and his acknowledgment of Mr. Ranni’s

misconduct, the District Attorney permitted Mr. Ranni to continue to handle the most notorious




                                               - 81 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page86 of of
                                                                  102  102347




cases the office prosecuted, unrestrained by basic rules of fairness, and promoted him to Deputy

DA in charge of prosecutions.

         597.   In the famous multiple-murder prosecution of Pvt. Joseph Christopher in the mid-

1980s, the Appellate Division affirmed the manslaughter conviction because of overwhelming

evidence of guilt but refused to “condone” Mr. Ranni’s behavior. People v. Christopher, 170

A.D.2d 1020 (4th Dept. 1991). Noting that the State had conceded his misconduct, the court

wrote:

         [T]he Trial Assistant engaged in inappropriate and improper conduct during his
         cross-examination of a defense psychiatrist, his direct examination of the People's
         psychiatrist, and on summation. The Trial Assistant, whose misconduct has resulted
         in at least one reversal of a murder conviction by this Court (see, People v. Ivey, 83
         A.D.2d 788), consistently referred to matters not in evidence, made himself an
         unsworn witness, flouted rulings by the trial court on evidentiary matters, and made
         flippant remarks which detracted from the seriousness of the proceedings.

         598.   Other prosecutors in the office, including in Mr. Boyd’s case, engaged in

misconduct similar to Mr. Ranni’s both before and immediately after Mr. Boyd’s trial.

         599.   The conduct, as well as the court decisions noting it, demonstrated the existence

of unlawful policies, customs and practices; the DA’s failure to take any disciplinary or other

remedial action showed the ECDA’s policy of deliberate indifference to such misconduct.

         600.   In People v. Moore, 26 A.D.2d 902 (4th Dept. 1966), the Appellate Division

reversed the conviction and required a new trial because the prosecutor, during his summation,

improperly commented on the defendant’s exercise of his constitutional right to remain silent

and “exceeded proper limits in telling the jury that if they wanted to live in a community where

crime runs rampant they should acquit the defendant.”

         601.   In People v. Slaughter, 28 A.D.2d 1082 (4th Dept. 1967), the court reversed a

murder conviction after the prosecutor, ridiculing the defendant’s insanity defense, stated falsely




                                                 - 82 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page87 of of
                                                                  103  102347




in summation that if the defendant was acquitted, he would be “on the streets again within 30

days,” decried permissive societal attitudes, urged the jury not to “extend to the Henry Slaughters

of the world the license to strike out and kill … or are you going to call them to task? Are you

going to protect, finally here, … the rights of the community in which you live.”

       602.    In People v. Zachery, 31 A.D.2d 732 (4th Dept. 1968), the Appellate Division

reversed a robbery conviction due to the “prejudicial conduct of the prosecutor in calling to the

witness stand a co-defendant with advance knowledge that he was going to invoke the privilege

against self-incrimination and refuse to answer questions” and the “impropriety” in eliciting the

out-of-court statement of a co-defendant incriminating the defendant.

       603.    In People v. Washington, 32 A.D.2d 605 (4th Dept. 1969), the Appellate Division

reversed a robbery conviction where the prosecutor improperly cross-examined the defendant

repeatedly whether he had twice kicked a police officer in the groin, in an improper effort “to

persuade the jury that defendant was an habitual groin kicker.”

       604.    In People v. Damon, 24 N.Y.2d 256 (1969), the Court of Appeals reversed a child

sexual assault conviction because an Erie County prosecutor in summation argued that the

defendant was “a homosexual or deviate,” improperly vouched for the police while personally

attacking defense counsel, falsely argued prejudicial “facts” that were not in evidence, and made

inflammatory remarks to the jury about the nature of the crime.

       605.    In People v. Cardinale, 35 A.D.2d 1073 (4th Dept. 1970), although the defendant

was charged only with criminal contempt, the court reversed the conviction because of the

prosecutor’s “highly prejudicial” opening statement that the grand jury had heard evidence that

the defendant, police officers, and public officials had been involved in a gambling conspiracy.




                                               - 83 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page88 of of
                                                                  104  102347




       606.    In People v. Reingold, 44 A.D.2d 191 (4th Dept. 1974), the Appellate Division

reversed a burglary conviction because the prosecutor, in bad faith, cross-examined the

defendant to show he had a criminal propensity in a manner that was “so improper and

inflammatory that it made an impartial consideration of the competent evidence adduced at trial

virtually impossible.”

       607.    In People v. Ketchum, 35 N.Y.2d 740 (1974), the Court of Appeals noted

“grievous misconduct by the prosecution in cross-examination and summation which we

strongly condemn.”

       608.    In People v. Greer, 49 A.D.2d 297, 303-04 (4th Dept. 1975), the court reversed a

rape conviction because of the prosecutor’s “improper” cross-examination of the defendant

impermissibly intended to show his criminal propensity.

       609.    In People v. Donaldson, 49 A.D.2d 1004 (4th Dept. 1975), the Appellate Division,

in reversing the conviction, condemned the prosecutor for arguing improper inferences from

hearsay evidence, improperly arguing a negative inference against the defendant for exercising

his constitutional right not to testify, and for his “entirely improper and prejudicial” urging of the

jury to credit the testimony of a prosecution witness with a long criminal record because the

grand jury had believed him.

       610.    In People v. Balsano, 51 A.D.2d 130 (4th Dept. 1976), the court reversed a

conviction for unlawful imprisonment where, among other things, the prosecutor improperly

questioned the defendant about criminal conduct not related to his credibility, improperly elicited

that he had a pending charge, improperly asked the jury to draw a negative inference from the

defendant’s failure to call a witness, and repeatedly forced the defense to object to

“inflammatory” remarks, causing the trial judge to “properly admonish[] the prosecutor.”




                                                - 84 -
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page89 of of
                                                                   105  102347




        611.   In People v. Weston, 51 A.D.2d 881 (4th Dept. 1976), the Appellate Division

reversed a conviction for burglary, rape, and robbery because the prosecutor cross-examined the

defendant in bad faith about his criminal propensity. The court also agreed with the defendant’s

condemnation of the prosecutor’s “inflammatory and intimidating” remarks in summation and

admonished him not to “put his personal credibility behind his statements and make himself an

‘unsworn witness.’”

        612.   In People v. Mordino, 58 A.D.2d 197 (4th Dept. 1977), the Appellate Division

reversed a high-profile, organized crime related murder conviction obtained in 1975 because,

among other things, the prosecutor gave an “inflammatory” summation during which he

improperly castigated the defendants as “vultures” and argued their guilt by association (“if you

walk like a duck and you talk like a duck and you keep the company of ducks then you are a

damn duck”).

        613.   In Robinson v. Smith, 451 F. Supp. 1278 (W.D.N.Y. 1978) (Curtin, C.J.), a federal

court vacated a murder conviction that the ECDA obtained through its knowing use of a

confession that Buffalo police coerced from a suspect by falsely claiming an accomplice had

confessed “in an obvious effort to trick him into implicating himself and others. This police

practice is to be soundly condemned. Such deception clearly has no place in our system of

justice.”

        614.   In People v. Keller, 67 A.D.2d 153 (4th Dept 1979), the Appellate Division

unanimously reversed an assault and weapons conviction due to pervasive misconduct by an

ECDA prosecutor.

        615.   In an unanimous opinion by five justices, the Keller court condemned the

prosecutor for his “egregious errors” and “grossly improper remarks” in repeatedly referring to




                                              - 85 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page90 of of
                                                                  106  102347




the defendant and his witnesses as liars, repeatedly expressing his personal opinion about

witnesses’ credibility, implying in summation there was a lie detector test and other evidence the

jury had been prevented from hearing, and making various “irrelevant and inflammatory”

remarks which, in their totality, “patently deprived the defendant of a fair trial … .”

       616.    In People v. King, 72 A.D.2d 930 (4th Dept. 1979), the Appellate Division, while

reversing an attempted robbery conviction because of the misconduct of the trial judge, noted

that the prosecutor joined him in some of it, including holding ex parte “conferences … outside

of the presence of defense counsel.”

       617.    In Matter of Potenza v. Kane, 79 A.D.2d 467, 472 (4th Dept. 1981), while

refusing, following a mistrial, to bar a second trial on the basis of pervasive prosecutorial

misconduct, the Appellate Division noted that many of the defense counsel’s objections to the

prosecutor’s improper opening statement had been sustained and the court had “minimized the

possible prejudice by admonishing the prosecutor before the jury.” The Appellate Division also

noted that it did not “condone” the prosecutor’s repeated failure to follow the court’s warning

against leading questions.

       618.    In People v. Terry, 83 A.D.2d 491 (4th Dept. 1981), the Appellate Division

reversed a robbery conviction in part because of the prosecutor’s “totally improper” argument

that the jury should hold against the defendant his failure to produce to testify as an alibi witness

a government employee whose identity was unknown to him.

       619.    In People v. Mordino, 83 A.D.2d 775 (4th Dept. 1981), the court declined to

reverse a murder conviction for prosecutorial misconduct, but only because defense counsel did

not object to many of the improper questions, where the defense did object the court gave




                                                - 86 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page91 of of
                                                                  107  102347




“curative” instructions to prevent prejudice, and the conduct was not “egregiously improper …

as would warrant a reversal” (emphasis added).

       620.    In People v. Vance, 89 A.D.2d 347 (4th Dept. 1982), the Appellate Division

reversed a robbery conviction because the prosecutor acted as an investigator and then asked the

jury to credit his personal investigative findings over the defense case. The court concluded: “In

a case such as this where credibility is the only issue, a prosecutor who oversteps the bounds of

legitimate advocacy and makes himself an ‘unsworn witness’ against the defendant affects the

fairness of the trial and unduly prejudices the defendant.”

       621.    In People v. Herlan, 99 A.D.2d 647 (4th Dept. 1984), the court reversed a burglary

conviction because the prosecutor repeatedly questioned the defendant during cross-examination

about “why would a police officer of sixteen years risk his pension to perjure himself in court

over you? Any reason?” and made similar improper arguments during summation.

       622.    In People v. Grafton, 115 A.D.2d 952 (4th Dept. 1985), the Appellate Division

affirmed an order dismissing a rape indictment because the prosecutor, in the grand jury,

“introduced irrelevant and prejudicial evidence … , intimidated witnesses whose testimony

would have been helpful to defendant, asked witnesses irrelevant and improper questions of a

highly personal nature in an effort to embarrass them, and deliberately confused and deceived

witnesses and the Grand Jury by selective presentation of evidence.”

       623.    The misconduct of three different homicide prosecutors during the four trials

related to the Crawford Murder further showed the existence of unlawful policies, customs, and

practices at the ECDA regarding Brady disclosure, the use of false, misleading, and

inflammatory evidence and argument to deny criminal defendants their right to a fair trial, and

the District Attorney’s tolerance of such unlawful behavior.




                                               - 87 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page92 of of
                                                                  108  102347




       624.    The first of Mr. Boyd’s co-defendants to be tried was Darryn Gibson, who was

brought to trial on January 10, 1977.

       625.    Prior to his trial, Mr. Gibson’s defense counsel made only a general request that

the ECDA produce all Brady material but did not make specific requests such as for photographs

or witness statements favorable to the defense.

       626.    ADA Drury prosecuted Mr. Gibson’s case.

       627.    He was one of the District Attorney’s top trial prosecutors who handled some of

the ECDA’s most important cases.

       628.    Thus, his pervasive misconduct in the Gibson and Boyd prosecutions is highly

probative of the unlawful policies, customs, practices and behavior that the District Attorney

approved of or consciously tolerated.

       629.    Consistent with the policies, procedures, practices, and/or customs of the ECDA,

ADA Drury, with regard to the Gibson trial:

               (a)    did not turn over any statements, reports, photographs, or other

                      documentary evidence, favorable to the defense under Brady, in advance

                      of the trial;

               (b)    only disclosed the formal, sworn statements in question-and-answer

                      format of testifying witnesses, but not oral statements summarized in

                      police reports, even where such statements were exculpatory or

                      impeaching;

               (c)    did not disclose statements until the end of each witness’s direct

                      examination, which deprived defense counsel of the ability to investigate

                      the information, to integrate it into a defense strategy, to use it during his




                                               - 88 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page93 of of
                                                                  109  102347




                      opening statement, or to fully prepare to use it during his cross-

                      examination of the witness;

               (d)    did not disclose the statements of non-testifying witnesses that were

                      favorable to the defense; and

               (e)     only disclosed the photographs and other items of evidence that the

                      prosecution used in its direct case, but not other photographs that tended to

                      contradict the prosecution’s case.

       630.    During the Gibson trial, Mr. Gibson’s defense counsel became aware through

cross examination of Larry Watson that this witness had given another statement to the BPD,

which ADA Drury had not disclosed and pressed for disclosure of the report that summarized

such statement.

       631.    Rather than agree to provide it, ADA Drury initially suggested that the defense,

by not having previously requested the report, had waived any right to disclosure, even though

the defense had not known about it.

       632.    Continuing to resist disclosure, he said further that, before agreeing to disclose the

police report, he would have to check with his office’s appellate section.

       633.    However, the court directed him to make disclosure.

       634.    ADA Drury then belatedly disclosed to Mr. Gibson’s defense counsel a single

police report summarizing one of Mr. Watson’s prior statements, but not all of Mr. Watson’s

prior statements, even though the undisclosed statements contradicted his trial testimony and

tended to incriminate him in the murder itself.

       635.    Nor did ADA Drury disclose the statements of other witnesses tending to

implicate Mr. Watson in the murder.




                                               - 89 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page94 of of
                                                                  110  102347




       636.    Even as to the statement he did disclose, it was too late for defense counsel to

incorporate the information into his overall defense theory or even to utilize it during cross-

examination: Mr. Watson already had completed his testimony.

       637.    Caught having failed to disclose statements in police reports that were not in

question-and-answer form and under oath, ADA Drury then belatedly disclosed additional police

reports dated February 11, 1976, containing the unsigned statements of Messrs. Woodruff and

Hough on that date, and the police report containing the exculpatory statement of Shirley Floyd

that the boys were playing cards at her apartment the night of the Crawford Murder.

       638.    He acknowledged that these reports likely constituted Brady material.

       639.    He blamed his late disclosure of them on his having only just received them from

the BPD, even though the case had been pending for a year.

       640.    However, ADA Drury did not disclose the rest of the Brady material in his and/or

the BPD’s possession contradicting or impeaching Messrs. Woodruff and Hough, showing the

coercive behavior of the detectives, and inculpating third party suspects Larry Watson and

Jerome Boyd.

       641.    After the trial, he took all witness statements back, making sure they would not be

disclosed to Mr. Gibson’s co-defendants.

       642.    During his summation, ADA Drury, despite his knowledge of the fundamental

rules regarding advocacy, violated most of them.

       643.    He misrepresented that Mr. Woodruff was questioned about the murder and

admitted his participation in the presence of his father and his minister, when in fact, undisclosed

police reports showed the young man had been coercively interrogated on January 12, 1976,

alone, for hours.




                                               - 90 -
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page95 of of
                                                                   111  102347




        644.    He falsely represented that Mr. Woodruff’s questioning “never occurred under

police pressure.”

        645.    He falsely represented that “all the paper work and everything else concerned

with this was furnished to this defense counsel,” even though he knew, or should have known,

that numerous police documents had been withheld from the defense, including reports that were

obviously favorable to the defense under Brady.

        646.    He argued to the jury the truthfulness of Mr. Watson’s testimony that Mr. Watson

had run to his home, abandoning Mr. Crawford because he had seen the door to his house open,

without disclosing Mr. Watson’s inconsistent statements on this issue and any of the additional

witness statements circumstantially inculpating Mr. Watson in the murder itself.

        647.    Mr. Gibson was convicted of second-degree murder on January 21, 1977.

        648.    When Mr. Boyd was then brought to trial later in 1977, ADA Drury, who handled

that trial as well, did not disclose the police reports that he had belatedly disclosed to Mr.

Gibson’s counsel and then demanded back, let alone the additional Brady material he had fully

withheld from Mr. Gibson.

        649.    Of the statements he did disclose, he did so only after the witness had completed

his or her direct examination, thereby depriving the defense of the opportunity to put such

material to full use.

        650.    Mr. Drury also made a slew of improper arguments during his summation that

denied Mr. Boyd his right to a fair trial, see ¶¶ 375-391, supra, which the DA then ratified by

defending on appeal as “proper in all respects.”




                                                - 91 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page96 of of
                                                                  112  102347




       651.      Two other prosecutors, ADAs James Verrastro and David Henry, handled the trial

prosecution of Mr. Boyd’s friend, John Walker, beginning June 6, 1977, and Floyd Martin’s case

later the same year.

       652.      Like ADA Drury and other prosecutors in the office, their practice, too, was to not

disclose prior witness statements until after the witness testified on direct and even then only

disclosed formal, signed statements. They, too, did not disclose statements or evidence, even

though such materials favored the defense under Brady, if the witness did not testify or the

statement or evidence was not specifically requested by the defense.

       653.      Accordingly, ADAs Verrastro and Henry withheld the same material and

evidence at the Walker and Martin trials that ADA Drury had withheld at Mr. Boyd’s trial, with

one exception.

       654.      After counsel for Floyd Martin specifically demanded disclosure of all crime

scene photographs, not just the ones the prosecution was itself using, the prosecutors disclosed

the two additional photographs, which had been withheld during the prior three trials, to Mr.

Martin’s attorney.

       655.      During the Walker trial, ADA Henry continued the pattern of ECDA prosecutors

making false, misleading, or otherwise improper summation arguments that exploited the

office’s Brady violations and denied Mr. Walker a fair trial.

       656.      He went outside the trial record to represent that Andre Hough’s statements all

were “the same,” even though he knew that Mr. Hough not only had made various inconsistent

statements but also had recanted more than once.




                                                - 92 -
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page97 of of
                                                                   113  102347




        657.     He represented that Mr. Hough had no motive or other reason to lie when he knew

or should have known that police had threatened him with arrest and prosecution for the murder

and otherwise coerced him.

        658.     He contended that Mr. Woodruff had no motive to lie, and that he had implicated

himself and the others purely out of conscience (“maybe it got to him”), when he knew or should

have known that Mr. Woodruff only changed his story after being threatened with life

imprisonment but was then lured with a promise, which was realized, of complete immunity.

        659.     He argued that the witnesses, including Messrs. Woodruff and Hough, had been

separated and could not possibly have conformed their stories, despite knowing that, as revealed

in the police reports of February 11, 1976, two detectives, purportedly at ADA Drury’s direction,

had shuttled between Messrs. Hough and Woodruff to make sure they did conform their stories.

        660.     Mr. Walker was convicted of second-degree murder and first-degree robbery on

April 29, 1977.

        661.     The fourth of the co-defendants brought to trial was Floyd Martin. Mr. Martin’s

trial commenced on July 6, 1977.

        662.     Mr. Martin was represented by defense counsel James A.W. McLeod.

        663.     ADAs Verrastro and Henry prosecuted the case.

        664.     Based upon the crime scene photographs that Mr. McLeod had received, which

the other defendants had not, as well as the testimony that Mr. Watson was the last person seen

with Mr. Crawford before he was murdered, Mr. McLeod contended that Mr. Watson was the

likely killer.




                                               - 93 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page98 of of
                                                                  114  102347




       665.    Unbeknownst to counsel, police records contained powerful additional evidence

supporting this theory, but Mr. McLeod did the best he could with the limited evidence that had

been disclosed to him.

       666.    It was enough. On July 14, 1977, the jury acquitted Mr. Martin.

       667.    None of the prosecutors in any of the cases discussed in ¶¶ 561-622 were properly

supervised by the DA or other executives, nor were any investigated or disciplined for the

misconduct after the misconduct was complained about by the defense and/or substantiated by

court decisions.

       668.    Policymakers’ deliberate indifference created an anything-goes or winning-is-

everything atmosphere which was a substantial cause of the violation of Mr. Boyd’s

constitutional rights and of his injuries and damages.

       669.    The aforesaid deliberate or de facto policies, procedures, practices and/or

customs, including the failure to properly instruct, train, supervise, and/or discipline employees

with regard thereto, were implemented or tolerated by policymaking officials for the Defendant

County, including, but not limited to, the District Attorney and his delegates, who knew:

               (a)       to a moral certainty that such policies, procedures, regulations, practices,

                         and/or customs concern issues that regularly arise in the investigation and

                         prosecution of criminal cases;

               (b)       that such issues present employees with difficult choices of the sort that

                         instruction, training, supervision, and discipline will make less difficult;

               (c)       that employees facing such issues have strong incentives to make the

                         wrong choices, especially given the pressure the ECDA places on

                         prosecutors to win convictions at any cost;




                                                 - 94 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page99 of of
                                                                  115  102347




               (d)     that the wrong choice by municipal employees concerning such issues will

                       frequently cause the deprivation of the constitutional rights of the accused

                       and cause him constitutional injury; and

               (e)     that employees of the ECDA had a history of making wrong choices in

                       such matters.

       670.    The aforesaid policies, procedures, regulations, practices, and/or customs of the

ECDA were, collectively and individually, a substantial factor in bringing about the aforesaid

violations of Mr. Boyd’s rights under the Constitution and laws of the United States and in

causing his damages.

       671.    By virtue of the foregoing, the Defendant County is liable for the violation of Mr.

Boyd’s constitutional rights pursuant to 42 U.S.C. § 1983 and his resultant injuries.

                                      COUNT VIII
Municipal Liability Against the City of Buffalo for Its Negligent Failure to Properly Hire,
Train, Supervise and Discipline the BPD Detectives Who Investigated Plaintiff and Caused
                               His Arrest and Prosecution

       672.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

500 of this Complaint.

       673.    By virtue of the foregoing, the Defendant City is liable to Plaintiff because of its

intentional, deliberately indifferent, careless, reckless, and/or negligent failure to adequately hire,

train, supervise, and discipline its agents, servants and/or employees with regard to their

aforementioned duties, which was a substantial cause of the Individual Defendants’ wrongful

conduct and the injuries suffered by Plaintiff.

                                        COUNT IX
   Negligent Infliction of Emotional Distress (Individual Defendants and City of Buffalo)

       674.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

500 of this Complaint.


                                                  - 95 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00519-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page100
                                                                   116ofof102
                                                                           347




       675.    The Individual Defendants breached a duty of care owed to Plaintiff, which

unreasonably endangered his physical safety and caused him to fear for his physical safety.

       676.    Defendants’ conduct was extreme and outrageous.

       677.    Defendants’ conduct caused Plaintiff to suffer serious bodily injuries in county

jail and/or prison and severe emotional distress.

       678.    The Defendant City is liable under the doctrine of respondeat superior.

                                       COUNT X
 Municipal Liability Against the County of Erie for Its Negligent Failure to Properly Hire,
    Train, Supervise and Discipline the ECDA Prosecutors Who Investigated and/or
       Prosecuted Plaintiff and Caused His Wrongful Prosecution and Conviction

       679.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

438 and 501-671 of this Complaint.

       680.    By virtue of the foregoing, the Defendant County is liable to Plaintiff because of

its intentional, deliberately indifferent, careless, reckless, and/or negligent failure to adequately

hire, train, supervise, and discipline its agents, servants and/or employees with regard to their

aforementioned duties, which was a substantial cause of the wrongful conduct and of the injuries

that were suffered by Plaintiff.

                                     PRAYER FOR RELIEF

       WHEREFORE, Mr. Boyd demands judgment against Defendants as follows:

               (a)     compensatory damages for the damages described above of not less than

                       $84,000,000;

               (b)     punitive damages of not less than $28,000,000;

               (c)     reasonable attorneys’ fees, together with costs and disbursements, under

                       42 U.S.C. § 1988 and the inherent powers of this Court;

               (d)     pre-judgment interest as allowed by law; and



                                                - 96 -
 Case1:22-cv-00519-LJV-JJM
Case   1:22-cv-00519-LJV-JJM Document
                              Document126-3
                                       78 Filed
                                            Filed03/13/23
                                                  12/11/23 Page
                                                            Page101
                                                                 117ofof102
                                                                         347




          (e)   such other and further relief as this Court may deem just and proper.


                                           /s/ Joel B. Rudin
                                          JOEL B. RUDIN
                                          DAVID E. RUDIN
                                          Law Offices of Joel B. Rudin, P.C.
                                          Carnegie Hall Tower
                                          152 West 57th Street, 8th Floor
                                          New York, New York 10019
                                          (212) 752-7600
                                          jbrudin@rudinlaw.com
                                          david@rudinlaw.com


                                          /s/ Ross E. Firsenbaum
                                          ROSS E. FIRSENBAUM
                                          RYANNE E. PERIO
                                          GIDEON A. HANFT (pro hac vice)
                                          PHOEBE SILOS (pro hac vice)
                                          ERIN HUGHES (pro hac vice)
                                          Wilmer Cutler Pickering
                                              Hale and Dorr LLP
                                          7 World Trade Center
                                          250 Greenwich Street
                                          New York, NY 10007
                                          (212) 230-8800
                                          ross.firsenbaum@wilmerhale.com
                                          ryanne.perio@wilmerhale.com
                                          gideon.hanft@wilmerhale.com
                                          phoebe.silos@wilmerhale.com
                                          erin.hughes@wilmerhale.com


                                          /s/ Timothy W. Hoover
                                          TIMOTHY W. HOOVER
                                          SPENCER L. DURLAND
                                          Hoover & Durland LLP
                                          561 Franklin Street
                                          Buffalo, NY 14202
                                          (716) 800-2600
                                          hoover@hooverdurland.com
                                          sdurland@hooverdurland.com

                                          Attorneys for Plaintiff Darryl Boyd


                                       - 97 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00519-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page102
                                                                   118ofof102
                                                                           347




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                                     - 98 -
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 119 of 347




                   EXHIBIT B
    Case
  Case    1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 78 Filed
                                        126-3 Filed 03/13/23
                                                    12/11/23 Page
                                                             Page 1120
                                                                    of 103
                                                                       of 347




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

                                              )
JOHN WALKER, JR.                              )
                                              )
                                 Plaintiff,   )   Index No. 22-cv-520
                                              )
                  - against -                 )   AMENDED COMPLAINT AND
                                              )   JURY DEMAND
THE CITY OF BUFFALO; THE COUNTY               )
OF ERIE; MICHAEL G. GUADAGNO;                 )
JOHN MONTONDO; LINDA J. FIAL AS               )
EXECUTOR FOR THE ESTATE OF                    )
ROBERT GRABOWSKI; MARTIN                      )
BULLOCK AS EXECUTOR FOR THE                   )
ESTATE OF JAMES E. HUNTER;                    )
JENNIFER G. FLANNERY AS                       )
ADMINISTRATOR FOR THE ESTATE OF               )
ROBERT F. ARNET; JENNIFER G.                  )
FLANNERY AS ADMINISTRATOR FOR                 )
THE ESTATE OF FRANK C. DEUBELL;               )
JENNIFER G. FLANNERY AS                       )
ADMINISTRATOR FOR THE ESTATE OF               )
LEO J. DONOVAN; JENNIFER G.                   )
FLANNERY AS ADMINISTRATOR FOR                 )
THE ESTATE OF FRANCIS M. MANISTA,             )
JR.; AND DAWN M. DIRIENZO AS                  )
EXECUTOR FOR THE ESTATE OF PAUL               )
R. DELANO,                                    )
                                              )
                                Defendants.   )

 LAW OFFICES OF JOEL B. RUDIN, P.C.               WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
Joel B. Rudin
David E. Rudin                                    Ross E. Firsenbaum
152 West 57th St.                                 Ryanne E. Perio
New York, NY 10019                                Gideon A. Hanft (pro hac vice)
jbrudin@rudinlaw.com                              Phoebe Silos (pro hac vice)
david@rudinlaw.com                                Erin Hughes (pro hac vice)
Telephone: (212) 752-7600                         7 World Trade Center
Fax: (212) 980-2968                               250 Greenwich St.
                                                  New York, NY 10007
Attorneys for Plaintiff John Walker, Jr.          ross.firsenbaum@wilmerhale.com
                                                  ryanne.perio@wilmerhale.com
    Case
  Case    1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 78 Filed
                                        126-3 Filed 03/13/23
                                                    12/11/23 Page
                                                             Page 2121
                                                                    of 103
                                                                       of 347




HOOVER & DURLAND LLP                          gideon.hanft@wilmerhale.com
                                              phoebe.silos@wilmerhale.com
Timothy W. Hoover                             erin.hughes@wilmerhale.com
Spencer L. Durland                            Telephone: (212) 230-8800
561 Franklin St.                              Fax: (212) 230-8888
Buffalo, NY 14202
thoover@hooverdurland.com                   Attorneys for Plaintiff John Walker, Jr.
sdurland@hooverdurland.com
Telephone (716) 800-2600

Attorneys for Plaintiff John Walker, Jr.
      Case
    Case    1:22-cv-00520-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM     Document 78 Filed
                                          126-3 Filed 03/13/23
                                                      12/11/23 Page
                                                               Page 3122
                                                                      of 103
                                                                         of 347




                                                           Table of Contents

I. INTRODUCTION ........................................................................................................................1
II. PARTIES.....................................................................................................................................3
III. JURISDICTION, VENUE, AND CONDITIONS PRECEDENT.............................................5
IV. JURY DEMAND.......................................................................................................................5
V. FACTUAL ALLEGATIONS .....................................................................................................6
               A.          THE MURDER OF WILLIAM F. CRAWFORD.............................................6
               B.          THE BPD INVESTIGATION POINTS TO LARRY WATSON AND A
                           POTENTIAL ACCOMPLICE AS THE PERPETRATORS.............................7
               C.          THE BPD INVESTIGATES MR. WALKER AND FOUR OTHER BLACK
                           TEENAGERS, BUT FINDS EVIDENCE CORROBORATING THEIR
                           CONSISTENT STATEMENTS THAT THEY WERE NOT INVOLVED
                           IN THE MURDER ..........................................................................................17
               D.          THE BPD COERCES 15-YEAR-OLD ANDRE HOUGH TO FALSELY
                           IMPLICATE MR. WALKER AND HIS FOUR FRIENDS FOR THE
                           CRAWFORD MURDER.................................................................................23
               E.          THE BPD COERCES 17-YEAR-OLD TYRONE WOODRUFF TO
                           FALSELY IMPLICATE MR. WALKER AND THE OTHERS FOR THE
                           CRAWFORD MURDER.................................................................................25
               F.          THE BPD ARRESTS MR. WALKER BASED ON THE FALSE,
                           COERCED TESTIMONY OF MESSRS. WOODRUFF AND HOUGH.......30
               G.          ADDITIONAL INVESTIGATION FURTHER UNDERMINES THE
                           DETECTIVES’ FLAWED CASE AGAINST MR. WALKER ......................33
               H.          MESSRS. WOODRUFF AND HOUGH BOTH RECANT BEFORE
                           TESTIFYING IN THE GRAND JURY BUT DETECTIVES COERCE
                           THEM INSTEAD TO EXPAND THEIR FALSE STORIES .........................35
               I.          THE DEFENDANTS MISLEAD THE GRAND JURY, CAUSING IT TO
                           WRONGFULLY INDICT MR. WALKER.....................................................41
               J.          PLAINTIFF JOHN WALKER IS TRIED AND CONVICTED BASED
                           ON COERCED FALSE TESTIMONY, WITHOUT THE BENEFIT OF
                           UNDISCLOSED BRADY MATERIAL .........................................................43
               K.          THE ECDA OPPOSES MR. WALKER’S EFFORTS TO OVERTURN
                           HIS CONVICTION .........................................................................................47
               L.          THE COURT VACATES MR. WALKER’S WRONGFUL
                           CONVICTION.................................................................................................50
VI. MR. WALKER’S DAMAGES................................................................................................51
CAUSES OF ACTION ..................................................................................................................52
COUNT I

                                                                     -i-
      Case
    Case    1:22-cv-00520-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM     Document 78 Filed
                                          126-3 Filed 03/13/23
                                                      12/11/23 Page
                                                               Page 4123
                                                                      of 103
                                                                         of 347



Malicious Proseuction (Federal Claim) ...................................................................................................... 52
COUNT II
Malicious Prosecution (State Claim) .......................................................................................................... 53
COUNT III
Evidence Fabrication (Federal Claim) ........................................................................................................ 54
COUNT IV
Wrongful Pretrial Withholding of Exculpatory Evidence ("Russo" Claim Under Federal Law) ............... 55
COUNT V
Brady Claim (Federal Law) ........................................................................................................................ 56
COUNT VI
Monell Claim Under Federal Law Against City of Buffalo for Policies of the Buffalo Police
Department.................................................................................................................................................. 58
COUNT VII
Monell Claim Under Federal Law Against the County of Erie for Policies of the Erie County
District Attorney ......................................................................................................................................... 65
COUNT VIII
State Law Claim for Negligent Failure of City of Buffalo to Properly Hire, Train, Supervise, and
Discipline the Police ................................................................................................................................... 97
COUNT IX
State Law Claim for Negligent Infliction of Emotional Distress ................................................................ 97
COUNT X
State Law Claim for Negligent Failure of Erie County to Properly Hire, Train, Supervise, and
Discipline Employees of the District Attorney's Office.............................................................................. 98
PRAYER FOR RELIEF ................................................................................................................98




                                                                           - ii -
       Case
     Case    1:22-cv-00520-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM     Document 78 Filed
                                           126-3 Filed 03/13/23
                                                       12/11/23 Page
                                                                Page 5124
                                                                       of 103
                                                                          of 347




        Plaintiff John Walker, Jr., by and through his attorneys, The Law Offices of Joel B.

Rudin, P.C., and Wilmer Cutler Pickering Hale and Dorr LLP, respectfully alleges as follows:

I.      INTRODUCTION

        1.       This civil action, pursuant to 42 U.S.C. §§ 1983 and 1988, and New York State

law, seeks monetary damages for the extraordinary injuries and harm suffered by John Walker,

Jr., who was wrongfully prosecuted, convicted, and imprisoned for more than 22 years for a

robbery and murder that he did not commit.

        2.       On August 18, 2021, after Mr. Walker spent more than 22 years incarcerated and

another 17 years on parole for the January 2, 1976, murder of William Crawford in Buffalo, New

York (the “Crawford Murder”), the New York Supreme Court, County of Erie (the “State

Supreme Court”) vacated Mr. Walker’s convictions for second-degree murder and first-degree

robbery.

        3.       Specifically, following an evidentiary hearing on Mr. Walker’s motion to vacate

his conviction, the State Supreme Court found that the prosecution had not disclosed to Mr.

Walker’s trial counsel crime scene photographs that both (a) contradicted the prosecution’s

theory of the crime presented at trial, and (b) pointed to another individual, Mr. Crawford’s

neighbor, as the actual perpetrator. This non-disclosure violated Mr. Walker’s constitutional

right to a fair trial.

        4.       These undisclosed crime scene photographs, however, were hardly the only factor

that led to Mr. Walker’s wrongful conviction and 22-year imprisonment. The egregious

misconduct perpetrated against Mr. Walker by the defendants to this lawsuit spanned the course

of 45 years—Mr. Walker’s entire adult life. It included the relentless, bad-faith pursuit of his


                                                -1-
     Case
   Case    1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 78 Filed
                                         126-3 Filed 03/13/23
                                                     12/11/23 Page
                                                              Page 6125
                                                                     of 103
                                                                        of 347




case by Detectives Guadagno, Montondo, Deubell, Grabowski, Hunter, Arnet, Deubell, Manista,

Delano, and others, and by Chief Donovan. They coerced vulnerable witnesses to provide false

statements against Mr. Walker and failed to turn over multiple items of evidence favorable to the

defense, known as Brady material, to prosecutors, which resulted in such evidence not being

disclosed to the defense. And the misconduct also included the suppression by prosecutors of

Brady material of which they knew or should have known, which similarly contributed to the

denial of Mr. Walker’s constitutional right to a fair trial.

          5.    All of this was in a case in which there was zero physical evidence linking Mr.

Walker to the Crawford Murder. It was in a case where the main evidence against him was the

contradiction-riddled testimony of two minors, both of whom originally told the police that they

knew nothing about the murder but whom police then coerced to change their stories.

          6.    Moreover, it was in a case where there was substantial evidence—which law

enforcement authorities suppressed—pointing to two other individuals as the perpetrator or

perpetrators as opposed to Mr. Walker and his teenage friends. The primary alternative suspect,

the victim’s neighbor and the last person known to have seen Mr. Crawford before his murder,

Lawrence “Larry” Watson, spoke to police detectives reinvestigating the case in 2019.

          7.    The detectives asked Mr. Watson about Mr. Walker and his friends and what

happened on the night in question. Nearing death, Mr. Watson told the detectives: “They didn’t

do it.”

          8.    This statement was never disclosed to Mr. Walker prior to this civil litigation.

          9.    Instead of prohibiting or discouraging the type of illegal behavior that occurred in

this case, the policies, customs, and practices of the City of Buffalo Police Department (the




                                                 -2-
        Case
      Case    1:22-cv-00520-LJV-JJMDocument
           1:22-cv-00519-LJV-JJM     Document 78 Filed
                                            126-3 Filed 03/13/23
                                                        12/11/23 Page
                                                                 Page 7126
                                                                        of 103
                                                                           of 347




“BPD”) and the Erie County District Attorney’s Office (the “ECDA”) permitted, encouraged,

and in certain instances required it.

         10.   If not for the misdeeds of Defendants, Mr. Walker would not have been

prosecuted, convicted, and imprisoned in violation of his constitutional rights, and would not

have spent 45 years asserting his innocence and fighting for his liberty in connection with a

crime that he did not commit.

         11.   This lawsuit seeks to hold accountable the government entities and individuals, or

their estates, who are responsible for destroying Mr. Walker’s life, and to recover from them

compensation, as well as punitive damages, for Mr. Walker’s grievous injuries.

II.      PARTIES

         12.   Plaintiff John Walker is a 63-year-old man who resides in Buffalo, New York.

         13.   Defendant City of Buffalo (the “City”) is a municipal corporation of the State of

New York and a resident of the Western District of New York. The BPD is an agency of the

City for whose torts the City is responsible.

         14.   Defendant County of Erie (the “County”) is a municipal corporation of the State

of New York and a resident of the Western District of New York. The ECDA is an agency of

the County for whose torts the County is responsible.

         15.   Defendant Michael G. Guadagno at all relevant times was a detective employed

by the BPD acting within the scope of his employment and under color of law. He is sued in his

individual and official capacities.

         16.   Defendant John Montondo at all relevant times was a detective employed by the

BPD acting within the scope of his employment and under color of law. He is sued in his

individual and official capacities.



                                                -3-
     Case
   Case    1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 78 Filed
                                         126-3 Filed 03/13/23
                                                     12/11/23 Page
                                                              Page 8127
                                                                     of 103
                                                                        of 347




        17.     Defendant Martin Bullock is the Executor for the Estate of James E. Hunter. At

all relevant times, Mr. Hunter was a detective employed by the BPD acting within the scope of

his employment and under color of law. Mr. Bullock is sued in his individual and official

capacities.

        18.     Defendant Linda J. Fial is the Executor for the Estate of Robert Grabowksi. At all

relevant times, Mr. Grabowski was a detective employed by the BPD acting within the scope of

his employment and under color of law. Ms. Fial is sued in her individual and official capacities.

        19.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Robert F.

Arnet. At all relevant times, Mr. Arnet was a detective employed by the BPD acting within the

scope of his employment and under color of law. Ms. Flannery is sued in her individual and

official capacities.

        20.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Frank C.

Deubell. At all relevant times, Mr. Deubell was a detective employed by the BPD acting within

the scope of his employment and under color of law. Ms. Flannery is sued in her individual and

official capacities.

        21.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Leo J.

Donovan. At all relevant times, Mr. Donovan was a detective employed by the BPD acting

within the scope of his employment and under color of law. Ms. Flannery is sued in her

individual and official capacities.

        22.     Defendant Jennifer G. Flannery is the Administrator for the Estate of Francis M.

Manista, Jr. At all relevant times, Mr. Manista was a detective employed by the BPD acting

within the scope of his employment and under color of law. Ms. Flannery is sued in her

individual and official capacities.



                                               -4-
     Case
   Case    1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 78 Filed
                                         126-3 Filed 03/13/23
                                                     12/11/23 Page
                                                              Page 9128
                                                                     of 103
                                                                        of 347




       23.     Defendant Dawn M. Dirienzo is the Executor for the Estate of Paul R. Delano. At

all relevant times, Mr. Delano was a detective employed by the BPD acting within the scope of

his employment and under color of law. Ms. Dirienzo is sued in her individual and official

capacities.

III.   JURISDICTION, VENUE, AND CONDITIONS PRECEDENT

       24.     This Court has jurisdiction under 28 U.S.C. § 1331 over claims arising under

42 U.S.C. §§ 1983 and 1988 and under 28 U.S.C. § 1343 over claims arising under the common

law of the State of New York.

       25.     Venue is proper in the Western District of New York under 28 U.S.C. § 1391(b)

because that is the judicial district in which Mr. Walker’s claims arose.

       26.     On or about December 15, 2021, Plaintiff served the City and the County timely

notices of the present claims under New York State law, in accordance with N.Y. Gen. Mun.

Law § 50-e.

       27.     The City and the County did not within 90 days of service of such notices

schedule, and therefore waived their right to, an examination of Mr. Walker under N.Y. Gen.

Mun. Law § 50-h.

       28.     Mr. Walker has duly complied with all conditions precedent to the

commencement of this action.

IV.    JURY DEMAND

       29.     Pursuant to the Seventh Amendment of the United States Constitution and Article

I, Section 2 of the New York Constitution, Mr. Walker requests a jury trial on all issues and

claims set forth in this Complaint.




                                               -5-
       Case
     Case   1:22-cv-00520-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM   Document  78 Filed
                                          126-3 Filed03/13/23
                                                      12/11/23 Page
                                                                Page10 of of
                                                                     129  103347




V.      FACTUAL ALLEGATIONS

        A.     THE MURDER OF WILLIAM F. CRAWFORD

        30.    At approximately 11:30 p.m. on January 2, 1976, 62-year-old William F.

Crawford was brutally murdered outside his home at 2041 Fillmore Avenue in Buffalo, New

York.

        31.    Mr. Crawford had spent several hours drinking that day at a neighborhood tavern

called the Golden Nugget, which was located directly across the street from his house on

Fillmore Avenue. Mr. Crawford regularly drank at the Golden Nugget.

        32.    Mr. Crawford was at the Golden Nugget with his neighbor, Lawrence “Larry”

Watson, Larry’s wife Julia Watson, and Julia’s son William “Bill” Howard.

        33.    The Watsons lived at 2049 Fillmore Avenue, two houses north from Mr.

Crawford’s house.

        34.    Mr. Crawford purchased rounds of drinks for the group and, in the process of

paying for them, displayed a significant amount of cash—approximately $300 in tens and

twenties.

        35.    The barmaid, Debbie Jeffrey, instructed Mr. Crawford to put his money away, as

the Watsons and Mr. Howard, who were sitting with him at the bar, had observed it.

        36.    At approximately 11:30 p.m., Ms. Jeffrey suggested that Mr. Crawford go home,

as he was intoxicated.

        37.    Typically, Ms. Jeffrey or the owner of the Golden Nugget would walk Mr.

Crawford across the street to his house after he became drunk, but on that evening, the tavern

was crowded, and neither was able to escort Mr. Crawford home.

        38.    Mr. Watson offered to walk Mr. Crawford home, and the two left the Golden

Nugget together.

                                               -6-
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page11 of of
                                                                  130  103347




        39.    At approximately 1:00 a.m. on the morning of January 3, Margaret Crawford, Mr.

Crawford’s wife, became concerned that her husband had not returned home yet. She went

downstairs and looked out the side door into the driveway, where she saw her husband lying in

the driveway in the snow next to the side door, apparently unconscious. She called 911 for help.

        40.    Medics transported Mr. Crawford to Sisters of Charity Hospital, where he was

pronounced dead. He had been beaten to death with a blunt instrument and apparently robbed of

his wallet.

        B.     THE BPD INVESTIGATION POINTS TO LARRY WATSON AND A
               POTENTIAL ACCOMPLICE AS THE PERPETRATORS

        41.    The BPD Homicide Unit began investigating in the early morning hours of

January 3, 1976.

        42.    Pursuant to its usual practice, the Homicide Unit did not assign any one detective

to officially lead the investigation but worked collectively under the supervision of the Chief of

Homicide, Leo J. Donovan.

        43.    Detectives, including those named in this lawsuit, worked collaboratively as a

team, exchanging information with each other and reporting all developments to Donovan.

        44.    Detectives Paul Delano and Gerald Dove were the first detectives to report to the

crime scene.

        45.    They observed a large pool of blood close to the side door of the house, where

Mr. Crawford’s body was found, as well as a few drops of blood on the side of the house by the

side door. The side door was approximately 35 feet up the driveway from the sidewalk.

        46.    Detectives Delano and Dove also noted in their report that a bloodstained hat had

been found alongside the victim’s body and placed inside the hall door by the ambulance

attendant.


                                               -7-
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page12 of of
                                                                  131  103347




       47.     While at the crime scene, Detectives Delano and Dove interviewed the victim’s

widow, Margaret Crawford.

       48.     Ms. Crawford reported that she became concerned when her husband did not

“ring the bell” for her to come unlock the side door for him.

       49.     She said this was their custom when he was out drinking—evidently, he would

not bring his own keys.

       50.     When she went downstairs to check the door, she found her husband lying in the

driveway and called 911.

       51.     Detectives Delano and Dove next reported to Sisters Hospital, where they

observed Mr. Crawford’s body.

       52.     They noted in their police report that a set of keys were found on the body.

       53.     The keys were never vouchered.

       54.     There is no record of an investigation into the owner of the keys.

       55.     There is no record of what happened to the keys.

       56.     Detectives Delano and Dove returned to the crime scene, where an experienced

police photographer, Alfred Hauser, met them.

       57.     The photographer documented the areas pertinent to the investigation, including

the street, the sidewalk, the house, the driveway, and the backyard.

       58.     The large pool of blood that the photographer observed and photographed was

located well up the driveway, on the ground or on the side of the house next to the side door

where Mr. Crawford’s body was found.

       59.     The photographer did not document any signs of a struggle on the sidewalk in

front of the house or at the bottom of the driveway.



                                               -8-
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page13 of of
                                                                  132  103347




       60.     His photographs showed that there was no blood in those locations and there were

no drag marks in the snow in those areas.

       61.     A police photograph also documented a single set of footprints, made by a

heavyset man, in the snow in the backyard of Mr. Crawford’s house, leading toward the house of

Larry and Julia Watson two doors down.

       62.     Detectives Delano and Dove conducted several more interviews that night,

including of Bill Howard, Larry Watson’s stepson.

       63.     Mr. Howard reported that Mr. Crawford left the Golden Nugget alone around 1:30

a.m. (which, the detectives knew, was after the paramedics had already arrived to transport Mr.

Crawford to the hospital).

       64.     Detectives Delano and Dove also interviewed Julia Watson.

       65.     Ms. Watson also told detectives that Mr. Crawford left alone, but she put the time

around 9:30 p.m., or four hours earlier than Bill Howard said. She said that she and her husband

left together around 11:15 p.m.

       66.     Detectives Delano and Dove asked Ms. Watson if they could interview Mr.

Watson, but Ms. Watson reported that he was drunk and that she was unable to wake him.

       67.     Detectives Delano and Dove also interviewed the barmaid, Debbie Jeffrey.

       68.     She told a very different story than Ms. Watson and her son Bill Howard: She

said Mr. Crawford did not leave the bar alone, but rather left the Golden Nugget with Mr.

Watson.

       69.     The detectives noted that there were large discrepancies in the story told by Mr.

Howard and Ms. Watson, on the one hand, and Ms. Jeffrey’s statement on the other.




                                               -9-
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page14 of of
                                                                  133  103347




       70.     Detectives Edwin Gorski and Robert Grabowski continued the investigation when

their shift began at 4:00 p.m. on January 3, 1976.

       71.     They interviewed a patron of the Golden Nugget named Frances Kalb.

       72.     Ms. Kalb informed them that she saw Mr. Crawford drinking with the Watsons

and Mr. Howard the previous evening.

       73.     Ms. Kalb said that Mr. Crawford left with Mr. Watson around 11:30 p.m.

       74.     She further said that she saw Mr. Watson return to the bar approximately 20

minutes later and immediately leave again with his wife.

       75.     Ms. Kalb also informed the detectives that sometime after the Watsons left

together, she observed Ms. Jeffrey receive a call from Ms. Watson.

       76.     Ms. Watson stated that her husband was missing his keys and asked Ms. Jeffrey to

check for them at the bar.

       77.     According to Ms. Kalb, Mr. Howard told Ms. Jeffrey that the keys were in Mr.

Watson’s pocket, which Ms. Jeffrey conveyed to Ms. Watson.

       78.     Detectives Gorski and Grabowski also interviewed Mr. Watson.

       79.     Mr. Watson told the detectives that Mr. Crawford left the Golden Nugget around

12:00 a.m.

       80.     Mr. Watson said that he just happened to be leaving at the same time to use the

bathroom at his house across the street and two doors down.

       81.     Mr. Watson claimed that while Mr. Crawford was in front of the tavern preparing

to cross the street, Mr. Watson noticed the door to his own house open and went over to

investigate.

       82.     Mr. Watson did not mention that he had offered to walk Mr. Crawford home.



                                              - 10 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page15 of of
                                                                  134  103347




       83.     Detectives Gorski and Grabowski next interviewed Ms. Jeffrey (who had already

been interviewed by Detectives Dove and Delano).

       84.     In this second interview, Ms. Jeffrey told the detectives that Mr. Watson had

offered to walk Mr. Crawford home.

       85.     Ms. Jeffrey also corroborated Ms. Kalb’s statement that, after Mr. Watson

returned and left with his wife, Ms. Watson called the tavern and asked her to search for Mr.

Watson’s keys.

       86.     During this interview, Ms. Jeffrey reported to the detectives that she suspected

Mr. Watson was the killer of Mr. Crawford.

       87.     During their shift on January 3, 1976, Detectives Gorski and Grabowski reported

receiving “an anonymous call from a black male.” The caller stated that “Andre Howe” and

“Gerry Boyd” killed Mr. Crawford.

       88.     The detectives obtained a criminal record print out and a mugshot of a Jerome

Boyd, a 37-year-old man living nearby at 32 Glenny Drive.

       89.     Jerome Boyd is a different person than, and is of no relation to, Darryl Boyd.

       90.     The BPD did not document any attempts to locate or interview Jerome Boyd.

       91.     However, the next day, January 4, 1976, Detectives Delano, Dove, and Pantano

returned to the Golden Nugget with Jerome Boyd’s mugshot.

       92.     The owner of the Golden Nugget, Ralph Davis, recognized Jerome Boyd as a

regular patron of the tavern.

       93.     A bartender, Theotis “Teddy” Love, confirmed that he served a drink to Jerome

Boyd the night Mr. Crawford was murdered.




                                              - 11 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page16 of of
                                                                  135  103347




       94.     On January 6, 1976, Detectives Delano and John Ludtka took a formal statement

from Ms. Kalb.

       95.     Ms. Kalb repeated her statement that Mr. Crawford had been drinking with the

Watsons and Mr. Howard, and that either Mr. or Ms. Watson told Ms. Jeffrey not to worry

because they would take Mr. Crawford home.

       96.     Ms. Kalb again stated that Mr. Watson and Mr. Crawford left together after 11:00

p.m.

       97.     Detectives Delano and Ludtka showed Ms. Kalb the mugshot of Jerome Boyd and

she identified him as “a real big guy that came in and talked with Julia [Watson] and stayed for

only a few minutes.”

       98.     Ms. Kalb also repeated her statement that she was present at the Golden Nugget,

overheard Ms. Watson call the tavern to ask Ms. Jeffrey to search for her husband’s keys, and

heard Mr. Howard tell Ms. Jeffrey that the keys were in the pocket of Mr. Watson’s jacket.

       99.     Also on January 6, 1976, Detectives Stanley Suszek and Melvin Lobbett took a

formal statement from Ms. Jeffrey.

       100.    Ms. Jeffrey informed the detectives that Mr. Crawford had about $300 in cash on

him the night he was murdered, and that he had tried to lay it all out on the bar. She thought that

this was a stupid thing to do and instructed him to put it away.

       101.    She was certain that the Watsons and Mr. Howard had seen Mr. Crawford

displaying the cash.

       102.    Ms. Jeffrey again stated that, normally, she or someone else working at the

Golden Nugget would walk Mr. Crawford home when he became intoxicated, but on the evening

of January 2, the bar was crowded, and she could not leave.



                                               - 12 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page17 of of
                                                                  136  103347




       103.    She again stated that Mr. Watson offered to walk Mr. Crawford home.

       104.    She stated that Mr. Watson was gone for about 20 minutes, which Ms. Jeffrey

described as “long enough,” suggesting to detectives that Mr. Watson had enough time to walk

Mr. Crawford across the street, commit the murder (while dropping his keys), go to his house

two doors down to clean up, and return to the tavern.

       105.    Also on January 6, 1976, Detectives Gorski and Grabowski interviewed the

victim’s wife, Ms. Crawford, again.

       106.    Ms. Crawford informed them that her husband typically returned home from the

bar around 11:30 p.m. and came in through the side door.

       107.    Ms. Crawford stated that on the night of the murder, she was watching TV in bed

when she felt a thud that shook the side of the house.

       108.    It was about 11:30 p.m.

       109.    She said that when her husband still had not returned home by 1:00 a.m., she went

downstairs to check the door and found Mr. Crawford lying in the driveway.

       110.    The next day, on January 7, 1976, the BPD conducted formal interviews of and

prepared written statements by Larry and Julia Watson.

       111.    Detectives Ludtka and Francis Manista interviewed Mr. Watson.

       112.    Mr. Watson denied that he had seen Mr. Crawford with a large amount of cash

but admitted that Ms. Jeffrey told Mr. Crawford to put his wallet away.

       113.    Mr. Watson now admitted what he had omitted before—that Ms. Jeffrey had

asked him to take Mr. Crawford home—but that he did not do so.




                                              - 13 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page18 of of
                                                                  137  103347




         114.   Mr. Watson now claimed that he and Mr. Crawford shook hands outside the

Golden Nugget, he wished Mr. Crawford a happy New Year, and he crossed the street to his

house.

         115.   Mr. Watson’s admission contradicted Ms. Jeffrey’s statement that she did not ask

Mr. Watson to take Mr. Crawford home, but rather Mr. Watson offered to take Mr. Crawford

home.

         116.   Mr. Watson told detectives Ludtka and Manista that he and Mr. Crawford were

followed out of the Golden Nugget by a tall, dark man with a moustache and kinky hair.

         117.   Jerome Boyd, whom Ms. Kalb described as a “real big guy” whom she had seen

talking to Ms. Watson, appeared to fit this description.

         118.   Mr. Watson claimed that, once in the driveway of his own house, he noticed his

front door open and went inside to investigate.

         119.   This statement contradicted his prior statement to police that he noticed his front

door open while standing outside the tavern with Mr. Crawford.

         120.   Mr. Watson claimed that he found nothing amiss in his house, went to the

bathroom, and returned to the Golden Nugget, where Ms. Watson said she was ready to leave.

He said they left the tavern and returned home.

         121.   The same day, January 7, 1976, Detectives Delano and Vincent Pantano

interviewed Ms. Watson.

         122.   Ms. Watson admitted that she saw that Mr. Crawford had money laying on the bar

but claimed that she did not see the amount.

         123.   Ms. Watson now admitted that her husband left the tavern with Mr. Crawford.




                                               - 14 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page19 of of
                                                                  138  103347




        124.     Ms. Watson stated that her husband returned to the Golden Nugget after 15 to 20

minutes, that she then gave her beer to her son, Mr. Howard, and she and Mr. Watson went

home.

        125.     Ms. Watson claimed that she and her husband were planning to return to the

Golden Nugget, but Mr. Watson misplaced his keys, so she called Ms. Jeffrey at the bar to tell

her that they would not be coming back.

        126.     Detectives Delano and Pantano interviewed Ms. Jeffrey again on January 12,

1976.

        127.     Ms. Jeffrey was adamant that she did not ask Mr. Watson to walk Mr. Crawford

home, but that Mr. Watson affirmatively volunteered, “stating that he had to go anyway, to use

the bathroom.”

        128.     According to the detectives, Ms. Jeffrey was “definite on this point.”

        129.     She also stated that, “because of the close proximity of everybody sitting at the

bar together, [it] would have been impossible for everyone else there not to have seen [Mr.

Crawford’s] money.”

        130.     Detectives noted, however, that the Watsons both denied seeing how much money

Mr. Crawford was carrying.

        131.     Ms. Jeffrey said she found it odd that, when Mr. Watson returned to the Golden

Nugget, he and his wife left in a hurry. They left without saying goodbye to Ms. Jeffrey, which

was uncharacteristic of them, and they left unfinished drinks on the bar even though, in her

experience, they always finished their drinks before they left.




                                                - 15 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page20 of of
                                                                  139  103347




       132.    Thus, in the days following the Crawford Murder, the named Defendants, together

with their colleagues, learned the following information pointing towards two suspects, Mr.

Watson and Jerome Boyd, as the likely perpetrator or perpetrators of the crime:

           x   On the night he was killed, Mr. Crawford had been at the Golden Nugget drinking
               heavily with the Watsons and Mr. Howard;

           x   Mr. Crawford had displayed approximately $300 in cash in front of the Watsons
               and Mr. Howard, which they saw;

           x   Mr. Watson volunteered to walk the intoxicated Mr. Crawford home to his house
               across the street;

           x   Messrs. Watson and Crawford were followed out of the Golden Nugget by a large
               man, potentially Jerome Boyd, whom a witness had seen talking with Ms.
               Watson;

           x   Jerome Boyd was the subject of an anonymous tip stating that he was one of the
               killers;

           x   Mr. Crawford was beaten and robbed at approximately 11:30 p.m. at the side door
               of his house, where his body was found in a pool of blood;

           x   A set of footprints in the snow led through the backyard of the Crawford property
               towards Mr. Watson’s house;

           x   Mr. Watson returned to the Golden Nugget approximately 20 minutes later and
               left in a hurry with his wife, without finishing their drinks or saying goodnight to
               the barmaid, which was uncharacteristic for them;

           x   Mr. Watson, his wife Julia, and his stepson Bill Howard made a series of false or
               contradictory statements to police apparently trying to distance Mr. Watson from
               the victim, Mr. Crawford;

           x   A set of keys was found on or near Mr. Crawford’s body, although Ms. Crawford
               reported that her husband’s usual practice was to ring the bell for her to let him in
               through the side entrance to their home;

           x   After returning home with her husband, Ms. Watson called the Golden Nugget
               and reported that her husband was missing his keys; and

           x   The barmaid at the Golden Nugget, Ms. Jeffrey, who knew Mr. Watson and
               observed his conduct on the night of the murder, believed he had committed the
               crime.

                                               - 16 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page21 of of
                                                                  140  103347




       C.        THE BPD INVESTIGATES MR. WALKER AND FOUR OTHER BLACK
                 TEENAGERS, BUT FINDS EVIDENCE CORROBORATING THEIR
                 CONSISTENT STATEMENTS THAT THEY WERE NOT INVOLVED IN
                 THE MURDER

       133.      On January 7, 1976, Detectives Deubell and Guadagno reported that they had

received an anonymous call (the second such call the Defendants claimed to have received), this

time from a woman who stated that the person who killed Mr. Crawford was Darryn Gibson,

who lived on Rodney Street. The female caller reportedly gave no further information.

       134.      Assuming this call was received at all, the absence of any detail about Mr. Gibson

or the caller meant that the officers had absolutely no basis to credit the information, and

certainly lacked probable cause to arrest Mr. Gibson.

       135.      Nevertheless, immediately after receiving the call, at approximately 10:30 a.m.,

Detectives Deubell and Guadagno took Mr. Gibson into their custody at his home where he lived

with his mother and father and forced him, alone, to accompany them to BPD Headquarters.

       136.      There, together with Detectives Manista and Pantano, they questioned him

illegally for approximately eight hours.

       137.      The BPD did not document that Mr. Gibson resisted arrest or was otherwise

uncooperative.

       138.      Mr. Gibson was 16 years old. His parents were not present with him during this

lengthy, custodial interview.

       139.      According to the report of Detectives Deubell and Guadagno, Mr. Gibson told the

detectives that, on the night of January 2, 1976, he was playing cards with his friends Mr.

Walker, Darryl Boyd, Floyd Martin, and Tyrone “Tony” Woodruff in the Glenny Projects at 138

Glenny Drive, in the sixth-floor apartment of a girl named Shirley Floyd.




                                                - 17 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page22 of of
                                                                  141  103347




       140.    Mr. Gibson provided the home addresses of his four friends, all between 16 and

17 years of age.

       141.    Mr. Gibson said that on January 2, shortly after the news came on, at about 11:15

p.m., Messrs. Walker and Woodruff caught a cab from the Fillmore Cab Company.

       142.    Mr. Gibson said they took a cab from the Glenny Projects to their homes on Best

Street, approximately two and a half miles and an eight-minute drive south of the Glenny

Projects.

       143.    Mr. Gibson said that Mr. Martin, who lived just downstairs from Shirley Floyd’s

apartment, walked downstairs to go home as well.

       144.    Mr. Gibson said that just after Messrs. Walker and Woodruff left in the cab,

Messrs. Gibson and Boyd walked home along Fillmore Avenue (past Mr. Crawford’s house) to

Leroy Street, where Mr. Gibson and Mr. Boyd split up and went to their respective homes.

       145.    Mr. Gibson estimated that he arrived home at about 11:35 p.m.

       146.    Mr. Gibson consented to a polygraph exam.

       147.    Prior to the examination, he had been in police custody and questioned for hours.

Nevertheless, the examiner claimed, in a report dated five days later (the date Mr. Walker and

the others were arrested), that the results couldn’t be trusted because of “the lack of a pre-test

conference and inaccuracy of available information.”

       148.    This made no sense, since there was nothing preventing the examiner, during the

many hours Mr. Gibson was in police custody, from conducting a “pre-test conference” and

asking Mr. Gibson the pertinent questions directly.

       149.    The most logical inference from the above circumstances is that Mr. Gibson’s

responses to the examiner’s questions suggested he was being truthful.



                                                - 18 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page23 of of
                                                                  142  103347




       150.    The next day, January 8, 1976, Detectives Guadagno and Deubell went to the

Fillmore Cab Company to investigate the accuracy of Mr. Gibson’s statement.

       151.    The Fillmore Cab Company confirmed that Cab No. 150, driven by a driver

named “Geno,” was dispatched to the Glenny Projects at 11:28 p.m.

       152.    A second cab, Cab No. 163, driven by Brian Woods, was dispatched to the

Glenny Projects at 11:44 p.m.

       153.    According to the Company’s records, these were the only two cabs dispatched to

the Glenny Projects that evening.

       154.    Any police officer really believing Mr. Gibson or his friends had committed the

crime would have interviewed the two drivers. The drivers could have noticed blood stains, torn

clothing, large amounts of cash, strange behavior, or other indicia of the crime, or overheard the

suspects making incriminating comments.

       155.    However, the detectives did not document any attempt to locate or interview

either cab driver.

       156.    Because witnesses at the Golden Nugget on the night of the Crawford Murder

confirmed that Mr. Crawford and Mr. Watson left together around 11:30 p.m., the evidence that

Mr. Walker and Mr. Woodruff took the first taxicab at 11:28 p.m. meant the five boys could not

have committed the crime together.

       157.    The BPD conducted several additional interviews on January 8 which further

confirmed Mr. Gibson’s account of events.

       158.    Detectives Guadagno and Deubell went to the Glenny Projects, where they

interviewed Sheryl (“Shirley”) Floyd.




                                              - 19 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page24 of of
                                                                  143  103347




        159.   Ms. Floyd confirmed that Messrs. Walker, Boyd, Martin, Gibson, and Woodruff

were at her apartment on the night of the Crawford Murder, just as Mr. Gibson had told the BPD.

        160.   Ms. Floyd identified other individuals—Nathaniel Zachery, Dennis Wilson and

his brother, Larry Martin, Victoria Bryant, and persons named “Nick” and “Ann”—who were at

the party in her apartment that night as well.

        161.   Ms. Floyd stated that the boys left her apartment around midnight, give or take an

hour.

        162.   Nathaniel Zachery, who was at Ms. Floyd’s apartment when detectives came to

meet her, confirmed that he was with the boys that evening.

        163.   Detectives Guadagno and Deubell also went to 93 Leroy Street looking for Darryl

Boyd.

        164.   Mr. Boyd was not home, but they spoke with his mother, who confirmed that Mr.

Boyd returned home just past midnight on January 3, 1976.

        165.   Between January 8 and 11, 1976, detectives interviewed and took statements from

three of the four boys Mr. Gibson said he was playing cards with at Ms. Floyd’s apartment the

night of the Crawford Murder—Messrs. Boyd, Walker, and Woodruff.

        166.   All three gave substantially the same account of their whereabouts and thus

further confirmed Mr. Gibson’s account.

        167.   Specifically, on January 8, 1976, Detectives Guadagno and Deubell, despite

lacking any evidence implicating the boys’ in the murder, took Mr. Boyd into their custody and,

without administering Miranda warnings, interrogated him in a BPD interview room.

        168.   Mr. Boyd told these detectives that, earlier on January 2, a boy named Andre

Hough was at his house at 93 Leroy Street.



                                                 - 20 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page25 of of
                                                                  144  103347




       169.    Mr. Boyd stated that during the early evening, he and Mr. Hough walked to the

Glenny Projects, where they watched TV at the apartment of a Ms. Washington, along with

several other members of the Washington family.

       170.    He stated that at around 9:30 p.m., later in the evening, he left Ms. Washington’s

apartment to join Messrs. Walker, Gibson, Martin, and Woodruff at Shirley Floyd’s apartment in

the building next door.

       171.    Mr. Boyd said that Floyd Martin’s brother, Eugene, called a cab from the Fillmore

Cab Company. However, when the cab arrived, Eugene was not ready. The cab driver refused

to wait any longer, so Messrs. Walker and Woodruff took that cab and headed home.

       172.    The BPD had already confirmed that this cab was dispatched to the Glenny

Projects at 11:28 p.m.

       173.    Mr. Boyd said that Eugene Martin called for a second cab, having missed the first

cab.

       174.    The BPD had already confirmed that this cab was dispatched to the Glenny

Projects at 11:44 p.m.

       175.    Mr. Boyd said that after Eugene Martin called the second cab, but before it

arrived, Messrs. Boyd and Gibson began walking home together up Fillmore Avenue. They split

up at Leroy Street.

       176.    Mr. Boyd consented to a polygraph exam.

       177.    However, neither Detectives Guadagno nor Deubell, who interrogated him, nor

the other detectives involved in the investigation, ever conducted one.




                                              - 21 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page26 of of
                                                                  145  103347




       178.    Rather, knowing that Mr. Boyd’s statement conformed to the other evidence they

had collected, Detectives Guadagno and Deubell falsely wrote in their report, without

elaboration, that he had “changed his story several times.”

       179.    They pressured him, before letting him go, into signing a false statement that he

had provided two different times when he had arrived home.

       180.    On January 11, 1976, the BPD lacked any evidence that Messrs. Walker and

Woodruff were involved in the murder.

       181.    Nevertheless, they brought these two teenagers in their custody to BPD

Headquarters for questioning.

       182.    Detectives Arnet, Hunter, and John Montondo interviewed Mr. Walker.

       183.    Mr. Walker stated that, on the night of January 2, he was with Messrs. Boyd,

Martin, Gibson, and Woodruff at Ms. Floyd’s apartment in the Glenny Projects.

       184.    He stated that he took a cab with Mr. Woodruff around midnight, went home, and

went to bed.

       185.    Mr. Walker consented to a polygraph exam, but the BPD never conducted one.

       186.    Even though Mr. Walker had provided a statement that was consistent with the

statements of the other suspects and witnesses and volunteered to take a polygraph test,

Detectives Arnet, Hunter and Montondo falsely wrote in their report that he had “lied through his

statement.”

       187.    They further wrote, falsely, that Mr. Walker made “different statements” to them

orally than he had made in his signed statement.

       188.    Contrary to basic police practice, nowhere did they record what his inconsistent

oral statements or lies supposedly were.



                                              - 22 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page27 of of
                                                                  146  103347




       189.     Detectives Arnet, Hunter, and Montondo questioned Mr. Woodruff.

       190.     Mr. Woodruff, during hours of questioning, truthfully denied any knowledge of

who participated in the Crawford murder.

       191.     Consistent with all the other evidence these and the other detectives had obtained,

Mr. Woodruff said he was with Messrs. Martin, Gibson, Walker, and Boyd at Ms. Floyd’s

apartment on the night of January 2 and that he had taken a cab home with Mr. Walker.

       192.     However, Detectives Arnet, Hunter and Montondo, in their report, falsely accused

Mr. Woodruff of “lying.”

       193.     As with Mr. Walker, and contrary to basic police practice, they made no record of

the specific statements Mr. Woodruff allegedly had made that they contended were false.

       194.     This was because their intent was not to build a legitimate case against Messrs.

Walker and Woodruff but to fabricate a basis to continue interrogating them and ultimately to

arrest and prosecute them.

       D.       THE BPD COERCES 15-YEAR-OLD ANDRE HOUGH TO FALSELY
                IMPLICATE MR. WALKER AND HIS FOUR FRIENDS FOR THE
                CRAWFORD MURDER

       195.     Following the murder, in early January 1976, 15-year-old Andre Hough, an eighth

grader, was questioned by police on several occasions about whether he had any knowledge of

the incident.

       196.     Detectives made clear to Mr. Hough that they suspected him of being involved in

the murder and, as he later testified, harassed him and “came down on [him] pretty hard.”

       197.     Telling him that they wanted him to name names, they told him the names of the

people they had in mind as participants in the murder.

       198.     Mr. Hough initially told detectives he had no knowledge of any unlawful behavior

in connection with the Crawford Murder.
                                               - 23 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page28 of of
                                                                  147  103347




       199.      After doing so, he “passed” a polygraph examination.

       200.      However, detectives deliberately failed to document his initial statements

exculpating the police suspects.

       201.      Questioned by Detectives Guadagno and Deubell, Mr. Hough gave the same

account of his whereabouts as Mr. Boyd.

       202.      He did not tell the detectives that Mr. Boyd had said or done anything

incriminating.

       203.      He was then threatened with prosecution for murder if he did not provide

information against the other boys.

       204.      Mr. Hough did not mention Mr. Walker, except to say that Mr. Walker and the

other boys picked Mr. Boyd up from Ms. Washington’s apartment that night and went to 138

Glenny Drive.

       205.      This statement corroborated Messrs. Walker, Boyd, Gibson, and Woodruffs’

previous statements about Mr. Walker’s whereabouts on the night of the Crawford homicide.

       206.      Mr. Hough was brought back to BPD Headquarters for further interrogation on

January 12, 1976.

       207.      Detectives Guadagno and Deubell again accused Mr. Hough of knowing about

and participating in the murder.

       208.      Coerced by Detectives Guadagno and Deubell to implicate the other boys to save

himself, Mr. Hough then began to do so.

       209.      According to police reports, he now said that Mr. Boyd had confessed to him that

Mr. Boyd, Mr. Walker, and the other three boys had seen Mr. Crawford in his driveway, run

after him, beat him, and taken his wallet.



                                                - 24 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page29 of of
                                                                  148  103347




       210.    However, under intense pressure to provide any additional information that he

had, Mr. Hough swore that he could think of no additional information.

       E.      THE BPD COERCES 17-YEAR-OLD TYRONE WOODRUFF TO
               FALSELY IMPLICATE MR. WALKER AND THE OTHERS FOR THE
               CRAWFORD MURDER

       211.    On January 12, 1976, Detectives Hunter and Arnet once more took Tyrone

Woodruff illegally into their custody, telling him, or leading him to believe, he was under arrest

for the Crawford Murder.

       212.     Bringing him to the Buffalo Police Department homicide unit for further

interrogation, these detectives stood over him, armed with guns, and, in an intimidating,

accusatory, and coercive manner, harshly interrogated him.

       213.    Even though Mr. Woodruff was alone and just 17 years of age, police refused him

permission to call his parents or a lawyer.

       214.    Mr. Woodruff at first continued to truthfully deny any knowledge of the Crawford

Murder.

       215.    However, detectives Arnet and Manista told Mr. Woodruff that they had his

friends upstairs.

       216.    They threatened him, falsely, that his friends had accused him of the crime and

that they had other evidence implicating him as well.

       217.    They told him, falsely, that, if he did not provide information against the others,

one or more of them would cooperate against him and he would face life imprisonment.

       218.         On the other hand, they told him, if he minimized his own involvement in the

crime while cooperating against the other boys, the detectives would speak with the ECDA about

arranging for him to receive complete immunity from prosecution.



                                                 - 25 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page30 of of
                                                                  149  103347




        219.   Detectives Hunter and Manista prepared reports, both false, that contradicted each

other about how detectives ultimately succeeded in getting Mr. Woodruff to change his story and

incriminate himself and the other boys.

        220.   According to Detective Hunter’s report, Mr. Woodruff was allowed to eat devil’s

food cake his mother had sent with him and to call his mother and aunt, before “[h]e started

asking Det. Arnet questions, and subsequently admitted to Det. Arnet that he was a witness to the

Crawford homicide.”

        221.   This made it appear that Mr. Woodruff, totally of his own volition, simply

decided to come clean.

        222.   According to Detective Manista’s report, however, at 5:40 p.m., he received an

anonymous phone call about the investigation from a “negro female who wished to remain

anonymous.”

        223.   This was the third time detectives claimed to have received an anonymous call

and the second time they used such a call as a basis to detain and question a suspect.

        224.   The anonymous caller reportedly knew and provided names and specific home

addresses for each of the five boys.

        225.   However, according to the report, the caller identified “Darryl Gibson” as a

participant, which incorrectly combined Darryl Boyd’s first name and Darryn Gibson’s last

name.

        226.   This call, assuming it occurred at all, was a fake.

        227.   The names and the addresses, except for the error regarding the names of Messrs.’

Boyd and Gibson, consisted of the information that Mr. Gibson had provided in his initial

statement to police.



                                               - 26 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page31 of of
                                                                  150  103347




        228.    The anonymous caller also incorporated other information that the BPD had

already received in its investigation, including that some of the boys had gone home in a cab and,

according to Mr. Hough, had divided up proceeds at 138 Glenny Drive.

        229.    Any competent detective would have tried to convince such a potentially valuable

witness, assuming she was real, to identify herself so she potentially could testify or otherwise

further assist the investigation.

        230.    Any competent detective would have protected the voice and the identity of such

an informant, assuming she was real, from the alleged murderer she was implicating.

        231.    However, according to Detective Manista’s report, at the time he took the call,

Mr. Woodruff just happened to be in the room with him and Detective Arnet and was permitted

to “listen … to the conversation.”

        232.    After hearing a tipster directly implicate him, according to Detective Manista’s

report, “Tyrone Woodruff became very nervous and could barely raise a cup of coffee he was

drinking.”

        233.    Detective Manista’s report continued: “He was asked by Det. Manista in the

presence of Det. Arnet if he could remember anything now; he was told that a person puts him in

a hallway [sic] dividing money. At 5:45 P.M. he told Dets. Manista & Arnet ‘Gibson was hitting

him, Gibson was hitting him, I think.’”

        234.    According to Detective Manista, he immediately reported to Chief Donovan,

Chief of Homicide Detectives, “what had taken place.”

        235.    Chief Donovan thus knew how detectives had used this fake anonymous call to

coerce Mr. Woodruff to implicate himself and his friends in the homicide.




                                               - 27 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page32 of of
                                                                   151  103347




        236.    Detectives Deubell and Manista, joined by Chief Donovan, then continued to

interrogate Mr. Woodruff.

        237.    At 8:50 p.m., after an additional three hours of interrogation, Mr. Woodruff was

told to sign a statement in question-and-answer form, typed by Detective Manista, which

purported to be under oath.

        238.    Fed a story by Detectives Arnet, Deubell, and Manista and Chief Donovan, Mr.

Woodruff purportedly stated that Mr. Gibson said he wanted to get some money and had

somehow heard that there was a man in a bar flashing a lot of money.

        239.    Mr. Woodruff stated that he did not know what bar it was, or how Mr. Gibson

knew about the man flashing money.

        240.    Mr. Woodruff said that while the group was walking down Fillmore Avenue,

supposedly hoping to cross paths with a victim to rob, Mr. Gibson allegedly found a pipe and put

it up his sleeve.

        241.    Mr. Woodruff said that the group apparently spotted Mr. Crawford as he was

entering his driveway.

        242.    According to Mr. Woodruff, Mr. Gibson beat Mr. Crawford at the end of the

driveway, and Messrs. Gibson and Boyd together dragged him up the driveway.

        243.    Mr. Woodruff said that Mr. Boyd allegedly stole his wallet.

        244.    Mr. Woodruff did not mention any involvement by Messrs. Walker or Martin.

        245.    Although the BPD knew that Mr. Crawford was old, heavy set, and had been

wearing a large Stetson hat, Mr. Woodruff could not describe the man in any way except that he

was white—a fact that had been supplied to him at the start of his previous interview.




                                               - 28 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page33 of of
                                                                  152  103347




       246.    Mr. Woodruff said that the group allegedly returned to the Glenny Projects and

called a cab, which Messrs. Walker and Woodruff took home.

       247.    Mr. Woodruff, minimizing his own role in the crime, denied receiving any of the

money or being present when the money was divided up.

       248.    Although the written statement purported to document the entire interview of Mr.

Woodruff, after three hours it was less than three pages, with nearly half of it consisting of a

Miranda waiver and his viewing of photographs of his friends.

       249.    Chief Donovan was personally present for Mr. Woodruff’s interrogation and his

signing of the statement.

       250.    BPD detectives involved in the investigation knew that Mr. Woodruff’s account

that he and the other four boys walked together from the Glenny Projects to the Golden Nugget

and committed a robbery—was untrue.

       251.    This was because several witnesses—including Ms. Kalb (the Golden Nugget

patron), Ms. Jeffrey (the barmaid), Ms. Crawford (the widow), Mr. Watson (the likely

perpetrator), and his wife—put the time of the crime either at or after the time Messrs. Walker

and Woodruff entered the taxicab at the Glenny Projects and went home.

       252.    Moreover, the physical evidence at the crime scene did not support the story Mr.

Woodruff had been pressured to come up with or adopt.

       253.    Neither the responding officers nor the police photographer had seen or

documented any pools of blood or other signs of a struggle in front of the house, on the sidewalk

at the entrance to the driveway, or along the driveway leading to the place where Mr. Crawford’s

body had been found.




                                               - 29 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page34 of of
                                                                  153  103347




       254.    There were no marks in the snow suggesting that Mr. Crawford had been dragged

up the driveway from the sidewalk.

       255.    Mr. Crawford’s Stetson hat surely would have fallen off at the bottom of the

driveway had he been assaulted with a pipe and dragged the 35 feet from the sidewalk to the

place where he was found, but it was found by his body.

       256.    And the single set of footprints in the snow in the backyard leading towards Mr.

Watson’s house pointed to Mr. Watson as the perpetrator, not a group of five young boys.

       257.    Remarkably, even though Mr. Woodruff had confessed his involvement in a

vicious robbery/murder for which he potentially faced 25 years to life in prison, Chief Donovan

and the other detectives did not arrest him but instead released him from custody and allowed

him to go home.

       258.    In the ensuing weeks and months, detectives and prosecutors fed Mr. Woodruff

additional details to incorporate into this account in order to conform it to other evidence they

had collected, or to make his story seemingly more incriminating of the individual criminal

defendants.

       F.      THE BPD ARRESTS MR. WALKER BASED ON THE FALSE, COERCED
               TESTIMONY OF MESSRS. WOODRUFF AND HOUGH

       259.    After Mr. Woodruff signed his coerced, false statement of January 12, 1976,

Chief Donovan, knowing the investigation was corrupted, authorized the arrests of Mr. Walker

and his co-defendants, Messrs. Boyd, Gibson, and Martin.

       260.    Detective Guadagno arrested Mr. Walker.

       261.    Detectives Hunter and Arnet arrested Messrs. Boyd and Gibson and brought the

two boys to the location where Detective Guadagno had arrested Mr. Walker.




                                               - 30 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page35 of of
                                                                  154  103347




          262.   The detectives took the boys at the same time to police headquarters before

taking each of them to a separate room for further interrogation.

          263.   They continually tried to turn one boy against the others as they had done with

Mr. Woodruff.

          264.   Detectives Guadagno, Hunter, and others, meanwhile, tried to coerce a false

confession from the slightly built, 16-year-old Mr. Walker.

          265.   They showed him gruesome photographs of Mr. Crawford’s body, while towering

over him and wearing their guns.

          266.   They told Mr. Walker that they knew he had committed the murder, but that if he

said he was a lookout with Mr. Woodruff, they would go easy on him.

          267.   When Mr. Walker continually denied guilt and went to stand up, Detective Hunter

said that, if he got up, Hunter would “beat your motherfucking ass.”

          268.   They claimed that they had an anonymous female caller on the line who alleged

that she had seen Mr. Walker and his friends at the Glenny Projects dividing up the proceeds of

the robbery.

          269.   This was the same ruse they reportedly had used to coerce Mr. Woodruff’s

confession.

          270.   As with Mr. Woodruff, the detectives lied to Mr. Walker that his friends and other

witnesses were implicating him, but that he could obtain leniency if he cooperated with the

police.

          271.   Mr. Walker continued to maintain his innocence.

          272.   Detectives Guadagno and Deubell, in their report, falsely accused Mr. Walker of

having “refused to aid us in this investigation.”



                                                - 31 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page36 of of
                                                                  155  103347




        273.   In fact, in aid of the investigation, he truthfully answered the detectives’

questions, but the answers were not those that they wanted to hear.

        274.   During his arrest, Mr. Boyd repeatedly proclaimed his innocence.

        275.   However, in a report submitted by Detectives Arnet, Montondo and Hunter, the

detectives falsely claimed that Mr. Boyd had “feigned any type knowledge what so ever [sic] of

the above mentioned investigation.”

        276.   After Mr. Boyd was arrested, his mother, Thomacenia Knight, brought several

witnesses to BPD Headquarters, and they confirmed that Mr. Boyd was at the Glenny Projects on

the evening of January 2 until around midnight.

        277.   Before his booking, Mr. Martin was interviewed by Detective Montondo.

        278.   Like the other boys, Mr. Martin informed the detective that he had been at Shirley

Floyd’s apartment in the Glenny Projects with Messrs. Boyd, Gibson, Walker, and Woodruff the

night of January 2.

        279.   Like the other boys, he stated that Messrs. Walker and Woodruff left in a taxicab,

and Messrs. Gibson and Boyd walked home together.

        280.   Mr. Martin said that he returned to the party with his brother after the others left.

        281.   Detective Montondo wrote in his report that Mr. Martin was lying, despite the

evidence corroborating Martin’s statement and the consistency of his statement with the

statements of the other suspects and witnesses.

        282.   Taking and sharing credit with all the homicide detectives under his command,

who were collectively responsible with him for manufacturing the case, Chief Donovan listed

himself and the entire Homicide Unit as the arresting officers for Mr. Walker and the other three

boys.



                                               - 32 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page37 of of
                                                                  156  103347




        283.   To initiate a criminal proceeding, Chief Donovan and Detective Dove both signed

a sworn criminal court complaint falsely accusing Messrs. Walker, Boyd, Gibson, and Martin of

second-degree murder and criminal possession of a dangerous weapon.

        284.   They attached the false statement they had coerced from Mr. Woodruff on

January 12, 1976, as the factual basis for the complaint.

        285.   Although the detectives and Chief Donovan knew from multiple witnesses that

the attack had occurred at about 11:30 p.m. or later, after Messrs. Walker and Woodruff had

gone home in a cab, they falsely alleged in the complaint that the attack had occurred at about

10:30 p.m.

        G.     ADDITIONAL INVESTIGATION FURTHER UNDERMINES THE
               DETECTIVES’ FLAWED CASE AGAINST MR. WALKER

        286.   Mr. Walker and his three co-defendants were arraigned in court on January 13,

1976.

        287.   All were remanded to the Erie County Holding Center, pending a preliminary

hearing to be held on January 16, 1976.

        288.   On January 15, 1976, Detectives Montondo and John Regan, at the request of

Detectives Deubell and Guadagno, interviewed the owner of a bodega called Simpson’s Store,

located approximately three blocks from the Golden Nugget, to corroborate Mr. Hough’s story,

coerced from him by police, that he saw Mr. Boyd spending a lot of money at the store the day

after the murder.

        289.   According to the detectives’ report, the owner of Simpson’s Store and her

daughter knew the boys but did not recall seeing them on either January 2, when they supposedly

were present waiting for the emergence of Mr. Crawford from the Golden Nugget, or January 3,

1976, when they supposedly were there in possession of the robbery proceeds.


                                               - 33 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page38 of of
                                                                  157  103347




       290.    This contradicted Mr. Hough’s story (and Mr. Woodruff’s).

       291.    To minimize the significance of the owners’ statements, Detective Montondo

wrote: “Simpson’s Delicatessen is a very small store and it would be easy for the workers to

overlook anyone, especially if they were busy.”

       292.    However, the owner and her daughter had not said they were busy.

       293.    Moreover, the small size of the store would have made a group of 16-year-old

boys flashing unusually large amounts of cash more, not less, conspicuous.

       294.    On January 16, 1976, a preliminary hearing was held to determine whether there

was probable cause to continue the prosecution and to hold Mr. Walker and his co-defendants in

custody.

       295.    Mr. Woodruff, who had been given complete immunity from prosecution, was the

principal witness against the defendants.

       296.    Based upon the false story of Mr. Woodruff that the detectives had coerced out of

him, the court found probable cause for the prosecution and continued the defendants’ detention.

       297.    At the hearing, neither the named Defendants nor their fellow detectives disclosed

information in their individual and joint possession that would have negated the probable cause

found by the court, including, but not limited to:

           x   the coercive tactics they had used to pressure Mr. Woodruff to incriminate Mr.
               Walker and the other boys;

           x   the evidence they had collected corroborating Mr. Woodruff’s initial story denying
               any knowledge of the crime;

           x   the evidence proving that Mr. Woodruff left in a taxicab before the Crawford
               Murder occurred and therefore could not have seen it;

           x   the forensic evidence contradicting Mr. Woodruff’s account of the crime,
               including the crime scene photographs showing the absence of blood or drag
               marks in the driveway; and

                                               - 34 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page39 of of
                                                                  158  103347




            x   the wealth of evidence, including a crime scene photograph, incriminating Larry
                Watson as well as Jerome Boyd.

       298.     Had this evidence been disclosed, the case would have been dismissed at

arraignment, or Mr. Walker would have been released from custody.

       299.     On the same date as the preliminary hearing, a supposed witness, according to

police records, came forward to tell the prosecutor handling the case, Chief Donovan, and

Detective Dove that he and two of his friends—another young black man and a black woman—

had witnessed the assault. The witness’s account of events materially contradicted Mr.

Woodruff’s statements, but his statement was not disclosed to the defense either.

       H.       MESSRS. WOODRUFF AND HOUGH BOTH RECANT BEFORE
                TESTIFYING IN THE GRAND JURY BUT DETECTIVES COERCE
                THEM INSTEAD TO EXPAND THEIR FALSE STORIES

       300.     On February 11, 1976, a grand jury was convened to hear evidence concerning

the Crawford Murder.

       301.     Before giving any testimony, Messrs. Woodruff and Hough were first brought to

the ECDA’s office.

       302.     According to police reports, Mr. Hough, in the presence of his mother, was

questioned by Detectives Delano and Guadagno.

       303.     Mr. Hough recanted his prior statement about the boys.

       304.     According to the reports of the two detectives, he told them that he “wanted to

change his story about the truth of the statement” he had previously given. “He said that he lied

in the statement about what [Darryl] Boyd told him. He said [Mr. Boyd] never told him that he

killed William Crawford.”

       305.     The detectives deliberately omitted from their reports the details of the questions

and answers in which Mr. Hough exonerated the suspects.


                                               - 35 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page40 of of
                                                                   159  103347




         306.   After the detectives’ prolonged questioning failed to shake her son from

recanting, Mr. Hough’s mother said that she would be leaving, but she obtained the promise of

Detectives Delano and Guadagno to drive her son, who was in their custody, home.

         307.   However, according to their own reports, instead of doing that, they accused Mr.

Hough of lying and threatened him that he had better tell the truth.

         308.   Under intense pressure and with his mother no longer present, this 15-year-old

boy recanted his recantation and then was led by the detectives to further embellish his previous

story.

         309.   While he previously said that he recalled no additional information, he now

claimed for the first time that, before the assault, Messrs. Boyd and Gibson (both 16 years old)

went into the Golden Nugget Bar to look around and then waited with Mr. Walker and the other

boys down the street for Mr. Crawford to come outside.

         310.   Mr. Hough was then put into the grand jury to testify to this newly embellished

story.

         311.   During his grand jury testimony, Mr. Hough claimed that he overheard Mr.

Gibson state on the night of the murder, “I’m going to get me some money tonight.”

         312.   Mr. Hough had not made this claim in any of his prior statements to police

officers.

         313.   In fact, it was Mr. Woodruff who had previously claimed that on the night of the

Crawford homicide, he heard Mr. Gibson say, “I’m going to get me some money tonight.”

         314.   Mr. Hough only testified to this statement before the grand jury because it had

been suggested to him by law enforcement officials as part of an attempt to coordinate his

testimony with that of Mr. Woodruff.



                                               - 36 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page41 of of
                                                                  160  103347




       315.    Detectives Guadagno and Delano went to talk to Mr. Woodruff before he was to

testify before the grand jury.

       316.    However, they discovered that Mr. Woodruff, too, had recanted.

       317.    Again, they deliberately omitted from their reports the details of what Mr.

Woodruff said to exculpate the suspects, including Mr. Walker.

       318.    Detective Delano noted in his report that Mr. Woodruff was so nervous that he

was shaking.

       319.    Detective Delano, according to his own report, accused Mr. Woodruff of lying

and demanded that he tell “the whole story.”

       320.    In their separate reports, Detectives Delano and Guadagno each took credit for

coercing Mr. Woodruff into withdrawing his recantation and embellishing his story.

       321.    Detective Delano reported that he confronted Mr. Woodruff with Mr. Hough’s

new statement which then led Mr. Woodruff to change his story to match Mr. Hough’s.

       322.    Detective Guadagno, on the other hand, without mentioning Mr. Hough’s new

statement playing any role, reported that he “talked with Tony and he came up with more

important information.”

       323.    Up until this point in the investigation, the BPD had been unable to explain how

Mr. Walker and the other defendants supposedly knew that, if they walked down Fillmore

Avenue, they would happen across a victim, flush with cash, to rob.

       324.    The statements that the detectives previously had coerced from Messrs. Woodruff

and Hough made it appear that it was pure serendipity that they stumbled across Mr. Crawford,

who just happened to have a lot of cash on him.




                                               - 37 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page42 of of
                                                                  161  103347




       325.    Now, however, Detectives Delano and Guadagno pressured Mr. Woodruff to

adopt Mr. Hough’s new statement that the boys had engaged in a reconnaissance mission at the

Golden Nugget that resulted in their targeting Mr. Crawford.

       326.     In Mr. Woodruff’s new version of events, fed to him by Detectives Guadagno

and Delano, before the boys even left the Glenny Projects, someone suggested they go to a bar,

because “maybe somebody in one of the bars has cashed a check.”

       327.    According to Mr. Woodruff’s new story, Mr. Gibson, hiding a pipe up his sleeve,

and Mr. Boyd supposedly went into the Golden Nugget.

       328.    This was an establishment, the detectives knew, which served an older

demographic, and any 16-year-olds would have stood out and been denied admission.

       329.    Indeed, the barmaid, Ms. Jeffrey, and other witnesses had told them they did not

see any of the boys in the bar the night of the murder.

       330.     Nevertheless, knowing from multiple witnesses that Mr. Crawford had been seen

flashing money at the bar, the detectives caused Mr. Woodruff to incorporate this circumstance

into his new story.

       331.    Now, Mr. Woodruff claimed that Messrs. Gibson and Boyd had reported to the

rest of the group that they had seen an “old white dude with a lot of money in the bar.”

       332.    According to Detectives Delano’s and Guadagno’s reports, the boys then walked

approximately three blocks down Fillmore to Simpson’s Store, where they waited for Mr.

Crawford to leave the Golden Nugget.

       333.    The boys allegedly waited for Mr. Crawford to cross the street—which put him on

the sidewalk directly in front of his house, at the entrance to his driveway—then ran the three

blocks to ambush him at the end of the driveway.



                                               - 38 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page43 of of
                                                                  162  103347




       334.    Mr. Woodruff alleged that Mr. Gibson hit the victim in the head with the pipe

several times at the end of his driveway by the sidewalk.

       335.    Under intense pressure, and contrary to his January 12 statement to police, Mr.

Woodruff claimed that Mr. Walker actively participated in the crime by searching Mr. Crawford

and, along with the other four boys, dragging him up the driveway to the side door.

       336.    The BPD knew that the physical evidence at the crime scene contradicted this

account.

       337.    First, as noted above, there was no evidence of any pools of blood or dragging

along the driveway, and despite such a violent encounter, Mr. Crawford’s hat had not fallen off

but was found next to his body at the side entrance to his house, about 35 feet from the sidewalk.

       338.    Second, it made no sense that the boys had begun to run after Mr. Crawford had

already crossed the street.

       339.    It would have taken them much longer to run three long blocks, from Simpson’s

Store to Mr. Crawford’s house, than it would have taken Mr. Crawford to walk the 35 feet from

the sidewalk in front of his house to the side door.

       340.    Nor did it make any sense that five 16-year-olds would have decided to wait

indefinitely, during a cold January night, by the store, having no idea when the specific man they

allegedly were targeting would come out of the tavern.

       341.    Mr. Woodruff’s new story also contained internal contradictions about his receipt

of robbery proceeds.

       342.    In his prior statements, he denied seeing or hearing about the money being

divided up, but now Mr. Woodruff was induced to say that he was with the group when they

returned to the Glenny Projects to divide up the money.



                                               - 39 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page44 of of
                                                                  163  103347




       343.    Additionally, in Detective Delano’s report, Mr. Woodruff allegedly received $25,

while Detective Guadagno reported that Mr. Woodruff said he received $15; in his January 12

statement, he denied receiving any money at all.

       344.    Detective Guadagno handwrote a statement and had Mr. Woodruff sign it.

       345.    That statement contained still another contradiction: Contrary to his alleged oral

statement that Messrs. Boyd and Gibson had gone inside the Golden Nugget and then spotted the

old man with the money, in this version, Mr. Woodruff stated that they only opened the door to

the bar and peeked in.

       346.    In still another amazing coincidence, according to Mr. Woodruff’s newly

expanded statement, it was at this precise moment that Mr. Crawford flashed his money.

       347.    Following his session with Detectives Guadagno and Delano, Mr. Woodruff

testified before the grand jury.

       348.    Only after testifying, according to the detectives’ reports, were Messrs. Woodruff

and Hough “released” from police custody.

       349.    In other words, to make sure that these vulnerable boys would recant their

recantations, augment their original stories, and then testify before the grand jury, the officer

defendants held them prisoner.

       350.    Their detention was not only coercive but also illegal, as neither had been charged

with any crime; indeed, Mr. Woodruff had been given complete immunity from prosecution.

       351.    Throughout their investigation, the detectives either deliberately refrained from

taking notes or deliberately destroyed whatever notes they had taken.




                                                - 40 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page45 of of
                                                                  164  103347




       352.       During all interrogations of suspects and witnesses that occurred at Buffalo Police

Headquarters, detectives had recording equipment but deliberately did not use it so that there

would be no record of their coercive tactics and of inconsistent statements by their witnesses.

       I.         THE DEFENDANTS MISLEAD THE GRAND JURY, CAUSING IT TO
                  WRONGFULLY INDICT MR. WALKER

       353.       The BPD detectives involved in the investigation knew that the coerced testimony

Messrs. Woodruff and Hough gave in the grand jury implicating Mr. Walker and his friends in

the Crawford Murder was false. The entirety of their investigation contradicted it.

       354.       Detectives Guadagno, Delano, Deubell, and Montondo personally testified before

the grand jury.

       355.       Prior to Mr. Walker’s indictment, these and other detectives collectively

knowledgeable about and responsible for the investigation failed to turn over to the ECDA

and/or to inform the grand jury about a plethora of evidence which, viewed individually or

cumulatively, completely undermined the prosecution’s case.

       356.       This evidence included but was not limited to:

                  x   Mr. Woodruff’s initial statement that he did not know anything about the
                      Crawford Murder;

                  x   the manner in which Mr. Woodruff had been threatened with arrest and
                      prosecution and repeatedly coerced and promised immunity to induce him to
                      change his various stories;

                  x   the material inconsistencies in Mr. Woodruff’s various statements;

                  x   the crime scene photographs contradicting Mr. Woodruff’s story;

                  x   the witness statements about the timing of Mr. Crawford leaving the Golden
                      Nugget, together with the taxicab evidence, which proved that Mr. Woodruff
                      was not present at the time of the murder;

                  x   the fact of Mr. Woodruff’s recantation and the details of his recanting
                      statements;


                                                 - 41 -
  Case
Case   1:22-cv-00520-LJV-JJMDocument
     1:22-cv-00519-LJV-JJM   Document  78 Filed
                                     126-3 Filed03/13/23
                                                 12/11/23 Page
                                                           Page46 of of
                                                                165  103347




         x   the coercion of Mr. Hough to implicate the defendants notwithstanding his
             passing of a polygraph examination, including the threat to arrest him for the
             Crawford murder;

         x   Mr. Hough’s recantation and other inconsistent statements;

         x   the manner in which Messrs. Woodruff’s and Hough’s enhanced stories had
             been orchestrated and coordinated by the BPD;

         x   the statements by the owner at Simpson’s Store, and by Ms. Jeffrey and other
             witnesses present in the Golden Nugget, which contradicted the statements of
             Messrs. Hough and Woodruff;

         x   that police illegally detained Messrs. Woodruff and Hough in their custody
             until they completed their testimony;

         x   the anonymous phone call accusing Mr. Woodruff, as well as his terrified
             reaction to the call, before he changed his story;

         x   the unlawful investigative detention of Mr. Walker without probable cause
             and the manner in which his statements had been coerced and/or fabricated;

         x   the police documentation that a set of house keys had been found near Mr.
             Crawford’s body, the statement from the widow, Ms. Crawford, that her
             husband typically rang the bell for her to let him in the house, and the
             recorded statements from witnesses at the Golden Nugget that Julia Watson
             had called the bar after she and her husband left asking the barmaid to search
             for her husband Larry Watson’s missing keys—evidence showing that the
             house keys near the body had been Mr. Watson’s;

         x   statements from witnesses at the Golden Nugget who observed Mr. Watson
             volunteer to walk Mr. Crawford home, and then return 20 minutes later,
             collect his wife, and leave in a hurry;

         x   the false or conflicting statements of Larry Watson, his wife Julia Watson, and
             his stepson Bill Howard about their interactions with Mr. Crawford the night
             of the murder;

         x   statements from the barmaid, Debbie Jeffrey, in which she explicitly stated
             that she suspected Mr. Watson of committing the crime and the circumstances
             which led her to that conclusion;

         x   the crime scene photograph showing footsteps leading from Mr. Crawford’s
             backyard towards Mr. Watson’s house; and

         x   the tip and identification evidence pointing to Jerome Boyd as a second
             possible suspect.

                                        - 42 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page47 of of
                                                                  166  103347




       357.    On or about February 27, 1976, the grand jury, as a result of having been deceived

about the material facts, and relying on fabricated evidence, indicted Mr. Walker and his three

co-defendants for first-degree robbery and second-degree murder.

       358.    On information and belief, shortly after the Crawford Murder, and while Mr.

Boyd and his co-defendants were in custody without bail for the Crawford Murder, a man named

William Crosby was murdered in his home.

       359.    Mr. Crosby lived in the house directly between Mr. Crawford and Mr. Watson at

2045 Fillmore Avenue and may have had knowledge about Mr. Crawford’s murder.

       360.    On information and belief, the BPD never made an arrest for the murder of

William Crosby.

       361.    On information and belief, the murder of William Crosby took place after Mr.

Walker was arrested and in custody, but before his trial, for the Crawford Murder.

       362.    No information concerning the murder of William Crosby, which took place in

the immediate vicinity of the Crawford Murder at a time when it was impossible for Mr. Walker

or his friends to have been involved, was ever disclosed to Mr. Walker’s defense counsel.

       J.      PLAINTIFF JOHN WALKER IS TRIED AND CONVICTED BASED ON
               COERCED FALSE TESTIMONY, WITHOUT THE BENEFIT OF
               UNDISCLOSED BRADY MATERIAL

       363.    Mr. Walker was brought to trial on June 6, 1977, before an all-white jury, on

charges of first-degree robbery and second-degree murder.

       364.    ADAs David Henry and James Verrastro prosecuted the case.

       365.    Prior to Mr. Walker’s trial, his defense counsel, David Jay, requested that the

ECDA produce all Brady material to him.

       366.    Despite this request, ADAs Henry and Verrastro, and/or ADA Timothy Drury

who handled some of the discovery before them, did not disclose dozens of pieces of evidence
                                              - 43 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page48 of of
                                                                  167  103347




favorable to the defense in advance of or even during trial. This evidence included, but is not

limited to, the documents and information described in ¶¶ 132 and 356, supra.

       367.    Consistent with the ECDA’s policy, procedure, practice, and/or custom of

impermissibly narrowing the scope of its Brady obligations to include only truly “exculpatory”—

rather than favorable—material, ADAs Henry and Verrastro failed to disclose any evidence they

did not deem “exculpatory,” including evidence that impeached the prosecution’s key witnesses;

evidence that pointed to other suspects as perpetrators of the crime; and evidence regarding the

second murder, which took place across the street from the Golden Nugget that occurred when

Mr. Walker was incarcerated.

       368.    Also consistent with the policies, procedures, practices, and/or customs of the

ECDA, the only materials ADAs Henry and Verrastro turned over to the defense were the

exhibits the prosecution entered into evidence or marked for identification, including some of the

crime scene photographs, as well as the formal, sworn statements in question-and-answer format

of testifying witnesses.

       369.    These witness statements were not disclosed until after each witness had

completed his or her direct examination.

       370.    As just one example of this behavior, ADAs Henry and Verrastro did not turn

over Mr. Hough’s grand jury testimony to defense counsel until the middle of Mr. Hough’s

direct examination.

       371.    When Mr. Jay asked for time to review the statement, the Court reminded ADA

Henry that it had previously directed him to turn over prior statements to defense counsel.

       372.    To shift blame, ADA Henry stated that he turned over the statement late because

“we had a sick secretary take them home and do them last night.”



                                              - 44 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page49 of of
                                                                   168  103347




        373.   This did not explain why the prosecutors had not followed the court’s order and

disclosed the testimony previously.

        374.   This late disclosure deprived defense counsel of the opportunity to investigate the

information, to incorporate it into his opening statement or a theory of defense, and to fully

prepare to utilize it during cross-examination of the witness.

        375.   Unaware of the undisclosed evidence impeaching the credibility of the key

prosecution witnesses, Messrs. Woodruff and Hough, as well as the undisclosed evidence

implicating third parties in the murder, Mr. Walker’s counsel made a tactical decision to forego a

defense that Mr. Walker was not at the scene of the crime and contended instead that he had not

done enough to make him guilty of the robbery and the murder.

        376.   Competent counsel likely would have made a completely different tactical

decision, leading to a more favorable outcome of the trial, had numerous items of Brady material

not been withheld.

        377.   The trial testimony of Mr. Hough focused almost exclusively on his claim that he

had overheard Mr. Gibson state, while in the presence of Mr. Walker and the other boys, “I’m

going to get me some money tonight.”

        378.   Mr. Hough had not made this claim in any of his prior statements to police

officers.

        379.   However, Mr. Walker’s defense counsel did not receive any of Mr. Hough’s prior

signed statements to police officers until the completion of Mr. Hough’s direct examination, and

thus defense counsel had no opportunity to carefully plan his cross-examination with such

statements.




                                               - 45 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page50 of of
                                                                  169  103347




       380.    ADAs Henry and Verrastro never disclosed at all statements of the prosecution’s

witnesses that were unsigned by the witnesses and instead merely summarized in police reports,

including statements of both Mr. Hough and Mr. Woodruff, despite their absolute duty to do so

under the New York State Rosario rule as well as the requirements of Brady.

       381.    Nor did they disclose any statement by any witness whom the prosecution did not

call to testify, even where it was favorable to the defense.

       382.    The prosecution disclosed no handwritten notes taken by any detective at any time

during the investigation and also failed to disclose that handwritten notes had been destroyed.

       383.    The prosecution presented no physical or forensic evidence tying Mr. Walker (or

any of the other defendants) to the crime.

       384.    The failure of the prosecution to disclose the aforementioned Brady material not

only prevented the defense from making appropriate strategy decisions about the nature of the

defense, but it also severely handicapped Mr. Walker’s counsel’s attempt to contradict or

impeach Messrs. Woodruff and Hough’s specific testimony implicating his client.

       385.    It also deprived Mr. Walker of his constitutional right to present a defense that

someone else had committed the crime.

       386.    During his summation, Mr. Jay, without the benefit of the suppressed police

reports and information, nevertheless argued, from inconsistencies in Mr. Woodruff’s story, that

prosecutors had pressured him to change his story and indoctrinated him.

       387.    Falsely denying that Mr. Woodruff had been pressured or had any motive to lie,

ADA Henry argued, “What is the motive? The D.A. told him that that’s what Walker did[?]

Well, how did the D.A. know that? . . . even if the D.A. did know . . . we wouldn’t need

Woodruff, would we.”



                                                - 46 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page51 of of
                                                                  170  103347




       388.    ADA Henry’s argument denying that prosecutors told Mr. Woodruff what to say

was belied by, among other things, the undisclosed police report of February 11, 1976, revealing

that detectives, supposedly orchestrated by ADA Henry’s colleague, ADA Drury, had gone from

Mr. Hough to Mr. Woodruff to harmonize their new accounts.

       389.    His representation that Mr. Hough had no motive to lie similarly was untrue: Mr.

Hough had been threatened with arrest and prosecution for the murder and was forcibly detained

until he gave testimony in the grand jury favoring the prosecution.

       390.    ADA Henry also falsely stated that Mr. Hough’s testimony was totally consistent

and never differed from his prior statements.

       391.    In an inflammatory appeal to the jury’s emotions, ADA Henry repeatedly

mentioned “puddles of blood” on the walls caused by the attack.

       392.    There was no such evidence in the trial record.

       393.    On June 9, 1977, the jury convicted Mr. Walker of second-degree murder and

first-degree robbery.

       394.    After Mr. Walker’s conviction but before his August 1977 sentencing, Thelma

Green, Andre Hough’s foster mother, told detectives that Mr. Hough had admitted to her that he

had lied in his testimony implicating Mr. Walker and his friends after being told what to say.

       395.    Ms. Green told ADA Drury that she believed Mr. Hough was not telling the truth,

adding that her son had told her that he had been lying about the whole thing.

       396.    On August 3, 1977, with Mr. Walker continuing to maintain his innocence, the

court sentenced him to serve 17 years to life in prison, and he was sent upstate to serve his time.

       K.      THE ECDA OPPOSES MR. WALKER’S EFFORTS TO OVERTURN HIS
               CONVICTION

       397.    Following his conviction, Mr. Walker continued to maintain his innocence.


                                                - 47 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page52 of of
                                                                  171  103347




        398.    Mr. Walker appealed his conviction, but the Appellate Division affirmed it. See

People v. Walker, 147 A.D.2d 927 (4th Dept. 1989), lv to app. den., 74 N.Y.2d 821 (1989).

        399.    On September 24, 1982, Mr. Walker moved, pursuant to Criminal Procedure Law

§ 440.10, to vacate his conviction based on new evidence.

        400.    The ECDA opposed the motion, incorrectly arguing, among other things, that Mr.

Walker had no right to bring such a motion when he had not yet perfected his direct appeal.

        401.    While the court granted a hearing for Mr. Walker’s co-defendant, Mr. Gibson, it

apparently followed the ECDA’s argument in denying a hearing for Mr. Walker.

        402.    On January 23, 1986, Mr. Walker again moved to vacate his conviction pursuant

to CPL § 440.10, this time based upon the recantation, in the form of a sworn oral deposition, of

Mr. Woodruff.

        403.    Mr. Woodruff testified that he had been intimidated by armed police from the

BPD to adopt a story based upon information the police gave him.

        404.    He further alleged that he had been told that the police had other witnesses

“upstairs” ready to “take his place”—i.e., testify against the others, and him—if he did not

cooperate, and that he would be charged with murder and go to prison for life.

        405.    In fact, he testified, he had not been involved in the murder at all and knew

nothing about it, as he first told police on January 11, 1976.

        406.    He said that the police had coerced him before he had any contact with ADA

Drury, the lead prosecutor at Messrs. Gibson and Boyd’s trials.

        407.    The defense submitted as exhibits photographic evidence contradicting Mr.

Woodruff’s trial testimony that Mr. Crawford had been dragged up the driveway through the

snow.



                                               - 48 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page53 of of
                                                                  172  103347




       408.    In opposing the defense motion, the ECDA continued the coverup of the

voluminous, favorable evidence that had been suppressed at the time of Mr. Walker’s trial and

contributed to his conviction.

       409.    The affidavit of ADA Louis A. Haremski falsely stated that Mr. Woodruff had

consistently been interviewed “in the presence of his parents.”

       410.    In fact, the ECDA knew or should have known from undisclosed police reports

that, in his initial interview on January 11, 1976, and the next day when he was coerced into

changing his story, Mr. Woodruff was interrogated by police outside the presence of his family.

       411.    ADA Haremski further misrepresented that Mr. Woodruff had voluntarily

changed his story the next day.

       412.    In making this argument, he continued his office’s suppression of the police

reports documenting how police had coerced Mr. Woodruff.

       413.    The ECDA also continued to suppress the other evidence, including but not

limited to the items described in ¶¶ 132 and 356, supra, and elsewhere in this Complaint,

contradicting Mr. Woodruff’s trial testimony and implicating third-party suspects.

       414.    Indeed, the affidavit falsely asserted that the jury in Mr. Walker’s trial had all the

prior statements and circumstances “surrounding Tyrone Woodruff’s election to testify against

his cohorts,” when this was patently untrue.

       415.    Relying on the ECDA’s submission, the court (Kasler, J.) denied the motion

without a hearing.

       416.    Mr. Walker was granted parole in 1998, after serving 22 years in prison for the

Crawford Murder.




                                               - 49 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page54 of of
                                                                  173  103347




       417.     Mr. Walker continued to maintain his innocence and fight to have his wrongful

conviction vacated and his name cleared.

       418.     On or about October 1, 2012, Mr. Walker, now represented by attorney Steven M.

Cohen, moved once again to vacate his conviction based upon newly discovered evidence.

       419.     The evidence included a second, even more detailed, sworn recantation of Mr.

Woodruff, again in the form of an oral deposition, as well as newly discovered police documents

obtained through a FOIL request, which supported Mr. Woodruff’s claim that his testimony

against Mr. Walker and the other boys had been coerced.

       420.     In opposing Mr. Walker’s motion, ADA Nicholas Texido falsely contended that

all police documents had been turned over at trial and that, even if they had not been, they were

not material.

       L.       THE COURT VACATES MR. WALKER’S WRONGFUL CONVICTION

       421.     On October 13, 2020, a prominent Buffalo criminal defense attorney, Paul J.

Cambria, Jr., of Lipsitz Green Scime Cambria LLP, handling the case pro bono, filed a motion

on behalf of Mr. Walker and his only surviving co-defendant, Darryl Boyd, to vacate their

convictions pursuant to CPL § 440.10.

       422.     Mr. Walker moved on the grounds that the ECDA, during each of their separate

trials in 1977, had failed to disclose two favorable crime scene photographs.

       423.     One was the photograph showing a single set of footprints in the snow, made by a

heavyset man, in the backyard of Mr. Crawford’s property, leading in the direction of Mr.

Watson’s property two houses over.

       424.     The second, which contradicted Mr. Woodruff’s trial testimony, showed the

absence of dragging marks and footprints in the snow along Mr. Crawford’s driveway.



                                              - 50 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page55 of of
                                                                  174  103347




       425.    After holding an evidentiary hearing, the court (Burns, J.) granted Mr. Walker’s

motion and, on August 18, 2021, vacated the convictions of Messrs. Walker and Boyd.

       426.    The court credited the testimony of retired Judge James McLeod, who had

represented Floyd Martin at the last of the four defendants’ trials in 1977.

       427.    Judge McLeod testified that, unlike the other defense counsel, he had made a

specific discovery request for all the police photographs and thus had received the two

photographs in question that contradicted the prosecution’s theory of the case.

       428.    He testified that these exhibits had proven decisive in the jury voting to acquit his

client, Mr. Martin.

       429.    Judge McLeod recalled that, based upon the photographs, together with the

testimony that Mr. Watson had left the Golden Nugget with Mr. Crawford, he had contended that

Mr. Woodruff’s testimony was not truthful and that Mr. Watson likely was the killer.

       430.    Judge McLeod’s testimony was corroborated by handwritten notes in the

prosecution’s present case file showing that indeed he had made an argument during his trial

summation about the significance of the footprints in the snow at the rear of Mr. Crawford’s

property.

       431.    On September 23, 2021, the present District Attorney, John Flynn, acknowledging

that he lacked any evidence with which to retry Messrs. Walker and Boyd, moved to dismiss the

indictment against them, and the court granted the motion.

VI.    MR. WALKER’S DAMAGES

       432.    Mr. Walker’s injuries and damages include, but are not limited to:

               (a)     his complete loss of liberty during his pretrial and posttrial incarceration,

                       totaling more than 22 years;



                                               - 51 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page56 of of
                                                                  175  103347




               (b)     severe restrictions upon his liberty, privacy, and personal autonomy during

                       parole supervision totaling another 17 years;

               (c)     physical injuries he suffered during assaults upon him by guards and other

                       inmates, as well his lack of adequate medical care for such injuries;

               (d)     the mental and emotional effects of such assaults and of the gruesome,

                       terrifying, homicidal, and disfiguring assaults on other inmates that he

                       witnessed;

               (e)     past and future physical illnesses and injuries as a result of his wrongful

                       conviction and his experiences in prison;

               (f)     past and future mental and emotional suffering;

               (g)     the loss of the services, society, companionship, and consortium of his

                       mother and other family members;

               (h)     the loss of employment income and diminution of future earning ability in

                       an amount to be determined;

               (i)     legal fees and expenses for which he is responsible, including trial and

                       post-trial representation; and

               (j)     interest to the extent available under controlling law.

                                      CAUSES OF ACTION

                                       COUNT I
 42 U.S.C. § 1983 Malicious Prosecution in Violation of the Fourth, Fifth, and Fourteenth
                    Amendments Against the Individual Defendants

       433.    Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

       434.    The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, individually and/or in concert with each other and others

                                               - 52 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page57 of of
                                                                  176  103347




unnamed, acted knowingly, willfully, intentionally, and with actual malice to initiate and/or to

continue criminal proceedings against Mr. Walker, without probable cause to believe that Mr.

Walker was guilty of any crime or could be successfully prosecuted, and caused him to be

deprived of his liberty, in violation of his rights under the Fourth, Fifth, and Fourteenth

Amendments to the United States Constitution.

        435.    The criminal proceedings terminated in Mr. Walker’s favor.

        436.    By virtue of the foregoing, and pursuant to 42 U.S.C. § 1983, the Individual

Defendants, personally or through their Estates, are liable for the violations of Mr. Walker’s

constitutional rights and his resulting injuries.

                                      COUNT II
 Malicious Prosecution under New York State Law Against the Individual Defendants and
                                  the City of Buffalo

        437.    Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        438.    The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, individually and/or in concert with each other and others

unnamed, acted with actual malice to initiate and/or to continue criminal proceedings against Mr.

Walker without probable cause to believe that Mr. Walker was guilty of any crime or could be

successfully prosecuted, in violation of his rights under the common law of the State of New

York.

        439.    The criminal proceedings terminated in Mr. Walker’s favor.

        440.    By virtue of the foregoing, the Individual Defendants, surviving or sued through

the Executors and/or Administrators of their Estates, are liable to Mr. Walker for malicious

prosecution under the common law of the State of New York and for all his resultant damages.



                                                    - 53 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page58 of of
                                                                  177  103347




       441.    Under the principle of respondeat superior, the Defendant City is liable for the

malicious prosecution of Mr. Walker by the Individual Defendants and other municipal

employees, all of whom were acting within the scope of their employment, and for Mr. Walker’s

resultant damages.

                                        COUNT III
 42 U.S.C. § 1983 Unreasonable Seizure under the Fourth Amendment, and Denial of Due
 Process and a Fair Trial under the Fifth, Sixth, and Fourteenth Amendments, Due to the
        Fabrication of False or Misleading Evidence by the Individual Defendants

       442.    Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

       443.    The Individual Defendants, surviving or sued through the Executors and/or

Administrators of their Estates, acting individually and/or in concert with each other and with

others, acted deliberately, willfully, recklessly, and/or with deliberate indifference to the truth, to

fabricate or manufacture false or misleading police reports, witness statements, and a Criminal

Court complaint (collectively, the “Fabricated Evidence”).

       444.    The Individual Defendants forwarded, or caused to be forwarded, the Fabricated

Evidence to prosecutors in the ECDA, intending that it be used against Mr. Walker during a

criminal prosecution.

       445.    The Individual Defendants knew that the Fabricated Evidence, if considered by a

jury, would be likely to influence a jury’s decision at trial to convict Mr. Walker.

       446.    As a result of the Individual Defendants’ conduct in forwarding, or causing to be

forwarded, the Fabricated Evidence to the ECDA, prosecutors in that office initiated and

continued a criminal prosecution of Mr. Walker, and he lost his liberty.

       447.    The Individual Defendants’ conduct violated Mr. Walker’s right to be free from

unreasonable seizure, as guaranteed by the Fourth Amendment to the United States Constitution,


                                                - 54 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page59 of of
                                                                   178  103347




and his rights to procedural and substantive due process and a fair trial, as guaranteed by the

Fifth, Sixth, and Fourteenth Amendments to the United States Constitution.

        448.   The above misconduct was outrageous and shocking to the conscience.

        449.   By virtue of the foregoing, the Individual Defendants are liable to Mr. Walker,

pursuant to 42 U.S.C. § 1983, for the violation of his constitutional rights and his resultant

injuries.

                                        COUNT IV
   42 U.S.C. § 1983 Unreasonable Seizure under the Fourth Amendment, Denial of Due
 Process and a Fair Trial under the Fifth, Sixth, and Fourteenth Amendments, and Denial
   of Reasonable Bail under the Eighth Amendment, Due to the Pretrial Withholding of
 Favorable Evidence Likely to Result in Plaintiff’s Release from Custody (“Russo Claim”)
                              by the Individual Defendants

        450.   Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

        451.   Following the initiation of Mr. Walker’s prosecution with the filing of a Criminal

Court complaint, the continuation of the charges was subject to a preliminary hearing, at which a

judge determines whether there was probable cause to prosecute, and a proceeding before a

grand jury, which would decide whether the evidence supported formally charging Mr. Walker

by indictment and binding him over for trial.

        452.   Under New York law, as well as the Eighth and Fourteenth Amendments to the

United States Constitution, the court, following the filing of charges, was required, upon

application of the defendant, to consider whether to fix a reasonable bail so that the defendant

could obtain his release.

        453.   Under New York law, the strength of the prosecution’s case was a significant

factor for a court in determining whether to fix a reasonable bail and the amount of such bail.




                                                - 55 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page60 of of
                                                                   179  103347




        454.    Despite knowing this, the Individual Defendants withheld, or caused to be

withheld, from the ECDA, Mr. Walker and his lawyer, the grand jury, and the court exculpatory

and impeachment evidence and other evidence favorable to the defense that completely

undermined the prosecution’s case.

        455.    Had such evidence been timely disclosed, the charges against Mr. Walker likely

would not have survived the preliminary hearing or the determination by the grand jury, and/or

the court would have released Mr. Walker on his own recognizance or on a reasonable bail.

        456.    The failure to make timely disclosure of such obviously significant evidence

undermining the entire case caused Mr. Walker to be unnecessarily and unreasonably deprived of

his liberty.

        457.    This conduct was shocking to the conscience.

        458.    It violated Mr. Walker’s constitutional rights to be free of unlawful or

unreasonable seizure under the Fourth and Fourteenth Amendments, to reasonable bail under the

Eighth and Fourteenth Amendments, to a fair trial under the Sixth and Fourteenth Amendments,

and to due process of law under the Fifth and Fourteenth Amendments.

        459.    By virtue of the foregoing, the Individual Defendants or their Estates are liable,

pursuant to 42 U.S.C. § 1983, for the violation of Mr. Walker’s constitutional rights and his

resultant injuries.

                                       COUNT V
    42 U.S.C. § 1983 Denial of Due Process and a Fair Trial under the Fifth, Sixth, and
   Fourteenth Amendments by Withholding Evidence Favorable to the Defense (“Brady
                          Claim”) by the Individual Defendants

        460.    Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.




                                                - 56 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page61 of of
                                                                   180  103347




        461.    At all relevant times, Mr. Walker had a right—under the Fifth, Sixth, and

Fourteenth Amendments to the United States Constitution, and Brady v. Maryland, 363 U.S. 83

(1963) and its progeny—to timely disclosure to him, by the prosecution, of all evidence in its

possession, custody or control that was favorable to his defense, either because it tended to show

his innocence, tended to impeach the credibility of the prosecution’s witnesses against him, or

both (“Brady material”).

        462.    In furtherance of this right, police officers, including the Individual Defendants,

surviving or sued through the Executors and/or Administrators of their Estates, had a duty to

timely disclose, or to ensure the timely disclosure of, all potential Brady material to the ECDA so

that it could decide what to disclose to the defense.

        463.    The Individual Defendants violated this duty by knowingly, willfully,

intentionally, recklessly, and/or negligently failing to timely disclose to the prosecutors in charge

of Mr. Walker’s criminal prosecution numerous items of “Brady” material, including documents

and unrecorded information, including but not limited to the material enumerated in ¶¶ 132 and

356, supra, and elsewhere in this Complaint, and by destroying their notes.

        464.    The undisclosed Brady material was material to the outcome of the trial at which

Mr. Walker was convicted. But for the Individual Defendants’ failure to disclose or cause the

disclosure of the Brady material, there is a reasonable likelihood that Mr. Walker would have

been acquitted or otherwise received a more favorable outcome to his trial.

        465.    By virtue of the foregoing, the Individual Defendants or their Estates are liable,

pursuant to 42 U.S.C. § 1983, for the violation of Mr. Walker’s constitutional rights and his

resultant injuries.




                                                - 57 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page62 of of
                                                                  181  103347




                                     COUNT VI
42 U.S.C. § 1983 and Monell Municipal Liability for the Conduct of Employees of the BPD
                             Against the City of Buffalo

       466.       Mr. Walker repeats and realleges each allegation contained in the preceding

paragraphs as if fully set forth herein.

       467.       At all relevant times, the Police Commissioner, detectives, and other police

officers employed by the BPD were agents and employees of the Defendant City.

       468.       Under the principles of municipal liability for federal civil rights violations, the

City’s Police Commissioner or his authorized delegates, including the Chief of the Homicide

Detectives Unit, during all times relevant to this Complaint, had final responsibility for training,

instructing, supervising, and disciplining police officers and other employees of the BPD with

respect to the investigation and prosecution of criminal matters, including homicides.

       469.       The areas in which the Police Commissioner or his authorized delegates,

including the Chief of the Homicide Detectives Unit, were responsible for training, instructing,

supervising, and disciplining police officers and other employees of the BPD included but were

not limited to:

                  (a)    the constitutional obligation, pursuant to the Fourth, Fifth, and Fourteenth

                         Amendments to the Constitution, not to initiate or continue a prosecution,

                         and to cause a criminal defendant’s deprivation of liberty, without

                         probable cause to believe he or she has committed a crime;

                  (b)    the constitutional obligation, pursuant to the Fourth, Fifth, Sixth, and

                         Fourteenth Amendments, not to fabricate or manufacture evidence,

                         including the coercion of confessions and witness statements through

                         illegal detentions without probable cause, threats, lies, or trickery and the

                         preparation of false or materially misleading or incomplete reports, for use
                                                  - 58 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page63 of of
                                                                   182  103347




                        against criminal suspects and defendants in criminal prosecutions and

                        trials; and

                (c)     the constitutional obligation, pursuant to the Fourth, Fifth, Sixth, and

                        Fourteenth Amendments, to make timely disclosure of evidence favorable

                        to the defense to the prosecution for disclosure in turn to a criminal

                        defendant for use during pretrial and trial proceedings at which the

                        defendant’s liberty is at stake.

        470.    During all times material to this Complaint, the City, through its policymaking

officials in the BPD, owed a duty to the public at large and to Mr. Walker to implement policies,

procedures, training, discipline, customs, regulations, and practices sufficient to prevent, deter,

and avoid conduct by BPD employees that would result in the violation of the above-mentioned

constitutional obligations.

        471.    During all times material to this Complaint, these policymakers, including the

Chief of the Homicide Detectives Unit, to whom policymaking responsibilities for homicide

investigations had been delegated, knowingly and intentionally breached, or were deliberately

indifferent to, this duty.

        472.    Furthermore, these policymakers created substantial incentives for their

employees to commit the above-described constitutional violations by pressuring police officers,

particularly homicide detectives handling high-profile investigations, to close cases and initiate

prosecutions through coercion, trickery, falsification of reports, and suppression of evidence.

        473.    The aforesaid deliberate or de facto policies, procedures, practices, and/or

customs (including the failure to properly instruct, train, supervise, and/or discipline employees)

were implemented or tolerated by policymaking officials for the Defendant City—including but



                                                 - 59 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page64 of of
                                                                  183  103347




not limited to the Police Commissioner, the Chief of Detectives, and the Chief of the Homicide

Detectives Unit—who knew, or should have known:

               (a)     to a moral certainty that such policies, procedures, practices, and/or

                       customs concern issues that regularly arise during criminal investigations

                       and prosecutions;

               (b)     that such issues present BPD employees with difficult choices of the sort

                       that instruction, training, supervision, and discipline will make less

                       difficult;

               (c)     that BPD employees facing such issues have strong incentives to make the

                       wrong choices, especially given the pressure placed on BPD employees to

                       make arrests, close cases, and secure indictments and convictions;

               (d)     that the wrong choice by BPD employees concerning such issues will

                       frequently cause the deprivation of the constitutional rights of an accused

                       person and cause him constitutional injury; and

               (e)     that BPD employees had a history of making wrong choices in such

                       matters.

       474.    At the time of Mr. Walker’s arrest and prosecution, BPD policymaking officials

were on notice of the risk of misconduct by BPD employees that would violate the constitutional

obligations identified in ¶ 469.

       475.    City policymaking officials were on notice based in part on numerous decisions of

the United States Supreme Court, the United States Court of Appeals for the Second Circuit, the

New York Court of Appeals, and the New York Appellate Division discussing the constitutional

obligations of police officers during criminal investigations and prosecutions.



                                               - 60 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page65 of of
                                                                  184  103347




       476.    City policymaking officials were on notice based on the inherent obviousness of

the need to train, supervise, and discipline police officers with respect to their constitutional

obligations to counteract the pressure on such officers to close cases and to obtain arrests and

convictions.

       477.    Indeed, BPD policymakers knew, prior to and during the period of the Crawford

investigation, that numerous BPD officers had orchestrated an arrest and conviction in a high-

profile robbery-murder case of a Black suspect using the same deceptive, coercive, and dishonest

practices that the entire Homicide Detectives Unit then used in this case.

       478.    In a federal habeas corpus proceeding then pending in Buffalo, the BPD was

credibly accused of obtaining the arrest and conviction of the petitioner by coercing a confession

from a Black suspect through lies and threats. As Chief Judge Curtin of this Court ultimately

wrote in vacating the conviction, the BPD had illegally detained and interrogated numerous

Black men without probable cause, including the petitioner, whom detectives picked up based

upon an alleged anonymous tip. They questioned the petitioner for hours at night when an

attorney, friends and family could not offer their support to him, a tactic intended to heighten his

anxiety. They surrounded him, kept him in isolation, lied to him that he had been implicated by

others, threatened him with dire consequences if he did not confess, suggested to him that he

minimize his role, and promised him leniency in exchange for doing so—exactly the tactics used

in Plaintiff Walker’s case.

       479.    Chief Judge Curtin wrote that the police officers’ lying to petitioner was “an

obvious effort to trick him into implicating himself and others. This police practice is to be

soundly condemned. Such deception clearly has no place in our system of justice.” Robinson v.

Smith, 451 F. Supp. 1278 (W.D.N.Y. 1978) (Curtin, C.J.).



                                                - 61 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page66 of of
                                                                  185  103347




       480.    Notwithstanding their awareness of the widespread use of such tactics by the

BPD, prior to the investigation of the Crawford Murder on January 2, 1976, and through Mr.

Walker’s trial in April 1977, BPD policymaking officials failed to adequately instruct, train,

discipline and supervise police officers with respect to their obligations (1) to disclose, to the

defense or to prosecutors, evidence impeaching the credibility of prosecution witnesses or

tending to exculpate criminal suspects or defendants; (2) to make a record of coercion or

inducement of witnesses and of witnesses’ prior inconsistent statements; (3) to preserve rather

than destroy their handwritten notes; (4) to refrain from fabricating evidence, including by using

coercion or deception to obtain false confessions and witness statements and preparing false,

materially misleading, or incomplete reports; and (5) to refrain from initiating or continuing a

prosecution without probable cause.

       481.    The issues of whether to preserve and to disclose evidence favorable to the

defense to prosecutors or to the defense, how to ensure that evidence is not fabricated through

false confessions and witness statements and false, misleading, or incomplete reports, and how to

ensure that a prosecution is not initiated or continued without probable cause regularly arise in

criminal investigations and prosecutions.

       482.    Nevertheless, the BPD provided no or plainly inadequate Brady-related training;

provided no or plainly inadequate training concerning making and preserving a record of

information that was favorable to a criminal suspect or defendant; had no policies at all, or at

least no policies that were adequately made known to detectives, requiring disclosure of Brady

material; and did not discipline officers who failed their constitutional duty to disclose such

information to prosecutors.




                                                - 62 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page67 of of
                                                                  186  103347




        483.    Similarly, the BPD provided no or plainly inadequate training on interview and

interrogation protocols to ensure the truthfulness of confessions and witness statements;

affirmatively encouraged officers to illegally detain witnesses and suspects for interrogation and

use or close their eyes to coercive interview and interrogation tactics likely to lead to false

confessions and witness statements; provided no or plainly inadequate training on preparing

reports that are truthful, accurate, and complete; had no policies at all, or at least no policies that

were adequately made known to detectives, discouraging officers from using coercive interview

and interrogation tactics, including the unlawful detention of witnesses and suspects, including

vulnerable teenagers, without probable cause, likely to lead to false confessions and witness

statements; encouraged or at least tolerated detectives’ practice to refrain from making a record

of information favorable to suspects and defendants and to destroy their notes, and did not

discipline officers who fabricated evidence by coercing false confessions and witness statements

and preparing false, materially misleading, or incomplete reports.

        484.    Indeed, rather than provide formal training on lawful interrogation techniques, the

BPD endorsed on-the-job training by detectives who had a history and practice of unlawfully

coercing witnesses, thereby perpetuating such practices and creating an atmosphere in which

detectives assumed either that such techniques were appropriate or that, even if inappropriate or

unlawful, they would get away with them without personal consequence to them.

        485.    The BPD also provided no or plainly inadequate training on how to ensure that

probable cause exists to initiate or continue a prosecution, including ensuring that the

prosecution is not initiated or continued based on the use of manufactured or otherwise

unreliable evidence.




                                                 - 63 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page68 of of
                                                                  187  103347




       486.    BPD policymaking officials had, before Mr. Walker’s arrest, issued no Patrol

Guide provision or other written directive to officers concerning when, if at all, to disclose

information favorable to a criminal suspect or defendant to prosecutors.

       487.    With deliberate indifference to such misconduct, BPD policymaking officials

failed to take adequate steps to train, supervise, or discipline BPD employees to prevent or deter

such constitutional violations from occurring.

       488.    As a result of the foregoing, at the time of the investigation of the Crawford

Murder, it was the policy, custom or practice of BPD detectives to coerce false statements from

suspects and witnesses, including inherently vulnerable teenagers, through unlawful

investigatory detentions without probable cause and other means, to prepare false or misleading

investigative reports, to fail to document information that was favorable to suspects and

defendants or to destroy their notes containing such information, and to withhold evidence and

information favorable to a criminal suspect or defendant from prosecutors.

       489.    Additionally, detectives were encouraged to engage in such illegal activities by

their knowledge that it would be at the very least tolerated and excused by BPD policymakers for

whom closing high-profile cases with arrests was the priority.

       490.    This is apparent from the knowing participation in such illegal activities, during

the Crawford investigation by Defendant Donovan, the Chief of the Homicide Detectives Unit,

and the policymaking official for the department with respect to homicide investigations.

       491.    Indeed, he ratified the conduct of the unit he led and made it into municipal policy

by approving the arrest of Mr. Walker and his friends, designating all the detectives in the unit as

co-arresting officers, and signing under oath the false criminal court complaint that initiated the

prosecution.



                                                 - 64 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page69 of of
                                                                  188  103347




       492.    That the entire Homicide Detectives Unit knowingly participated in fabricating a

case against Mr. Walker and his young teenaged friends, documenting their fabricated case

through a series of false or misleading investigative reports, omitting information favorable to

the suspects from their reports, destroying their notes, and withholding information favorable to

a criminal suspect or defendant from the prosecutors, proves the existence of an anything-goes

culture of illegality that policymakers’ indifference to such misconduct predictably had wrought

and that such misconduct was, at that time, the policy, custom and practice of the BPD.

       493.    The aforementioned unconstitutional or deliberately indifferent policies,

procedures, training, discipline, customs, regulations, and/or practices of the BPD were a direct,

foreseeable, proximate, and/or substantial cause of the violations of Mr. Walker’s federal

constitutional rights in this case by employees of the BPD and his resulting injuries.

       494.    By virtue of the foregoing, the Defendant City is liable for the violation of Mr.

Walker’s constitutional rights pursuant to 42 U.S.C. § 1983 and his resultant injuries.

                                     COUNT VII
    42 U.S.C. § 1983 and Monell Municipal Liability Against the County of Erie for the
                               Misconduct of Prosecutors

       495.    Mr. Walker repeats and realleges each allegation contained in paragraphs 1

through 432 as if fully set forth herein.

       496.    The Erie County District Attorney and his authorized delegates, at all relevant

times, had final authority with respect to the training, supervision, discipline, and overall

management of personnel employed by or assigned to the ECDA with respect to all of the

office’s functions, including the investigation and prosecution of criminal cases, and constituted

County policymakers for whose actions or omissions the County is liable.

       497.    The District Attorney, at all relevant times, was and is an elected officer of the

County, and the ECDA was and is substantially funded out of the County’s budget.
                                                - 65 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page70 of of
                                                                  189  103347




       498.    The District Attorney was and is designated a “local officer,” rather than a “state

officer,” under New York Public Officers Law § 2.

       499.    The DA and his assistant district attorneys are agents and employees of the

Defendant County.

       500.    Under New York State law, the County, at all relevant times, was liable for torts

committed by County officers and employees, including the District Attorney and his assistants.

See N.Y. County Law §§ 53, 941.

       501.    The County represents such officers and employees in judicial proceedings and

indemnifies them because they are County officials.

       502.    At the time of Mr. Walker’s criminal trial, as a criminal defendant, he was

entitled, under the Fifth, Sixth and Fourteenth Amendments to the United States Constitution, to

timely disclosure of all material information that was in the actual or constructive possession,

custody, or control of the ECDA and that was favorable to the defense, including, but not limited

to, exculpatory information that tended to contradict the prosecution’s case or otherwise show he

was innocent, and impeachment information that tended to undercut the credibility of the

witnesses against him, known as “Brady material.”

       503.    The prosecution was constitutionally required to disclose Brady material as soon

as reasonably possible regardless of whether the defense had made a specific request for it.

       504.    The prosecution was constitutionally required to find out about and disclose such

information, whether it was in its actual possession or in the possession of any police department

that had been involved in the investigation or prosecution of the matter.

       505.    This was a continuing obligation even after a conviction at trial, such as during

proceedings brought by a convicted defendant challenging the fairness of his conviction.



                                               - 66 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page71 of of
                                                                  190  103347




       506.    While the right to timely disclosure of Brady material was intended to guarantee

the fairness of a criminal trial, the prosecution also had an obligation under the Fourth, Fifth,

Sixth and Fourteenth Amendments to the United States Constitution to disclose evidence

favorable to the defense early in a criminal prosecution, where it was so clearly relevant to

whether the prosecution should continue, or the defendant should be released on bail, that the

suppression of it would shock the conscience.

       507.    Similar to the Brady obligation is the state constitutional requirement, established

by People v. Rosario, 9 N.Y.2d 286 (1961), requiring disclosure at trial of the prior recorded

statements of prosecution witnesses so that defense counsel, singularly dedicated to his client’s

cause, could decide how to use such material to impeach such witnesses.

       508.    Often, Rosario material also contained information that was favorable to the

defense as defined by Brady and its progeny.

       509.    Related to Brady is a prosecutor’s constitutional obligation, at all stages of a

criminal prosecution, not to rely on or fail to correct false or misleading evidence or argument.

       510.    The suppression of evidence favorable to the defense from the court during a

preliminary hearing or bail hearing, or from a grand jury deciding whether to vote an indictment,

and from a petit or trial jury, likely would leave an impermissibly false or misleading impression

with the fact finder about the strength of the evidence supporting the prosecution’s case and

about the defendant’s guilt.

       511.    The federal constitutional obligation to make timely disclosure of evidence

favorable to the defense for use during pretrial and trial proceedings superseded any provisions

of the state’s Criminal Procedure Law or the Rosario rule, to the extent such state rule was less

protective of a criminal defendant’s rights.



                                                - 67 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page72 of of
                                                                  191  103347




        512.    In other words, the federal constitutional requirement of prompt disclosure of

evidence favorable to the defendant, irrespective of whether the defense had made a specific

request, applied even though state discovery provisions required a specific request for discovery

material and permitted the prosecutor to withhold the prior recorded statements of its witnesses

until after they had completed their direct testimony at trial.

        513.    Such state rules did not provide sufficient, timely disclosure to enable the defense

a reasonable opportunity under Brady’s constitutional rule to investigate the information,

integrate it into the defendant’s trial strategy, and prepare an effective cross-examination.

        514.    Furthermore, a prosecutor had a constitutional obligation not to conduct himself

before a jury in a manner that would deprive a criminal defendant of his right to a fair trial under

the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution.

        515.    At the time of Mr. Walker’s trial in 1977, there were well-established rules of

behavior for prosecutors before a jury, particularly with respect to opening arguments and

summations, which were intended to ensure a fair trial.

        516.    If serious enough, the violation of such rules would deprive a criminal defendant

of his federal constitutional rights.

        517.    The well-established rules regarding prosecutorial conduct prohibited prosecutors

from making false or misleading factual assertions or arguments, making arguments calculated to

distract the jury by appealing to its prejudices and emotions, or arguing “facts” or “evidence”

that were not in the record.

        518.    The prosecutors handling the prosecution of Mr. Walker violated these rules.

        519.    As set forth above, the prosecutors of Mr. Walker relied on false or misleading

evidence and argument to cause a judge to find probable cause to continue the prosecution at a



                                                - 68 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page73 of of
                                                                   192  103347




preliminary hearing and to keep Mr. Walker in jail, to deceive a grand jury into voting to indict

Mr. Walker and the other defendants, and to convict Mr. Walker at trial.

         520.   They suppressed from the court, the grand jury, the trial jury, and, of course, from

the defense, evidence that proved that the witnesses against Mr. Walker were lying or not

credible, that police had coerced them into lying, that a known third party was likely to have

committed the crime, and that similar crimes had been committed in the area after Mr. Walker

had been taken into custody.

         521.   Had this evidence been timely disclosed, Mr. Walker would have been released

early in the proceedings and ultimately would have achieved a more favorable outcome to his

trial.

         522.   Thereafter, prosecutors at the ECDA, reflecting the Office’s ongoing indifference

to Brady violations, successfully opposed Mr. Walker’s motions to overturn his conviction by

misleading the courts about whether specified items had been disclosed at trial and whether such

items were favorable to the defense under Brady at all.

         523.   This behavior prolonged for many years Mr. Walker’s imprisonment as well as

the deep restrictions upon his liberty as a parolee.

         524.   Individually and collectively, the above misconduct deprived Mr. Walker of his

constitutional rights to due process and a fair trial and to be free from unreasonable seizure and

was a substantial cause of Mr. Walker’s constitutional injuries.

         525.   Individually and collectively, these violations of Mr. Walker’s constitutional

rights were directly, foreseeably, proximately, and/or substantially caused by the unlawful

policies, customs, or practices of the ECDA as well as by the deliberate indifference of




                                                - 69 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page74 of of
                                                                  193  103347




policymakers at that office, acting on behalf of the Defendant County, to the occurrence of such

constitutional violations.

        526.    Under the principles of municipal liability for federal civil rights violations, at all

relevant times, the District Attorney or his authorized delegates had final managerial

responsibility for establishing lawful policies of the office and for training, instructing,

supervising, and disciplining attorneys and other employees of the ECDA regarding their

constitutional obligations.

        527.    Nevertheless, at the time of Mr. Walker’s trial, the ECDA maintained unlawful

policies, customs, or practices, and was indifferent to violations of fair trial rights, all of which

were a substantial cause of the violations of his constitutional rights and to his damages.

        528.    Specifically, first, the ECDA had an unlawful policy, custom or practice of

impermissibly limiting its obligation to disclose Brady material to the defense to include only

truly “exculpatory”—rather than favorable—material. This baseless narrowing of the Brady

doctrine’s scope, which encompasses not only exculpatory material but also all other information

favorable to the defense, such as impeachment evidence and evidence identifying alternate

perpetrators of the crime, deprived criminal defendants of their constitutional right to a fair trial.

        529.    Second, the ECDA had an unlawful policy not to disclose Brady material to the

defense, the court, or the grand jury at the preliminary hearing, bail hearing, and grand jury

stages of a case, thereby deceiving fact finders about the strength of the prosecution’s case and

causing criminal defendants to be unfairly and unreasonably deprived of their liberty.

        530.    Third, the ECDA had an unlawful policy, custom or practice of not disclosing

evidence favorable to the defense, even exculpatory evidence, for use at trial unless the defense

specifically requested it, and then often did not disclose it anyway.



                                                 - 70 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page75 of of
                                                                  194  103347




         531.   Fourth, the ECDA had an unlawful policy, custom or practice to not disclose

impeachment information contained in the prior recorded statements of prosecution witnesses

until after such witnesses completed their direct examination at trial, thus making it difficult, if

not impossible, for the defense to investigate the information, incorporate it into counsel’s

opening statement and overall defense strategy, and plan an effective cross-examination.

         532.   Fifth, the ECDA had an unlawful policy, custom or practice of not disclosing

police reports containing information favorable to the defense obtained from witnesses who were

not called by the prosecution to testify.

         533.   Sixth, the ECDA had a policy, custom or practice for prosecutors, especially in

high-profile cases, to make inflammatory, misleading, and even false summations that violated

the aforementioned, well-established rules of behavior and which, like Brady violations,

deprived criminal defendants such as Mr. Walker of their constitutional right to a fair trial.

         534.   Indeed, prosecutors would give summations that were false or misleading

precisely because they contradicted evidence that the same prosecutors had suppressed under

Brady.

         535.   Finally, seventh, the ECDA had a policy, custom or practice of continuing to

withhold Brady material when faced with post-trial motions by a defendant challenging the

lawfulness of his conviction, thereby prolonging the defendant’s imprisonment.

         536.   The District Attorney and his designees, as policymakers for the ECDA and the

County, encouraged such violations to occur through their policy of deliberate indifference to

them.




                                                - 71 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page76 of of
                                                                  195  103347




        537.    At all relevant times, the ECDA had no prosecution manual or other written rules

or procedures regarding Brady and Rosario disclosure or trial advocacy, including summation

behavior.

        538.    At all relevant times, the ECDA had no employee handbook, manual, or other

document setting forth any disciplinary process for prosecutorial misconduct, or potential

sanctions for them, nor was any such process made known to employees in some other manner

as a deterrent to such misconduct.

        539.    At all relevant times, even though the District Attorney knew or should have

known that prosecutors on his staff, including the most experienced prosecutors handling the

ECDA’s most important cases, were committing constitutional violations that deprived criminal

defendants of their constitutional right to a fair trial, he did not supervise, or require supervision

of, prosecutors in connection with such functions.

        540.    He and his designees kept no record of misconduct by individual prosecutors.

        541.    He neither investigated nor disciplined prosecutors who violated rules designed to

protect the fair trial rights of criminal defendants.

        542.    He did not train prosecutors in such functions, even when he became aware or

should have been aware of appellate decisions that showed the ECDA’s policies, customs or

practices were unlawful.

        543.    The knowledge among ECDA prosecutors that there would be no personal

consequence for them if they violated the due process and fair trial rights of criminal defendants

encouraged prosecutors, including the prosecutor handling Mr. Walker’s case, to believe that

such violations would go unpunished.




                                                 - 72 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page77 of of
                                                                  196  103347




        544.    The District Attorney’s policy, custom, and/or practice of approval, ratification of,

or deliberate indifference to, violations by ECDA prosecutors of their constitutional obligations

to afford criminal defendants a fair trial foreseeably encouraged such violations to continue.

        545.    Just four years before Mr. Walker’s prosecution was initiated, in Giglio v. United

States, 405 U.S. 150 (1972), the United States Supreme Court held that a prosecutor’s office is

responsible for disclosing impeachment evidence known to members of the office even if the

trial prosecutor in the given case is not aware of such evidence.

        546.    The same rule applied to evidence known to police detectives who worked on the

case.

        547.    In the same decision, the Court advised district attorneys to adopt office-wide

information-management systems to keep track of impeachment evidence to make sure that the

assigned prosecutor would learn about it and disclose it.

        548.    Nevertheless, the ECDA adopted no system of checklists, receipts, or other

procedures to ensure that all investigative records of the BPD would be made available to the

assigned prosecutor so that he could fulfill his Brady obligations.

        549.    The absence of any such procedures created the predictable risk that, in a case like

Mr. Walker’s, police records containing evidence favorable to the defense would not be obtained

or disclosed.

        550.    In United States v. Agurs, 427 U.S. 97 (1976), handed down while Mr. Walker’s

case was awaiting trial, the United States Supreme Court explicitly held that prosecutors are

required under Brady to disclose information favorable to the defense regardless of whether the

defense had specifically requested such disclosure.




                                               - 73 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page78 of of
                                                                  197  103347




       551.     This decision made clear that the ECDA policy, custom, or practice to withhold

such material absent a specific request was unconstitutional, yet the District Attorney failed to

train prosecutors about this decision or make clear that the policy, custom, or practice of the

office in this regard had to change.

       552.    As a result, Mr. Walker’s prosecutors, and the prosecutors involved in handling

the trials of Messrs. Gibson, Boyd and Martin, did not disclose evidence favorable to the defense

unless it was specifically requested in a discovery motion or, under the ECDA’s overly

restrictive view of the state Rosario obligation, had to be disclosed as a witness’s formal, signed,

prior-recorded statement.

       553.    Court decisions before, during, and immediately after Mr. Walker’s trial revealed

the misunderstanding of ECDA prosecutors regarding their Brady and related Rosario

obligations and the ECDA’s policy, custom, and practice to apply Brady and Rosario in an

overly narrow manner.

       554.    In People v. Anderson, 25 A.D.2d 602 (4th Dept. 1966), the Appellate Division

unanimously reversed a defendant’s felony assault conviction because of the prosecution’s

failure to disclose the testimony of the complainant and a second witness before a separate grand

jury investigating a second defendant’s involvement in the same incident.

       555.    In People v. Kampshoff, 53 A.D.2d 325, 332 (4th Dept. 1976), the Appellate

Division did not reverse, but it noted that—as in Mr. Walker’s case—the prosecution had failed

to disclose a key witness’s statements recorded in police reports.

       556.    In People v. Mitchell, 99 Misc.2d 332 (Sup. Ct., Erie Co. 1979), a Supreme Court

justice had to order the ECDA to disclose grand jury testimony where there was “no question”

that it was “exculpatory.”



                                               - 74 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page79 of of
                                                                  198  103347




       557.    The court warned that “compliance with Brady cannot be made with clue-

dangling or gamesmanship in place of full disclosure.” Id. (quoting People v. Bottom, 76

Misc.2d 525, 529 (Sup. Ct., N.Y. 1974)).

       558.    In People v. Cadby, 75 A.D.2d 713 (4th Dept. 1980), the Appellate Division held

that the prosecution had impermissibly withheld the prior statement of a key witness, the

complainant, recorded in a police report, evidently—as in Mr. Walker’s case—because it was not

a signed statement.

       559.    The prosecution waited to disclose the statement until the defense elicited its

existence from the prosecution’s last witness, the police officer who had recorded it—too late to

use it to cross-examine the declarant. The Appellate Division remanded the case for a hearing

into how prejudicial the error was to the defendant’s right to a fair trial.

       560.    In Matter of Potenza v. Kane, 79 A.D.2d 467 (4th Dept. 1981), a mistrial had to be

declared because of the trial prosecutor’s apparent negligence in failing to disclose a tape

recording of the defendant.

       561.    In People v. Clark, 89 A.D.2d 820 (4th Dept. 1982), the Appellate Division did

not reverse due to lack of sufficient prejudice, but it noted that the prosecution did not disclose

exculpatory material until near the close of the People’s direct case.

       562.    That the policy of the ECDA at the time of Mr. Walker’s trial was to achieve

convictions at any cost and to tolerate, if not encourage, misconduct is shown by various

circumstances that include, but are not limited to:

               (a)     the promotion of prosecutors to executive positions, and to handle the

                       most significant of the office’s trials, who had a reputation for and a

                       history of such misconduct;



                                                 - 75 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page80 of of
                                                                  199  103347




               (b)     the failure to adopt or utilize any manuals, rules, procedures, or training to

                       prohibit or prevent such misconduct; and

               (c)     the failure to take any disciplinary action when prosecutors committed

                       misconduct or were found by courts to have done so.

       563.    This policy of deliberate indifference created an anything-goes or winning-is-

everything mentality that was a substantial cause of the constitutional violations in Mr. Walker’s

case and his resultant injuries.

       564.    The District Attorney’s blind eye to outrageous behavior by one of the county’s

most well-known prosecutors, ADA Albert M. Ranni, set the tone for the ECDA and revealed

the DA’s indifference to misconduct similar to that which led to Mr. Walker’s conviction.

       565.    Mr. Ranni was notorious in the Buffalo criminal justice community for his

overzealous and improper tactics.

       566.    Nevertheless, the DA assigned him some of the most important cases in the

office, appointed him chief of the felony bureau in 1973, and then promoted him to deputy DA in

charge of prosecutions in 1982.

       567.    His promotions and continuation as a high-level executive occurred

notwithstanding his history of misconduct and a series of extraordinarily harsh court decisions

condemning it.

       568.    While Mr. Walker’s prosecution was pending in 1976, Mr. Ranni used

pervasively improper tactics to obtain the conviction of a completely innocent man, J. L. Ivey, on

three counts of murder and two counts of first-degree robbery.

       569.    Mr. Ranni brought the case based upon patently improper eyewitness

identifications by witnesses to whom the police repeatedly showed Mr. Ivey’s photograph, even



                                               - 76 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page81 of of
                                                                  200  103347




after they initially failed to recognize him and even though they had given descriptions of the

perpetrator that did not fit Mr. Ivey’s appearance.

          570.   In overturning the conviction, the Appellate Division, in a unanimous decision by

five justices, deplored Mr. Ranni’s behavior throughout the trial. See People v. Ivey, 83 A.D.2d

788 (4th Dept. 1981).

          571.   It wrote that “the record is replete with numerous and repeated acts of improper

and prejudicial conduct … which deprived the defendant of a fair trial.”

          572.   Writing that it would discuss just a few of Mr. Ranni’s many acts of misconduct,

the court noted that he repeatedly offered into evidence, in front of the jury, clearly inadmissible

composite sketches that the court had ordered to be excluded, then made a “highly improper”

argument to the jury “insinuat[ing] that the court’s ruling unfairly precluded him” from offering

such evidence.

          573.   The court “condemn[ed] the prosecutor’s inflammatory and prejudicial opening

statement and summation,” which tried to scare the jury that an acquittal “would mean that the

‘murderer goes free,’” as well as his remarks to the jury implying “that he knew some things

about the case he wished that they knew …”

          574.   The court also “condemned” the prosecutor’s “attempts in his summation to inject

sympathy for the victim” and his “disparagement” of the defendant’s alibi witnesses and his

lawyer.

          575.   Following the reversal of Mr. Ivey’s conviction, new evidence emerged that

someone else committed the crime, and he was fully acquitted at his retrial.




                                                - 77 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page82 of of
                                                                  201  103347




       576.    Thereafter, the New York Court of Claims, finding by clear and convincing

evidence that Mr. Ivey was innocent, awarded him substantial damages for the unjust conviction

that Mr. Ranni’s misconduct had brought about.

       577.    There was no negative consequence to Mr. Ranni even though his egregious

misconduct had caused the conviction, and years of imprisonment, of an innocent man, and cost

the taxpayers the expense of a civil settlement.

       578.    In 1977, the year that Mr. Walker and his three friends were all tried for the

Crawford Murder, Mr. Ranni used similar tactics to gain the conviction of Kenneth Johnson for

robbery and rape.

       579.    On appeal, all five justices of the Appellate Division condemned Mr. Ranni’s

behavior. See People v. Johnson, 62 A.D.2d 555 (4th Dept. 1978).

       580.    In a rare rebuke, the majority opinion of three justices called out Mr. Ranni by

name in expressing their “concern with misconduct of Mr. Ranni throughout the trial” while

warning, in an apparent indirect reference to the County, that “unadulterated unfairness and

deceit have become the rule.”

       581.    The majority did not reverse the conviction because of the overwhelming

evidence of the defendant’s guilt, but in the dissenting opinion by Justice Hancock, he and

Justice Witmer detailed the misconduct by Mr. Ranni that had disturbed the entire court.

       582.    Justice Hancock wrote that “the record is … permeated with acts of improper,

overreaching and prejudicial conduct by the prosecuting attorney …”

       583.    Justice Hancock recorded his and Justice Witmer’s “particular disapproval” of

Mr. Ranni accusing the defense of having “sugared up,” “staged,” and “rehearsed” the testimony

of defense witnesses. They condemned as “highly improper” his having accused the defendant



                                               - 78 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page83 of of
                                                                   202  103347




of lying when he pleaded not guilty to unrelated charges—a formal process that occurs in

virtually every criminal case—only to later admit guilt, and then argued in summation that the

defendant’s not guilty plea in the case at hand was similarly false:

        “Now, the mere assertion of innocence isn’t proof. You know now that this
        assertion, this claim is often made by guilty people to avoid justice. The
        defendant himself raised this claim on prior occasions: other crimes—not rape
        crimes—other crimes; pleaded not guilty.”

        584.    Justice Hancock disapproved of the prosecutor’s tactics “in asking irrelevant

questions of the defendant … which were obviously asked for their prejudicial effect,” such as

whether he remembered admitting to a judge in an unrelated case that he had “called the

arresting officer … a ‘motherfucker,’” and portraying the defendant as a “hard drug traffic[ker]”

through repetitive questioning distorting his involvement in small marijuana sales.

        585.    Finally, Justices Hancock and Witmer condemned Mr. Ranni for deriding defense

counsel by calling him “Dr. Hocus Pocus” and saying that “the D.A. is not going to prosecute for

perjury” because defense counsel’s arguments had not been made under oath.

        586.    Summing up, Justice Hancock wrote:

        From the record there clearly emerges the picture of an overbearing prosecutor
        obsessed with the idea of obtaining a conviction at any costs, ignoring the court’s
        rulings, deliberately asking improper and prejudicial questions, and engaging in
        unpardonable efforts in comments during the trial and in summation to disparage
        defense counsel and destroy his credibility with the jury.

        587.    Subsequently, Federal District Judge John Elfvin, in Johnson v. Smith, CIV 81-

329E, issued a rare grant of federal habeas corpus relief, vacating the defendant’s conviction

because Mr. Ranni’s pervasive misconduct had violated his federal constitutional right to due

process and a fair trial.

        588.    Significantly, the court noted that the District Attorney’s Office had conceded that

Mr. Ranni’s conduct had been “improper.”


                                               - 79 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page84 of of
                                                                  203  103347




         589.   Notwithstanding these decisions and his acknowledgment of Mr. Ranni’s

misconduct, the District Attorney permitted Mr. Ranni to continue to handle the most notorious

cases the office prosecuted, unrestrained by basic rules of fairness, and promoted him to Deputy

DA in charge of prosecutions.

         590.   In the famous multiple-murder prosecution of Pvt. Joseph Christopher in the mid-

1980s, the Appellate Division affirmed the manslaughter conviction because of overwhelming

evidence of guilt but refused to “condone” Mr. Ranni’s behavior. People v. Christopher, 170

A.D.2d 1020 (4th Dept. 1991). Noting that the State had conceded his misconduct, the court

wrote:

         [T]he Trial Assistant engaged in inappropriate and improper conduct during his cross-
         examination of a defense psychiatrist, his direct examination of the People's psychiatrist,
         and on summation. The Trial Assistant, whose misconduct has resulted in at least one
         reversal of a murder conviction by this Court (see, People v. Ivey, 83 A.D.2d 788),
         consistently referred to matters not in evidence, made himself an unsworn witness,
         flouted rulings by the trial court on evidentiary matters, and made flippant remarks which
         detracted from the seriousness of the proceedings.

         591.   Other prosecutors in the office, including in Mr. Walker’s case, engaged in

misconduct similar to Mr. Ranni’s both before and immediately after Mr. Walker’s trial.

         592.   The conduct, as well as the court decisions noting it, demonstrated the existence

of unlawful policies, customs, and practices; the DA’s failure to take any disciplinary or other

remedial action showed the ECDA’s policy of deliberate indifference to such misconduct.

         593.   In People v. Moore, 26 A.D.2d 902 (4th Dept. 1966), the Appellate Division

reversed the conviction and required a new trial because the prosecutor, during his summation,

improperly commented on the defendant’s exercise of his constitutional right to remain silent

and “exceeded proper limits in telling the jury that if they wanted to live in a community where

crime runs rampant they should acquit the defendant.”



                                                - 80 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page85 of of
                                                                  204  103347




       594.    In People v. Slaughter, 28 A.D.2d 1082 (4th Dept. 1967), the court reversed a

murder conviction after the prosecutor, ridiculing the defendant’s insanity defense, stated falsely

in summation that if the defendant was acquitted, he would be “on the streets again within 30

days,” decried permissive societal attitudes, urged the jury not to “extend to the Henry Slaughters

of the world the license to strike out and kill … or are you going to call them to task? Are you

going to protect, finally here, … the rights of the community in which you live.”

       595.    In People v. Zachery, 31 A.D.2d 732 (4th Dept. 1968), the Appellate Division

reversed a robbery conviction due to the “prejudicial conduct of the prosecutor in calling to the

witness stand a co-defendant with advance knowledge that he was going to invoke the privilege

against self-incrimination and refuse to answer questions” and the “impropriety” in eliciting the

out-of-court statement of a co-defendant incriminating the defendant.

       596.     In People v. Washington, 32 A.D.2d 605 (4th Dept. 1969), the Appellate Division

reversed a robbery conviction where the prosecutor improperly cross-examined the defendant

repeatedly whether he had twice kicked a police officer in the groin, in an improper effort “to

persuade the jury that defendant was an habitual groin kicker.”

       597.    In People v. Damon, 24 N.Y.2d 256 (1969), the Court of Appeals reversed a child

sexual assault conviction because an Erie County prosecutor in summation argued that the

defendant was “a homosexual or deviate,” improperly vouched for the police while personally

attacking defense counsel, falsely argued prejudicial “facts” that were not in evidence, and made

inflammatory remarks to the jury about the nature of the crime.

       598.    In People v. Cardinale, 35 A.D.2d 1073 (4th Dept. 1970), although the defendant

was charged only with criminal contempt, the court reversed the conviction because of the




                                               - 81 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page86 of of
                                                                  205  103347




prosecutor’s “highly prejudicial” opening statement that the grand jury had heard evidence that

the defendant, police officers, and public officials had been involved in a gambling conspiracy.

       599.    In People v. Reingold, 44 A.D.2d 191 (4th Dept. 1974), the Appellate Division

reversed a burglary conviction because the prosecutor, in bad faith, cross-examined the

defendant to show he had a criminal propensity in a manner that was “so improper and

inflammatory that it made an impartial consideration of the competent evidence adduced at trial

virtually impossible.”

       600.    In People v. Ketchum, 35 N.Y.2d 740 (1974), the Court of Appeals noted

“grievous misconduct by the prosecution in cross-examination and summation which we

strongly condemn.”

       601.    In People v. Greer, 49 A.D.2d 297, 303-04 (4th Dept. 1975), the court reversed a

rape conviction because of the prosecutor’s “improper” cross-examination of the defendant

impermissibly intended to show his criminal propensity.

       602.    In People v. Donaldson, 49 A.D.2d 1004 (4th Dept. 1975), the Appellate Division,

in reversing the conviction, condemned the prosecutor for arguing improper inferences from

hearsay evidence, improperly arguing a negative inference against the defendant for exercising

his constitutional right not to testify, and for his “entirely improper and prejudicial” urging of the

jury to credit the testimony of a prosecution witness with a long criminal record because the

grand jury had believed him.

       603.    In People v. Balsano, 51 A.D.2d 130 (4th Dept. 1976), the court reversed a

conviction for unlawful imprisonment where, among other things, the prosecutor improperly

questioned the defendant about criminal conduct not related to his credibility, improperly elicited

that he had a pending charge, improperly asked the jury to draw a negative inference from the



                                                - 82 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page87 of of
                                                                   206  103347




defendant’s failure to call a witness, and repeatedly forced the defense to object to

“inflammatory” remarks, causing the trial judge to “properly admonish[] the prosecutor.”

        604.   In People v. Weston, 51 A.D.2d 881 (4th Dept. 1976), the Appellate Division

reversed a conviction for burglary, rape, and robbery because the prosecutor cross-examined the

defendant in bad faith about his criminal propensity. The court also agreed with the defendant’s

condemnation of the prosecutor’s “inflammatory and intimidating” remarks in summation and

admonished him not to “put his personal credibility behind his statements and make himself an

‘unsworn witness.’”

        605.   In People v. Mordino, 58 A.D.2d 197 (4th Dept. 1977), the Appellate Division

reversed a high-profile, organized crime related murder conviction obtained in 1975 because,

among other things, the prosecutor gave an “inflammatory” summation during which he

improperly castigated the defendants as “vultures” and argued their guilt by association (“if you

walk like a duck and you talk like a duck and you keep the company of ducks then you are a

damn duck”).

        606.   In Robinson v. Smith, 451 F. Supp. 1278 (W.D.N.Y. 1978) (Curtin, C.J.), a federal

court vacated a murder conviction that the ECDA obtained through its knowing use of a

confession that Buffalo police coerced from a suspect by falsely claiming an accomplice had

confessed “in an obvious effort to trick him into implicating himself and others. This police

practice is to be soundly condemned. Such deception clearly has no place in our system of

justice.”

        607.   In People v. Keller, 67 A.D.2d 153 (4th Dept 1979), the Appellate Division

unanimously reversed an assault and weapons conviction due to pervasive misconduct by an

ECDA prosecutor.



                                               - 83 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page88 of of
                                                                  207  103347




       608.    In an unanimous opinion by five justices, the Keller court condemned the

prosecutor for his “egregious errors” and “grossly improper remarks” in repeatedly referring to

the defendant and his witnesses as liars, repeatedly expressing his personal opinion about

witnesses’ credibility, implying in summation there was a lie detector test and other evidence the

jury had been prevented from hearing, and making various “irrelevant and inflammatory”

remarks which, in their totality, “patently deprived the defendant of a fair trial… .”

       609.    In People v. King, 72 A.D.2d 930 (4th Dept. 1979), the Appellate Division, while

reversing an attempted robbery conviction because of the misconduct of the trial judge, noted

that the prosecutor joined him in some of it, including holding ex parte “conferences … outside

of the presence of defense counsel.”

       610.    In Matter of Potenza v. Kane, 79 A.D.2d 467, 472 (4th Dept. 1981), while

refusing, following a mistrial, to bar a second trial on the basis of pervasive prosecutorial

misconduct, the Appellate Division noted that many of the defense counsel’s objections to the

prosecutor’s improper opening statement had been sustained and the court had “minimized the

possible prejudice by admonishing the prosecutor before the jury.” The Appellate Division also

noted that it did not “condone” the prosecutor’s repeated failure to follow the court’s warning

against leading questions.

       611.    In People v. Terry, 83 A.D.2d 491 (4th Dept. 1981), the Appellate Division

reversed a robbery conviction in part because of the prosecutor’s “totally improper” argument

that the jury should hold against the defendant his failure to produce to testify as an alibi witness

a government employee whose identity was unknown to him.

       612.    In People v. Mordino, 83 A.D.2d 775 (4th Dept. 1981), the court declined to

reverse a murder conviction for prosecutorial misconduct, but only because defense counsel did



                                                - 84 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page89 of of
                                                                  208  103347




not object to many of the improper questions, where the defense did object the court gave

“curative” instructions to prevent prejudice, and the conduct was not “egregiously improper …

as would warrant a reversal” (emphasis added).

       613.    In People v. Vance, 89 A.D.2d 347 (4th Dept. 1982), the Appellate Division

reversed a robbery conviction because the prosecutor acted as an investigator and then asked the

jury to credit his personal investigative findings over the defense case. The court concluded: “In

a case such as this where credibility is the only issue, a prosecutor who oversteps the bounds of

legitimate advocacy and makes himself an ‘unsworn witness’ against the defendant affects the

fairness of the trial and unduly prejudices the defendant.”

       614.    In People v. Herlan, 99 A.D.2d 647 (4th Dept. 1984), the court reversed a burglary

conviction because the prosecutor repeatedly questioned the defendant during cross-examination

about “why would a police officer of sixteen years risk his pension to perjure himself in court

over you? Any reason?” and made similar improper arguments during summation.

       615.    In People v. Grafton, 115 A.D.2d 952 (4th Dept. 1985), the Appellate Division

affirmed an order dismissing a rape indictment because the prosecutor, in the grand jury,

“introduced irrelevant and prejudicial evidence … , intimidated witnesses whose testimony

would have been helpful to defendant, asked witnesses irrelevant and improper questions of a

highly personal nature in an effort to embarrass them, and deliberately confused and deceived

witnesses and the Grand Jury by selective presentation of evidence.”

       616.    The misconduct of three different homicide prosecutors during the four trials

related to the Crawford Murder further showed the existence of unlawful policies, customs, and

practices at the ECDA regarding Brady disclosure, the use of false, misleading, and




                                               - 85 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page90 of of
                                                                  209  103347




inflammatory evidence and argument to deny criminal defendants their right to a fair trial, and

the District Attorney’s tolerance of such unlawful behavior.

       617.    The first of Mr. Walker’s co-defendants to be tried was Darryn Gibson, who was

brought to trial on January 10, 1977.

       618.    Prior to his trial, Mr. Gibson’s defense counsel made only a general request that

the ECDA produce all Brady material but did not make specific requests such as for photographs

or witness statements favorable to the defense.

       619.    ADA Timothy Drury prosecuted Messrs. Gibson and Boyd at trial.

       620.    He was one of the District Attorney’s top trial prosecutors who handled some of

the ECDA’s most important cases.

       621.    Thus, his pervasive misconduct in the Gibson and Boyd prosecutions is highly

probative of the unlawful policies, customs, practices and behavior that the District Attorney

approved of or consciously tolerated.

       622.    Consistent with the policies, procedures, practices, and/or customs of the ECDA,

ADA Drury, with regard to the Gibson trial:

               (a)    did not turn over any statements, reports, photographs, or other

                      documentary evidence, favorable to the defense under Brady, in advance

                      of the trial;

               (b)    only disclosed the formal, sworn statements in question-and-answer

                      format of testifying witnesses, but not oral statements summarized in

                      police reports, even where such statements were exculpatory or

                      impeaching;




                                              - 86 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page91 of of
                                                                  210  103347




               (c)     did not disclose statements until the end of each witness’s direct

                      examination, which deprived defense counsel of the ability to investigate

                      the information, to integrate it into a defense strategy, to use it during his

                      opening statement, or to fully prepare to use it during his cross-

                      examination of the witness;

               (d)    did not disclose the statements of non-testifying witnesses that were

                      favorable to the defense; and

               (e)     only disclosed the photographs and other items of evidence that the

                      prosecution used in its direct case, but not other photographs that tended to

                      contradict the prosecution’s case.

       623.    During the Gibson trial, Mr. Gibson’s defense counsel became aware through

cross examination of Larry Watson that this witness had given another statement to the BPD,

which ADA Drury had not disclosed and pressed for disclosure of the report that summarized

such statement.

       624.    Rather than agree to provide it, ADA Drury initially suggested that the defense,

by not having previously requested the report, had waived any right to disclosure, even though

the defense had not known about it.

       625.    Continuing to resist disclosure, he said further that, before agreeing to disclose the

police report, he would have to check with his office’s appellate section.

       626.    However, the court directed him to make disclosure.

       627.    ADA Drury then belatedly disclosed to Mr. Gibson’s defense counsel a single

police report summarizing one of Mr. Watson’s prior statements, but not all of Mr. Watson’s




                                               - 87 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page92 of of
                                                                  211  103347




prior statements, even though the undisclosed statements contradicted his trial testimony and

tended to incriminate him in the murder itself.

       628.    Nor did ADA Drury disclose the statements of other witnesses tending to

implicate Mr. Watson in the murder.

       629.    Even as to the statement he did disclose, it was too late for defense counsel to

incorporate the information into his overall defense theory or even to utilize it during cross-

examination: Mr. Watson already had completed his testimony.

       630.    Caught having failed to disclose statements in police reports that were not in

question-and-answer form and under oath, ADA Drury then belatedly disclosed additional police

reports dated February 11, 1976, containing the unsigned statements of Messrs. Woodruff and

Hough on that date, and the police report containing the exculpatory statement of Shirley Floyd

that the boys were playing cards at her apartment the night of the Crawford Murder.

       631.    He acknowledged that these reports likely constituted Brady material.

       632.    He blamed his late disclosure of them on his having only just received them from

the BPD, even though the case had been pending for a year.

       633.    However, ADA Drury did not disclose the rest of the Brady material in his and/or

the BPD’s possession contradicting or impeaching Messrs. Woodruff and Hough, showing the

coercive behavior of the detectives, and inculpating third party suspects Larry Watson and

Jerome Boyd.

       634.    After the trial, he took all witness statements back, making sure they would not be

disclosed to Mr. Gibson’s co-defendants.

       635.    During his summation, ADA Drury, despite his knowledge of the fundamental

rules regarding advocacy, violated most of them.



                                               - 88 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page93 of of
                                                                  212  103347




       636.    He misrepresented that Mr. Woodruff was questioned about the murder and

admitted his participation in the presence of his father and his minister, when in fact, undisclosed

police reports showed the young man had been coercively interrogated on January 12, 1976,

alone, for hours.

       637.    He falsely represented that Mr. Woodruff’s questioning “never occurred under

police pressure.”

       638.    He falsely represented that “all the paper work and everything else concerned

with this was furnished to this defense counsel,” even though he knew, or should have known,

that numerous police documents had been withheld from the defense, including reports that were

obviously favorable to the defense under Brady.

       639.    He argued to the jury the truthfulness of Mr. Watson’s testimony that Mr. Watson

had run to his home, abandoning Mr. Crawford because he had seen the door to his house open,

without disclosing Mr. Watson’s inconsistent statements on this issue and any of the additional

witness statements circumstantially inculpating Mr. Watson in the murder itself.

       640.    Mr. Gibson was convicted of second-degree murder on January 21, 1977.

       641.    When Mr. Boyd was then brought to trial in April 1977, before an all-white jury,

ADA Drury handled that trial as well.

       642.    Prior to Mr. Boyd’s trial, Mr. Boyd’s defense counsel, Mark Hulnick, requested

that the ECDA permit him to examine the case file and produce all Brady material to him.

       643.    Despite these requests, ADA Drury did not disclose dozens of pieces of evidence

favorable to the defense in advance of or even during trial. This evidence included, but is not

limited to, the documents and information described in ¶¶ 132 and 356, supra.




                                               - 89 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page94 of of
                                                                  213  103347




       644.    Consistent with the ECDA’s policy, procedure, practice, and/or custom of

impermissibly narrowing the scope of its Brady obligations to include only truly “exculpatory”—

rather than all favorable—material, ADA Drury failed to disclose any evidence he did not deem

“exculpatory,” including evidence that impeached the prosecution’s key witnesses; evidence that

pointed to other suspects as perpetrators of the crime; and evidence regarding the second murder,

which took place across the street from the Golden Nugget when Mr. Boyd was incarcerated.

       645.    Also consistent with the policies, procedures, practices, and/or customs of the

ECDA, the only materials ADA Drury turned over to the defense were the exhibits the

prosecution entered into evidence or marked for identification, including some of the crime scene

photographs, as well as the formal, sworn statements in question-and-answer format of testifying

witnesses.

       646.    These witness statements were not disclosed until after each witness had

completed his or her direct examination.

       647.    This late disclosure deprived defense counsel of the opportunity to investigate the

information, to incorporate it into his opening statement or a theory of defense, and to fully

prepare to utilize it during cross-examination of the witness.

       648.    ADA Drury did not disclose to the defense statements of the prosecution’s

witnesses that were unsigned by the witnesses and instead merely summarized in police reports,

despite his absolute duty to do so under the New York State Rosario rule as well as the

requirements of Brady.

       649.    Nor did he disclose any statement by any witness whom the prosecution did not

call to testify, even where it was favorable to the defense.




                                                - 90 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page95 of of
                                                                  214  103347




        650.      The prosecution disclosed no handwritten notes taken by any detective at any time

during the investigation and also failed to disclose that handwritten notes had been destroyed.

        651.      The prosecution presented no physical or forensic evidence tying Mr. Boyd (or

any of the other defendants) to the crime.

        652.      Its case was based on the false testimony of Messrs. Woodruff and Hough,

together with testimony by Detective Guadagno, based upon his own false report, that Mr. Boyd

had made inconsistent statements concerning the timing of when he returned home the night of

the murder.

        653.      The failure of the prosecution to disclose the aforementioned Brady material also

severely handicapped Mr. Boyd’s counsel’s attempt to contradict or impeach the critical

testimony of Messrs. Woodruff and Hough, and it deprived Mr. Boyd of his constitutional right

to present a defense that someone else had committed the crime.

        654.      During his summation, Mr. Hulnick, without the benefit of the suppressed police

reports and information, nevertheless argued, from inconsistencies in Mr. Woodruff’s story, that

law enforcement authorities had pressured him to change his story and indoctrinated him.

        655.      Even though this assertion was true, ADA Drury angrily objected, “These are

wild allegations, there is no proof of it.”

        656.      During his closing argument, ADA Drury urged the all-white jury to credit Mr.

Woodruff even though, or perhaps because, he was a “ghetto kid… a kook … an idiot, a nitwit,”

and a “blithering idiot.”

        657.      In fact, Mr. Woodruff was, and is, a highly intelligent man—a far cry from “a

nitwit” or “a blithering idiot”—whose halting testimony resulted from the fact that he had been

coerced to lie.



                                                - 91 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page96 of of
                                                                   215  103347




        658.    ADA Drury’s argument was a thinly disguised emotional appeal to the racial

prejudices of the all-white jury.

        659.    ADA Drury contended that Mr. Woodruff initially lied when denying any

knowledge of the crime, but then came back voluntarily with his father to confess at least some

of the truth.

        660.    This argument was contradicted by the undisclosed police reports documenting

that Mr. Woodruff was picked up, taken back to BPD Headquarters, and coercively interrogated

for hours, without any family member being present, before he changed his story.

        661.    ADA Drury contended that the police had to work through Mr. Boyd’s friends

because they didn’t have any other evidence of how the Crawford Murder was committed.

        662.    However, this was not true: The BPD had substantial evidence, undisclosed to

the defense, obtained from numerous witnesses at the Golden Nugget and Mr. Watson’s

neighbors, implicating Mr. Watson, and additional independent evidence implicating Jerome

Boyd.

        663.    ADA Drury told the jury that “[t]he police turned over everything they had to

you.”

        664.    This was untrue: The BPD had gathered a great deal of evidence implicating

other suspects and contradicting the prosecution’s case, but this evidence had not been disclosed

to the defense or the jury.

        665.    ADA Drury told the jury: “I would absolutely reject, if I were to make this

argument to you, any suggestion, any beliefs [that] the police or our office or myself had

anything to do with changing Tyrone’s testimony or making it fit any pattern.”




                                              - 92 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page97 of of
                                                                  216  103347




       666.     This statement, too, was proven untrue by the undisclosed police reports of

January 12, 1976, concerning the anonymous phone call, and of February 11, 1976, revealing

that detectives, supposedly orchestrated by ADA Drury, had gone from Mr. Hough to Mr.

Woodruff to harmonize their new accounts.

       667.     Any allegation of a “conspiracy” to fabricate evidence, he said, was “absolutely

ridiculous,” even though the above undisclosed evidence showed it was true.

       668.     Contrary to fundamental rules governing courtroom advocacy, ADA Drury

personally vouched for the integrity of the investigation and prosecution, and for Mr. Woodruff’s

truthfulness.

       669.     Again, appealing to the all-white jurors’ possible racial prejudice, ADA Drury

argued that Mr. Woodruff was “hapless, stupid, but we are asking you to believe him.”

       670.     While telling the jury that his personal beliefs did not matter, ADA Drury still

told them, “I believe him.”

       671.     ADA Drury misleadingly stated that the BPD had found “no footprints on either

side of that house so that nobody jumped the yard. Woodruff said they went out the same way

they came.”

       672.     This argument was misleading since the BPD had documented in a crime scene

photograph, which had been suppressed from the defense, footprints leading from the backyard

of Mr. Crawford’s house towards Mr. Watson’s house.

       673.     On April 29, 1977, the jury convicted Mr. Boyd of second-degree murder and

first-degree robbery.

       674.     ADAs James Verrastro and David Henry handled the trial prosecution of Mr.

Walker, beginning June 6, 1977, and Floyd Martin’s case later the same year.



                                               - 93 -
    Case
  Case   1:22-cv-00520-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  78 Filed
                                       126-3 Filed03/13/23
                                                   12/11/23 Page
                                                             Page98 of of
                                                                  217  103347




       675.    Like ADA Drury and other prosecutors in the office, their practice, too, was to not

disclose prior witness statements until after the witness testified on direct and then only formal,

signed statements. They, too, did not disclose statements or evidence, even though such

materials favored the defense under Brady, if the witness did not testify or the statement or

evidence was not specifically requested by the defense.

       676.    Accordingly, they withheld the same material and evidence at Mr. Walker’s and

Mr. Martin’s trials that ADA Drury had withheld at Messrs. Boyd and Gibson’s trials, with one

exception.

       677.    After counsel for Floyd Martin specifically demanded disclosure of all crime

scene photographs, not just the ones the prosecution was itself using, the prosecutors disclosed

the two additional photographs, which had been withheld during the prior three trials, to Mr.

Martin’s attorney.

       678.    During Mr. Walker’s trial, ADA Henry continued the pattern of ECDA

prosecutors making false, misleading, or otherwise improper summation arguments that

exploited the office’s Brady violations and denied Mr. Walker a fair trial.

       679.    He went outside the trial record to represent that Andre Hough’s statements all

were “the same,” even though he knew that Mr. Hough not only had made various inconsistent

statements but also had recanted more than once

       680.    He represented that Mr. Hough had no motive or other reason to lie when he knew

or should have known that police had threatened him with arrest and prosecution for the murder

and otherwise coerced him.

       681.    He contended that Mr. Woodruff had no motive to lie, and that he had implicated

himself and the others purely out of conscience (“maybe it got to him”), when he knew or should



                                               - 94 -
     Case
   Case   1:22-cv-00520-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  78 Filed
                                        126-3 Filed03/13/23
                                                    12/11/23 Page
                                                              Page99 of of
                                                                   218  103347




have known that Mr. Woodruff only changed his story after being threatened with life

imprisonment but was then lured with a promise, which was realized, of complete immunity.

        682.     He argued that the witnesses, including Messrs. Woodruff and Hough, had been

separated and could not possibly have conformed their stories, despite knowing that, as revealed

in the police reports of February 11, 1976, two detectives, purportedly at ADA Drury’s direction,

had shuttled between Messrs. Hough and Woodruff to make sure they did conform their stories.

        683.     Mr. Walker was convicted of second-degree murder and first-degree robbery on

April 29, 1977.

        684.     The fourth of the co-defendants brought to trial was Floyd Martin. Mr. Martin’s

trial commenced on July 6, 1977.

        685.     Mr. Martin was represented by defense counsel James A.W. McLeod.

        686.     ADAs Verrastro and Henry prosecuted the case.

        687.     Based upon the crime scene photographs that Mr. McLeod had received, which

the other defendants had not, as well as the testimony that Mr. Watson was the last person seen

with Mr. Crawford before he was murdered, Mr. McLeod contended that Mr. Watson was the

likely killer.

        688.     Unbeknownst to counsel, police records contained powerful additional evidence

supporting this theory, but Mr. McLeod did the best he could with the limited evidence that had

been disclosed to him.

        689.     It was enough. On July 14, 1977, the jury acquitted Mr. Martin.

        690.     None of the prosecutors in any of the cases discussed in ¶¶ 554-615 were properly

supervised by the DA or other executives, nor were any investigated or disciplined for the




                                               - 95 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00520-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page100
                                                                   219ofof103
                                                                           347




misconduct after the misconduct was complained about by the defense and/or substantiated by

court decisions.

       691.    Policymakers’ deliberate indifference created an anything-goes or winning-is-

everything atmosphere, which was a substantial cause of the violation of Mr. Walker’s

constitutional rights and of his injuries and damages.

       692.    The aforesaid deliberate or de facto policies, procedures, practices and/or

customs, including the failure to properly instruct, train, supervise, and/or discipline employees

with regard thereto, were implemented or tolerated by policymaking officials for the Defendant

County, including, but not limited to, the District Attorney and his delegates, who knew:

               (a)     to a moral certainty that such policies, procedures, regulations, practices,

                       and/or customs concern issues that regularly arise in the investigation and

                       prosecution of criminal cases;

               (b)     that such issues present employees with difficult choices of the sort that

                       instruction, training, supervision, and discipline will make less difficult;

               (c)     that employees facing such issues have strong incentives to make the

                       wrong choices, especially given the pressure the ECDA places on

                       prosecutors to win convictions at any cost;

               (d)     that the wrong choice by municipal employees concerning such issues will

                       frequently cause the deprivation of the constitutional rights of the accused

                       and cause him constitutional injury; and

               (e)     that employees of the ECDA had a history of making wrong choices in

                       such matters.




                                               - 96 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00520-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page101
                                                                   220ofof103
                                                                           347




       693.    The aforesaid policies, procedures, regulations, practices, and/or customs of the

ECDA were, collectively and individually, a substantial factor in bringing about the aforesaid

violations of Mr. Walker’s rights under the Constitution and laws of the United States and in

causing his damages.

       694.    By virtue of the foregoing, the Defendant County is liable for the violation of Mr.

Walker’s constitutional rights pursuant to 42 U.S.C. § 1983 and his resultant injuries.

                                      COUNT VIII
Municipal Liability Against the City of Buffalo for Its Negligent Failure to Properly Hire,
Train, Supervise and Discipline the BPD Detectives Who Investigated Plaintiff and Caused
                               His Arrest and Prosecution

       695.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

494 of this Complaint.

       696.    By virtue of the foregoing, the Defendant City is liable to Plaintiff because of its

intentional, deliberately indifferent, careless, reckless, and/or negligent failure to adequately hire,

train, supervise, and discipline its agents, servants and/or employees with regard to their

aforementioned duties, which was a substantial cause of the Individual Defendants’ wrongful

conduct and the injuries suffered by Plaintiff.

                                        COUNT IX
   Negligent Infliction of Emotional Distress (Individual Defendants and City of Buffalo)

       697.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

494 of this Complaint.

       698.    The Individual Defendants breached a duty of care owed to Plaintiff, which

unreasonably endangered his physical safety and caused him to fear for his physical safety.

       699.    Defendants’ conduct was extreme and outrageous.

       700.    Defendants’ conduct caused Plaintiff to suffer serious bodily injuries in county

jail and/or prison and severe emotional distress.

                                                  - 97 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00520-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page102
                                                                   221ofof103
                                                                           347




       701.    The Defendant City is liable under the doctrine of respondeat superior.

                                       COUNT X
 Municipal Liability Against the County of Erie for Its Negligent Failure to Properly Hire,
    Train, Supervise and Discipline the ECDA Prosecutors Who Investigated and/or
       Prosecuted Plaintiff and Caused His Wrongful Prosecution and Conviction

       702.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1 through

432 and 495-694 of this Complaint.

       703.    By virtue of the foregoing, the Defendant County is liable to Plaintiff because of

its intentional, deliberately indifferent, careless, reckless, and/or negligent failure to adequately

hire, train, supervise, and discipline its agents, servants and/or employees with regard to their

aforementioned duties, which was a substantial cause of the wrongful conduct and of the injuries

that were suffered by Plaintiff.

                                     PRAYER FOR RELIEF

       WHEREFORE, Mr. Walker demands judgment against Defendants as follows:

               (a)     compensatory damages for the damages described above of not less than

                       $84,000,000;

               (b)     punitive damages of not less than $28,000,000;

               (c)     reasonable attorneys’ fees, together with costs and disbursements, under

                       42 U.S.C. § 1988 and the inherent powers of this Court;

               (d)     pre-judgment interest as allowed by law; and

               (e)     such other and further relief as this Court may deem just and proper.




                                                - 98 -
   Case1:22-cv-00519-LJV-JJM
  Case   1:22-cv-00520-LJV-JJM Document
                                Document126-3
                                         78 Filed
                                              Filed03/13/23
                                                    12/11/23 Page
                                                              Page103
                                                                   222ofof103
                                                                           347




                                         /s/ Joel B. Rudin
                                        JOEL B. RUDIN
                                        DAVID E. RUDIN
                                        Law Offices of Joel B. Rudin, P.C.
                                        Carnegie Hall Tower
                                        152 West 57th Street, 8th Floor
                                        New York, New York 10019
                                        (212) 752-7600
                                        jbrudin@rudinlaw.com
                                        david@rudinlaw.com


                                        /s/ Ross. E. Firsenbaum
                                        ROSS E. FIRSENBAUM
                                        RYANNE E. PERIO
                                        GIDEON A. HANFT (pro hac vice)
                                        PHOEBE SILOS (pro hac vice)
                                        ERIN HUGHES (pro hac vice)
                                        Wilmer Cutler Pickering
                                            Hale and Dorr LLP
                                        7 World Trade Center
                                        250 Greenwich Street
                                        New York, NY 10007
                                        (212) 230-8800
                                        ross.firsenbaum@wilmerhale.com
                                        ryanne.perio@wilmerhale.com
                                        gideon.hanft@wilmerhale.com
                                        phoebe.silos@wilmerhale.com
                                        erin.hughes@wilmerhale.com


                                        /s/ Timothy W. Hoover
                                        TIMOTHY W. HOOVER
                                        SPENCER L. DURLAND
                                        Hoover & Durland LLP
                                        561 Franklin Street
                                        Buffalo, NY 14202
                                        (716) 800-2600
                                        thoover@hooverdurland.com
                                        sdurland@hooverdurland.com

                                        Attorneys for Plaintiff John Walker, Jr.


Dated:      New York, New York
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                                     - 99 -
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 223 of 347




                   EXHIBIT C
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 224 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 225 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 226 of 347




                  EXHIBIT D
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 227 of 347


From:           webmaster@nywd.uscourts.gov
To:             Courtmail@nywd.uscourts.gov
Subject:        Activity in Case 1:22-cv-00519-LJV-JJM Boyd v. The City of Buffalo et al Text Order
Date:           Monday, October 16, 2023 4:09:20 PM




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                                         U.S. DISTRICT COURT

                      U.S. District Court, Western District of New York

Notice of Electronic Filing

The following transaction was entered on 10/16/2023 at 4:07 PM EDT and filed on
10/16/2023
Case Name:           Boyd v. The City of Buffalo et al
Case Number:         1:22-cv-00519-LJV-JJM
Filer:
Document Number: 125(No document attached)

Docket Text:
TEXT ORDER: The parties' Stipulation and Proposed Second Amended Case
Management Order [124] is hereby approved and adopted. Fact discovery by
January 16, 2024. Pretrial dispositive motions by May 31, 2024. SO ORDERED.
Issued by Hon. Jeremiah J. McCarthy on 10/16/2023. (EG)


1:22-cv-00519-LJV-JJM Notice has been electronically mailed to:

Hugh M. Russ, III hruss@hodgsonruss.com, Stimchack@hodgsonruss.com,
efilingbflo@hodgsonruss.com

Adam W. Perry      aperry@hodgsonruss.com, llazarus@hodgsonruss.com

Jennifer C. Persico     jpersico@lippes.com, mhurley@lippes.com, skemnitzer@lippes.com

Timothy W. Hoover thoover@hooverdurland.com, sdurland@hooverdurland.com,
timothy.w.hoover@gmail.com

Brian Clinton Mahoney          bmahoney@lippes.com, kmahoney@lippes.com

Spencer Leeds Durland         sdurland@hooverdurland.com, thoover@hooverdurland.com
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 228 of 347


Peter A. Sahasrabudhe psahasra@hodgsonruss.com, llazarus@hodgsonruss.com,
pbudhe05@gmail.com, stimchack@hodgsonruss.com

Jacob Loup   jloup@rudinlaw.com

David E Rudin     david@rudinlaw.com

Joel Barry Rudin jbrudin@rudinlaw.com, psharma@rudinlaw.com, thelo@rudinlaw.com,
theresa@rudinlaw.com

Ryanne E. Perio    ryanne.perio@wilmerhale.com

Ross E. Firsenbaum    ross.firsenbaum@wilmerhale.com, whdocketing@wilmerhale.com

Gideon A. Hanft    gideon.hanft@wilmerhale.com, whdocketing@wilmerhale.com

Alexander Warfield Eaton   aeaton@lippes.com, aeatonesq@gmail.com, sevans@lippes.com

1:22-cv-00519-LJV-JJM Notice has been delivered by other means to:

Erin E. Hughes
Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
New York, NY 10007

Phoebe H. Silos
Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
New York, NY 10007
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  Case    1:22-cv-00519-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    124 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page229
                                                                    1 ofof5347




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

                                                    )
 DARRYL BOYD,                                       )
                                                    )
                  Plaintiff,                        )
                                                    )
                                                        No. 22 Civ. 519 (LJV) (JJM)
        against                                     )
                                                    )
 THE CITY OF BUFFALO, et al.,                       )
                                                    )
                  Defendants.                       )



                                                    )
 JOHN J. WALKER, JR.,                               )
                                                    )
                  Plaintiff,                        )
                                                    )
        against                                     )   No. 22 Civ. 520 (LJV) (JJM)
                                                    )
 THE CITY OF BUFFALO, et al.,                       )
                                                    )
                  Defendants.                       )


      JOINT STIPULATION OF EXTENSION OF DISCOVERY DEADLINES AND
         [PROPOSED] SECOND AMENDED CASE MANAGEMENT ORDER

       This Stipulation is entered into by and between Plaintiff Darryl Boyd, Plaintiff John

Walker, Jr., (collectively, “Plaintiffs”); Defendants The City of Buffalo, Michael G. Guadagno,

John Montondo, Linda J. Fial as Executor for the Estate of Robert Grabowski, Martin Bullock as

Executor for the Estate of James E. Hunter, Jennifer G. Flannery as Administrator for the Estates

of Frank C. Deubell, Leo J. Donovan, and Francis M. Manista, Jr., and Dawn M. Dirienzo as

Executor for the Estate of Paul R. Delano, (collectively the “City Defendants”); and Defendant

The County of Erie, (the “County” and collectively with the City Defendants and the Plaintiffs,

the “Parties”), as follows:



                                                1
     Case
  Case    1:22-cv-00519-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    124 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page230
                                                                    2 ofof5347




       WHEREAS, on July 18, 2023, this Court entered a text order adopting the parties

“Amended Case Management Order” which, among other things, set the deadline for the close of

fact discovery on November 2, 2023, see Dkt. 114, 115;

       WHEREAS, the Parties have determined that they collectively seek to take at least an

additional 7 fact depositions;

       WHEREAS, Defendants have requested an extension of the fact discovery deadline to

allow for the completion of these depositions;

       WHEREAS, counsel for the County of Erie have trials scheduled in the months of

October and December and certain counsel for Plaintiffs have trial scheduled in the month of

November;

       WHEREAS, the Parties have agreed, subject to the Court’s consent to extend the fact

discovery period, to schedule the remaining depositions of the County’s witnesses on November

3, November 10, and November 28, 2023 and Defendants seek to depose Plaintiffs and two non-

party witnesses after the completion of such depositions;

       WHEREAS, subject to approval from the Court, the Parties agree to extend the deadline

for the completion of fact discovery to January 16, 2024 to allow for the completion of these

depositions;

       WHEREAS, subject to approval from the Court, the Parties agree to extend all
subsequent deadlines in the prior case management order by a corresponding amount; and

       WHEREAS, this extension is not sought for the purpose of undue delay and no party will

be prejudiced by the brief extension of time;

       THEREFORE, the Parties, by and through their respective counsel, hereby stipulate and

agree, subject to the Court’s approval, to the entry of the following Second Amended Case

Management Order:




                                                 2
     Case
  Case    1:22-cv-00519-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    124 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page231
                                                                    3 ofof5347




The Court hereby ORDERS entry of the following Second Amended Case Management Order:

       1)      All fact discovery shall be completed by no later than January 16, 2024.

       2)      Each party intending to offer the testimony of an expert in connection with any

issue as to which it bears the burden of proof (including claims, counterclaims, cross-claims or

affirmative defenses) shall identify such expert(s) and provide reports pursuant to Rule 26 by no

later than March 1, 2024. Each party intending to offer other expert testimony (i.e., testimony in

response to expert testimony previously designated by an opposing party, or in support of an

issue as to which the offering party does not bear the burden of proof), shall identify such

expert(s) and provide reports pursuant to Rule 26 by no later than April 1, 2024.

       3)      All expert depositions shall be completed by no later than May 1, 2024.

       4)      Pretrial dispositive motions, if any, shall be filed by no later than May 31, 2024.

Such motions shall be made returnable before Judge Vilardo unless the referral order grants the

Magistrate Judge authority to hear and report upon dispositive motions.

       5)      If no pretrial dispositive motions are filed, the parties shall contact Judge

Vilardo’s chambers by May 18, 2024 to schedule a trial date.

       6)      The procedures provided in the Court’s Case Management Order dated September

30, 2023, Dkt. 34, including the procedure for raising discovery disputes, remain in effect.

       No extension of the above deadlines will be granted except upon a motion, filed

prior to the deadline, showing good cause for the extension. Absent truly exceptional

circumstances, any motion for an extension shall be made at least one week prior to the

deadline sought to be extended. The parties are reminded that “a finding of good cause

depends on the diligence of the moving party.” Parker v. Columbia Pictures Industries,

204 F.3d 326, 340 (2d. Cir. 2000).

                                                  3
     Case
  Case    1:22-cv-00519-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    124 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page232
                                                                    4 ofof5347




PURSUANT TO STIPULATION, IT IS SO ORDERED:

Dated:


                                            JEREMIAH J. MCCARTHY
                                            United States Magistrate Judge
Respectfully submitted,

 /s/ Gideon A. Hanft                  /s/ Peter A. Sahasrabudhe
 Gideon A. Hanft                      Hugh M. Russ III, Esq.
 Ross E. Firsenbaum                   Adam W. Perry, Esq.
 Ryanne E. Perio                      Peter A. Sahasrabudhe, Esq.
 Phoebe Silos                         HODGSON RUSS LLP
 Erin E. Hughes                       The Guaranty Building
 WILMER CUTLER PICKERING              140 Pearl Street — Suite 100
 HALE AND DORR LLP                    Buffalo, New York 14202
 7 World Trade Center                 (716) 856-4000
 250 Greenwich Street
 New York, NY 10007                   Attorneys for Defendants City of Buffalo;
 (212) 230-8800                       Michael G. Guadagno; John Montondo;
 ross.firsenbaum@wilmerhale.com       Linda J. Fial as Executor for the Estate of
 ryanne.perio@wilmerhale.com          Robert Grabowski; Martin Bullock as
 gideon.hanft@wilmerhale.com          Executor for the Estate of James E.
 phoebe.silos@wilmerhale.com          Hunter; Jennifer G. Flannery as
 erin.hughes@wilmerhale.com           Administrator for the Estate of Frank C.
                                      Deubell; Jennifer G. Flannery as
                                      Administrator for the Estate of Leo J.
 /s/ Joel B. Rudin                    Donovan; Jennifer G. Flannery as
 Joel B. Rudin                        Administrator for the Estate of Francis M.
 David E. Rudin                       Manista, Jr.; and Dawn M. Dirienzo as
 LAW OFFICES OF JOEL B. RUDIN,        Executor for the Estate of Paul R. Delano
 P.C.
 Carnegie Hall Tower
 152 West 57th Street, 8th Floor      /s/ Jennifer C. Persico
 New York, New York 10019             LIPPES MATHIAS LLP
 (212) 752-7600                       Jennifer C. Persico
 jbrudin@rudinlaw.com                 Brian Clinton Mahoney
 david@rudinlaw.com                   Alexander Eaton
                                      50 Fountain Plaza
 /s/ Timothy W. Hoover                Ste 1700
 Timothy W. Hoover                    Buffalo, NY 14202
 Spencer L. Durland                   (716) 853-5100
 HOOVER & DURLAND LLP
 561 Franklin Street                  Attorneys for Defendant
 Buffalo, New York 14202              County of Erie


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    Case
 Case    1:22-cv-00519-LJV-JJM
      1:22-cv-00519-LJV-JJM     Document
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                                      126-3   Filed12/11/23
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(716) 800-2604
thoover@hooverdurland.com
sdurland@hooverdurland.com

Attorneys for Plaintiffs Darryl Boyd and
John Walker, Jr.




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 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 234 of 347


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To:             Courtmail@nywd.uscourts.gov
Subject:        Activity in Case 1:22-cv-00520-LJV-JJM Walker, Jr. v. The City of Buffalo et al Text Order
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                                          U.S. DISTRICT COURT

                      U.S. District Court, Western District of New York

Notice of Electronic Filing

The following transaction was entered on 10/16/2023 at 4:09 PM EDT and filed on
10/16/2023
Case Name:           Walker, Jr. v. The City of Buffalo et al
Case Number:         1:22-cv-00520-LJV-JJM
Filer:
Document Number: 123(No document attached)

Docket Text:
TEXT ORDER: The parties' Stipulation and Proposed Second Amended Case
Management Order [122] is hereby approved and adopted. Fact discovery by
January 16, 2024. Pretrial dispositive motions by May 31, 2024. SO ORDERED.
Issued by Hon. Jeremiah J. McCarthy on 10/16/2023. (EG)


1:22-cv-00520-LJV-JJM Notice has been electronically mailed to:

Hugh M. Russ, III hruss@hodgsonruss.com, Stimchack@hodgsonruss.com,
efilingbflo@hodgsonruss.com

Adam W. Perry      aperry@hodgsonruss.com, llazarus@hodgsonruss.com

Jennifer C. Persico     jpersico@lippes.com, mhurley@lippes.com, skemnitzer@lippes.com

Timothy W. Hoover thoover@hooverdurland.com, sdurland@hooverdurland.com,
timothy.w.hoover@gmail.com

Brian Clinton Mahoney          bmahoney@lippes.com, kmahoney@lippes.com

Spencer Leeds Durland          sdurland@hooverdurland.com, thoover@hooverdurland.com
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 235 of 347


Peter A. Sahasrabudhe psahasra@hodgsonruss.com, llazarus@hodgsonruss.com,
pbudhe05@gmail.com, stimchack@hodgsonruss.com

Jacob Loup   jloup@rudinlaw.com

David E Rudin     david@rudinlaw.com

Joel Barry Rudin jbrudin@rudinlaw.com, psharma@rudinlaw.com, thelo@rudinlaw.com,
theresa@rudinlaw.com

Ryanne E. Perio    ryanne.perio@wilmerhale.com

Ross E. Firsenbaum    ross.firsenbaum@wilmerhale.com, whdocketing@wilmerhale.com

Gideon A. Hanft    gideon.hanft@wilmerhale.com, whdocketing@wilmerhale.com

Alexander Warfield Eaton   aeaton@lippes.com, aeatonesq@gmail.com, sevans@lippes.com

1:22-cv-00520-LJV-JJM Notice has been delivered by other means to:

Erin E. Hughes
Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
New York, NY 10007

Phoebe H. Silos
Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
New York, NY 10007
     Case
  Case    1:22-cv-00520-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    122 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page236
                                                                    1 ofof5347




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

                                                    )
 DARRYL BOYD,                                       )
                                                    )
                  Plaintiff,                        )
                                                    )
                                                        No. 22 Civ. 519 (LJV) (JJM)
        against                                     )
                                                    )
 THE CITY OF BUFFALO, et al.,                       )
                                                    )
                  Defendants.                       )



                                                    )
 JOHN J. WALKER, JR.,                               )
                                                    )
                  Plaintiff,                        )
                                                    )
        against                                     )   No. 22 Civ. 520 (LJV) (JJM)
                                                    )
 THE CITY OF BUFFALO, et al.,                       )
                                                    )
                  Defendants.                       )


      JOINT STIPULATION OF EXTENSION OF DISCOVERY DEADLINES AND
         [PROPOSED] SECOND AMENDED CASE MANAGEMENT ORDER

       This Stipulation is entered into by and between Plaintiff Darryl Boyd, Plaintiff John

Walker, Jr., (collectively, “Plaintiffs”); Defendants The City of Buffalo, Michael G. Guadagno,

John Montondo, Linda J. Fial as Executor for the Estate of Robert Grabowski, Martin Bullock as

Executor for the Estate of James E. Hunter, Jennifer G. Flannery as Administrator for the Estates

of Frank C. Deubell, Leo J. Donovan, and Francis M. Manista, Jr., and Dawn M. Dirienzo as

Executor for the Estate of Paul R. Delano, (collectively the “City Defendants”); and Defendant

The County of Erie, (the “County” and collectively with the City Defendants and the Plaintiffs,

the “Parties”), as follows:



                                                1
     Case
  Case    1:22-cv-00520-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    122 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page237
                                                                    2 ofof5347




       WHEREAS, on July 18, 2023, this Court entered a text order adopting the parties

“Amended Case Management Order” which, among other things, set the deadline for the close of

fact discovery on November 2, 2023, see Dkt. 114, 115;

       WHEREAS, the Parties have determined that they collectively seek to take at least an

additional 7 fact depositions;

       WHEREAS, Defendants have requested an extension of the fact discovery deadline to

allow for the completion of these depositions;

       WHEREAS, counsel for the County of Erie have trials scheduled in the months of

October and December and certain counsel for Plaintiffs have trial scheduled in the month of

November;

       WHEREAS, the Parties have agreed, subject to the Court’s consent to extend the fact

discovery period, to schedule the remaining depositions of the County’s witnesses on November

3, November 10, and November 28, 2023 and Defendants seek to depose Plaintiffs and two non-

party witnesses after the completion of such depositions;

       WHEREAS, subject to approval from the Court, the Parties agree to extend the deadline

for the completion of fact discovery to January 16, 2024 to allow for the completion of these

depositions;

       WHEREAS, subject to approval from the Court, the Parties agree to extend all
subsequent deadlines in the prior case management order by a corresponding amount; and

       WHEREAS, this extension is not sought for the purpose of undue delay and no party will

be prejudiced by the brief extension of time;

       THEREFORE, the Parties, by and through their respective counsel, hereby stipulate and

agree, subject to the Court’s approval, to the entry of the following Second Amended Case

Management Order:




                                                 2
     Case
  Case    1:22-cv-00520-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    122 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page238
                                                                    3 ofof5347




The Court hereby ORDERS entry of the following Second Amended Case Management Order:

       1)      All fact discovery shall be completed by no later than January 16, 2024.

       2)      Each party intending to offer the testimony of an expert in connection with any

issue as to which it bears the burden of proof (including claims, counterclaims, cross-claims or

affirmative defenses) shall identify such expert(s) and provide reports pursuant to Rule 26 by no

later than March 1, 2024. Each party intending to offer other expert testimony (i.e., testimony in

response to expert testimony previously designated by an opposing party, or in support of an

issue as to which the offering party does not bear the burden of proof), shall identify such

expert(s) and provide reports pursuant to Rule 26 by no later than April 1, 2024.

       3)      All expert depositions shall be completed by no later than May 1, 2024.

       4)      Pretrial dispositive motions, if any, shall be filed by no later than May 31, 2024.

Such motions shall be made returnable before Judge Vilardo unless the referral order grants the

Magistrate Judge authority to hear and report upon dispositive motions.

       5)      If no pretrial dispositive motions are filed, the parties shall contact Judge

Vilardo’s chambers by May 18, 2024 to schedule a trial date.

       6)      The procedures provided in the Court’s Case Management Order dated September

30, 2023, Dkt. 34, including the procedure for raising discovery disputes, remain in effect.

       No extension of the above deadlines will be granted except upon a motion, filed

prior to the deadline, showing good cause for the extension. Absent truly exceptional

circumstances, any motion for an extension shall be made at least one week prior to the

deadline sought to be extended. The parties are reminded that “a finding of good cause

depends on the diligence of the moving party.” Parker v. Columbia Pictures Industries,

204 F.3d 326, 340 (2d. Cir. 2000).

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     Case
  Case    1:22-cv-00520-LJV-JJM
       1:22-cv-00519-LJV-JJM     Document
                              Document    122 Filed
                                       126-3   Filed12/11/23
                                                     10/12/23 Page
                                                               Page239
                                                                    4 ofof5347




PURSUANT TO STIPULATION, IT IS SO ORDERED:

Dated:


                                            JEREMIAH J. MCCARTHY
                                            United States Magistrate Judge
Respectfully submitted,

 /s/ Gideon A. Hanft                  /s/ Peter A. Sahasrabudhe
 Gideon A. Hanft                      Hugh M. Russ III, Esq.
 Ross E. Firsenbaum                   Adam W. Perry, Esq.
 Ryanne E. Perio                      Peter A. Sahasrabudhe, Esq.
 Phoebe Silos                         HODGSON RUSS LLP
 Erin E. Hughes                       The Guaranty Building
 WILMER CUTLER PICKERING              140 Pearl Street — Suite 100
 HALE AND DORR LLP                    Buffalo, New York 14202
 7 World Trade Center                 (716) 856-4000
 250 Greenwich Street
 New York, NY 10007                   Attorneys for Defendants City of Buffalo;
 (212) 230-8800                       Michael G. Guadagno; John Montondo;
 ross.firsenbaum@wilmerhale.com       Linda J. Fial as Executor for the Estate of
 ryanne.perio@wilmerhale.com          Robert Grabowski; Martin Bullock as
 gideon.hanft@wilmerhale.com          Executor for the Estate of James E.
 phoebe.silos@wilmerhale.com          Hunter; Jennifer G. Flannery as
 erin.hughes@wilmerhale.com           Administrator for the Estate of Frank C.
                                      Deubell; Jennifer G. Flannery as
                                      Administrator for the Estate of Leo J.
 /s/ Joel B. Rudin                    Donovan; Jennifer G. Flannery as
 Joel B. Rudin                        Administrator for the Estate of Francis M.
 David E. Rudin                       Manista, Jr.; and Dawn M. Dirienzo as
 LAW OFFICES OF JOEL B. RUDIN,        Executor for the Estate of Paul R. Delano
 P.C.
 Carnegie Hall Tower
 152 West 57th Street, 8th Floor      /s/ Jennifer C. Persico
 New York, New York 10019             LIPPES MATHIAS LLP
 (212) 752-7600                       Jennifer C. Persico
 jbrudin@rudinlaw.com                 Brian Clinton Mahoney
 david@rudinlaw.com                   Alexander Eaton
                                      50 Fountain Plaza
 /s/ Timothy W. Hoover                Ste 1700
 Timothy W. Hoover                    Buffalo, NY 14202
 Spencer L. Durland                   (716) 853-5100
 HOOVER & DURLAND LLP
 561 Franklin Street                  Attorneys for Defendant
 Buffalo, New York 14202              County of Erie


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    Case
 Case    1:22-cv-00520-LJV-JJM
      1:22-cv-00519-LJV-JJM     Document
                             Document    122 Filed
                                      126-3   Filed12/11/23
                                                    10/12/23 Page
                                                              Page240
                                                                   5 ofof5347




(716) 800-2604
thoover@hooverdurland.com
sdurland@hooverdurland.com

Attorneys for Plaintiffs Darryl Boyd and
John Walker, Jr.




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Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 241 of 347




                   EXHIBIT E
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 242 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 243 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 244 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 245 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 246 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 247 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 248 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 249 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 250 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 251 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 252 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 253 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 254 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 255 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 256 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 257 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 258 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 259 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 260 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 261 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 262 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 263 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 264 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 265 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 266 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 267 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 268 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 269 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 270 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 271 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 272 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 273 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 274 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 275 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 276 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 277 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 278 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 279 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 280 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 281 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 282 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 283 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 284 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 285 of 347




                   EXHIBIT F
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 286 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 287 of 347




                  EXHIBIT G
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            Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 288
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Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 289 of 347




                  EXHIBIT H
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 290 of 347




                                                  JOHN F. MONTONDO



               UNITED STATES DISTRICT COURT

               FOR THE WESTERN DISTRICT OF NEW YORK

                ---------------------------------------------

               DARRYL BOYD,

                        Plaintiff,

                -vs-                         Index No. 22-cv-519

               THE CITY OF BUFFALO; THE COUNTY
               OF ERIE; MICHAEL G. GUADAGNO;
               JOHN MONTONDO; LINDA J. FIAL AS
               EXECUTOR FOR THE ESTATE OF
               ROBERT GRABOWSKI; MARTIN
               BULLOCK AS EXECUTOR FOR THE
               ESTATE OF JAMES E. HUNTER;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               ROBERT F. ARNET; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANK C. DEUBELL;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               LEO J. DONOVAN; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANCIS M.
               MANISTA, JR.; AND DAWN M. DIRIENZO
               AS EXECUTOR FOR THE ESTATE OF PAUL
               R. DELANO,

                      Defendants.
                ---------------------------------------------
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 291 of 347




               UNITED STATES DISTRICT COURT

               FOR THE WESTERN DISTRICT OF NEW YORK

               ---------------------------------------------

               JOHN WALKER, JR.,

                        Plaintiff,

                -vs-                         Index No. 22-cv-520

               THE CITY OF BUFFALO; THE COUNTY
               OF ERIE; MICHAEL G. GUADAGNO;
               JOHN MONTONDO; LINDA J. FIAL AS
               EXECUTOR FOR THE ESTATE OF
               ROBERT GRABOWSKI; MARTIN
               BULLOCK AS EXECUTOR FOR THE
               ESTATE OF JAMES E. HUNTER;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               ROBERT F. ARNET; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANK C. DEUBELL;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               LEO J. DONOVAN; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANCIS M.
               MANISTA, JR.; AND DAWN M. DIRIENZO
               AS EXECUTOR FOR THE ESTATE OF PAUL
               R. DELANO,

                      Defendants.
                ---------------------------------------------
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 292 of 347




                        Examination before trial of JOHN F.

               MONTONDO, taken pursuant to Federal Law and

               Rules of Civil Procedures, taken in the law

               offices of Hodgson Russ LLP, The Guaranty

               Building, 140 Pearl Street, Buffalo, New York

               14202, taken on June 21, 2023, commencing at

               9:47 a.m., ending at 2:19 p.m., held before

               Carly J. Garretson, Notary Public.
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 293 of 347
                                                                    31




  1            was into that heavy, so I was detailed to go

  2            and assist Bill Reagan prosecute the case.

  3                    So I was still -- I was just transferred

  4            over there.          I was in Precinct 6 at the time.

  5            And I went there, and the outcome -- finally,

  6            we got a conviction.                And at that time, that's

  7            when the DA asked me if when I retired if I'd

  8            like to come to work there and he'd consider

  9            it.

 10            BY MR. RUDIN:

 11       Q. T h a t ' s M r . A r c a r a ?

 12       A. I f o r g o t a b o u t t h a t , t h e r e a s o n I w e n t t h e r e .

 13            I was detailed there because it was a case I

 14            was very much involved in.

 15       Q. S o M r . A r c a r a i s t h e o n e w h o t o l d y o u t h a t h e

 16            was thinking of hiring you?

 17       A. Y e s .

 18       Q. D i d M r . A r c a r a e v e r a s k y o u a n y q u e s t i o n s

 19            about your conduct in the Tommy Rollins case

 20            before he hired you?

 21       A. N o .

 22       Q. D i d a n y o n e a t t h e B u f f a l o P o l i c e D e p a r t m e n t

 23            ever, to your knowledge, conduct any




                                      ACR OF WNY
                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 294 of 347
                                                                    32




  1            investigation of your role in the Tommy

  2            Rollins case --

  3       A. N o .

  4       Q. - - w h i l e y o u w e r e e m p l o y e d b y t h e p o l i c e

  5            department?

  6       A. N o .

  7       Q. T o y o u r k n o w l e d g e , d i d a n y o n e a t t h e B u f f a l o

  8            Police Department conduct any investigation of

  9            any of the detectives involved in the Tommy

 10            Rollins case?

 11                     MR. SAHASRABUDHE:              Object to form.

 12                     THE WITNESS:           Not to my knowledge.

 13            BY MR. RUDIN:

 14       Q. W a s o n e o f t h e p e o p l e i n v o l v e d i n q u e s t i o n i n g

 15            Tommy Rollins, Chief Donovan?

 16       A. N o , h e n e v e r d i d .     But I wasn't -- I really

 17            can't answer that because I wasn't there.

 18       Q. D o y o u k n o w w h e t h e r t h e r e w a s a D e t e c t i v e D o v e

 19            who was involved in questioning Tommy Rollins?

 20       A. H e w a s w o r k i n g t h a t d a y , I k n o w t h a t .

 21       Q. D o y o u k n o w w h e t h e r o r n o t a n y o n e a t t h e

 22            Buffalo Police Department ever conducted any

 23            investigation of Detective Dove's role in the




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                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 295 of 347
                                                                    226




  1       Q. S o D o n o v a n m a y h a v e b e e n p r e s e n t ?

  2       A. H e c o u l d h a v e b e e n , s u r e .

  3       Q. D o y o u k n o w w h e t h e r o r n o t D o n o v a n s t e p p e d

  4            down as police homicide bureau chief as a

  5            result of this case?

  6                     MR. SAHASRABUDHE:                Objection to form.

  7                     THE WITNESS:           No.

  8            BY MR. RUDIN:

  9       Q. D o y o u k n o w w h e t h e r o r n o t t h e r e w a s a n y

 10            investigation made by the police department of

 11            Donovan's role in this case?

 12       A. N o .    I know it got a lot of bad publicity.                          A

 13            lot of errors made.

 14       Q. D o y o u k n o w w h e t h e r o r n o t a n y o f t h e

 15            detectives, including Donovan, who were

 16            involved in the investigation of this case

 17            were ever investigated by the Buffalo Police

 18            Department for their actions?

 19                     MR. SAHASRABUDHE:                Form.

 20                     THE WITNESS:           No.       I know with the bad

 21            publicity I got transferred to number six.

 22            And they said they just needed a sergeant at

 23            six, but I knew that it was because of that




                                      ACR OF WNY
                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 296 of 347
                                                                    227




  1            case.

  2            BY MR. RUDIN:

  3       Q. D o y o u k n o w i f a n y t h i n g h a p p e n e d t o D o n o v a n a s

  4            a result of this case?

  5       A. N o .

  6       Q. D i d y o u r e c e i v e a n y t r a i n i n g f r o m t h e B u f f a l o

  7            Police Department concerning any of the --

  8            withdrawn.

  9                  After this hearing was conducted in 1983,

 10            did the Buffalo Police Department send you

 11            back for any -- withdrawn.

 12                  After this hearing was conducted in

 13            1983 --

 14       A. D i d t h e y s e n d m e b a c k t o s c h o o l ?         No.

 15       Q. A f t e r t h i s h e a r i n g w a s c o n d u c t e d i n 1 9 8 3 , d i d

 16            the Buffalo Police Department ever ask you to

 17            participate in any further training?

 18       A. N o .

 19       Q. A f t e r t h e c o u r t d e c i s i o n c a m e d o w n i n 1 9 8 5 ,

 20            did the police department ask you to

 21            participate in any further training?

 22       A. N o .

 23       Q. B e f o r e y o u r i n v o l v e m e n t i n t h i s i n v e s t i g a t i o n




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                                      (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 297 of 347
                                                                    230




  1                     (Whereupon, Buffalo News article dated

  2            5/17/86, was then received and marked as

  3            Exhibit Number 49 respectively for

  4            identification.)

  5

  6            BY MR. RUDIN:

  7       Q. L e t m e s h o w y o u P l a i n t i f f ' s 4 9 , w h i c h i s a n

  8            article in the Buffalo News dated May 17th,

  9            1986, concerning your winning a mayor's merit

 10            award.

 11       A. Y e s .

 12       Q. D o y o u r e m e m b e r t h a t ?

 13       A. Y e s .

 14       Q. W h a t w a s t h e a w a r d f o r ?

 15       A. I b e l i e v e i t w a s f o r a b a b y d e a t h a n d - - y e a h ,

 16            one of them was a baby death and I think the

 17            other was Pink Street.

 18       Q. P i n k S t r e e t i s t h e R o l l i n s c a s e ?

 19       A. Y e a h , I t h i n k .    I'm not sure.           Two cases.           I

 20            thought it said which cases.

 21       Q. A n d y o u r e c e i v e d t h i s a w a r d a f t e r y o u h a d

 22            retired?

 23       A. W h a t y e a r w a s i t ?




                                     ACR OF WNY
                                    (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 298 of 347
                                                                    231




  1       Q. M a y 1 7 t h , 1 9 8 6 .

  2       A. Y e a h .    It must have, yeah.              I must have been

  3            in the DA's office at the time.

  4       Q. A n d t h e - - w a s t h a t t h e a w a r d b y t h e m a y o r

  5            himself, Mayor Griffin?

  6       A. Y e a h .    Jimmy Griffin.

  7       Q. A n d h e w a s j o i n e d b y a P o l i c e C o m m i s s i o n e r

  8            Degenhart?

  9       A. Y e s .

 10       Q. A n d h e w a s a l s o t h e p o l i c e c o m m i s s i o n e r i n

 11            1976 when the Crawford case was investigated,

 12            correct?

 13       A. I t h i n k h e w a s .

 14       Q. A n d t h e o t h e r p e r s o n w h o g a v e y o u t h i s a w a r d

 15            was James Jackson, then chief of the homicide

 16            bureau?

 17       A. W h a t w a s t h e n a m e ?

 18       Q. J a m e s J a c k s o n .   Doesn't ring a bell?

 19       A. D o n ' t r i n g a b e l l a t a l l .

 20       Q. D i d t h i s o c c u r i n a p u b l i c c e r e m o n y ?

 21       A. N o , j u s t i n h i s o f f i c e .

 22       Q. B u t t h e m a y o r ' s o f f i c e r e l e a s e d i t t o t h e

 23            press?




                                      ACR OF WNY
                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 299 of 347
                                                                    232




  1       A. I d o n ' t b e l i e v e t h e p r e s s w a s t h e r e , b u t t h e y

  2            may have been.              I don't know.

  3       Q. W e l l , b u t t h e p r e s s c o v e r e d i t ?

  4       A. Y e a h .    Yeah, they got the story, but I don't

  5            know if they were there.

  6       Q. A n d d i d y o u r e c e i v e a p l a q u e f o r t h a t o n e ?

  7       A. Y e s .

  8       Q. D i d t h e p l a q u e m a k e r e f e r e n c e t o t h e s p e c i f i c

  9            cases you were being honored for?

 10       A. Y e s .

 11       Q. D o y o u s t i l l h a v e t h a t p l a q u e ?

 12       A. I m a y h a v e .      I don't know.            I got all my stuff

 13            in a thing where we go back and forth.                           We

 14            just got a cottage at the lake, and I have a

 15            lot of stuff.           And a lot of stuff I gave away.

 16            I have a large family.                 I had seven kids.              I

 17            got grand kids, and every once in a while one

 18            of them will say, can I have that?                        And I'll

 19            give it to them.

 20       Q. B u t w h e n y o u s a y b y t h e c o t t a g e , y o u m e a n u p

 21            in this area?

 22       A. B r a n t , N e w Y o r k .     The lake.

 23       Q. T h a t ' s w h e r e y o u ' r e s t a y i n g n o w ?




                                      ACR OF WNY
                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 300 of 347




                   EXHIBIT I
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 301 of 347




                                                  JOHN REGAN



               UNITED STATES DISTRICT COURT

               FOR THE WESTERN DISTRICT OF NEW YORK

                ---------------------------------------------

               DARRYL BOYD,

                        Plaintiff,

                -vs-                         Index No. 22-cv-519

               THE CITY OF BUFFALO; THE COUNTY
               OF ERIE; MICHAEL G. GUADAGNO;
               JOHN MONTONDO; LINDA J. FIAL AS
               EXECUTOR FOR THE ESTATE OF
               ROBERT GRABOWSKI; MARTIN
               BULLOCK AS EXECUTOR FOR THE
               ESTATE OF JAMES E. HUNTER;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               ROBERT F. ARNET; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANK C. DEUBELL;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               LEO J. DONOVAN; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANCIS M.
               MANISTA, JR.; AND DAWN M. DIRIENZO
               AS EXECUTOR FOR THE ESTATE OF PAUL
               R. DELANO,

                      Defendants.
                ---------------------------------------------
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 302 of 347




               UNITED STATES DISTRICT COURT

               FOR THE WESTERN DISTRICT OF NEW YORK

               ---------------------------------------------

               JOHN WALKER, JR.,

                        Plaintiff,

                -vs-                         Index No. 22-cv-520

               THE CITY OF BUFFALO; THE COUNTY
               OF ERIE; MICHAEL G. GUADAGNO;
               JOHN MONTONDO; LINDA J. FIAL AS
               EXECUTOR FOR THE ESTATE OF
               ROBERT GRABOWSKI; MARTIN
               BULLOCK AS EXECUTOR FOR THE
               ESTATE OF JAMES E. HUNTER;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               ROBERT F. ARNET; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANK C. DEUBELL;
               JENNIFER G. FLANNERY AS
               ADMINISTRATOR FOR THE ESTATE OF
               LEO J. DONOVAN; JENNIFER G.
               FLANNERY AS ADMINISTRATOR FOR
               THE ESTATE OF FRANCIS M.
               MANISTA, JR.; AND DAWN M. DIRIENZO
               AS EXECUTOR FOR THE ESTATE OF PAUL
               R. DELANO,

                      Defendants.
                ---------------------------------------------
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 303 of 347




                        Video-recorded examination before trial

               of JOHN REGAN, taken pursuant to Federal Law

               and Rules of Civil Procedures, taken in the

               law offices of Hodgson Russ LLP, The Guaranty

               Building, 140 Pearl Street, Buffalo, New York

               14202, taken on July 12, 2023, commencing at

               9:21 a.m., ending at 1:57 p.m., held before

               Carly J. Garretson, Notary Public.
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 304 of 347
                                                                    213




  1       Q. Y e a h .     Okay.     Do you know whether or not at

  2            any time between 1982, when the crime

  3            occurred, 1983, when the hearing occurred, and

  4            1985, when Justice Kessler'S decision was

  5            issued, whether the Buffalo Police Department

  6            conducted any inquiry into the conduct of any

  7            of the detectives involved in that case?

  8       A. N o t t o m y k n o w l e d g e , b u t - -

  9       Q. D o y o u k n o w w h e t h e r o r n o t t h e p o l i c e

 10            department took any disciplinary action

 11            against any of the detectives involved in that

 12            case?

 13       A. N o t t h a t I k n o w o f , l i k e I s a y .

 14       Q. D o y o u k n o w w h e t h e r o r n o t a n y d i s c i p l i n a r y

 15            action was taken against Chief Donovan as a

 16            result of his involvement in that case?

 17       A. N o .       I don't know.

 18       Q. D o y o u h a v e a n y r e c o l l e c t i o n o f b e i n g p r e s e n t

 19            for or conducting interviews of witnesses

 20            Michael Warren or Sam Brown in 1976 in

 21            connection with this case, that's the case of

 22            Walker and Boyd?

 23       A. T h e o n l y c o n n e c t i o n I t h i n k w a s t h a t w e




                                      ACR OF WNY
                                     (716) 362-9838
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 305 of 347




                   EXHIBIT J
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 306 of 347
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 307 of 347




                  EXHIBIT K
       Case
     Case    1:22-cv-00519-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM     Document 104 Filed
                                           126-3  Filed12/11/23
                                                        05/19/23 Page
                                                                  Page308
                                                                       1 ofof17347




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 DARRYL BOYD,
                               Plaintiff,

 v.
                                                        DECISION AND ORDER
 THE CITY OF BUFFALO, et al.,
                                                        22-cv-00519(JLV)(JJM)
                               Defendants.



JOHN WALKER, Jr.,

                              Plaintiff,
                                                        22-cv-00520(JLV)(JJM)
v.

THE CITY OF BUFFALO, et al.,

                        Defendants.
_______________________________________


               Following separate jury trials, plaintiffs Darryl Boyd and John Walker, Jr. were

convicted in 1977 of second degree murder and first degree robbery in connection with the

January 2, 1976 murder of William Crawford. After exhausting their appellate rights and several

unsuccessful collateral attacks to their convictions, on August 18, 2021, the New York State

Supreme Court, County of Erie, granted their New York Criminal Procedure Law (“CPL”)

§440.10 motion, resulting in the vacatur of their convictions. Thereafter, plaintiffs commenced

these 42 U.S.C. §1983 actions for alleged constitutional and New York State law violations

arising from their prosecutions.

               Before the court are the motions of the defendant County of Erie to bifurcate and

stay discovery concerning plaintiffs’ claims pursuant to Monell v. Department of Social Services
      Case
    Case    1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM     Document 104 Filed
                                          126-3  Filed12/11/23
                                                       05/19/23 Page
                                                                 Page309
                                                                      2 ofof17347




of City of New York, 436 U.S. 658 (1978) (Boyd v. The City of Buffalo, et al. (22-cv-519) [62];

Walker, Jr. v. The City of Buffalo, et al. (22-cv-520) [63]), as well the remaining portions of

plaintiffs’ motions to compel (Boyd v. The City of Buffalo, et al. (22-cv-519) [63]; Walker, Jr. v.

The City of Buffalo, et al. (22-cv-520) [64]). 1 Having heard oral argument on March 13, 2023

[77], and considered the parties’ submissions [62-63, 68, 70-73, 87, 91, 95, 99-101, 103], for the

following reasons the County’s motions to bifurcate and stay are denied, and plaintiffs’

remaining motions to compel are granted.



                                         BACKGROUND

                The parties’ familiarity with the factual allegations is presumed. The Amended

Complaints each assert two claims against the County: the first, pursuant to 42 U.S.C. §1983, for

Monell liability arising from the alleged misconduct of the Erie County District Attorney’s

Office (“ECDAO”) prosecutors ([78], Count VII); and the second, a state law claim arising from

its alleged negligent failure to properly hire, train, and supervise the ECDAO prosecutors (id.,

Count X).

                The Monell claim against the County contains extensive allegations concerning

the Constitutional violations committed by the ECDAO prosecutors responsible for prosecuting

plaintiffs, as well as the alleged deliberate indifference by the ECDAO policymakers. See

Amended Complaint [78], Count VII. No ECDAO prosecutors, the Erie County District

Attorney (“ECDA”), or other County employees are named as defendants in either action.



1
        Bracketed references are to CM/ECF docket entries, and page references are to CM/ECF
pagination. Unless otherwise noted, all docket entries will be to Boyd v. The City of Buffalo, et al. (22-
cv-519).




                                                    -2-
      Case
    Case    1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM     Document 104 Filed
                                          126-3  Filed12/11/23
                                                       05/19/23 Page
                                                                 Page310
                                                                      3 ofof17347




                At the outset of these cases, which were filed on July 6, 2022, the County did not

oppose the Monell discovery proceeding on the same track as the other discovery in this case. In

fact, plaintiffs contend - and the County does not refute - that its proposed Case Management

Order [32-1] specifically proposed a lengthier period for fact discovery (of October 23, 2023) “to

account for simultaneous, non-bifurcated Monell discovery” (plaintiffs’ Memorandum of Law

[70] at 24; plaintiffs’ September 16, 2022 letter [33]), which was partially adopted. See Case

Management Order [34], ¶7 (adopting a fact discovery deadline of August 2, 2023). It was not

until January 23, 2023, four months after the entry of the Case Management Order, that the

County moved to bifurcate the Monell discovery.

                As the County notes, plaintiffs’ “First Set of Interrogatories and Requests for

Production . . . requests voluminous information and documentation going back over [40] years

almost all of which relates only to their Monell claims”. County’s Memorandum of Law [62-1]

at 9. The parties have been able to resolve plaintiffs’ motion to compel concerning that

discovery, except for Request for Production Nos. 9 and 10 ([63-3] at 14-15), 2 which have been

narrowed to a dispute concerning the production of the case files from 16 prosecutions that

occurred prior and subsequent to plaintiffs’ convictions.

                According to the County, these records are maintained at an off-site storage

facility, which contains “tens, if not hundreds, of thousands of Bankers Boxes of County files

spanning several decades”, and encompassing “all departments within the County - not just the

[ECDAO]”. Eaton Affirmation [72-2], ¶10. Having “moved sites multiple times”, the records are


2
         At the April 13, 2023 conference, the parties reached certain agreements to resolve portions of
plaintiffs’ motions to compel, which I directed them to memorialize and to identify any remaining
portions of the motions that require a decision. See April 13, 2023 Text Order [92]. Consistent with that
directive, the parties have since each submitted competing proposed Orders. See [99] (plaintiffs’ version),
[101-2] (the County’s version). Notwithstanding their differences, the parties agree that the remaining
areas of dispute are the 16 case files. See [99], ¶6; [101-2], ¶9.


                                                   -3-
       Case
     Case    1:22-cv-00519-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM     Document 104 Filed
                                           126-3  Filed12/11/23
                                                        05/19/23 Page
                                                                  Page311
                                                                       4 ofof17347




not maintained in a readily searchable fashion. Id., ¶13. In fact, at the April 13, 2023 conference

the County’s attorney acknowledged that the records “are not stored in a very organized

fashion”. Transcript [94] at 26. It describes the task of locating these files as “gargantuan”

(Eaton Affirmation [72-2], ¶13), with potentially “hundreds of man

hours . . . . spent in vain”, if “[p]laintiffs are not successful on their underlying constitutional

claims”. Reply Memorandum of Law [72] at 7. Therefore, it contends that “[t]he efficient use of

all parties’ and the Court’s resources clearly favors bifurcation of [the Monell] discovery”. Id.



                                              DISCUSSION

A.      The County’s Motions to Bifurcate and Stay

                “[U]pon a showing of good cause a district court has considerable discretion to

stay discovery pursuant to [Fed. R. Civ. P. (“Rule”)] 26(c). Rule 26(d) also allows the Court to

control the sequence and timing of discovery, particularly where resolution of a preliminary

matter may decide the entire case.” Oliver v. City of New York, 540 F.Supp.3d 434, 435

(S.D.N.Y. 2021). See also Baker v. Orleans County, 1997 WL 436703, *1 (W.D.N.Y. 1997)

(“district courts are given reasonable latitude and discretion to establish a priority or to fashion

an appropriate sequence of the discovery to be performed in each case”).

                Municipalities cannot be held liable under 42 U.S.C. §1983 for the acts of their

employees unless their policies and customs were the “moving force behind the constitutional

violation”. City of Canton, Ohio v. Harris, 489 U.S. 378, 389 (1989). Although no individual

County employees are named as defendants in these actions, 3 plaintiffs still “must prove the



3
         Although the ECDAO prosecutors are not individually named as defendants in this action, “the
plaintiff[s] need not sue the individual tortfeasors at all, but may proceed solely against the municipality”.
Askins v. Doe No. 1, 727 F.3d 248, 253 (2d Cir. 2013).


                                                    -4-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 104 Filed
                                        126-3  Filed12/11/23
                                                     05/19/23 Page
                                                               Page312
                                                                    5 ofof17347




denial of a constitutional right by a municipal officer in order to hold [the County] liable under

Monell”. Aquino v. City of New York, 2017 WL 2223921, *1 (S.D.N.Y. 2017). See also Oliver,

540 F.Supp.3d at 436 (“[i]n a lawsuit containing a Monell claim, if the plaintiff cannot show that

his or her constitutional rights were violated by any individual defendants, the Monell claim will

also fail”); Segal v. City of New York, 459 F.3d 207, 219 (2d Cir. 2006) (“[b]ecause the district

court properly found no underlying constitutional violation, its decision not to address the

municipal defendants’ liability under Monell was entirely correct”).

               “There is competing caselaw regarding whether an action should be bifurcated

due to Monell claims. On the one hand, some courts have bifurcated discovery until individual

defendant liability has been established.” Fleming v. City of New York, 2023 WL 1861223, *2

(S.D.N.Y. 2023). See, e.g., Gavin v. City of New York, 2021 WL 3774113, *5 (S.D.N.Y. 2021)

(“since the proof required to establish a Monell claim is substantially different from the proof

necessary to establish individual liability, the most prudent course is to address the Monell

claims separately and to stay discovery concerning those claims until the liability of the

individual defendants is established”); Morales v. Irizarry, 1996 WL 609416, *1 (S.D.N.Y.

1996) (“[t]he overwhelming weight of authority holds that since the City’s liability is derivative

of the individual defendants’ liability, and since the proof required to establish a Monell claim is

substantially different from the proof necessary to establish individual liability, the most prudent

course is to try the Monell claims separately and to stay discovery concerning those claims until

the liability of the individual defendants is established”); Roper v. City of New York, 2017 WL

462270, *2 (S.D.N.Y. 2017) (“courts often stay discovery on Monell claims until enough

information is available [on the] individual claims - either at the close of discovery or following




                                                -5-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 104 Filed
                                        126-3  Filed12/11/23
                                                     05/19/23 Page
                                                               Page313
                                                                    6 ofof17347




summary judgment - to assess the strength of a claim that a constitutional violation actually took

place”); Gugino v. City of Buffalo, 2022 WL 5240162, *2 (W.D.N.Y. 2022).

               However, other courts “have held that Monell claims do not necessarily warrant

bifurcation”, particularly where no efficiencies are gained by doing so. Fleming, 2023 WL

1861223 at *2. See, e.g., Crawley v. City of Syracuse, 2018 WL 3716782, *4 (N.D.N.Y. 2018)

(“[b]ifurcation is the exception rather than the rule”); Lopez v. City of New York, 2021 WL

2739058, *2 (S.D.N.Y. 2021); Casaccia v. City of Rochester, 2020 WL 1042149, *4 (W.D.N.Y.

2020).

               Ultimately, the decision “[w]hether to bifurcate lies within the Court’s

discretion”, Lynch v. City of New York, 2020 WL 5750492, *2 (S.D.N.Y. 2020), based upon the

“particular circumstances and posture of each case”. Roper, 2017 WL 462270, *1. “The moving

party bears the burden of demonstrating good cause under Fed. R. Civ. P. 26(c).” Id.

               In opposing the County’s motion to bifurcate, plaintiffs argue that estoppel and

waiver bar the County from seeking bifurcation (plaintiffs’ Memorandum of Law [70] at 22-27),

and that it otherwise fails to demonstrate good cause for its motion. Id. at 27-36. Although I do

not find that the County’s failure to earlier move to bifurcate judicially estops it from seeking

bifurcation, that delay, coupled with other factors, demonstrates that it has failed to meet its

burden of establishing good cause for bifurcation.

               Initially, a stay and bifurcation of Monell discovery will only promote efficiency

if there is some basis to conclude that plaintiffs will not be able to make the threshold showing

necessary to establish Monell liability - i.e., that constitutional violations were committed by the

prosecutors who tried them. Otherwise, “[f]ar from advancing judicial economy and

convenience, this approach would invite redundancy and waste”. Palma v. Montgomery County,




                                                -6-
     Case
   Case    1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 104 Filed
                                         126-3  Filed12/11/23
                                                      05/19/23 Page
                                                                Page314
                                                                     7 ofof17347




Maryland, 598 F. Supp. 3d 288, 300 (D. Md. 2022). See also Cadiz v. Kruger, 2007 WL

4293976, *5 (N.D. Ill. 2007) (“a stay of Monell discovery will achieve cost savings only if one

assumes that the parties are never required to go back and conduct Monell discovery at some

later date”).

                Plaintiffs offer a detailed account of the alleged conduct of the ECDAO

prosecutors, and characterize the evidence that the prosecutors committed constitutional

violations during their trials as “overwhelming”. [70] at 29. See also Rudin Declaration [71],

¶¶66-110. Apart from generalized assertions, the County offers no specific arguments as to why

plaintiffs will not be able to establish that constitutional violations were committed by its

prosecutors. See Cadiz, 2007 WL 4293976, *5 (“[t]he City’s motion does not speak at all to the

merits of the individual Section 1983 claim or explain why we should predict the failure of

plaintiff's individual claims, and thus we have no reason to conclude that plaintiff's individual

Section 1983 claims will fail”). Without determining whether plaintiffs will ultimately be able to

establish at summary judgment that constitutional violations were committed by the ECDAO

prosecutors, from what has been presented thus far at this early stage, it seems likely that

bifurcation will only defer, but not eliminate, the need for Monell discovery. See Lopez v. The

City of New York, 2021 WL 2739058, *2 (S.D.N.Y. 2021) (“[a]t this stage . . . the Court cannot

decide that the Monell claim is without merit much less that it is so clearly without merit that

discovery should not be permitted”).

                Nor will this “additional Monell discovery . . . transform an otherwise small case

into a large one”. Cadiz, 2007 WL 4293976, *4. The parties have been able to resolve their

disputes concerning much of the Monell discovery requested thus far, and the County’s desire to

stay and bifurcate Monell discovery arises from a particular item of Monell discovery, rather




                                                -7-
      Case
    Case    1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM     Document 104 Filed
                                          126-3  Filed12/11/23
                                                       05/19/23 Page
                                                                 Page315
                                                                      8 ofof17347




than from the burden of such discovery as a whole. The County’s opposition to the burden and

relevance of obtaining other case files, while understandable, is “best dealt with pursuant to the

standards under [Rule] 26(b) rather than through a stay or bifurcation of discovery”. Lopez, 2021

WL 2739058, *3. See also Fleming, 2023 WL 1861223, *3 (“[a]ny concern regarding the

relevance, proportionality, burden, and delay of Plaintiff's requested Monell discovery will be

addressed by the Court through case and discovery management”).

               Finally, the delay resulting from a stay and bifurcation of the Monell discovery

would severely prejudice plaintiffs. See Casaccia, 2020 WL 1042149 at *3 (“[i]n determining

whether to bifurcate, a court may consider” a variety of factors, including “whether the party

opposing bifurcation will be prejudiced if it is granted”). The advanced ages of key witnesses,

including the former ECDA, Edward Cosgrove, who is 88 years old, and the ECDAO prosecutor

for the Boyd trial, Timothy Drury, who is 82 years old, as well as the precarious health of the

plaintiffs, weigh against further delay. See Plaintiff’s Memorandum of Law [70] at 9-10. 4

Likewise, the City of Buffalo defendants have withdrawn their motion to bifurcate, and are

equally entitled to a prompt resolution of this action.

               By contrast, any prejudice to the County from not bifurcating the remaining

Monell discovery is minimal because, as discussed above, bifurcation would be unlikely to

eliminate the need for this discovery. Moreover, the burden to locate these records appears to be

at least partially self-created. See Brooks v. Macy’s, Inc., 2011 WL 1793345, *4 (S.D.N.Y.

2011) (“the burden that results from disorganized record-keeping does not excuse a party from

producing relevant documents”).


4
         While the County has acknowledged its willingness to allow witnesses to be deposed on Monell
issues (transcript [94] at 19), this would not eliminate the potential need for repeated depositions if
Monell paper discovery were stayed and relevant documents for questioning were only produced after the
fact.


                                                 -8-
       Case
     Case    1:22-cv-00519-LJV-JJMDocument
          1:22-cv-00519-LJV-JJM     Document 104 Filed
                                           126-3  Filed12/11/23
                                                        05/19/23 Page
                                                                  Page316
                                                                       9 ofof17347




               While I recently granted bifurcation in Dixon v. City of Buffalo, et al., 19-cv-

01678(WMS)(JJM) (March 8, 2022 Decision and Order [73]), another 42 U.S.C. §1983 action

arising from a vacated conviction, these remain individualized determinations (see Roper, 2017

WL 462270, *1), and the circumstances here are sufficiently distinct to not warrant bifurcation.

Therefore, the County’s motions are denied.



B.      Plaintiffs’ Motions to Compel

               “A district court has wide latitude to determine the scope of discovery”. In re

Mirena IUS Levonorgestrel-Related Product Liability Litigation (No. II), 982 F.3d 113, 124 (2d

Cir. 2020). Although “a party must be afforded a meaningful opportunity to establish the facts

necessary to support his claim” (id.), discovery is generally limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case,

considering the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of

discovery in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.” Rule 26(b)(1).

               “Although not unlimited, relevance, for purposes of discovery, is an extremely

broad concept.” Austin Air Systems, Ltd. v. Sager Electrical Supply Co., Inc., 2022 WL 464230,

*12 (W.D.N.Y. 2022), adopted, 2023 WL 540119 (W.D.N.Y. 2023). Relevance “encompass[es]

any matter that bears on, or that reasonably could lead to other matter that could bear on, any

issue that is or may be in the case”. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

(1978). “However, a party generally must demonstrate a concrete linkage between the discovery

sought and the claims or defenses asserted in the case.” White v. City of Mount Vernon, 2022




                                                -9-
      Case
    Case   1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM   Document  104 Filed
                                         126-3 Filed 12/11/23
                                                     05/19/23 Page
                                                              Page 317
                                                                   10 ofof17
                                                                           347




WL 16578086, *2 (S.D.N.Y. 2022). “The party seeking the discovery bears the burden of

establishing relevance.” Id.

                “Proportionality focuses on the marginal utility of the discovery sought.” Vaigasi

v. Solow Management Corp., 2016 WL 616386, *14 (S.D.N.Y. 2016). “Proportionality and

relevance are ‘conjoined’ concepts; the greater the relevance of the information in issue, the less

likely its discovery will be found to be disproportionate.” In re LIBOR-Based Financial

Instruments Antitrust Litigation, No. 11 MDL 2262 (NRB), 2023 WL 2871090, *5 (S.D.N.Y.

2023).

         1.     The 16 Case Files

                The parties have reached agreement on nearly all of plaintiffs’ motion to compel,

except for plaintiffs’ request for the “hearing and trial transcripts, motion papers, and court

orders” for the prosecutions underlying the following 16 cases (see [99], ¶6; [101-2], ¶9):

i. People v. Anderson, 25 A.D.2d 602 (4th Dept. 1966)
ii. People v. Moore, 26 A.D.2d 902 (4th Dept. 1966)
iii. People v. Slaughter, 28 A.D.2d 1082 (4th Dept. 1967)
iv. People v. Damon, 24 N.Y.2d 256 (1969)
v. People v. Donaldson, 49 A.D.2d 1004 (4th Dept. 1975)
vi. People v. Weston, 51 A.D.2d 881 (4th Dept. 1976)
vii. People v. Balsano, 51 A.D.2d 130 (4th Dept. 1976)
viii. People v. Kampshoff, 53 A.D.2d 325, 332 (4th Dept. 1976)
ix. People v. Mordino, 58 A.D.2d 197 (4th Dept. 1977)
x. People v. Johnson, 62 A.D.2d 555 (4th Dept. 1978)
xi. People v. Keller, 67 A.D.2d 153 (4th Dept. 1979)
xii. People v. Mitchell, 99 Misc.2d 332 (Sup. Ct., Erie Co. 1979)
xiii. People v. Clark, 89 A.D.2d 820 (4th Dept. 1982) 5
xiv. People v. Ivey, 83 A.D.2d 788 (4th Dept. 1981)
xv. Matter of Potenza v. Kane, 79 A.D.2d 467 (4th Dept. 1981)
xvi. People v. Vance, 89 A.D.2d 347 (4th Dept. 1982).




5
        Although plaintiffs initially sought the case file in People v. Cadby, 75 A.D.2d 713 (4th Dept.
1980), they were able to independently obtain those materials, prompting them to substitute Clark for
Cadby. See plaintiffs’ April 21, 2023 letter brief [95] at 1 n. 2.


                                                  - 10 -
     Case
   Case   1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM   Document  104 Filed
                                        126-3 Filed 12/11/23
                                                    05/19/23 Page
                                                             Page 318
                                                                  11 ofof17
                                                                          347




                 While the County maintains its objections to the production of these case files

based on burden and relevance, it states that it is prepared to “conduct a search of its records for .

. . case files . . . i-iv”. April 21, 2023 letter brief [100] at 3.

        2.       Relevance

                 The County objects to the relevance of cases files v-ix, because they were

“decided less than three months before this incident and cannot support [p]laintiffs’ Monell

claims” (April 21, 2023 letter brief [100] at 3), and to the relevance of case files x-xvi, because

these cases “occurred “after the [p]laintiffs’ convictions and are therefore irrelevant to their

Monell claims”. Id.

                 “Municipalities . . . are liable under § 1983 only if the challenged conduct was

pursuant to a municipal policy or custom . . . or caused by a failure to train”. Guillette v.

Burlington Police Department, 2022 WL 2208122, *1 (2d Cir. 2022) (Summary Order). See also

Haslinger v. Westchester County, 2023 WL 219198, *1 (2d Cir. 2023) (Summary Order)

(“Monell extends liability to a municipal organization where that organization’s failure to train,

or the policies or customs that it has sanctioned, leads to a constitutional violation”); Frost v.

New York City Police Department, 980 F.3d 231, 257 (2d Cir. 2020) (“Monell does not provide

a separate cause of action for the failure by the government to train its employees; it extends

liability to a municipal organization where that organization’s failure to train, or the policies or

customs that it has sanctioned, led to an independent constitutional violation”); Allen v. Stringer,

2021 WL 4472667, *2 (2d Cir. 2021) (Summary Order) (same).

                 Where Monell liability is premised on a failure to train theory, it is well settled

that “contemporaneous or subsequent conduct cannot establish a pattern of violations that would

provide notice to the city and the opportunity to conform to constitutional dictates”. Connick v.




                                                    - 11 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  104 Filed
                                       126-3 Filed 12/11/23
                                                   05/19/23 Page
                                                            Page 319
                                                                 12 ofof17
                                                                         347




Thompson, 563 U.S. 51, 63 n. 7 (2011). See also Greene v. City of New York, 742 F. App’x

532, 536–37 (2d Cir. 2018) (Summary Order). In fact, plaintiffs acknowledge that if their

“Monell claim was limited to a failure to train . . . court decisions handed down after [p]laintiffs’

criminal trials in 1977 would be irrelevant”. April 21, 2023 letter brief [95] at 4.

               However, as discussed above, failure to train is not the sole method of

establishing Monell liability. Such liability can also be premised on the existence of an

unconstitutional policy (see, e.g., Frost, 980 F.3d at 257), which “may be pronounced or tacit and

reflected in either action or inaction”. Cash v. County of Erie, 654 F.3d 324, 334 (2d Cir. 2011).

For instance, Monell liability may be based on the theory that “an officer with final

policymaking authority ordered, ratified, or was aware of a subordinate’s unconstitutional

actions, and consciously chose to ignore them, effectively ratifying the actions”, or that

“unconstitutional practices were so widespread, persistent, and manifest as to imply constructive

acquiescence on the part of the City”. Hu v. City of New York, 927 F.3d 81, 104-05 (2d Cir.

2019).

               As plaintiffs note, their broadly framed Amended Complaints rely on policy or

custom and failure to train theories. See April 21, 2023 letter brief [95] at 3-4. See, e.g.,

Amended Complaint [78], ¶¶532-58. Unlike the failure to train theory of Monell liability,

“[s]ubsequent or contemporaneous conduct can be circumstantial evidence of the existence of

preceding municipal policy or custom”. Chepilko v. City of New York, 2012 WL 398700, *15

(E.D.N.Y. 2012); Collins v. City of New York, 923 F. Supp. 2d 462, 477 (E.D.N.Y. 2013)

(although the Second Circuit has not addressed the issue, the court agreed with “several circuits”

that “have expressly held that a policymaker’s response to constitutional violations can support

an inference that the violation conformed to a preexisting policy”); Kogut v. County of Nassau,




                                                 - 12 -
      Case
    Case   1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM   Document  104 Filed
                                         126-3 Filed 12/11/23
                                                     05/19/23 Page
                                                              Page 320
                                                                   13 ofof17
                                                                           347




2012 WL 3704710, *3 (E.D.N.Y. 2012) (“unlike with Plaintiffs’ constructive acquiesce theory -

evidence of subsequent violations is irrelevant to a failure-to-train analysis”). 6

                See also Bordanaro v. McLeod, 871 F.2d 1151, 1167 (1st Cir. 1989) (“[p]ost-

event evidence can shed some light on what policies existed in the city on the date of an alleged

deprivation of constitutional right”); Salvato v. Miley, 790 F.3d 1286, 1297 (11th Cir. 2015)

(same); Henry v. County of Shasta, 132 F.3d 512, 519 (9th Cir. 1997), opinion amended on

denial of reh’g, 137 F.3d 1372 (9th Cir. 1998) (“post-event evidence is not only admissible for

purposes of proving the existence of a municipal defendant’s policy or custom, but is highly

probative with respect to that inquiry”); Grandstaff v. City of Borger, Texas, 767 F.2d 161, 171

(5th Cir. 1985) (“[t]he disposition of the policymaker may be inferred from his conduct after the

[alleged constitutional violation]”); Groark v. Timek, 989 F. Supp. 2d 378, 397-98 (D.N.J. 2013)

(“subsequent constitutional violations cannot be used to show its knowledge of an

unconstitutional custom or policy at the time of plaintiff’s . . . incident. Subsequent incidents,

however, may be relevant to show a continuous pattern that supports a finding of an accepted

custom or policy. They are also relevant to issues of ‘pattern, intent, and absence of mistake’”).

                Apart from disputing the temporal relevance of the requested case files, the

County also challenges their factual relevance. Relying on the allegations of prosecutorial

misconduct in the Amended Complaint, and pointing to the fact that “[p]laintiffs can only hold


6
         Many of the cases that the County relies upon (see, e.g., April 21, 2023 letter brief [100] at 3) are
distinguishable insofar as the plaintiffs were pursuing a failure to train theory of Monell liability. See
O’Neal v. City of New York, 196 F. Supp. 3d 421, 435 (S.D.N.Y. 2016), aff’d, 679 F. App’x 16 (2d Cir.
2017) (since the decisions “were decided after the events affecting O’Neal . . . [he] cannot rely on them to
plead that the City had notice of the alleged failure to train prosecutors to avoid Brady violations”);
Rodriguez v. City of New York, 607 F. Supp. 3d 285, 299 (E.D.N.Y. 2022) (quoting from Mosca v. City
of New York, 2018 WL 6835524, *6 (E.D.N.Y. 2018), report and recommendation adopted in relevant
part, 2019 WL 938936 (E.D.N.Y. 2019), which also addressed Monell liability based on a failure to train
theory).


                                                    - 13 -
      Case
    Case   1:22-cv-00519-LJV-JJMDocument
         1:22-cv-00519-LJV-JJM   Document  104 Filed
                                         126-3 Filed 12/11/23
                                                     05/19/23 Page
                                                              Page 321
                                                                   14 ofof17
                                                                           347




the County liable for the same underlying constitutional violation that caused their alleged

injury”, the County contends that in order to be relevant, any other cases must specifically “relate

to withholding of Brady material or improper summation remarks” (May 1, 2023 letter brief

[103] at 2 (emphasis in the original)), rather than more broadly to any form of prosecutorial

misconduct that impacted a criminal defendant’s constitutional right to a fair trial, as plaintiffs’

contend. See April 21, 2023 letter brief [95] at 8 (“[w]hat the 16 cases have in common with our

case . . . is a complete indifference by the [ECDAO] to all forms of prosecutorial misconduct . . .

which a jury may find created a lax atmosphere that led to the violations that occurred in

[p]laintiffs’ cases”). It is unnecessary for me to resolve this argument, since, from the summaries

provided by plaintiffs (April 21, 2023 letter brief [95] at 8-15), it appears that many, if not all, of

the case files sought involve findings (or potential allegations) 7 of either summation or Brady

misconduct by the prosecutor.

                 Connick, supra, suggests that more similarity than just the same type of

prosecutorial misconduct may be required to establish Monell liability. There, the Brady

violation was the prosecutor’s failure “to disclose the crime lab report to [the plaintiff’s]

counsel”. 563 U.S. at 59. While the plaintiff pointed to the fact that state courts had overturned

four other convictions from that prosecutor’s office for Brady violations, the Supreme Court

found that these violations did not put the prosecutor’s office on notice that its training was


7        For instance, the County points that in Anderson, 25 A.D.2d at 603, it was unclear whether the
trial court or prosecutor was responsible for the failure to disclose; in Kampshoff, 53 A.D.2d at 332, the
Appellate Division, despite affirming the defendant’s conviction, noted that the trial court (as opposed to
the prosecutor) “improperly refused defendant’s request for the production” of certain discovery; and in
Mordino, 58 A.D.2d at 199, the sole question on appeal was whether media coverage tainted the
defendant’s right to a fair trial. The County’s April 13, 2023 letter [91-1] at 2. While the relevance of
these cases presents a closer question, for the reasons set forth by plaintiffs ([95] at 8, 10-11; [87] at 2-3 n.
2), I agree that they are at least potentially relevant so as to warrant disclosure. See Brooks v. Macy’s,
Inc., 2011 WL 1793345, *2 (S.D.N.Y. 2011) (“[o]rdinarily, discovery concerning all relevant or
potentially relevant issues is permitted”).


                                                     - 14 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  104 Filed
                                       126-3 Filed 12/11/23
                                                   05/19/23 Page
                                                            Page 322
                                                                 15 ofof17
                                                                         347




“inadequate with respect to the sort of Brady violation at issue here”, because “[n]one of those

cases involved failure to disclose blood evidence, a crime lab report, or physical or scientific

evidence of any kind”. Id. at 62-63.

               Thus, some courts have recognized that pursuant to Connick the comparable

incidents must “closely resemble”, Strode v. County of San Diego, 2019 WL 527468, *3 (S.D.

Cal. 2019), or be “highly similar” to the underlying misconduct. Gianonne v. City of Naperville,

2017 WL 2569603, *2 (N.D. Ill. 2017). See also Williams v. City of Birmingham, 323 F. Supp.

3d 1324, 1334 (N.D. Ala. 2018) (“Connick illustrates the principle” that “courts demand a high

degree of factual similarity between prior incidents and the episode involving the plaintiff for the

former to be relevant to § 1983 liability for an alleged failure to train or supervise”).

               However, as plaintiffs note, Connick did not “did not rule at all on the requisites

of a failure-to-discipline claim or on the scope of discovery in such cases”, which is subject to a

more relaxed standard of similarity. Plaintiffs’ April 21, 2023 letter brief [95] at 7-8. “In the

failure to discipline or supervise context, courts have required notice of similar types of

constitutional violations, such as excessive force or withholding exculpatory material. But, those

courts have not required the precise behaviors-such as the failure to disclose exculpatory

scientific evidence-as required in the failure to train context.” Poventud v. City of New York,

2015 WL 1062186, *16 (S.D.N.Y. 2015).

               Therefore, I conclude that plaintiffs have offered enough at this stage to

demonstrate that the 16 case files fall within the broad scope of relevant discovery. Whether and

to what extent plaintiffs will be able to utilize the information from the 16 case files to establish

Monell liability is a separate question.




                                                - 15 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  104 Filed
                                       126-3 Filed 12/11/23
                                                   05/19/23 Page
                                                            Page 323
                                                                 16 ofof17
                                                                         347




       3.      Burden

               “Once the movant establishes relevance, the burden shifts to the resisting party,

who is tasked with showing how each request is not relevant, or how each request is overly

broad, burdensome, or oppressive, despite the broad and liberal construction afforded by the

federal discovery rules.” Yong Biao Ji v. Aily Foot Relax Station Inc., 2021 WL 1930362, *2

(S.D.N.Y. 2021).

               It is burdensome to produce documents “in any civil case that involves events

from decades ago or facts that extend over a long period of time”. Jackson v. City of Cleveland,

2022 WL 17089769, *2 (N.D. Ohio 2022). Any added difficultly in locating these records

appears largely attributable to the County’s own failure to maintain its records in an organized

fashion, and “the burden that results from disorganized record-keeping does not excuse a party

from producing relevant documents”. Brooks, 2011 WL 1793345, *4. See also Kozlowski v.

Sears, Roebuck & Co., 73 F.R.D. 73, 76 (D. Mass. 1976) (“[t]o allow a defendant whose

business generates massive records to frustrate discovery by creating an inadequate filing

system, and then claiming undue burden, would defeat the purposes of the discovery rules”).

               “[L]itigants have an obligation . . . to make reasonable efforts to locate

responsive documents.” Maxwell v. New York University, 2009 WL 1576295, *13 (S.D.N.Y.

2009) (emphasis in original), aff’d, 407 F. App’x 524 (2d Cir. 2010). The County’s previous

ability to locate plaintiffs’ cases files in connection with their most recent CPL §440.10 motion

in 2021 (see plaintiffs’ April 21, 2023 letter [95] at 5) suggests that the 16 cases files are not

irretrievable. However, regardless of whether the County will ultimately be able to locate all or

some of these case files, the importance of these 16 targeted files to plaintiffs’ ability to

establish the County’s liability outweighs the burden associated with making reasonable efforts

to locate them. See Klein v. Madison, 2018 WL 3535301, *2 (E.D. Pa. 2018) (“the


                                                - 16 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  104 Filed
                                       126-3 Filed 12/11/23
                                                   05/19/23 Page
                                                            Page 324
                                                                 17 ofof17
                                                                         347




proportionality of [the plaintiff’s] requests must be measured against the exacting burden of

proof a plaintiff faces to establish municipal liability under Monell”). Therefore, the County

shall undertake reasonable efforts to locate and produce the 16 cases files identified above.

               If the County is unable to produce any of the 16 files, it shall file a detailed

statement of its efforts to locate the missing files by June 29, 2023. The County may respond to

that submission by July 7, 2023, and a telephonic conference to address the submissions is

scheduled for July 12, 2023 at 11:00 a.m. To access the teleconference, the parties shall dial 888-

808-6929 and enter access code 1533000# sufficiently in advance of the proceeding.



                                         CONCLUSION

               For these reasons, the County’s motions (Boyd v. The City of Buffalo, et al. (22-

cv-519) [62]); Walker, Jr. v. The City of Buffalo, et al. (22-cv-520) [63]) to bifurcate and stay

discovery concerning plaintiffs’ claim pursuant to Monell are denied, and plaintiff’s remaining

motions to compel (Boyd v. The City of Buffalo, et al. (22-cv-519) [63]; Walker, Jr. v. The City

of Buffalo, et al. (22-cv-520) [64]) are granted.


SO ORDERED.


Dated: May 19, 2023


                                                    /s/Jeremiah J. McCarthy
                                                    JEREMIAH J. MCCARTHY
                                                    United States Magistrate Judge




                                                - 17 -
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 325 of 347




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            Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 326
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Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 327 of 347




                  EXHIBIT M
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page328
                                                                    1 ofof11347




                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NEW YORK

                                       )
DARRYL BOYD,                           )
                                       )
 Plaintiff,                            )
                                       )
               - against -             )      Case No. 1:22-cv-519 (LJV) (JJM)
                                       )
THE CITY OF BUFFALO; THE COUNTY OF )
ERIE; MICHAEL G. GUADAGNO; JOHN        )
MONTONDO; LINDA J. FIAL AS             )
EXECUTOR FOR THE ESTATE OF ROBERT )
GRABOWSKI; MARTIN BULLOCK AS           )
EXECUTOR FOR THE ESTATE OF JAMES )
E. HUNTER; JENNIFER G. FLANNERY AS )
ADMINISTRATOR FOR THE ESTATE OF )
ROBERT F. ARNET; JENNIFER G.           )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANK C. DEUBELL;        )
JENNIFER G. FLANNERY AS                )
ADMINISTRATOR FOR THE ESTATE OF )
LEO J. DONOVAN; JENNIFER G.            )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANCIS M. MANISTA, )
JR.; AND DAWN M. DIRIENZO AS           )
EXECUTOR FOR THE ESTATE OF PAUL R. )
DELANO,                                )
                                       )
                           Defendants. )
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  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page329
                                                                    2 ofof11347




                                       )
JOHN WALKER, JR.,                      )
                                       )
                           Plaintiff,  )
                                       )
               - against -             )                 Case No. 1:22-cv-520 (LJV) (JJM)
                                       )
THE CITY OF BUFFALO; THE COUNTY OF )
ERIE; MICHAEL G. GUADAGNO; JOHN        )
MONTONDO; LINDA J. FIAL AS             )
EXECUTOR FOR THE ESTATE OF ROBERT )
GRABOWSKI; MARTIN BULLOCK AS           )
EXECUTOR FOR THE ESTATE OF JAMES )
E. HUNTER; JENNIFER G. FLANNERY AS )
ADMINISTRATOR FOR THE ESTATE OF )
ROBERT F. ARNET; JENNIFER G.           )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANK C. DEUBELL;        )
JENNIFER G. FLANNERY AS                )
ADMINISTRATOR FOR THE ESTATE OF )
LEO J. DONOVAN; JENNIFER G.            )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANCIS M. MANISTA, )
JR.; AND DAWN M. DIRIENZO AS           )
EXECUTOR FOR THE ESTATE OF PAUL R. )
DELANO,                                )
                                       )
                           Defendants. )



         PROTECTIVE ORDER REGARDING CONFIDENTIALITY OF
    DOCUMENTS AND OTHER INFORMATION PRODUCED BY PLAINTIFFS IN
                           DISCOVERY

        Having considered the parties’ submissions [96, 98], the following provisions shall govern

disclosure and use by Defendants of certain documents produced by Plaintiffs containing

Plaintiffs’ Confidential Personal Information:


       1.      Any documents produced by a Plaintiff in either or both of the above-captioned

actions (each an “Action” and collectively the “Actions”) can be used in either or both of the

Actions.
                                                 -2-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page330
                                                                    3 ofof11347




       2.       Because of the nature of the dispute, discovery in the above-captioned matter will

likely require the disclosure of documents and other media containing sensitive or confidential

personal information. For example, Plaintiffs’ medical, psychological, or psychiatric records are

likely to be relevant to the parties’ claims and defenses. As discovery continues, the need to

disclose additional confidential and personal information will likely arise.

       3.       Accordingly, “Confidential Personal Information” is hereby defined to mean the

following categories of information:

                A.     A Plaintiff’s private and confidential medical, psychological, or financial

       information; and

                B.     A Plaintiff’s social security numbers, home telephone numbers and

       addresses.

If documents contain other particular types of sensitive or confidential information that plaintiffs

believe require treatment as Confidential Personal Information, they may bring those issues to

my attention.

       4.       Any documents produced in the Actions by a Plaintiff or testimony provided in a

deposition, affidavit or otherwise that contain Confidential Personal Information may be

designated “Confidential” by such Plaintiff.

       5.       All Confidential Personal Information produced in the Actions by a Plaintiff shall

be used by Defendants solely in the Actions and shall not be used by Defendants for any other

purpose. Nothing herein shall prevent Plaintiffs from using Confidential Personal Information

for any purpose.

       6.       Upon receiving Confidential Personal Information, Defendants may disclose or

make available such information only to (a) other Defendants in these Actions, (b) Defendants’



                                                -3-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page331
                                                                    4 ofof11347




counsel of record in the Actions (including all partners, counsel and associate attorneys of said

counsel, and any legal assistants, clerical secretarial or other support staff thereof operating

under the supervision of such counsel of record), (c) any court with jurisdiction over the Actions,

(d) necessary court personnel, professional court reporters/stenographers/video operators and

necessary staff for deposition or trial testimony, (e) experts and consultants retained by

Defendants in connection with the Actions, to the extent that such person has a need to review

the Confidential Personal Information provided to them to assist Defendants in the defense of the

Actions, (f) any witness or potential witness in these Actions in the course of the witness’

deposition or trial testimony conducted in the Actions to the extent reasonably deemed necessary

by counsel for Defendants in order to examine such witness or prepare such witness for such

deposition or trial testimony, (g) support personnel retained by counsel for Defendants for

purposes of preparing demonstrative or other exhibits for deposition, trial or other court

proceedings in the Actions such as those involved in copying, graphic production, non-technical

jury, trial consulting services or investigation in the Actions retained by counsel for Defendants,

(h) jurors in the Actions, and (i) any other person pursuant to an order of the Court or written

consent of the producing Plaintiff.

       7.      A party may challenge the designation of information produced during this action

as “Confidential” by bringing the issue to the attention of the Court via telephone conference or a

letter to the Court, provided, however, that the receiving party first made a good-faith attempt to

resolve the dispute by conferring with the producing party. A good-faith effort must include

ample notice, an opportunity to review the issue, a discussion between the parties, and a response

in writing if necessary to protect the record therein. After presentation to the Court, a formal

motion may be filed. Unless and until the parties agree that information designated as



                                                 -4-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page332
                                                                    5 ofof11347




“Confidential” is not entitled to the protections conferred by such designation, or, in the absence

of agreement, the Court so rules, said information shall remain Confidential Personal

Information subject to this Order. Plaintiffs bear the burden of demonstrating that the

information constitutes Confidential Personal Information.

       8.      Defendants shall not be obligated to challenge the propriety of Plaintiffs’

“Confidential” designations when initially received, and a failure to do so shall not preclude a

subsequent challenge thereto.

       9.      The Confidential designation set forth in paragraph 3 of this Order shall be made

by stamping the document containing Confidential Personal Information as “Confidential

pursuant to Protective Order” on each page of the document.

       10.     Any inadvertent or mistaken production of material that Plaintiffs claim is subject

to the attorney-client privilege, work-product doctrine or any other applicable privilege or

protection from disclosure shall not operate to waive such protection from disclosure. Upon

written request made promptly by Plaintiffs to Defendants after the Plaintiffs discover such

inadvertent production, Defendants shall promptly return the information for which a claim of

inadvertent production is made and destroy all copies thereof.

       11.     No person receiving discovery materials designated Confidential shall disclose

such discovery materials or any information contained therein to any person who is not entitled

to receive such discovery materials under paragraph 6. Each person to whom discovery

materials designated Confidential are disclosed pursuant to this Order shall be advised that such

information is being disclosed pursuant to, and subject to the terms of, an Order of the Court and

that the sanctions for any violations of the Order may include penalties which may be imposed

by the Court for contempt. Further, Defendants wishing to disclose Confidential Personal



                                                -5-
     Case
   Case    1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 107 Filed
                                         126-3  Filed12/11/23
                                                      06/02/23 Page
                                                                Page333
                                                                     6 ofof11347




Information Documents to any person in paragraph 6(e)-(g) shall ensure that such person

executes an Undertaking in the form attached hereto before gaining access to any such material.

Defendants’ counsel of record shall maintain a copy of such undertakings and shall make such

copies available to Plaintiffs upon request or order of the Court.

        11.    As to documents not otherwise designated as Confidential, the receiving party

may not disseminate a document to a third party without first fully redacting personal

information such as social security numbers, home addresses and telephone numbers, and dates

of birth.

        12.    This Order shall not prejudice in any way the rights of any Party from using

discovery material deemed “Confidential” from Confidential Personal Information, or from

referring to or reciting any information contained in such materials, in proceedings before this

Court, including motion papers, affidavits, briefs, or other papers and depositions filed with the

Court or at any deposition, or at any hearing conference or trial before the Court. All material

designated Confidential filed with the Court, and any portion of any pleading, motion paper,

affidavit, brief, deposition transcript, memorandum or other paper filed with the Court disclosing

such material shall be identified as Confidential, filed under seal in the manner prescribed by the

Court’s Local Rules of Civil Procedure, and kept under seal until further order of the Court. The

filing Party may ask the Party that has designated the materials Confidential to agree in writing

to the public filing of Confidential Personal Information without sealing. Where possible, the

parties shall publicly file redacted papers on the public docket that exclude only the portions of

such papers that disclose Confidential Personal Information.

        13.    In the event of a dispute that requires the Court’s attention regarding the propriety

of Plaintiffs’ (a) designation of particular Confidential Personal Information as “Confidential” or



                                                -6-
     Case
   Case    1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 107 Filed
                                         126-3  Filed12/11/23
                                                      06/02/23 Page
                                                                Page334
                                                                     7 ofof11347




(b) assertion of a privilege or other protection from disclosure with respect to an inadvertently

produced document, the dispute shall be submitted to the Court for resolution pursuant to the

Court’s individual practices for discovery-related motion practice and the local rules, L. R. Civ.

P. 7(d)(3), and a determination shall be made under and pursuant to the Federal Rules of Civil

Procedure and the legal authorities applicable hereto as the same may then be in effect. Until

said dispute is resolved by the Court, the documents or information shall retain their designation

as Confidential and/or privileged or otherwise protected from disclosure and thereafter shall be

designated as the Court may direct, provided that nothing contained herein shall be deemed to

waive or otherwise limit the right of any Party to appeal from, or seek review of, the

determination by the Court of any such dispute.

        14.      Defendants shall take all steps reasonably required to protect the Confidential

Personal Information produced in these Actions. In the event that Confidential Personal

Information is inadvertently disclosed to any unauthorized person or entity, such material shall

not lose its confidentiality status by reason of such inadvertent disclosure.

        15.      Within sixty (60) days after the final termination of this litigation by settlement or

exhaustion of all appeals, all Confidential Information produced or designated and all reproductions

thereof shall be returned to the Producing Party or, at the Receiving Party's option, shall be destroyed.

In the event that any Receiving Party chooses to destroy physical objects and documents, such Party

shall certify in writing within sixty (60) days of the final termination of this litigation that it has

undertaken its best efforts to destroy such physical objects and documents, and that such physical

objects and documents have been destroyed to the best of its knowledge. Notwithstanding anything to

the contrary, counsel of record for the Parties may retain one copy of documents constituting work

product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and



                                                      -7-
     Case
   Case    1:22-cv-00519-LJV-JJMDocument
        1:22-cv-00519-LJV-JJM     Document 107 Filed
                                         126-3  Filed12/11/23
                                                      06/02/23 Page
                                                                Page335
                                                                     8 ofof11347




deposition and trial exhibits. This Stipulation shall not be interpreted in a manner that would violate

any applicable rules of professional conduct.

        16.     This Order shall not prevent any Party from applying to the Court for further or

additional protective orders, for the modification of this Order, for relief from this Order, or from

agreeing with the other Parties to modify this Order subject to approval of the Court.

SO ORDERED.

Dated: June 2, 2023

                                                     /s/Jeremiah J. McCarthy
                                                     JEREMIAH J. MCCARTHY
                                                     United States Magistrate Judge




                                                   -8-
    Case
  Case    1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM     Document 107 Filed
                                        126-3  Filed12/11/23
                                                     06/02/23 Page
                                                               Page336
                                                                    9 ofof11347




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

                                       )
DARRYL BOYD,                           )
                                       )
 Plaintiff,                            )
                                       )
               - against -             )      Case No. 1:22-cv-519 (LJV) (JJM)
                                       )
THE CITY OF BUFFALO; THE COUNTY OF )
ERIE; MICHAEL G. GUADAGNO; JOHN        )
MONTONDO; LINDA J. FIAL AS             )
EXECUTOR FOR THE ESTATE OF ROBERT )
GRABOWSKI; MARTIN BULLOCK AS           )
EXECUTOR FOR THE ESTATE OF JAMES )
E. HUNTER; JENNIFER G. FLANNERY AS )
ADMINISTRATOR FOR THE ESTATE OF )
ROBERT F. ARNET; JENNIFER G.           )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANK C. DEUBELL;        )
JENNIFER G. FLANNERY AS                )
ADMINISTRATOR FOR THE ESTATE OF )
LEO J. DONOVAN; JENNIFER G.            )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANCIS M. MANISTA, )
JR.; AND DAWN M. DIRIENZO AS           )
EXECUTOR FOR THE ESTATE OF PAUL R. )
DELANO,                                )
                                       )
                           Defendants. )




                                      -9-
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  107 Filed
                                       126-3 Filed 12/11/23
                                                   06/02/23 Page
                                                            Page 337
                                                                 10 ofof11
                                                                         347




                                       )
JOHN WALKER, JR.,                      )
                                       )
                           Plaintiff,  )
                                       )
               - against -             )                  Case No. 1:22-cv-520 (LJV) (JJM)
                                       )
THE CITY OF BUFFALO; THE COUNTY OF )
ERIE; MICHAEL G. GUADAGNO; JOHN        )
MONTONDO; LINDA J. FIAL AS             )
EXECUTOR FOR THE ESTATE OF ROBERT )
GRABOWSKI; MARTIN BULLOCK AS           )
EXECUTOR FOR THE ESTATE OF JAMES )
E. HUNTER; JENNIFER G. FLANNERY AS )
ADMINISTRATOR FOR THE ESTATE OF )
ROBERT F. ARNET; JENNIFER G.           )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANK C. DEUBELL;        )
JENNIFER G. FLANNERY AS                )
ADMINISTRATOR FOR THE ESTATE OF )
LEO J. DONOVAN; JENNIFER G.            )
FLANNERY AS ADMINISTRATOR FOR          )
THE ESTATE OF FRANCIS M. MANISTA, )
JR.; AND DAWN M. DIRIENZO AS           )
EXECUTOR FOR THE ESTATE OF PAUL R. )
DELANO,                                )
                                       )
                           Defendants. )

                                        UNDERTAKING

       I have read the Stipulation and Protective Order Regarding Confidentiality of Documents

and Other Information Produced by Plaintiffs in Discovery, dated _____ (the “Order”) in the

above-captioned actions (the “Actions”).

       I understand the terms of the Order and I agree to be bound by its terms and conditions

with respect to any documents, materials or information designated CONFIDENTIAL that are

furnished to me as set forth in the Order. I further agree: (a) not to disclose to any person or

entity any documents, materials or information designated CONFIDENTIAL, (b) not to make

any copies of any documents, materials or information designated CONFIDENTIAL for my own

                                               - 10 -
    Case
  Case   1:22-cv-00519-LJV-JJMDocument
       1:22-cv-00519-LJV-JJM   Document  107 Filed
                                       126-3 Filed 12/11/23
                                                   06/02/23 Page
                                                            Page 338
                                                                 11 ofof11
                                                                         347




retention after the termination of the Actions; (c) not to use any documents, materials or

information designated CONFIDENTIAL except in accordance with the Order; and (d) to return

to Plaintiffs such CONFIDENTIAL materials all copies (including excerpts and summaries)

thereof, within thirty (30) days of the termination of the Actions.

         I hereby consent to the jurisdiction of the United States District Court for the Western

District of New York with regard to any proceedings to enforce the terms and conditions of the

Order.

                                                                              _________________
                                                                              Signature

                                                                              _________________
                                                                              Print Name

                                                                              _________________
                                                                              Date
Sworn to and subscribed before me
this __ day of ____ 2023.

_____________
Notary Public




                                                - 11 -
Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 339 of 347




                  EXHIBIT N
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 340 of 347


From:            Joel B. Rudin
To:              Brian C. Mahoney; David Rudin; Sahasrabudhe, Peter A.; Russ III, Hugh M.
Cc:              Perry, Adam W.; Jennifer C. Persico; Alexander W. Eaton; Serena M. Kemnitzer; Thelo Coleman; WH Buffalo 5
                 Internal Team; Timothy Hoover; Spencer Durland; Firsenbaum, Ross; Perio, Ryanne; Hanft, Gideon A.
Subject:         RE: Boyd and Walker v. City of Buffalo et al.
Date:            Wednesday, September 13, 2023 5:19:11 PM
Attachments:     image001.png


Dear Brian, Jennifer and Alex,

I’m writing to request your client County of Erie’s consent, and that of the D.A.’s office, to the
unsealing of the Supreme Court file in the Tommy Rollins case, People v. Rollins, Ind. No. 82-1064.
This is the case I already questioned John Montondo and the 30(b)(6) witness, John Regan, about at
their depositions. It is relevant to our Monell claim because it concerns alleged misconduct of
former Det. Montondo and then Homicide Chief Leo Donovan in coercing statements from a young
Black suspect similar to the conduct we allege in this case. Justice Kasler castigated the police
conduct in suppressing Rollins’ statements and then dismissed the case. We elicited at the
depositions that neither Montondo nor Donovan apparently were disciplined for their alleged
misconduct.

We have obtained the court records of the codefendant, Shelby Davis, Jr., because he was convicted,
but the records do not include the suppression hearing transcript, which is sealed under CPL 160.50.
Nor have we been able to obtain the underlying motion papers.

Because the matter is sealed, we need to make an unsealing application. We request the D.A.’s and
Erie County’s consent to this application.

Please let us know your position by Monday if possible. I appreciate your consideration.

Regards,

Joel



From: Brian C. Mahoney <bmahoney@lippes.com>
Sent: Monday, August 21, 2023 7:19 PM
To: Joel B. Rudin <jbrudin@rudinlaw.com>; David Rudin <David@rudinlaw.com>; Sahasrabudhe,
Peter A. <PSahasra@hodgsonruss.com>; Russ III, Hugh M. <HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>;
Alexander W. Eaton <aeaton@lippes.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Thelo
Coleman <thelo@rudinlaw.com>; WH Buffalo 5 Internal Team
<WHBuffalo5InternalTeam@wilmerhale.com>; Timothy Hoover <thoover@hooverdurland.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft,
Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: Re: Boyd and Walker v. City of Buffalo et al.
                     Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 341 of 347


Joel-
We can plan on finishing Judge Drury’s deposition on September 11th as scheduled.

Thanks,
Brian

Get Outlook for iOS

Brian C. Mahoney
Partner
Lippes Mathias LLP




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202࿡2216

ph: 716.853.5100 ext. 1310 | fx: 716.853.5199
bmahoney@lippes.com | lippes.com
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From: Joel B. Rudin <jbrudin@rudinlaw.com>
Sent: Saturday, August 19, 2023 8:39:03 PM
To: Brian C. Mahoney <bmahoney@lippes.com>; David Rudin <David@rudinlaw.com>;
Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>; Russ III, Hugh M.
<HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>;
Alexander W. Eaton <aeaton@lippes.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Thelo
Coleman <thelo@rudinlaw.com>; WH Buffalo 5 Internal Team
<WHBuffalo5InternalTeam@wilmerhale.com>; Timothy Hoover <thoover@hooverdurland.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft,
Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: RE: Boyd and Walker v. City of Buffalo et al.

Thank you, Brian. Can Mr. Drury stay late to finish in one day? Alternatively, would he be able to
finish the next morning if need be? Of course it would be better to finish in one day.

Joel

From: Brian C. Mahoney <bmahoney@lippes.com>
                     Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 342 of 347


Sent: Friday, August 18, 2023 3:47 PM
To: David Rudin <David@rudinlaw.com>; Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>;
Russ III, Hugh M. <HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>;
Alexander W. Eaton <aeaton@lippes.com>; Serena M. Kemnitzer <skemnitzer@lippes.com>; Joel B.
Rudin <jbrudin@rudinlaw.com>; Thelo Coleman <thelo@rudinlaw.com>; WH Buffalo 5 Internal
Team <WHBuffalo5InternalTeam@wilmerhale.com>; Timothy Hoover
<thoover@hooverdurland.com>; Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum,
Ross <Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft,
Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: Re: Boyd and Walker v. City of Buffalo et al.

Joel-
We are confirming that Judge Tim Drury is available for his deposition on Monday September 11
starting at 11 am at our office.
Jerry Solomon is confirmed for his depostion on September 12 from 9-1 pm and Jim Verrastro on the
12th from 1-5 pm at our office.
Thanks,
Brian

Get Outlook for iOS

Brian C. Mahoney
Partner
Lippes Mathias LLP




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202࿡2216

ph: 716.853.5100 ext. 1310 | fx: 716.853.5199
bmahoney@lippes.com | lippes.com
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email system, and destroy any other copies in your possession.


From: David Rudin <David@rudinlaw.com>
Sent: Thursday, August 17, 2023 10:55:05 AM
To: Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>; Russ III, Hugh M.
<HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian
C. Mahoney <bmahoney@lippes.com>; Alexander W. Eaton <aeaton@lippes.com>; Serena M.
Kemnitzer <skemnitzer@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; Thelo Coleman
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 343 of 347


<thelo@rudinlaw.com>; WH Buffalo 5 Internal Team <WHBuffalo5InternalTeam@wilmerhale.com>;
Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio,
Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: RE: Boyd and Walker v. City of Buffalo et al.

Hi Peter,

Since the County is getting us dates for the former ADA depositions by the end of this week, could
we connect again once we have those dates and see if we can schedule Detective Paradowski’s
deposition around them? Depending on the dates from the County, we could schedule Detective
Paradowski’s deposition the day after Drury (or the day after Verrastro/Solomon if they’re back-to-
back with Drury). That way I’ll already be in Buffalo and can stay an extra day for Detective
Paradowski’s deposition. If not, I can depose Detective Paradowski on Zoom. Any day in early
September works for me, depending on the ADA deposition schedule.

Best,
David


From: Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>
Sent: Tuesday, August 15, 2023 4:22 PM
To: David Rudin <David@rudinlaw.com>; Russ III, Hugh M. <HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian
C. Mahoney <bmahoney@lippes.com>; Alexander W. Eaton <aeaton@lippes.com>; Serena M.
Kemnitzer <skemnitzer@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; Thelo Coleman
<thelo@rudinlaw.com>; WH Buffalo 5 Internal Team <WHBuffalo5InternalTeam@wilmerhale.com>;
Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio,
Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: RE: Boyd and Walker v. City of Buffalo et al.

Hi David:

On Friday I asked Joel if there were certain dates in August that would work well for Detective
Paradowski’s deposition. Next week is going to be tough as we have multiple depositions scheduled
in other matters throughout the week.

Could you provide dates in late August or early September that might work on your end for
Detective Paradowski’s deposition?

--Peter

Peter A. Sahasrabudhe
Associate
Hodgson Russ LLP
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 344 of 347


Tel: 716.848.1508
Fax: 716.819.4651




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The Guaranty Building | 140 Pearl Street, Suite 100 | Buffalo, NY 14202
Tel: 716.856.4000 | map


From: David Rudin <David@rudinlaw.com>
Sent: Thursday, August 10, 2023 1:17 PM
To: Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>; Russ III, Hugh M.
<HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian
C. Mahoney <bmahoney@lippes.com>; Alexander W. Eaton <aeaton@lippes.com>; Serena M.
Kemnitzer <skemnitzer@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; Thelo Coleman
<thelo@rudinlaw.com>; WH Buffalo 5 Internal Team <WHBuffalo5InternalTeam@wilmerhale.com>;
Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio,
Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: RE: Boyd and Walker v. City of Buffalo et al.


                                        External Email - Use Caution



Hi Peter,

Thanks for working with us on completing the City 30(b)(6) deposition. We appreciate your finding a
date when Detective Paradowski is available in August. We’d like to depose him and Lissa Redmond
as 30(b)(6) representatives of the City. Please provide us dates when they’re available by August 18.
Since we’ll count Ms. Redmond as a 30(b)(6) witness, do we need to subpoena her or will you
produce her under the 30(b)(6) notice? If we need to subpoena her, will you accept service of a
subpoena on her behalf?

Thanks also for the update on the City’s records witnesses. We appreciate your trying to find a
single day for the three depositions and look forward to hearing from you on a date.

Best,
David


From: Sahasrabudhe, Peter A. <PSahasra@hodgsonruss.com>
Sent: Wednesday, August 9, 2023 9:19 AM
To: David Rudin <David@rudinlaw.com>; Russ III, Hugh M. <HRuss@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian
 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 345 of 347


C. Mahoney <bmahoney@lippes.com>; Alexander W. Eaton <aeaton@lippes.com>; Serena M.
Kemnitzer <skemnitzer@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; Thelo Coleman
<thelo@rudinlaw.com>; WH Buffalo 5 Internal Team <WHBuffalo5InternalTeam@wilmerhale.com>;
Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio,
Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: RE: Boyd and Walker v. City of Buffalo et al.

Hi David:

We disagree with your assessment of Mary Evans’s preparedness. She has first-hand knowledge of
the reinvestigation and BPD’s cold-case unit and was prepared to testify about both of those topics.

That being said, we can produce Detective Paradowski for a deposition. You can count that as a
30(b)(6) deposition, or a fact deposition, or both, we won’t object. We expect Detective Paradowski
to give very similar testimony to the testimony given by Detective Evans, but we certainly can
produce him. I will try to find a date when Detective Peradowski is available in August. Alternatively,
we can have Detective Evans talk to Detective Paradowski and you can ask her questions about what
she spoke about with Detective Paradowski, but that seems inefficient.

As far as Lisa Redmond goes, as you know, the City is not in possession of any documents detailing
any steps Lisa Redmond took to re-investigate the Crawford homicide. If you want Detective Evans
or Detective Peradowski to talk to Lisa Redmond and then to ask them questions about what Lisa
Redmond told them, we can do that. It may be preferable simply to subpoena Lisa Redmond though
and see what she has to say. Again, you can count that as a 30(b)(6) deposition, a fact deposition, or
both, we won’t object. Let us know how you want to proceed.

As far as the City’s record collection, that will have to be three witnesses, two of whom have recently
retired and are no longer employed by the City or BPD. We are trying to confirm those witnesses
contact information and find a date convenient for all three witnesses, as it seems inefficient to hold
the deposition on three separate dates. We will try to get back to you with dates for those three
depositions as soon as possible.

--Peter



Peter A. Sahasrabudhe
Associate
Hodgson Russ LLP
Tel: 716.848.1508
Fax: 716.819.4651




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  Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 346 of 347


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Tel: 716.856.4000 | map


From: David Rudin <David@rudinlaw.com>
Sent: Tuesday, August 8, 2023 4:29 PM
To: Russ III, Hugh M. <HRuss@hodgsonruss.com>; Sahasrabudhe, Peter A.
<PSahasra@hodgsonruss.com>
Cc: Perry, Adam W. <APerry@hodgsonruss.com>; Jennifer C. Persico <jpersico@lippes.com>; Brian
C. Mahoney <bmahoney@lippes.com>; Alexander W. Eaton <aeaton@lippes.com>; Serena M.
Kemnitzer <skemnitzer@lippes.com>; Joel B. Rudin <jbrudin@rudinlaw.com>; Thelo Coleman
<thelo@rudinlaw.com>; WH Buffalo 5 Internal Team <WHBuffalo5InternalTeam@wilmerhale.com>;
Timothy Hoover <thoover@hooverdurland.com>; Spencer Durland
<sdurland@hooverdurland.com>; Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio,
Ryanne <Ryanne.Perio@wilmerhale.com>; Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>
Subject: Boyd and Walker v. City of Buffalo et al.


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Dear Hugh and Peter,

Please see the attached letter regarding the City 30(b)(6) deposition.

Thanks,
David

David E. Rudin
Law Offices of Joel B. Rudin, P.C.
Carnegie Hall Tower
152 West 57th Street, 8th Floor
New York, NY 10019
Office: (212) 752-7600
Cell: (917) 584-3587
Fax: (212) 980-2968



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 Case 1:22-cv-00519-LJV-JJM Document 126-3 Filed 12/11/23 Page 347 of 347


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